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1A
 101-7-TDR
 /2010
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 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF MASSACHUSETTS
                                                         CENTRAL DIVISION


               In Re:                                         §
                                                              §
               SOUTHERN SKY AIR & TOURS LLC                   §     Case No. 12-40944-CJP
               D/B/A                                          §
                                                              §
                                   Debtor                     §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                       Joseph H. Baldiga, Trustee, chapter 7 trustee, submits this Final Account, Certification
               that the Estate has been Fully Administered and Application to be Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 78,030.10                           Assets Exempt: NA
               (Without deducting any secured claims)

               Total Distributions to Claimants: 250,425.43          Claims Discharged
                                                                     Without Payment: NA

               Total Expenses of Administration: 1,374,381.26


                       3) Total gross receipts of $ 1,624,806.69 (see Exhibit 1), minus funds paid to the debtor
               and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 1,624,806.69 from the
               liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS            CLAIMS                 CLAIMS                CLAIMS
                                                SCHEDULED          ASSERTED               ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                         $ 0.00             $ 0.00                 $ 0.00               $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA        1,611,578.73           1,611,578.73         1,374,381.26

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA        9,761,698.64           9,761,698.64                 0.00

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                            252,680.80       1,017,584.18           1,014,849.11           250,425.43

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                           43,428,300.45       1,203,759.44           1,195,583.64                 0.00

TOTAL DISBURSEMENTS                             $ 43,680,981.25    $ 13,594,620.99        $ 13,583,710.12       $ 1,624,806.69


                 4) This case was originally filed under chapter 11 on 03/15/2012 , and it was converted
          to chapter 7 on 04/11/2012 . The case was pending for 89 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 07/23/2019                        By:/s/Joseph H. Baldiga, Trustee
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                     EXHIBITS TO
                                                   FINAL ACCOUNT


          EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                           UNIFORM                         $ AMOUNT
                                                              TRAN. CODE1                      RECEIVED

INSURANCE POLICIES - PLATTE RIVER
COMPANY                                                         1129-000                              200,000.00

SETTLEMENT WITH TEM ENTERPRISES
D/B/A XTRA AIR                                                  1221-000                                1,432.00

CASH FROM MYRTLE BEACH SAFE
                                                                1229-000                                  204.00

CASH MONEY FOUND IN DEBTOR BOX
                                                                1229-000                                  481.00

HORRY COUNTY STATE BANK
                                                                1229-000                                   22.33

            TD BANK ACCOUNT                                     1229-000                                3,028.44

PREFERENCE
SETTLEMENTS/COLLECTIONS                                         1241-000                              205,735.95

SETTLEMENT - ALLEGHENY COUNTY
AIRPORT (ADV. PROC. 13-04093)                                   1241-000                               60,000.00

SETTLEMENT - AVFUEL CORPORATION
(ADV. PROC. 14-04085)                                           1241-000                               30,000.00

SETTLEMENT - AVIATION ADVANTAGE,
INC. (ADV. PROC. 14-04028)                                      1241-000                               15,000.00




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                         DESCRIPTION                           UNIFORM                         $ AMOUNT
                                                              TRAN. CODE1                      RECEIVED

SETTLEMENT - AVONDALE AVIATION I,
LLC (ADV PROC 14-04025)                                         1241-000                                7,500.00

SETTLEMENT - BEECHWOOD LAKELAND
HOTEL (ADV. PROC. 14-04021)                                     1241-000                               14,000.00

SETTLEMENT - EIN MANAGEMENT, LLC
(ADV. PROC. 14-04027)                                           1241-000                                5,750.00

SETTLEMENT - ELLISON (ADV. PROC. 14-
04026 and 14-04024)                                             1241-000                               92,000.00

SETTLEMENT - JUDY TULL (ADV. PROC. 14-
04024)                                                          1241-000                               10,000.00

SETTLEMENT - KEILMAN (ADV. PROC. 14-
04023)                                                          1241-000                              250,000.00

SETTLEMENT - MIAMI AIR
INTERNATIONAL, INC. (ADV. PROC. 13-                             1241-000                               83,537.94
04100)
SETTLEMENT - NIAGARA FALLS
AVIATION, LLC (ADV. PROC. 13-04096)                             1241-000                               32,500.00

SETTLEMENT - ORLANDO SANFORD
INTERNATIONAL, INC. (ADV. PROC. 14-                             1241-000                                7,500.00
04020)
SETTLEMENT - PROGRESSIVE FUNDING
SOLUTIONS LLC (ADV PROC 13-                                     1241-000                                1,800.00

SETTLEMENT - QUICKFLIGHT, INC. (ADV
PROC 13-04082)                                                  1241-000                               31,596.74

SETTLEMENT - THE STATION, INC. (ADV.
PROC. 13-04086)                                                 1241-000                                4,000.00




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                            DESCRIPTION                                    UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

ARROW ENERGY LITIGATION - BOND
REFUND                                                                       1249-000                                          42,000.00

ED WARNECK SC BANKRUPTCY CLAIM
(ADV. PROC. NO. 14-04026)                                                    1249-000                                           1,021.77

SETTLEMENT - MERRICK BANK (MERRICK
V. VALLEY NATIONAL BANK)                                                     1249-000                                         275,502.40

         Post-Petition Interest Deposits                                     1270-000                                               0.12

AGREEMENT WITH VALLEY NATIONAL
BANK                                                                         1290-000                                         250,000.00

CHARGE FOR PHOTOCOPIES                                                       1290-000                                             194.00

TOTAL GROSS RECEIPTS                                                                                                    $ 1,624,806.69
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                         UNIFORM             $ AMOUNT
                                                                                                   TRAN. CODE              PAID

NA                                                                                                      NA                           NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                       $ NA
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS




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                                                  UNIFORM        CLAIMS
                                                                                   CLAIMS             CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.      SCHEDULED                                              CLAIMS PAID
                                                                                  ASSERTED           ALLOWED
                                                   CODE      (from Form 6D)

              Wachovia Bank, National
              Association 8740 Research
              Drive NC 1120 BCS Post
              Closing Charlotte, NC 28262                                0.00                 NA               NA              0.00

TOTAL SECURED CLAIMS                                                    $ 0.00              $ 0.00          $ 0.00           $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                              CLAIMS              CLAIMS              CLAIMS
                PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                            SCHEDULED            ASSERTED            ALLOWED
                                            CODE

Joseph H. Baldiga Chapter 7 Trustee         2100-000                    NA           60,331.53          60,331.53         60,331.53


INTERNATIONAL SURETIES, LTD                 2300-000                    NA            1,134.19           1,134.19          1,134.19


INTERNATIONAL SURETIES,
LTD.                                        2300-000                    NA             343.09             343.09            343.09


ASSOCIATED BANK                             2600-000                    NA            1,443.10           1,443.10          1,443.10


BANK OF AMERICA                             2600-000                    NA               15.07              15.07             15.07


UNION BANK                                  2600-000                    NA           26,493.66          26,493.66         26,493.66


U.S. BANKRUPTCY COURT                       2700-000                    NA               21.00              21.00             21.00


UNITED STATES BANKRUPTCY
COURT                                       2700-000                    NA               65.00              65.00             65.00


UNITED STATES TRUSTEE                       2950-000                    NA             650.00             650.00            650.00


HORRY COUNTY STATE BANK                     2990-000                    NA             150.00             150.00            150.00




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                                         UNIFORM
                                                          CLAIMS          CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                             CLAIMS PAID
                                                        SCHEDULED        ASSERTED          ALLOWED
                                          CODE

RADIXX INTERNATIONAL                      2990-000                  NA         3,882.00          3,882.00          3,882.00


MIRICK, O'CONNELL                         3110-000                  NA     1,191,544.00      1,191,544.00       997,989.59


MIRICK, O'CONNELL                         3120-000                  NA        45,576.81         45,576.81        44,499.20


GEORGE MUCKLEROY                          3210-000                  NA           600.00            600.00           600.00


ROBERT M. DEES                            3210-000                  NA        12,600.00         12,600.00        12,600.00


GEORGE MUCKLEROY                          3220-000                  NA           330.86            330.86           330.86


REESE R. BOYD, III, PC                    3220-000                  NA         1,000.00          1,000.00           919.00


ROBERT M. DEES                            3220-000                  NA         3,139.92          3,139.92          3,139.92


VERDOLINO & LOWEY, P.C.                   3410-000                  NA      237,468.50        237,468.50        198,999.89


VERDOLINO & LOWEY, P.C.                   3420-000                  NA        24,790.00         24,790.00        20,774.16


SPRINGFIELD AIRPORT
AUTHORITY                                 3991-000                  NA              0.00             0.00              0.00

TOTAL CHAPTER 7 ADMIN. FEES                                      $ NA    $ 1,611,578.73    $ 1,611,578.73    $ 1,374,381.26
AND CHARGES



           EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES




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                                          UNIFORM
                                                              CLAIMS            CLAIMS              CLAIMS
               PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                            SCHEDULED          ASSERTED            ALLOWED
                                           CODE

Other Prior Chapter Professional
Fees: RIEMER & BRAUNSTEIN
LLP                                        6700-000                     NA         136,698.64         136,698.64             0.00


Other Prior Chapter Administrative
Expenses: UNITED STATES OF
AMERICA DEPARTMENT OF
TRANSPORTATION                             6990-000                     NA       9,625,000.00        9,625,000.00            0.00

TOTAL PRIOR CHAPTER ADMIN.                                           $ NA      $ 9,761,698.64      $ 9,761,698.64           $ 0.00
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                CLAIMS            CLAIMS
                                                 UNIFORM
                                                              SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                             CLAIMS PAID
                                                               (from Form      (from Proofs of     ALLOWED
                                                  CODE
                                                                   6E)             Claim)

             Internal Revenue Service 601
             19th Ave. N. Myrtle Beach,
             SC 29577                                             252,680.80                 NA                NA            0.00


             A. ELEANOR SHOLAN                   5600-000                NA               348.30           348.30           92.30


             AARON COLLINS                       5600-000                NA               436.00           436.00          115.54


             ABBY CASE                           5600-000                NA               314.90           314.90           83.45


             ABBY HODGE                          5600-000                NA               436.00           436.00          115.54


             ADAM GREEN                          5600-000                NA               474.00           474.00          125.61


             ADAM LONG                           5600-000                NA               507.00           507.00          134.35




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                                                             CLAIMS          CLAIMS
                                                UNIFORM
                                                           SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6E)           Claim)

            ADELAIDE GONSALVES                  5600-000             NA              238.00        238.00            63.07


            ALAN BUCHANAN                       5600-000             NA              169.00        169.00            44.79


            ALAN G. MORRISON                    5600-000             NA              179.00        179.00            47.43


            ALAN H. HAMMOND                     5600-000             NA              507.00        507.00           134.35


            ALAN L. STEARNS                     5600-000             NA              547.05        547.05           144.97


            ALBERT GIBSON                       5600-000             NA              188.00        188.00            49.82


            ALBERT T. MCLAUGHLIN                5600-000             NA              358.00        358.00            94.87


            ALEX REZZOLLA                       5600-000             NA              507.00        507.00           134.35


            ALEXANDER SHOVER                    5600-000             NA              361.00        361.00            95.66


            ALFRED AND JOANNE
            CASTAGNA                            5600-000             NA            1,352.00       1,352.00          358.28


            ALICE DILLMAN                       5600-000             NA              638.20        638.20           169.12


            ALICE GENAWAY                       5600-000             NA              300.00        300.00            79.50


            ALICE T. CHAKUROFF                  5600-000             NA              400.00        400.00           106.00


            ALICE WIRTZ                         5600-000             NA              945.00        945.00           250.42


            ALISA FOURNIER                      5600-000             NA              158.00        158.00            41.87


            ALLAN OLLSON                        5600-000             NA            1,557.50       1,557.50          412.73




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            ALLAN RAMM                           5600-000             NA              393.30        393.30           104.22


            ALLAN VANDENBOSCH                    5600-000             NA              781.60        781.60           207.12


            ALLISON EVANS                        5600-000             NA              316.00        316.00            83.74


            ALLISON OLSEN                        5600-000             NA              716.00        716.00           189.74


            ALYSON PATCH                         5600-000             NA              591.50        591.50           156.75


            AMANDA GIBREE                        5600-000             NA              358.00        358.00            94.87


            AMANDA HOBART                        5600-000             NA              188.00        188.00            49.82


            AMANDA O. & KEVIN A.
            KESTERSON                            5600-000             NA            1,131.60       1,131.60          299.87


            AMAURY RIVERA                        5600-000             NA              428.00        428.00           113.42


            AMY CHARRON                          5600-000             NA              168.00        168.00            44.52


            AMY JAMIESON                         5600-000             NA              673.20        673.20           178.40


            AMY KING                             5600-000             NA              466.00        466.00           123.49


            AMY KUTSCHBACH                       5600-000             NA              676.00        676.00           179.14


            AMY LAHEY                            5600-000             NA              632.00        632.00           167.48


            AMY LEWIS                            5600-000             NA              676.00        676.00           179.14


            AMY NALLEY                           5600-000             NA              920.00        920.00           243.80




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            AMY SPEAKER                          5600-000             NA            1,235.06       1,235.06          327.29


            AMY TAMBS                            5600-000             NA              168.50        168.50            44.65


            ANDRE MIRON                          5600-000             NA              451.86        451.86           119.74


            ANDREA HOWE                          5600-000             NA              169.00        169.00            44.78


            ANDREA PRIEUR                        5600-000             NA            2,296.29       2,296.29          608.51


            ANDREA SCHMIDBAUER                   5600-000             NA              187.40        187.40            49.66


            ANDREA SILVA                         5600-000             NA            1,097.60       1,097.60          290.86


            ANDREW HERON                         5600-000             NA              488.00        488.00           129.32


            ANDREWE JOHNSON                      5600-000             NA              810.40        810.40           214.75


            ANETTE M. EVEN                       5600-000             NA              676.00        676.00           179.14


            ANGELA C. SCROGGINS                  5600-000             NA              388.00        388.00           102.82


            ANGELA CIOLINO                       5600-000             NA              716.00        716.00           189.74


            ANGELA MCCLINTON                     5600-000             NA            1,541.20       1,541.20          408.41


            ANGELA PENNELL                       5600-000             NA              376.00        376.00            99.64


            ANGELA PHELPS                        5600-000             NA              230.80        230.80            61.16


            ANGELINE & RUSSELL
            SEVERNS                              5600-000             NA              338.00        338.00            89.57




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            ANGELO ANTONUCCI                     5600-000             NA              795.00        795.00           210.67


            ANGIE HALVERSON                      5600-000             NA            1,539.00       1,539.00          407.83


            ANGLIQUE DEHOYOS                     5600-000             NA              948.00        948.00           251.22


            ANITA MUISE                          5600-000             NA              109.00        109.00            28.88


            ANN KILKUSKIE                        5600-000             NA              338.00        338.00            89.57


            ANN MARIE BOER                       5600-000             NA              169.00        169.00            44.79


            ANN MCMILLIAN                        5600-000             NA              716.00        716.00           189.74


            ANN RICHARDS                         5600-000             NA              614.76        614.76           162.91


            ANN SKRZYPCZAK                       5600-000             NA              235.20        235.20            62.33


            ANNA KEITHLEY                        5600-000             NA              716.00        716.00           189.74


            ANNA M. ROSE                         5600-000             NA              225.99        225.99            59.89


            ANNE D. BOUCHARD                     5600-000             NA              338.00        338.00            89.57


            ANNE FORGUES                         5600-000             NA              496.00        496.00           131.44


            ANNE H. COLLINS                      5600-000             NA              557.00        557.00           147.60


            ANNE M. WILSON                       5600-000             NA              219.00        219.00            58.03


            ANNETTE ROBERTS                      5600-000             NA              338.00        338.00            89.57


            ANNETTE TATE                         5600-000             NA              472.50        472.50           125.21




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            ANNMARIE ROVEGNO                     5600-000             NA               75.00         75.00           19.87


            ANTHONY & TRACEY
            ROSE                                 5600-000             NA              853.40        853.40          226.15


            ANTHONY J. DECILLIS                  5600-000             NA              507.00        507.00          134.35


            ANTHONY L. RECKER                    5600-000             NA              169.00        169.00           44.79


            ANTON MAJKUT                         5600-000             NA               79.00         79.00           20.93


            ANTONIO LICATA                       5600-000             NA              358.00        358.00           94.87


            ARLENE MAZIKOWSKI                    5600-000             NA              287.00        287.00           76.05


            ARLENE S. KOCHER                     5600-000             NA              338.00        338.00           89.57


            ART SKIVER                           5600-000             NA              294.90        294.90           78.15


            ARTHUR J. HEAPHY                     5600-000             NA              338.00        338.00           89.57


            ASHLEY DELVAL                        5600-000             NA              338.00        338.00           89.57


            ASHLEY MYRBERG                       5600-000             NA              216.99        216.99           57.50


            AUDREY MINKEL                        5600-000             NA              103.22        103.22           27.35


            AUDREY SAGE                          5600-000             NA              279.00        279.00           73.93


            BARBARA A. SMITH                     5600-000             NA              472.00        472.00          125.08


            BARBARA ANDRESON                     5600-000             NA              526.27        526.27          139.46




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            BARBARA BRECHTING                    5600-000             NA              788.00        788.00           208.82


            BARBARA C. WEBER                     5600-000             NA               49.95         49.95            13.24


            BARBARA DORMAN                       5600-000             NA              300.00        300.00            79.50


            BARBARA E. HANEY                     5600-000             NA              358.00        358.00            94.87


            BARBARA FAULCONER                    5600-000             NA              500.00        500.00           132.50


            BARBARA FERREE, I                    5600-000             NA               28.90         28.90             7.66


            BARBARA J. GARRETT                   5600-000             NA               49.95         49.95            13.24


            BARBARA J. MATTHEWS                  5600-000             NA              158.00        158.00            41.87


            BARBARA L. POULSEN                   5600-000             NA              338.00        338.00            89.57


            BARBARA LANTZ                        5600-000             NA              338.00        338.00            89.57


            BARBARA REISS                        5600-000             NA            1,064.00       1,064.00          281.96


            BARBARA RINALDI                      5600-000             NA              606.50        606.50           160.72


            BARBARA TAYLOR                       5600-000             NA              772.16        772.16           204.62


            BARBARA TURNER                       5600-000             NA            1,045.10       1,045.10          276.95


            BARBARA WILHARM                      5600-000             NA              676.00        676.00           179.14


            BARBARA WOOD                         5600-000             NA              338.00        338.00            89.57


            BARRY FERNALD                        5600-000             NA              507.00        507.00           134.36




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                                                  CODE
                                                                 6E)           Claim)

            BARRY SCHWARTZ                       5600-000             NA              376.00        376.00            99.64


            BARTON E. BAILEY                     5600-000             NA              507.00        507.00           134.35


            BELINDA YELLIOTT                     5600-000             NA              322.00        322.00            85.33


            BEN E. BENACK, Jr.                   5600-000             NA              189.00        189.00            50.08


            BENJAMIN MOUSEL                      5600-000             NA              175.00        175.00            46.37


            BERNADETTE LEO                       5600-000             NA               50.00         50.00            13.25


            BERNARD HEAVERLY                     5600-000             NA              338.00        338.00            89.57


            BERNARD J. GUYNUP                    5600-000             NA            1,045.95       1,045.95          277.17


            BERNARD LARIVIERE                    5600-000             NA              477.00        477.00           126.40


            BERNICE PACKER                       5600-000             NA              338.00        338.00            89.57


            BETH A. NOBLES                       5600-000             NA              371.60        371.60            98.47


            BETH H. WELLS                        5600-000             NA              224.90        224.90            59.60


            BETH SULLIVAN                        5600-000             NA              194.00        194.00            51.41


            BETH WARE                            5600-000             NA              561.30        561.30           148.75


            BETH WHITE                           5600-000             NA              358.00        358.00            94.87


            BETHANY CARTER                       5600-000             NA              338.00        338.00            89.57


            BETSY V. DIETZ                       5600-000             NA              169.00        169.00            44.78




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CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            BETTY AND JEFF
            NAREHOOD                             5600-000             NA              338.00        338.00           89.57


            BETTY ANN JONGELING                  5600-000             NA              169.00        169.00           44.78


            BETTY HONISKO                        5600-000             NA              164.90        164.90           43.70


            BETTY LOU MAZUCA                     5600-000             NA              158.00        158.00           41.87


            BETTY ROY                            5600-000             NA              500.00        500.00          132.50


            BETTY-LOU TUFFORD                    5600-000             NA              507.00        507.00          134.35


            BEVERLY A. FEGLEY                    5600-000             NA              169.80        169.80           45.00


            BEVERLY MASON                        5600-000             NA              338.00        338.00           89.57


            BEVERLY N. BEAN                      5600-000             NA              169.00        169.00           44.78


            BILL & LISA UNZICKER                 5600-000             NA              402.40        402.40          106.64


            BILL SCHOETTLE                       5600-000             NA              305.60        305.60           80.99


            BILLIE ELLIS                         5600-000             NA              158.00        158.00           41.87


            BLAKE POWERS                         5600-000             NA              499.80        499.80          132.45


            BOB MAKI                             5600-000             NA              492.30        492.30          130.46


            BOBBY CLEVELAND                      5600-000             NA              211.42        211.42           56.03


            BONNIE JENKS                         5600-000             NA              365.00        365.00           96.72




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CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
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                                                  CODE
                                                                 6E)           Claim)

            BONNIE L. DONOHUE                    5600-000             NA              218.95        218.95           58.02


            BONNIE LAURIE                        5600-000             NA              338.00        338.00           89.57


            BONNIE OFFHAUS                       5600-000             NA              540.00        540.00          143.10


            BONNIE PAULMENN                      5600-000             NA              149.00        149.00           39.48


            BONNIE TAYLOR                        5600-000             NA              537.00        537.00          142.31


            BRAD GUILLERM                        5600-000             NA              338.00        338.00           89.57


            BRADFORD LEE WEST                    5600-000             NA              507.00        507.00          134.35


            BRADLEY COX                          5600-000             NA              507.00        507.00          134.35


            BRADLEY MARTIN                       5600-000             NA              783.40        783.40          207.60


            BRANDEN HAPACH                       5600-000             NA              418.80        418.80          110.98


            BRANDON TRIERWEILER                  5600-000             NA              942.50        942.50          249.76


            BRENDA BEAUCAGE                      5600-000             NA              338.00        338.00           89.57


            BRENDA CAFORIA-
            WEEBER                               5600-000             NA              776.00        776.00          205.64


            BRENDA K. & MORRIS C.
            TOWNE                                5600-000             NA              714.40        714.40          189.31


            BRENDA K. SITAR                      5600-000             NA              414.00        414.00          109.71


            BRENDA RIPPLE                        5600-000             NA              316.00        316.00           83.74




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                                                  CODE
                                                                 6E)           Claim)

            BRENT A. WETNICKA                    5600-000             NA            1,128.00       1,128.00          298.92


            BRENT C. LACY                        5600-000             NA              376.00        376.00            99.64


            BRENTLEY D. TARTER                   5600-000             NA              474.00        474.00           125.61


            BRIAN & DAYLE
            LIEBERMAN                            5600-000             NA              505.40        505.40           133.93


            BRIAN BRUNELL                        5600-000             NA              338.00        338.00            89.57


            BRIAN C. & SUSAN D.
            DWYER                                5600-000             NA              696.00        696.00           184.44


            BRIAN C. BUSIER                      5600-000             NA            1,352.00       1,352.00          358.28


            BRIAN C. ROBERTS                     5600-000             NA              507.00        507.00           134.35


            BRIAN CAPAN                          5600-000             NA              346.00        346.00            91.69


            BRIAN GALLANT                        5600-000             NA            2,613.00       2,613.00          692.44


            BRIAN L. BUNDY                       5600-000             NA              266.60        266.60            70.65


            BRIAN MAZJANIS                       5600-000             NA              841.20        841.20           222.92


            BRIAN MEIER                          5600-000             NA              654.00        654.00           173.31


            BRIAN PASHOIAN                       5600-000             NA              471.80        471.80           125.03


            BRIAN SMITH                          5600-000             NA              338.40        338.40            89.68


            BRIAN STEINBERG                      5600-000             NA              169.00        169.00            44.78




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                                                  CODE
                                                                 6E)           Claim)

            BRIAN T. BRUMLEY                     5600-000             NA              169.00        169.00            44.78


            BRIANNA BORK                         5600-000             NA            1,000.00       1,000.00          265.00


            BRIANNE WOOD                         5600-000             NA              457.89        457.89           121.34


            BROOKE FITZSIMMONS                   5600-000             NA              372.00        372.00            98.58


            BROOKLIN KERR-MAUK                   5600-000             NA              338.00        338.00            89.57


            BRUCE BARETTE                        5600-000             NA              537.00        537.00           142.30


            BRUCE WITHERELL                      5600-000             NA              661.60        661.60           175.32


            C. EDWARD NEWMEYER,
            Jr.                                  5600-000             NA              507.00        507.00           134.36


            CAITLIN KELLY                        5600-000             NA              188.00        188.00            49.82


            CALEB BARNETT                        5600-000             NA              158.00        158.00            41.87


            CAMILLE SUSHEL                       5600-000             NA              338.00        338.00            89.57


            CANDACE L. BERUBE                    5600-000             NA              400.00        400.00           106.00


            CARL & LINDA WEINDEL                 5600-000             NA              338.00        338.00            89.57


            CARL BICE                            5600-000             NA            1,014.00       1,014.00          268.71


            CARL VUOTTO                          5600-000             NA            1,352.00       1,352.00          358.28


            CARLA WILEY                          5600-000             NA              208.00        208.00            55.12




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                                                  CODE
                                                                 6E)           Claim)

            CARLOS BEAULIEU                      5600-000             NA            1,071.34       1,071.34          283.90


            CARMEN SINE                          5600-000             NA              676.00        676.00           179.14


            CAROL & TIM DRUMMER                  5600-000             NA              409.58        409.58           108.54


            CAROL A. KUHNAU                      5600-000             NA              338.00        338.00            89.57


            CAROL A. SCHLIPP                     5600-000             NA              845.00        845.00           223.92


            CAROL A. STACK                       5600-000             NA              676.00        676.00           179.14


            CAROL COMFORT                        5600-000             NA              285.40        285.40            75.63


            CAROL COX                            5600-000             NA               84.50         84.50            22.40


            CAROL DEHAAN-
            GEROULD                              5600-000             NA              338.00        338.00            89.57


            CAROL EGGERS                         5600-000             NA              338.00        338.00            89.57


            CAROL GAUDETTE                       5600-000             NA              376.00        376.00            99.64


            CAROL HARTLE                         5600-000             NA              169.00        169.00            44.78


            CAROL HUTTER                         5600-000             NA              790.00        790.00           209.35


            CAROL J. SCHWART                     5600-000             NA              169.00        169.00            44.79


            CAROL L. BLEIGH                      5600-000             NA              169.00        169.00            44.78


            CAROL LOMBARD                        5600-000             NA              507.00        507.00           134.36




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                                                  CODE
                                                                 6E)           Claim)

            CAROL M. TABONE                      5600-000             NA              510.89        510.89           135.39


            CAROL MCNULTY                        5600-000             NA              164.84        164.84            43.68


            CAROL SATTELBERG                     5600-000             NA              219.00        219.00            58.03


            CAROL WEBSTER                        5600-000             NA              158.00        158.00            41.87


            CAROL WOLFE                          5600-000             NA              236.89        236.89            62.78


            CAROL YOUNG                          5600-000             NA              418.80        418.80           110.98


            CAROL-ANN FARINACCI                  5600-000             NA            3,746.47       3,746.47          992.81


            CAROLE HALLGREN                      5600-000             NA              200.00        200.00            53.00


            CAROLE M. HOLMES                     5600-000             NA              318.00        318.00            84.27


            CAROLE ROBERTS                       5600-000             NA              169.00        169.00            44.78


            CAROLINE SPIERING                    5600-000             NA              169.00        169.00            44.78


            CAROLYN AND TOM ST.
            MEYERS                               5600-000             NA              497.90        497.90           131.94


            CAROLYN COLLINS                      5600-000             NA              471.90        471.90           125.05


            CAROLYN HANSIS                       5600-000             NA              169.00        169.00            44.78


            CAROLYN HUGHES                       5600-000             NA              148.30        148.30            39.30


            CAROLYN HYMIAK                       5600-000             NA              386.00        386.00           102.29




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                                                  CODE
                                                                 6E)           Claim)

            CAROLYN IRACE                        5600-000             NA              557.00        557.00           147.61


            CAROLYN KENDALL                      5600-000             NA              338.00        338.00            89.57


            CAROLYN MCPHERSON                    5600-000             NA              607.00        607.00           160.85


            CAROLYN STUMPF                       5600-000             NA              507.76        507.76           134.56


            CAROLYNN V. ROBINSON 5600-000                             NA              338.00        338.00            89.57


            CARRIE CZUNAS                        5600-000             NA              610.20        610.20           161.70


            CARRIE DYE                           5600-000             NA              376.00        376.00            99.64


            CASILLE E. FONSECA                   5600-000             NA              676.20        676.20           179.19


            CATHERINE A. MERWIN                  5600-000             NA              433.98        433.98           115.00


            CATHERINE M. LAFLER                  5600-000             NA              264.78        264.78            70.17


            CATHERINE MELDER                     5600-000             NA              338.00        338.00            89.57


            CATHERINE UR                         5600-000             NA              338.00        338.00            89.57


            CATHLEEN HULL                        5600-000             NA            1,004.82       1,004.82          266.28


            CATHY & RICHARD
            BELISLE                              5600-000             NA              332.70        332.70            88.17


            CATHY ANDERSON                       5600-000             NA              120.20        120.20            31.85


            CATHY JEAN SARFF                     5600-000             NA              638.56        638.56           169.22




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                                                  CODE
                                                                 6E)           Claim)

            CATHY MCCOOL                         5600-000             NA              508.40        508.40           134.73


            CELESTE DISTEFANO                    5600-000             NA              337.70        337.70            89.49


            CELIA WOLTHUIS                       5600-000             NA               99.82         99.82            26.45


            CHARITO M. ALVARADO                  5600-000             NA              173.00        173.00            45.84


            CHARLENE BROWN                       5600-000             NA              564.00        564.00           149.46


            CHARLENE CASSAVANT                   5600-000             NA              282.00        282.00            74.73


            CHARLES & LISA
            LABOMBARD                            5600-000             NA              507.00        507.00           134.36


            CHARLES A. AND JANIE
            STANLEY                              5600-000             NA              358.00        358.00            94.87


            CHARLES A. SNELL                     5600-000             NA            1,014.00       1,014.00          268.71


            CHARLES BOURDON                      5600-000             NA              110.69        110.69            29.33


            CHARLES BROOKS                       5600-000             NA              338.00        338.00            89.57


            CHARLES DRESSEL                      5600-000             NA              338.00        338.00            89.57


            CHARLES E. THOMAS                    5600-000             NA              150.00        150.00            39.75


            CHARLES H. FIELDS                    5600-000             NA            1,304.60       1,304.60          345.72


            CHARLES J. THOMAS                    5600-000             NA              338.00        338.00            89.57


            CHARLES JAKEWAY                      5600-000             NA              150.00        150.00            39.75




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                                                  CODE
                                                                 6E)           Claim)

            CHARLES NIGZUS                       5600-000             NA              921.00        921.00           244.06


            CHARLES WALTERS                      5600-000             NA              205.40        205.40            54.43


            CHARLOTTE KEE                        5600-000             NA               49.95         49.95            13.24


            CHARLOTTE SLEAR                      5600-000             NA               49.95         49.95            13.23


            CHARLOTTE TERHUNE                    5600-000             NA              358.00        358.00            94.87


            CHERIE L. HEARN                      5600-000             NA              451.50        451.50           119.65


            CHERYL & BRIAN
            MITCHELL                             5600-000             NA               49.95         49.95            13.24


            CHERYL A. DEBOER                     5600-000             NA              200.00        200.00            53.00


            CHERYL A. GRAVINA                    5600-000             NA              874.00        874.00           231.61


            CHERYL BENZ                          5600-000             NA              366.00        366.00            96.99


            CHERYL BOLTON                        5600-000             NA              792.00        792.00           209.88


            CHERYL DOEPP                         5600-000             NA              338.00        338.00            89.57


            CHERYL HOUSLEY                       5600-000             NA            1,207.20       1,207.20          319.91


            CHERYL L. MARSHALL                   5600-000             NA              188.00        188.00            49.82


            CHERYL L. WHITEMAN                   5600-000             NA              338.00        338.00            89.57


            CHERYL M. COX                        5600-000             NA              200.00        200.00            53.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            CHERYL SIMPSON                       5600-000             NA            1,014.00       1,014.00          268.71


            CHERYL SLAY                          5600-000             NA              298.00        298.00            78.97


            CHESTER R. HARVEY, Jr.               5600-000             NA              248.00        248.00            65.72


            CHEVON ROTUNA                        5600-000             NA            1,238.94       1,238.94          328.32


            CHRIS & LISA MCGINNIS                5600-000             NA              338.00        338.00            89.57


            CHRIS GALLUPE                        5600-000             NA            1,341.76       1,341.76          355.57


            CHRIS MCCRORY                        5600-000             NA              239.00        239.00            63.33


            CHRIS RAMIE                          5600-000             NA              157.30        157.30            41.69


            CHRISTIAN ANDRADE                    5600-000             NA              338.00        338.00            89.57


            CHRISTIAN J. CIESLUK                 5600-000             NA              525.00        525.00           139.12


            CHRISTINE A. LEHMAN                  5600-000             NA              636.00        636.00           168.54


            CHRISTINE AND
            MICHAEL DE JOHG                      5600-000             NA              676.03        676.03           179.15


            CHRISTINE FINTZEL                    5600-000             NA              250.30        250.30            66.33


            CHRISTINE FULLER                     5600-000             NA              150.00        150.00            39.75


            CHRISTINE GOKEY
            LANDRY                               5600-000             NA              241.20        241.20            63.92


            CHRISTINE HAMER                      5600-000             NA              640.26        640.26           169.67




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            CHRISTINE HORANZY                    5600-000             NA              676.00        676.00           179.14


            CHRISTINE JOHNSON                    5600-000             NA              179.00        179.00            47.44


            CHRISTINE P. BREWER                  5600-000             NA              200.00        200.00            53.00


            CHRISTINE R. & JAMES A.
            COOPER                               5600-000             NA              500.60        500.60           132.66


            CHRISTINE Z. DOLLINGER 5600-000                           NA              358.00        358.00            94.87


            CHRISTOPHER HAVENS                   5600-000             NA              477.16        477.16           126.45


            CHRISTOPHER J.
            KLYCZEK                              5600-000             NA            1,374.50       1,374.50          364.24


            CHRISTOPHER K. BUSH                  5600-000             NA              564.00        564.00           149.46


            CHRISTOPHER PALLOTTA 5600-000                             NA            1,550.00       1,550.00          410.74


            CHRISTOPHER T. COOPER 5600-000                            NA              264.58        264.58            70.11


            CHRISTOPHER WHITNEY                  5600-000             NA              616.80        616.80           163.45


            CHRISTOPHER WOOLLAM 5600-000                              NA            1,014.00       1,014.00          268.71


            CINDA DIRLAM                         5600-000             NA              179.00        179.00            47.43


            CINDRA JOHNSON                       5600-000             NA              494.20        494.20           130.96


            CINDY BLONDE                         5600-000             NA              338.00        338.00            89.57


            CINDY HE                             5600-000             NA              507.00        507.00           134.35




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            CINDY M. BORDEN                      5600-000             NA              316.00        316.00            83.74


            CLAIRE HALVEY                        5600-000             NA              456.60        456.60           121.00


            CLAIRE R. FARRELL                    5600-000             NA              338.00        338.00            89.57


            CLARENCE POTTS                       5600-000             NA              169.00        169.00            44.78


            CLAUDIA & DONALD
            ALLAIN                               5600-000             NA              316.00        316.00            83.74


            CLAUDIA A. MESAROSH                  5600-000             NA              169.00        169.00            44.78


            CLAUDIA C. BAILEY                    5600-000             NA              318.00        318.00            84.27


            CLIFFORD FREEMAN                     5600-000             NA              388.00        388.00           102.82


            CLIFFORD THIEL                       5600-000             NA              169.00        169.00            44.78


            COLIN & MARY JANE
            KELLY                                5600-000             NA            1,240.96       1,240.96          328.85


            COLLEEN BAKER                        5600-000             NA              316.00        316.00            83.74


            COLLEEN KALAGHER                     5600-000             NA              519.40        519.40           137.64


            COLLEEN LOWE                         5600-000             NA              945.75        945.75           250.62


            COLLEEN MARIE GOSS                   5600-000             NA              338.00        338.00            89.57


            CONNIE L. GOODRICH                   5600-000             NA              507.00        507.00           134.36




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                                                  CODE
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            CONSTANCE
            CAVANAUGH                            5600-000             NA              295.20        295.20            78.23


            CONSTANCE NAGEL                      5600-000             NA              338.00        338.00            89.57


            COREEN HEALY                         5600-000             NA              114.50        114.50            30.34


            COREY TAYLOR                         5600-000             NA              641.10        641.10           169.89


            CORINNE FISHER                       5600-000             NA              126.00        126.00            33.39


            CORINNE FITZPATRICK                  5600-000             NA            1,941.89       1,941.89          514.60


            CORINNE KEEVEN                       5600-000             NA              169.00        169.00            44.78


            CORRINNE MANERA                      5600-000             NA              169.00        169.00            44.78


            CORY J. HAND                         5600-000             NA              338.00        338.00            89.57


            COURTNEY FORKAS                      5600-000             NA              400.20        400.20           106.05


            CRAIG CIRBUS                         5600-000             NA              338.00        338.00            89.57


            CRYSTAL DAIGE                        5600-000             NA              395.00        395.00           104.68


            CRYSTAL M. ADAMS
            (BIRCHLER)                           5600-000             NA              305.60        305.60            80.99


            CURTIS FALZOI                        5600-000             NA              338.00        338.00            89.57


            CYNTHIA BARFIELD                     5600-000             NA               49.95         49.95            13.24


            CYNTHIA CACCESE                      5600-000             NA              289.78        289.78            76.79




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            CYNTHIA GEBO                         5600-000             NA              507.00        507.00           134.35


            CYNTHIA GETTLE                       5600-000             NA              224.90        224.90            59.60


            CYNTHIA GOLDEN                       5600-000             NA            1,441.29       1,441.29          381.94


            CYNTHIA JOHNSON                      5600-000             NA              430.00        430.00           113.95


            CYNTHIA LOUISE SMITH                 5600-000             NA              169.10        169.10            44.81


            CYNTHIA MARTIN                       5600-000             NA              338.00        338.00            89.57


            CYNTHIA PREMO                        5600-000             NA              218.00        218.00            57.77


            CYNTHIA QUADRI                       5600-000             NA              300.00        300.00            79.50


            CYNTHIA S.
            BIANCAMANO                           5600-000             NA              487.00        487.00           129.05


            CYNTHIA TARTER                       5600-000             NA              109.00        109.00            28.89


            CYNTHIA UTTERBACK-
            PAYNE                                5600-000             NA              610.20        610.20           161.70


            CYNTHIA VOGELZANG                    5600-000             NA              269.29        269.29            71.36


            CYRIL B. FREVERT                     5600-000             NA              430.00        430.00           113.95


            D. MICHAEL STOVER                    5600-000             NA              363.00        363.00            96.19


            DALE LEONG                           5600-000             NA              676.00        676.00           179.14




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                                                  CODE
                                                                 6E)           Claim)

            DAN AND ANGELA
            BAGWELL                              5600-000             NA              600.00        600.00          159.00


            DAN CARON                            5600-000             NA              114.00        114.00           30.21


            DANA BLACKMAN                        5600-000             NA              911.06        911.06          241.43


            DANA E. SHULTS                       5600-000             NA              358.00        358.00           94.87


            DANIEL AND JOAN
            CARLSON                              5600-000             NA              969.00        969.00          256.78


            DANIEL DEGRAW                        5600-000             NA              169.00        169.00           44.79


            DANIEL FRANK                         5600-000             NA               85.00         85.00           22.52


            DANIEL GEORGE                        5600-000             NA              895.00        895.00          237.18


            DANIEL J. MARTINSON                  5600-000             NA              338.00        338.00           89.57


            DANIEL J. MOLLOY, Sr.                5600-000             NA              507.00        507.00          134.35


            DANIEL KRABY                         5600-000             NA              188.00        188.00           49.82


            DANIEL L. BRACE                      5600-000             NA              319.40        319.40           84.64


            DANIEL PETOCK                        5600-000             NA              676.00        676.00          179.14


            DANIEL PROKUP                        5600-000             NA              468.00        468.00          124.02


            DANIEL WEISENREDER                   5600-000             NA              725.40        725.40          192.23


            DANIELLE HIGGINS                     5600-000             NA              607.22        607.22          160.91




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                                                  CODE
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            DANNY BOUCHARD                       5600-000             NA              946.20        946.20           250.74


            DANNY L. AND DEBRA M.
            AUGHENB                              5600-000             NA              813.70        813.70           215.63


            DARLENE EELLS                        5600-000             NA               75.00         75.00            19.87


            DARLENE J. QUINDEL                   5600-000             NA              338.00        338.00            89.57


            DARLENE SMYTHE                       5600-000             NA              159.10        159.10            42.16


            DARREL MATHIS                        5600-000             NA              338.00        338.00            89.57


            DARRELEN J. DETWILER                 5600-000             NA              532.00        532.00           140.98


            DARRELL FRANKLIN
            CLAY                                 5600-000             NA            1,283.00       1,283.00          339.99


            DARRELL SLIGHTOM                     5600-000             NA              149.00        149.00            39.48


            DARREN RANDALL                       5600-000             NA              451.00        451.00           119.51


            DAVE & KELLY GOGAL                   5600-000             NA              688.77        688.77           182.52


            DAVE CORSI                           5600-000             NA              338.00        338.00            89.57


            DAVID & LISA TAYLOR                  5600-000             NA              332.50        332.50            88.11


            DAVID A. MAGOON                      5600-000             NA              419.80        419.80           111.25


            DAVID BARTLETT                       5600-000             NA              338.00        338.00            89.57


            DAVID CAWLEY                         5600-000             NA              338.00        338.00            89.57




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                                                  CODE
                                                                 6E)           Claim)

            DAVID DESORCIE                       5600-000             NA              338.00        338.00            89.57


            DAVID DUGAN                          5600-000             NA              676.00        676.00           179.14


            DAVID G. BAUER                       5600-000             NA              338.00        338.00            89.57


            DAVID GALASS                         5600-000             NA              574.00        574.00           152.11


            DAVID HAFFNER                        5600-000             NA              845.00        845.00           223.92


            DAVID HAMILTON                       5600-000             NA              305.60        305.60            80.98


            DAVID HAUVER                         5600-000             NA              350.00        350.00            92.75


            DAVID HENDERSHOT                     5600-000             NA              169.00        169.00            44.79


            DAVID KIMMEL                         5600-000             NA              434.73        434.73           115.20


            DAVID L. MCILWAIN                    5600-000             NA              335.10        335.10            88.80


            DAVID M. PAGLIERONI                  5600-000             NA              522.60        522.60           138.49


            DAVID MARK                           5600-000             NA              450.50        450.50           119.38


            DAVID MOWATT                         5600-000             NA              277.87        277.87            73.64


            DAVID MURZYCKI                       5600-000             NA              705.60        705.60           186.98


            DAVID OLENICK                        5600-000             NA            1,544.00       1,544.00          409.16


            DAVID RAU                            5600-000             NA              338.00        338.00            89.57


            DAVID SIMONEAU                       5600-000             NA              338.00        338.00            89.57




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                                                  CODE
                                                                 6E)           Claim)

            DAVID STEVENS                        5600-000             NA            2,834.00       2,834.00          751.01


            DAVID SZEWCZYKOWSKI 5600-000                              NA              676.00        676.00           179.14


            DAVID WALTER                         5600-000             NA              169.00        169.00            44.78


            DAWN A. COTTONE                      5600-000             NA              696.00        696.00           184.44


            DAWN AND JAMES
            GROSSO                               5600-000             NA            1,870.00       1,870.00          495.55


            DAWN GIBBS                           5600-000             NA              169.00        169.00            44.78


            DAWN W. STEINBERG                    5600-000             NA              365.00        365.00            96.73


            DAX IMHOFF                           5600-000             NA              845.00        845.00           223.92


            DEAN M. DIBLEY                       5600-000             NA              429.20        429.20           113.73


            DEBBRA EICHLER                       5600-000             NA              169.00        169.00            44.78


            DEBORAH A. WLOCH                     5600-000             NA              168.30        168.30            44.60


            DEBORAH BENNINGER                    5600-000             NA              338.00        338.00            89.57


            DEBORAH BENWAY                       5600-000             NA              158.00        158.00            41.87


            DEBORAH BRESNAHAN                    5600-000             NA              338.00        338.00            89.57


            DEBORAH CHALLANS                     5600-000             NA              676.44        676.44           179.26


            DEBORAH COURTENAY                    5600-000             NA              514.00        514.00           136.21




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                                                  CODE
                                                                 6E)           Claim)

            DEBORAH HARRIS                       5600-000             NA              494.00        494.00           130.91


            DEBORAH HAVALOTTI                    5600-000             NA              716.00        716.00           189.74


            DEBORAH J. AND
            ARLINGTON SPINNE                     5600-000             NA              358.00        358.00            94.87


            DEBORAH J. BEASOCK                   5600-000             NA              474.38        474.38           125.71


            DEBORAH J. KASABIAN                  5600-000             NA            1,966.70       1,966.70          521.17


            DEBORAH JOY TRESCOTT 5600-000                             NA            1,014.00       1,014.00          268.71


            DEBORAH KEPHART                      5600-000             NA              474.00        474.00           125.61


            DEBORAH LADD                         5600-000             NA              338.00        338.00            89.57


            DEBORAH LU
            HARRINGTON                           5600-000             NA              869.70        869.70           230.47


            DEBORAH MACMILLAN                    5600-000             NA            1,014.00       1,014.00          268.71


            DEBORAH MEYER                        5600-000             NA              621.00        621.00           164.56


            DEBORAH SANDBROOK                    5600-000             NA              507.00        507.00           134.35


            DEBORAH SIKES                        5600-000             NA              358.00        358.00            94.87


            DEBORAH SMITH                        5600-000             NA              527.00        527.00           139.65


            DEBORAH TORRANCE                     5600-000             NA              724.00        724.00           191.86


            DEBORAH WILSON                       5600-000             NA              158.00        158.00            41.87




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            DEBRA A. CRIDDLE                     5600-000             NA              158.00        158.00            41.87


            DEBRA A. DEDOMING                    5600-000             NA              180.00        180.00            47.70


            DEBRA A. HARRINGTON                  5600-000             NA              676.00        676.00           179.14


            DEBRA BAEHRE                         5600-000             NA              300.00        300.00            79.50


            DEBRA BLANDING                       5600-000             NA              676.00        676.00           179.14


            DEBRA BOHNER                         5600-000             NA              621.00        621.00           164.56


            DEBRA CONNOLLY                       5600-000             NA              190.00        190.00            50.35


            DEBRA J. WERENSKI                    5600-000             NA              516.00        516.00           136.73


            DEBRA L. PERRY                       5600-000             NA              507.00        507.00           134.35


            DEBRA NELLANY                        5600-000             NA              264.40        264.40            70.07


            DEBRA SHERWOOD                       5600-000             NA              247.75        247.75            65.65


            DEBRA TRAFIL                         5600-000             NA              303.00        303.00            80.29


            DEE A. HOOVER                        5600-000             NA              169.00        169.00            44.78


            DELORES A. CEKOLA                    5600-000             NA              507.00        507.00           134.35


            DELORES FRIEDRICH                    5600-000             NA            1,790.00       1,790.00          474.35


            DENIS THOMAS                         5600-000             NA              895.00        895.00           237.17


            DENISE COTE                          5600-000             NA              831.20        831.20           220.27




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                                                                 6E)           Claim)

            DENISE JACOBY-SMITH                  5600-000             NA              100.00        100.00            26.50


            DENISE JANHUNEN                      5600-000             NA              200.64        200.64            53.17


            DENISE PAGE                          5600-000             NA              504.00        504.00           133.56


            DENISE RUDZINSKY                     5600-000             NA              204.70        204.70            54.25


            DENNIS & ESTHER
            ERDMAN                               5600-000             NA              338.00        338.00            89.57


            DENNIS AND SHERRY
            KELLY                                5600-000             NA            1,047.60       1,047.60          277.61


            DENNIS C. BEAN                       5600-000             NA              800.00        800.00           212.00


            DENNIS GASBARRO                      5600-000             NA              446.60        446.60           118.35


            DENNIS JEROME PARKER 5600-000                             NA              169.00        169.00            44.79


            DENNIS MCQUAIDE                      5600-000             NA              169.00        169.00            44.79


            DENYSE TUGGLE                        5600-000             NA              169.00        169.00            44.78


            DEREK & KERRY
            BURRILL                              5600-000             NA              376.00        376.00            99.64


            DEREK HAST                           5600-000             NA            1,322.00       1,322.00          350.33


            DEREK S. NESDOLY                     5600-000             NA              804.40        804.40           213.16


            DERRICK LUCAS                        5600-000             NA              345.40        345.40            91.53




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                                                  CODE
                                                                 6E)           Claim)

            DIANA A. MESNIL                      5600-000             NA              790.00        790.00          209.35


            DIANA DOWDALL                        5600-000             NA              338.00        338.00           89.57


            DIANA MASSA                          5600-000             NA              338.00        338.00           89.57


            DIANA REBEL                          5600-000             NA              532.00        532.00          140.98


            DIANA WAITE                          5600-000             NA              338.00        338.00           89.57


            DIANE & BARRY
            MCCARTHY                             5600-000             NA              500.43        500.43          132.61


            DIANE AABY                           5600-000             NA               90.20         90.20           23.90


            DIANE BEAUCHEMIN                     5600-000             NA              405.00        405.00          107.32


            DIANE CLIM                           5600-000             NA              276.27        276.27           73.21


            DIANE DESBIENS                       5600-000             NA              200.00        200.00           53.00


            DIANE
            HOLLANDSWORTH                        5600-000             NA              188.00        188.00           49.82


            DIANE M. GALLAGHER                   5600-000             NA              227.40        227.40           60.26


            DIANE M. JUDA                        5600-000             NA              676.00        676.00          179.14


            DIANE MAGER                          5600-000             NA              397.00        397.00          105.20


            DIANE MCNALLY                        5600-000             NA              496.00        496.00          131.44


            DIANE MEEHAN                         5600-000             NA              410.80        410.80          108.86




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            DIANE MORIN
            LAMARCHE                             5600-000             NA              338.00        338.00            89.57


            DIANE PETERS                         5600-000             NA              325.00        325.00            86.12


            DIANE SAVAGE                         5600-000             NA              507.00        507.00           134.36


            DIANE WHITE-PELOSI                   5600-000             NA              676.00        676.00           179.14


            DIANNE HACKER                        5600-000             NA              285.80        285.80            75.74


            DIETER H. HEINZE                     5600-000             NA              507.00        507.00           134.35


            DOLORES GEHLHAUS                     5600-000             NA              419.10        419.10           111.06


            DOLORES INDOVINA                     5600-000             NA              169.00        169.00            44.78


            DOLOROS STINSON                      5600-000             NA              194.00        194.00            51.41


            DON DOOLEY                           5600-000             NA              499.40        499.40           132.34


            DONA K. GILLSON                      5600-000             NA            1,024.50       1,024.50          271.49


            DONALD AND CHANNON
            M. BOULANGER, Jr.                    5600-000             NA              945.00        945.00           250.43


            DONALD AND VIRGINIA
            TOY                                  5600-000             NA              338.00        338.00            89.57


            DONALD CROTEAU                       5600-000             NA              532.05        532.05           140.99


            DONALD D. CAMERON                    5600-000             NA              428.00        428.00           113.42




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            DONALD DOUBLEDAY                     5600-000             NA              870.20        870.20             230.60


            DONALD E. AND JUDY R.
            MARKOWSK                             5600-000             NA              338.00        338.00              89.57


            DONALD J. CONRAD                     5600-000             NA              507.00        507.00             134.35


            DONALD L. KORACH                     5600-000             NA              200.00        200.00              53.00


            DONALD MCELROY                       5600-000             NA              676.00        676.00             179.14


            DONALD RUPPERT                       5600-000             NA              530.80             0.00            0.00


            DONALD V. BOURCIER                   5600-000             NA              288.20        288.20              76.37


            DONNA BAUMAN                         5600-000             NA              201.20        201.20              53.32


            DONNA BELFIORE                       5600-000             NA              173.48        173.48              45.97


            DONNA BURCZYNSKI                     5600-000             NA              632.00        632.00             167.48


            DONNA CONWAY                         5600-000             NA              338.00        338.00              89.57


            DONNA DUFFIELD                       5600-000             NA              143.00        143.00              37.89


            DONNA GREEN                          5600-000             NA              338.00        338.00              89.57


            DONNA KIRBY                          5600-000             NA              299.28        299.28              79.31


            DONNA LAMURA                         5600-000             NA              169.00        169.00              44.78


            DONNA LENHARDT                       5600-000             NA              248.00        248.00              65.72




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            DONNA M. BODETTE                     5600-000             NA              436.00        436.00           115.54


            DONNA M. PALMARI                     5600-000             NA              552.60        552.60           146.44


            DONNA M. PEARSON                     5600-000             NA              338.00        338.00            89.57


            DONNA PIATEK                         5600-000             NA              169.00        169.00            44.78


            DONNA PRATT                          5600-000             NA              338.00        338.00            89.57


            DONNA SCHULTZ                        5600-000             NA              214.90        214.90            56.95


            DONNA STARR                          5600-000             NA              338.00        338.00            89.57


            DONNA WAITS                          5600-000             NA              139.50        139.50            36.97


            DONNALEE BIERALS                     5600-000             NA              260.00        260.00            68.90


            DOREEN BRANDENBERG                   5600-000             NA              526.10        526.10           139.42


            DOREEN DUNHAM                        5600-000             NA              300.00        300.00            79.50


            DOROTHY
            DEBARTOLOMEO                         5600-000             NA              338.00        338.00            89.57


            DOROTHY KORPICS                      5600-000             NA              338.00        338.00            89.57


            DOROTHY STURNIOLO                    5600-000             NA            1,063.95       1,063.95          281.95


            DOROTHY WYMAN                        5600-000             NA              447.00        447.00           118.45


            DOUG PATTERSON                       5600-000             NA              169.00        169.00            44.78




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            DOUGLAS E. & LINDA
            MESLER                               5600-000             NA              680.07        680.07           180.22


            DR. KAREN & DR. JOHN
            DWYER                                5600-000             NA              179.00        179.00            47.43


            DRAGAN RODIC                         5600-000             NA              350.00        350.00            92.75


            DUANE MCGILL, II                     5600-000             NA            2,567.90       2,567.90          680.49


            DUSTIN LAFOND                        5600-000             NA            1,013.20       1,013.20          268.50


            EARLENE FREDERICK                    5600-000             NA              174.80        174.80            46.32


            ED AND JEAN ANN MIES                 5600-000             NA              338.00        338.00            89.57


            EDWARD ANDREW BARD 5600-000                               NA              680.00        680.00           180.20


            EDWARD BEDORE                        5600-000             NA              169.00        169.00            44.78


            EDWARD CUNNIFF                       5600-000             NA            1,832.80       1,832.80          485.69


            EDWARD F. MAHONEY                    5600-000             NA              158.00        158.00            41.87


            EDWARD J. ZALEWSKI                   5600-000             NA              179.00        179.00            47.43


            EDWARD KUSMIERZ                      5600-000             NA              316.00        316.00            83.74


            EDWIN J. FURMAN                      5600-000             NA              338.00        338.00            89.57


            ELAINE & RICHARD
            CABRAL                               5600-000             NA              458.00        458.00           121.37




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            ELAINE & ROBERT
            DOMINGUEZ                            5600-000             NA              507.00        507.00           134.36


            ELAINE BROWN                         5600-000             NA              338.00        338.00            89.57


            ELAINE FRANCIS                       5600-000             NA              177.80        177.80            47.12


            ELAINE L. VELTMAN                    5600-000             NA              175.60        175.60            46.53


            ELAINE MAENPAA                       5600-000             NA              358.00        358.00            94.87


            ELISE PARISIEN                       5600-000             NA            1,000.00       1,000.00          265.00


            ELIZABETH A. GETCHELL
            O'BRIEN                              5600-000             NA              221.18        221.18            58.61


            ELIZABETH A. PETRITUS                5600-000             NA              522.60        522.60           138.49


            ELIZABETH AND LOUIS
            LEVINE                               5600-000             NA              338.00        338.00            89.57


            ELIZABETH ANN
            REICHERT                             5600-000             NA              895.00        895.00           237.17


            ELIZABETH B. SHAW                    5600-000             NA              358.00        358.00            94.87


            ELIZABETH DESBIENS                   5600-000             NA              568.40        568.40           150.63


            ELIZABETH DONLAN                     5600-000             NA              189.00        189.00            50.08


            ELIZABETH F. JONES                   5600-000             NA              179.00        179.00            47.44


            ELIZABETH FISH                       5600-000             NA              338.00        338.00            89.57




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            ELIZABETH GUZMAN                     5600-000             NA              467.60        467.60           123.91


            ELIZABETH HARRIGAN                   5600-000             NA              507.00        507.00           134.36


            ELIZABETH HILDERMAN                  5600-000             NA            2,039.80       2,039.80          540.55


            ELIZABETH HUDSON                     5600-000             NA              338.00        338.00            89.57


            ELIZABETH MEFFERT                    5600-000             NA              338.00        338.00            89.57


            ELIZABETH MORALES                    5600-000             NA              676.00        676.00           179.13


            ELIZABETH RADT                       5600-000             NA              264.78        264.78            70.17


            ELIZABETH REARDON                    5600-000             NA              203.00        203.00            53.79


            ELIZABETH REID                       5600-000             NA            1,521.00       1,521.00          403.06


            ELIZABETH ROCKWELL                   5600-000             NA              189.05        189.05            50.10


            ELLEN A. LEINS                       5600-000             NA              338.00        338.00            89.57


            ELLEN E. COULTER                     5600-000             NA              845.00        845.00           223.92


            ELLEN G. LAFFERTY                    5600-000             NA              348.00        348.00            92.22


            ELLIS KELLY CAMERON                  5600-000             NA              448.00        448.00           118.72


            ELMER JOHNSON                        5600-000             NA               84.15         84.15            22.30


            ELSIE M. SETTA                       5600-000             NA               97.00         97.00            25.71


            EMILY WUOTI                          5600-000             NA              169.20        169.20            44.84




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CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            EMMALEE O'LEARY                      5600-000             NA              790.00        790.00             209.35


            ERIC GROSSMAN                        5600-000             NA            1,215.11       1,215.11            322.00


            ERIC OSCHWALD                        5600-000             NA              348.00        348.00              92.22


            ERIC SUMMERS                         5600-000             NA              188.00        188.00              49.82


            ERIC TREASTER                        5600-000             NA              676.00        676.00             179.14


            ERIC WOLF                            5600-000             NA            1,041.50       1,041.50            276.00


            ERIK BROWN                           5600-000             NA            1,029.60       1,029.60            272.84


            ERIN RUPERTO                         5600-000             NA              771.00        771.00             204.31


            ERIN TRACY                           5600-000             NA              526.76        526.76             139.59


            ERIN WISLER                          5600-000             NA              506.55        506.55             134.23


            ERNEST AND SARA
            BAKER                                5600-000             NA              377.70        377.70             100.09


            ERNEST E. MCCARTHY                   5600-000             NA                0.00             0.00            0.00


            ERNEST H. HYDE                       5600-000             NA              566.80        566.80             150.20


            ESTELLE THIBEAULT                    5600-000             NA              162.81        162.81              43.15


            ESTHER CAROL CLEMENS 5600-000                             NA              316.00        316.00              83.74


            EUGENE J. BRYDA                      5600-000             NA              338.00        338.00              89.57




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CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
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                                                  CODE
                                                                 6E)           Claim)

            EUGENE WEISS                         5600-000             NA              119.95        119.95           31.79


            EVA RIEDLINGER                       5600-000             NA              244.58        244.58           64.81


            EVAN W. CEBULA                       5600-000             NA              338.00        338.00           89.57


            EVELYN L. STANLEY                    5600-000             NA              179.00        179.00           47.43


            EVELYN PETERSON, I                   5600-000             NA              179.00        179.00           47.44


            FABIO MANCINI                        5600-000             NA              945.00        945.00          250.42


            FILOMENA GALLETTA                    5600-000             NA              676.00        676.00          179.14


            FRAN LATORRE                         5600-000             NA              213.60        213.60           56.60


            FRAN SWEENEY                         5600-000             NA              825.16        825.16          218.67


            FRANCE ZUPO                          5600-000             NA              229.00        229.00           60.68


            FRANCES BOMBARD                      5600-000             NA              358.00        358.00           94.87


            FRANCES BUSTIN                       5600-000             NA              395.95        395.95          104.93


            FRANCESCA ZITO                       5600-000             NA              517.10        517.10          137.03


            FRANCIS A. CEPLENSKI                 5600-000             NA              990.00        990.00          262.35


            FRANCIS LEAHY                        5600-000             NA              338.00        338.00           89.57


            FRANK ACCOMANDO                      5600-000             NA              676.00        676.00          179.14


            FRANK BONACORSI                      5600-000             NA              395.60        395.60          104.83




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
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                                                  CODE
                                                                 6E)           Claim)

            FRED GRECO                           5600-000             NA              449.10        449.10           119.01


            FRED J. VOTRAW                       5600-000             NA              316.00        316.00            83.74


            FREDA GIANAKOS                       5600-000             NA              338.00        338.00            89.57


            GABRIELLE                            5600-000             NA              300.00        300.00            79.50


            GAIL IAKOVIDIS                       5600-000             NA              390.00        390.00           103.35


            GAIL LOEW                            5600-000             NA              974.50        974.50           258.24


            GAIL M. CAUGER                       5600-000             NA              520.80        520.80           138.01


            GAIL P. BAGGOT                       5600-000             NA              200.00        200.00            53.00


            GAIL P. LEOMBRUNO                    5600-000             NA              179.00        179.00            47.44


            GAIL ROGERS                          5600-000             NA              676.00        676.00           179.14


            GAIL STEWART PARSONS 5600-000                             NA              417.10        417.10           110.53


            GALESBURG-AUGUSTA
            HIGH SCHOOL                          5600-000             NA            8,670.38       8,670.38        2,297.64


            GARRETT G. RATERINK                  5600-000             NA              540.20        540.20           143.15


            GARRETT GRAFF                        5600-000             NA              358.00        358.00            94.87


            GARY A. DUMAS                        5600-000             NA              274.90        274.90            72.85


            GARY A. MANNING                      5600-000             NA              158.00        158.00            41.87




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                                                  CODE
                                                                 6E)           Claim)

            GARY A. MAYNARD                      5600-000             NA              363.00        363.00            96.20


            GARY ALLEN SWORDS                    5600-000             NA              537.00        537.00           142.30


            GARY DAVID                           5600-000             NA              415.00        415.00           109.97


            GARY DEVOE                           5600-000             NA              249.00        249.00            65.98


            GARY F. JARVIS                       5600-000             NA              676.00        676.00           179.14


            GARY GOETZELMAN                      5600-000             NA              210.13        210.13            55.68


            GARY HENDERICKSON                    5600-000             NA              446.00        446.00           118.19


            GARY MCLOUTH                         5600-000             NA              469.00        469.00           124.28


            GARY PERKINS                         5600-000             NA            1,160.10       1,160.10          307.43


            GARY ZAHNISER                        5600-000             NA              150.00        150.00            39.75


            GAVIN KLECKLER                       5600-000             NA              210.40        210.40            55.76


            GAYLORD MCDONALD                     5600-000             NA              218.00        218.00            57.77


            GEARY LASHUA                         5600-000             NA              338.00        338.00            89.57


            GENE VIRTUOSO                        5600-000             NA              340.10        340.10            90.13


            GEOFFREY PIKE                        5600-000             NA              845.00        845.00           223.93


            GEORGE GULLEFF                       5600-000             NA              188.00        188.00            49.82


            GEORGE HERTWECK                      5600-000             NA              845.00        845.00           223.93




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                                                  CODE
                                                                 6E)           Claim)

            GEORGE MCKENNA                       5600-000             NA            1,022.00       1,022.00          270.83


            GEORGE MILAM, III                    5600-000             NA              449.40        449.40           119.09


            GEORGE MUSICK                        5600-000             NA              471.80        471.80           125.03


            GEORGE THOMAS                        5600-000             NA              338.00        338.00            89.57


            GEORGE TOWNE                         5600-000             NA              150.00        150.00            39.75


            GEORGE V. GOEPFERT                   5600-000             NA              338.00        338.00            89.57


            GERALD BAILEY                        5600-000             NA              369.00        369.00            97.78


            GERALD BERRY                         5600-000             NA              338.00        338.00            89.57


            GERALD H. ROSE, Jr.                  5600-000             NA               99.90         99.90            26.47


            GERALDINE HINELINE                   5600-000             NA              338.00        338.00            89.57


            GERALDINE MILLER                     5600-000             NA              378.00        378.00           100.17


            GERALDINE PAXTON                     5600-000             NA              250.00        250.00            66.25


            GERARD M. ARROYO                     5600-000             NA              499.60        499.60           132.39


            GIANNA SHOWERS                       5600-000             NA              338.00        338.00            89.57


            GIAVANNA GERACI                      5600-000             NA              169.00        169.00            44.78


            GIDEON MARKOWITZ                     5600-000             NA              676.00        676.00           179.14


            GINNIE HUMPHREYS                     5600-000             NA              218.00        218.00            57.77




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            GIOVANNA VILLANO                     5600-000             NA              338.00        338.00           89.57


            GLADYS AND PETER
            CHUNG                                5600-000             NA              676.00        676.00          179.14


            GLEN HENSEL                          5600-000             NA               84.50         84.50           22.39


            GLENDA ADAMS                         5600-000             NA              376.00        376.00           99.64


            GLENDA LAMBOT                        5600-000             NA              358.00        358.00           94.87


            GLENN EDINGER                        5600-000             NA              394.10        394.10          104.44


            GOPERAJAH
            ARULANANTHAN                         5600-000             NA              169.00        169.00           44.78


            GORDON R. THORNES                    5600-000             NA              363.00        363.00           96.19


            GORDON RAY JAMES                     5600-000             NA              376.00        376.00           99.63


            GORDON WHEELER                       5600-000             NA              169.00        169.00           44.78


            GRACE BARIL                          5600-000             NA              500.00        500.00          132.50


            GRACE CAMPBELL                       5600-000             NA              207.95        207.95           55.11


            GRACELLEN M. RIEL                    5600-000             NA              358.00        358.00           94.87


            GREG CORBIN                          5600-000             NA              572.36        572.36          151.68


            GREGG HATHAWAY                       5600-000             NA              380.40        380.40          100.81


            GREGORY BANNISTER                    5600-000             NA              676.00        676.00          179.14




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            GREGORY ZAYATZ                       5600-000             NA               49.95         49.95            13.24


            GREGORY ZOTIAN                       5600-000             NA              676.00        676.00           179.14


            GRETA A. BONIDIE                     5600-000             NA              157.30        157.30            41.68


            GRETCHEN OHAR                        5600-000             NA              245.40        245.40            65.03


            GRETCHEN REIMNITZ                    5600-000             NA              390.60        390.60           103.51


            GRINDAL GARDNER                      5600-000             NA              528.80        528.80           140.13


            GRISELL TORRES QUIROS 5600-000                            NA              507.00        507.00           134.35


            GUSTIN POTTER                        5600-000             NA              676.00        676.00           179.14


            GUY F. EDWARDS                       5600-000             NA            1,440.60       1,440.60          381.76


            HAROLD L. BAKER                      5600-000             NA              134.80        134.80            35.72


            HAROLD V. MCCARTHY                   5600-000             NA              338.00        338.00            89.57


            HARRISON PRICE                       5600-000             NA              338.00        338.00            89.57


            HEATHER & RHEAL
            GEVRY                                5600-000             NA              754.00        754.00           199.81


            HEATHER DANIEL                       5600-000             NA              376.00        376.00            99.64


            HEATHER L. REID                      5600-000             NA              676.00        676.00           179.14


            HEATHER LEE                          5600-000             NA              632.00        632.00           167.48




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                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            HEATHER L'HEUREUX                    5600-000             NA              529.56        529.56          140.33


            HEATHER MORROW                       5600-000             NA              164.35        164.35           43.55


            HEATHER PARTRIDGE                    5600-000             NA              219.00        219.00           58.03


            HEATHER YANDO                        5600-000             NA              150.00        150.00           39.75


            HEIDI WIEGAND                        5600-000             NA              415.95        415.95          110.23


            HELEN BAUER                          5600-000             NA              169.00        169.00           44.79


            HELEN CHANDLER                       5600-000             NA              338.00        338.00           89.57


            HELEN HORNE                          5600-000             NA              358.00        358.00           94.87


            HELEN L. DEIKE                       5600-000             NA              114.70        114.70           30.40


            HELENE SORRENTINO                    5600-000             NA              338.00        338.00           89.57


            HENRY F. ROBINSON                    5600-000             NA              440.60        440.60          116.76


            HENRY GENELLO                        5600-000             NA              436.00        436.00          115.54


            HENRY J. WALL                        5600-000             NA              227.00        227.00           60.16


            HILDA SIX                            5600-000             NA              474.00        474.00          125.61


            HOLLY BRADY                          5600-000             NA              845.00        845.00          223.92


            HOLLY MARIE RUGGLES                  5600-000             NA              338.00        338.00           89.57


            HOWARD GLENN GOHM                    5600-000             NA              316.30        316.30           83.82




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                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            HUGH FISH                            5600-000             NA              376.00        376.00            99.64


            HUGO SONNENBERG                      5600-000             NA              338.00        338.00            89.57


            ISABELLE DAUPHIN                     5600-000             NA              614.70        614.70           162.90


            ISMAEL & HAYDEE
            ALICEA                               5600-000             NA              881.00        881.00           233.46


            ITEKA BROWN                          5600-000             NA              716.00        716.00           189.74


            J. BRENT HAMILTON                    5600-000             NA              149.00        149.00            39.48


            J. CRAIG WOOE                        5600-000             NA              338.00        338.00            89.57


            J. PAUL SCIORTINO                    5600-000             NA              237.50        237.50            62.94


            J.C. CARSON KLINCK                   5600-000             NA              338.00        338.00            89.57


            JACK M. & SHARON D.
            GILBERT                              5600-000             NA              437.00        437.00           115.80


            JACK R. PRICE, Jr.                   5600-000             NA              338.00        338.00            89.57


            JACK REICHLE                         5600-000             NA              264.00        264.00            69.96


            JACK SMITS                           5600-000             NA              780.00        780.00           206.70


            JACKIE H. BRACE                      5600-000             NA            1,311.00       1,311.00          347.41


            JACKIE RISEN                         5600-000             NA              409.80        409.80           108.60


            JACOB CARLSON                        5600-000             NA              474.00        474.00           125.61




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JACQUELINE BROWN                     5600-000             NA              507.00        507.00           134.35


            JACQUELINE L. BLAKEY                 5600-000             NA              676.00        676.00           179.14


            JACQUELINE MCCARTHY 5600-000                              NA              675.00        675.00           178.88


            JACQUELINE RANK                      5600-000             NA              169.00        169.00            44.79


            JACQUELINE REILLY                    5600-000             NA              450.60        450.60           119.41


            JAIME GIEK                           5600-000             NA              930.00        930.00           246.45


            JAIME MOULTON                        5600-000             NA              346.00        346.00            91.69


            JAMES & BEVERLY ELLS                 5600-000             NA              895.00        895.00           237.17


            JAMES A. LAZOR                       5600-000             NA              676.00        676.00           179.14


            JAMES AND SARA
            KOHLBRENNER                          5600-000             NA            1,014.00       1,014.00          268.71


            JAMES BROOKS                         5600-000             NA            1,099.00       1,099.00          291.23


            JAMES DESANTIS                       5600-000             NA              169.00        169.00            44.78


            JAMES DUMPHY                         5600-000             NA              229.40        229.40            60.79


            JAMES E. SCRIPTURE, Jr.              5600-000             NA              390.20        390.20           103.40


            JAMES E. VALSA                       5600-000             NA              338.00        338.00            89.57


            JAMES F. GOEDKEN                     5600-000             NA            1,527.20       1,527.20          404.71




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JAMES GALEK                          5600-000             NA              338.00        338.00            89.57


            JAMES GROVE                          5600-000             NA              437.90        437.90           116.04


            JAMES H. DOTSON                      5600-000             NA              158.00        158.00            41.87


            JAMES J. JACKSON                     5600-000             NA              259.28        259.28            68.71


            JAMES K. THOREN                      5600-000             NA              244.90        244.90            64.90


            JAMES KELLY                          5600-000             NA              300.00        300.00            79.50


            JAMES KROON                          5600-000             NA              502.65        502.65           133.20


            JAMES M. ULICNY                      5600-000             NA              158.00        158.00            41.87


            JAMES MISPLON                        5600-000             NA            1,413.00       1,413.00          374.44


            JAMES MULHERN                        5600-000             NA              447.54        447.54           118.60


            JAMES P. CECCHINI                    5600-000             NA              338.00        338.00            89.57


            JAMES P. PUGLIESE                    5600-000             NA              252.78        252.78            66.99


            JAMES PETERS                         5600-000             NA              338.00        338.00            89.57


            JAMES S. DALY                        5600-000             NA              507.00        507.00           134.35


            JAMES SCARNECCHIA                    5600-000             NA              338.00        338.00            89.57


            JAMES SHELTON                        5600-000             NA              169.00        169.00            44.78


            JAMES SHOVER                         5600-000             NA              320.00        320.00            84.80




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                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JAMES TRIMBOLI                       5600-000             NA              476.65        476.65           126.31


            JAMES WHITE                          5600-000             NA              169.00        169.00            44.78


            JAMIE SCHMEELK                       5600-000             NA              338.00        338.00            89.57


            JAN WAYNE HARPOLD                    5600-000             NA              845.00        845.00           223.92


            JANA ATWELL                          5600-000             NA              338.00        338.00            89.57


            JANA OENS                            5600-000             NA              194.00        194.00            51.41


            JANAE BROOKENS                       5600-000             NA              509.30        509.30           134.96


            JANE BOTTING                         5600-000             NA              316.00        316.00            83.74


            JANE FLETCHER                        5600-000             NA              219.00        219.00            58.04


            JANE M. HANDY                        5600-000             NA              232.15        232.15            61.52


            JANEECE ROBERTSON                    5600-000             NA            1,014.00       1,014.00          268.71


            JANET DAVIS                          5600-000             NA              588.56        588.56           155.97


            JANET E. CONNORS                     5600-000             NA              338.00        338.00            89.57


            JANET G. VANALSTYNE                  5600-000             NA            1,225.84       1,225.84          324.85


            JANET HOLLEY                         5600-000             NA              179.00        179.00            47.43


            JANET L. UMSHARES                    5600-000             NA              314.60        314.60            83.37


            JANET M. GENEROUS                    5600-000             NA              426.00        426.00           112.89




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                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JANET M. LANDERS                     5600-000             NA              586.95        586.95           155.54


            JANET MANOR                          5600-000             NA              169.00        169.00            44.78


            JANET MCELROY                        5600-000             NA              538.56        538.56           142.72


            JANET RAYMOND                        5600-000             NA            1,538.00       1,538.00          407.57


            JANICE B. YOST                       5600-000             NA              263.50        263.50            69.83


            JANICE BAKER                         5600-000             NA              109.50        109.50            29.02


            JANICE C. JEWELL                     5600-000             NA              900.00        900.00           238.50


            JANICE CARLSON                       5600-000             NA              200.00        200.00            53.00


            JANICE E. CARNRIGHT                  5600-000             NA              635.10        635.10           168.30


            JANICE E. WAGNER                     5600-000             NA              816.28        816.28           216.31


            JANICE MCCOY                         5600-000             NA              317.00        317.00            84.00


            JANICE PALMER                        5600-000             NA              440.20        440.20           116.65


            JANICE SMILEY                        5600-000             NA            1,382.23       1,382.23          366.29


            JANICE STOCKUS                       5600-000             NA              306.00        306.00            81.09


            JANICE T. NOTTE                      5600-000             NA              578.92        578.92           153.41


            JANICEDUTKIEWICZ                     5600-000             NA              300.00        300.00            79.50


            JANINA MOZER                         5600-000             NA              316.00        316.00            83.74




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JANIS CLAPPER                        5600-000             NA            1,100.40       1,100.40            291.61


            JANIS K. ORTMEYER                    5600-000             NA              338.00        338.00              89.57


            JARED SEYMOUR                        5600-000             NA              150.00        150.00              39.75


            JASON K. LANGLOIS                    5600-000             NA              676.00        676.00             179.14


            JASON LESURE                         5600-000             NA            1,297.12       1,297.12            343.74


            JASON PAAR                           5600-000             NA              218.00        218.00              57.77


            JAY LEFLEUR                          5600-000             NA              350.80        350.80              92.96


            JAYNE K. FOLEY                       5600-000             NA              616.00        616.00             163.24


            JEAN BLACKER                         5600-000             NA              794.00        794.00             210.41


            JEAN BUONVICINO                      5600-000             NA            1,859.00             0.00            0.00


            JEAN C. HATTON                       5600-000             NA              338.00        338.00              89.57


            JEAN CALABRESE                       5600-000             NA              630.00        630.00             166.95


            JEAN E. BOURASSA                     5600-000             NA              308.40        308.40              81.73


            JEAN HENDERSON                       5600-000             NA              224.00        224.00              59.36


            JEAN M. ENRIGHT                      5600-000             NA              234.30        234.30              62.09


            JEAN M. FOLEY                        5600-000             NA              400.00        400.00             106.00


            JEANNETTE HITT O'BRIEN 5600-000                           NA              358.00        358.00              94.87




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                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JEANNINE M. ETHIER                   5600-000             NA              100.00        100.00            26.50


            JEFF MEISSNER                        5600-000             NA              891.00        891.00           236.11


            JEFFERY ASHLINE                      5600-000             NA              338.00        338.00            89.57


            JEFFREY BENOIT                       5600-000             NA              790.00        790.00           209.35


            JEFFREY DIEGELMAN                    5600-000             NA              338.00        338.00            89.57


            JEFFREY GERMANN                      5600-000             NA              450.00        450.00           119.25


            JEFFREY M. DELISIO                   5600-000             NA              158.00        158.00            41.87


            JEFFREY MITCHELL                     5600-000             NA              369.80        369.80            98.00


            JEFFREY PAUL                         5600-000             NA              334.60        334.60            88.67


            JEFFREY S. BROWNE                    5600-000             NA              679.00        679.00           179.94


            JEFFREY SATNICK                      5600-000             NA            1,245.52       1,245.52          330.06


            JEFFREY
            SCHNEGGENBURGER                      5600-000             NA              549.56        549.56           145.63


            JEFFREY WILSON                       5600-000             NA            2,856.00       2,856.00          756.84


            JENNA WILLIAMS                       5600-000             NA              158.00        158.00            41.87


            JENNEL R. SCHULTZE                   5600-000             NA              736.80        736.80           195.25


            JENNIFER A. VINCENT                  5600-000             NA            1,383.25       1,383.25          366.56




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JENNIFER A. TATE SCOTT 5600-000                           NA              237.00        237.00           62.80


            JENNIFER CHAMBERLAIN 5600-000                             NA              800.00        800.00          212.00


            JENNIFER HAVALOTTI                   5600-000             NA              188.00        188.00           49.82


            JENNIFER HERRMAN                     5600-000             NA              607.00        607.00          160.85


            JENNIFER JONES                       5600-000             NA              512.25        512.25          135.75


            JENNIFER L.
            ABBONDANZIO                          5600-000             NA              338.00        338.00           89.57


            JENNIFER L. BIBBEE                   5600-000             NA              338.00        338.00           89.57


            JENNIFER M. BEAULIEU                 5600-000             NA              179.00        179.00           47.44


            JENNIFER POP                         5600-000             NA              333.00        333.00           88.24


            JENNIFER SPRAGUE                     5600-000             NA              337.20        337.20           89.36


            JENNIFER STANLEY                     5600-000             NA               93.85         93.85           24.87


            JENNIFER SZAFRAN                     5600-000             NA              376.00        376.00           99.64


            JENNIFER WARYAS                      5600-000             NA              474.00        474.00          125.61


            JENNIFER WYCOKI                      5600-000             NA              400.00        400.00          106.00


            JEREMIAH AVERY                       5600-000             NA              600.00        600.00          159.00


            JEREMIAH YOUNG                       5600-000             NA              316.00        316.00           83.74




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JERRIE L. DAVIS                      5600-000             NA               49.95         49.95            13.24


            JERRY KRASOVEC                       5600-000             NA              562.40        562.40           149.04


            JERRY M. BAKER                       5600-000             NA              676.00        676.00           179.14


            JERRY OWENS                          5600-000             NA              600.00        600.00           159.00


            JESSE MAY BLAKE                      5600-000             NA              376.00        376.00            99.64


            JESSICA BUCZKOWSKI                   5600-000             NA              358.00        358.00            94.87


            JESSICA CARPENTER                    5600-000             NA              179.00        179.00            47.44


            JESSICA FISHER                       5600-000             NA              338.00        338.00            89.57


            JESSICA GLASNOVICH                   5600-000             NA              338.00        338.00            89.57


            JESSICA MORGAN                       5600-000             NA              316.00        316.00            83.74


            JESSICA STILLWELL                    5600-000             NA            1,360.00       1,360.00          360.40


            JESSICA THOMAS                       5600-000             NA            1,423.40       1,423.40          377.20


            JESSICA WYPIJ                        5600-000             NA              169.00        169.00            44.78


            JILAYNE BERNTSEN                     5600-000             NA              321.20        321.20            85.12


            JIN HUANG                            5600-000             NA              659.46        659.46           174.76


            JOAN AND SHERRI
            MADONIA                              5600-000             NA            1,324.50       1,324.50          350.99




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JOAN CAMP                            5600-000             NA            1,376.60       1,376.60          364.79


            JOAN CRONEN                          5600-000             NA              960.00        960.00           254.40


            JOAN LAMPHIER                        5600-000             NA              243.00        243.00            64.39


            JOAN M. RANDALL                      5600-000             NA              158.00        158.00            41.87


            JOAN MALANEY                         5600-000             NA              216.42        216.42            57.35


            JOANN FORAL                          5600-000             NA              338.00        338.00            89.57


            JO-ANN MESSERLIAN                    5600-000             NA              358.00        358.00            94.87


            JOANN SZYMCZAK                       5600-000             NA              338.00        338.00            89.57


            JOANNE AARON                         5600-000             NA              227.60        227.60            60.31


            JOANNE BALFOUR                       5600-000             NA              338.00        338.00            89.57


            JOANNE BRETON                        5600-000             NA               99.90         99.90            26.47


            JOANNE BROGIS                        5600-000             NA              365.00        365.00            96.73


            JOANNE DUVALL                        5600-000             NA              507.00        507.00           134.36


            JOANNE LEIGHTON                      5600-000             NA              169.00        169.00            44.79


            JOANNE PASQUANTONIO                  5600-000             NA               90.00         90.00            23.85


            JOANNE SPANO                         5600-000             NA              315.60        315.60            83.63


            JOANNE VANDYKE                       5600-000             NA              159.00        159.00            42.13




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                                                              CLAIMS          CLAIMS
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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JODI A. HEFFLER                      5600-000             NA              507.00        507.00           134.35


            JODI A. STILES                       5600-000             NA              169.00        169.00            44.78


            JODI L. ANDREI                       5600-000             NA              464.00        464.00           122.96


            JODI LEARY                           5600-000             NA              403.60        403.60           106.95


            JOE DIFRANCISCO                      5600-000             NA              338.00        338.00            89.57


            JOEL AND LINDA
            DEFRATES                             5600-000             NA              643.57        643.57           170.54


            JOEL BROOKS, I                       5600-000             NA              790.00        790.00           209.35


            JOEL WARNER                          5600-000             NA              241.70        241.70            64.05


            JOELY RICHARDSON                     5600-000             NA              632.00        632.00           167.48


            JOENE Y. FAIR                        5600-000             NA            1,014.00       1,014.00          268.71


            JOHN & ELIZABETH
            DEVRIES                              5600-000             NA              880.00        880.00           233.20


            JOHN & LINDA
            MCCAULEY                             5600-000             NA              338.00        338.00            89.57


            JOHN ACARDO                          5600-000             NA              405.60        405.60           107.48


            JOHN AND ANNMARIE
            BOPP                                 5600-000             NA              627.00        627.00           166.15


            JOHN AND GAYLE RISLEY 5600-000                            NA              579.80        579.80           153.65




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JOHN AND LAURIE
            BURNS                                5600-000             NA              920.00        920.00           243.80


            JOHN ARCHAMBAULT                     5600-000             NA              474.00        474.00           125.61


            JOHN C. AND DEBRA
            BENANTI                              5600-000             NA              338.00        338.00            89.57


            JOHN C. LUCAS                        5600-000             NA              218.30        218.30            57.85


            JOHN CAREY                           5600-000             NA            1,502.00       1,502.00          398.03


            JOHN D. ABBOTT                       5600-000             NA              338.00        338.00            89.57


            JOHN D. ARENSTAM                     5600-000             NA              676.00        676.00           179.14


            JOHN D. VANWYCK                      5600-000             NA              676.00        676.00           179.14


            JOHN DUNCAN                          5600-000             NA              524.90        524.90           139.10


            JOHN E. TIMKO                        5600-000             NA            1,055.25       1,055.25          279.64


            JOHN H. PEPPER, Jr.                  5600-000             NA              182.30        182.30            48.31


            JOHN HARTY                           5600-000             NA              386.20        386.20           102.34


            JOHN HOFFMAN                         5600-000             NA              338.00        338.00            89.57


            JOHN HOPKINS                         5600-000             NA              137.59        137.59            36.46


            JOHN J. BANACH                       5600-000             NA              338.00        338.00            89.57


            JOHN J. PERRONE, Jr.                 5600-000             NA              925.00        925.00           245.12




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JOHN JAMESON                         5600-000             NA              338.00        338.00            89.57


            JOHN KUBILIS                         5600-000             NA              358.00        358.00            94.87


            JOHN LEMCZAK                         5600-000             NA              297.80        297.80            78.92


            JOHN M. CONKLIN                      5600-000             NA              751.00        751.00           199.02


            JOHN MARC TAMAYO                     5600-000             NA              850.00        850.00           225.25


            JOHN MILLS                           5600-000             NA              949.05        949.05           251.50


            JOHN PARISIEN                        5600-000             NA              465.92        465.92           123.47


            JOHN R. BATTLE                       5600-000             NA              438.00        438.00           116.07


            JOHN R. BLACK, Jr.                   5600-000             NA              500.00        500.00           132.50


            JOHN RUMNEY                          5600-000             NA              463.20        463.20           122.75


            JOHN THOMPSON                        5600-000             NA            1,859.00       1,859.00          492.63


            JOHN V. MILANE, III                  5600-000             NA              507.00        507.00           134.35


            JOHN W. ASMA                         5600-000             NA              237.70        237.70            62.99


            JOHN W. BAKER                        5600-000             NA            1,183.00       1,183.00          313.49


            JOHN W. JONES                        5600-000             NA              353.90        353.90            93.78


            JOHN WALSH                           5600-000             NA              110.20        110.20            29.20


            JON BARRETTE                         5600-000             NA            1,352.00       1,352.00          358.28




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                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JON TYLER STRADINGER                 5600-000             NA              338.00        338.00            89.57


            JONATHAN DAVID
            RATHBUN                              5600-000             NA              295.20        295.20            78.23


            JONATHAN MYERS                       5600-000             NA              358.00        358.00            94.87


            JONATHAN RUNGE                       5600-000             NA               94.00         94.00            24.91


            JOSEPH & LORETTA
            MOMBREA                              5600-000             NA            1,085.70       1,085.70          287.71


            JOSEPH & MARY
            KOTECKI                              5600-000             NA              342.00        342.00            90.63


            JOSEPH BOUTHET                       5600-000             NA              845.00        845.00           223.92


            JOSEPH D. SOLOMON                    5600-000             NA               71.80         71.80            19.03


            JOSEPH FALTYN                        5600-000             NA              338.00        338.00            89.57


            JOSEPH GRAMC                         5600-000             NA              316.00        316.00            83.74


            JOSEPH M. CRISHAM                    5600-000             NA            1,670.00       1,670.00          442.55


            JOSEPH M. ORLANDO                    5600-000             NA              507.00        507.00           134.35


            JOSEPH MIAZGA                        5600-000             NA              189.00        189.00            50.08


            JOSEPH O'DONNELL                     5600-000             NA              338.00        338.00            89.57


            JOSEPH P. WALTON                     5600-000             NA              998.50        998.50           264.60




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JOSEPH PELLEGRINO                    5600-000             NA              375.00        375.00            99.37


            JOSEPH PETERS                        5600-000             NA              341.80        341.80            90.58


            JOSEPH PRANGER                       5600-000             NA              200.00        200.00            53.00


            JOSEPH R. MAZZOLA                    5600-000             NA              676.00        676.00           179.14


            JOSEPH ROGALLA                       5600-000             NA               79.00         79.00            20.93


            JOSEPH VILLANO                       5600-000             NA            1,015.00       1,015.00          268.97


            JOSEY A. GOLDNER                     5600-000             NA              169.00        169.00            44.78


            JOSHUA D. HURNE                      5600-000             NA              552.60        552.60           146.44


            JOSIE L. SMITH                       5600-000             NA              349.00        349.00            92.48


            JOY E. SCHMALZLE                     5600-000             NA              387.95        387.95           102.81


            JOY GAINE                            5600-000             NA              338.00        338.00            89.57


            JOYCE ELLIS                          5600-000             NA            1,675.20       1,675.20          443.93


            JOYCE HURLEY                         5600-000             NA              158.00        158.00            41.87


            JOYCE HYDE                           5600-000             NA               84.50         84.50            22.39


            JOYCE L. MCCLAY                      5600-000             NA              658.00        658.00           174.37


            JOYCE LONERGAN                       5600-000             NA              496.00        496.00           131.44


            JOYCE MCELROY                        5600-000             NA              507.00        507.00           134.35




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            JOYCE PERUGINI                       5600-000             NA              293.39        293.39            77.75


            JOYCE S. AND EUGENE C.
            BROWN                                5600-000             NA              931.45        931.45           246.83


            JOYCE URAM                           5600-000             NA              169.00        169.00            44.78


            JOYCE W. AGLE                        5600-000             NA              338.00        338.00            89.57


            JOYCELYNE LABBEE                     5600-000             NA              100.00        100.00            26.50


            JOYE A. SHUMAKER                     5600-000             NA              109.00        109.00            28.89


            JRS. JOHN R. BENDER                  5600-000             NA              658.20        658.20           174.42


            JUDITH A. MAXIM                      5600-000             NA              338.00        338.00            89.57


            JUDITH A. STALLONS                   5600-000             NA              338.00        338.00            89.57


            JUDITH ANN CROUCH                    5600-000             NA              338.00        338.00            89.57


            JUDITH MULLIN                        5600-000             NA              320.00        320.00            84.80


            JUDITH SMITH                         5600-000             NA              218.00        218.00            57.77


            JUDY GEBO                            5600-000             NA              179.00        179.00            47.43


            JUDY L. HEPPNER                      5600-000             NA            1,352.00       1,352.00          358.28


            JUDY PANCIERA                        5600-000             NA              676.00        676.00           179.14


            JUDY TENISON                         5600-000             NA               78.00         78.00            20.67




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
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                                                  CODE
                                                                 6E)           Claim)

            JUDY W. BOSSUAT-
            GALLIC                               5600-000             NA              169.00        169.00            44.78


            JUDYANN CARIBO                       5600-000             NA              338.00        338.00            89.56


            JULIE LANCTO                         5600-000             NA              169.00        169.00            44.79


            JULIE RIVERA                         5600-000             NA              465.60        465.60           123.38


            JULIE RUBY                           5600-000             NA            1,002.50       1,002.50          265.66


            JULIE ST. ANGEL                      5600-000             NA              754.00        754.00           199.81


            JULIE ZITTLOW                        5600-000             NA              249.08        249.08            66.01


            JUSTIN & ERIN
            SORENSON                             5600-000             NA              676.00        676.00           179.14


            JUSTUS J. CANTO                      5600-000             NA               90.50         90.50            23.98


            KAITLIN GROEGER                      5600-000             NA              496.00        496.00           131.44


            KAREN A. BROWN                       5600-000             NA            1,809.64       1,809.64          479.56


            KAREN A. EVANS                       5600-000             NA              400.00        400.00           106.00


            KAREN A. HAVERT                      5600-000             NA              179.00        179.00            47.43


            KAREN A. TRADER                      5600-000             NA              698.00        698.00           184.97


            KAREN AND LAWRENCE
            MULLEN                               5600-000             NA            1,165.48       1,165.48          308.85




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                                                  CODE
                                                                 6E)           Claim)

            KAREN ASTYK                          5600-000             NA              169.00        169.00            44.78


            KAREN C. CARLSON                     5600-000             NA              169.00        169.00            44.79


            KAREN DURR                           5600-000             NA              757.00        757.00           200.60


            KAREN GRADY                          5600-000             NA              154.20        154.20            40.86


            KAREN J. BUTCHER                     5600-000             NA              309.30        309.30            81.96


            KAREN LYDDON                         5600-000             NA              338.00        338.00            89.57


            KAREN M. HIGGINS                     5600-000             NA              316.00        316.00            83.74


            KAREN M. JOLIN                       5600-000             NA              169.00        169.00            44.78


            KAREN M. REED                        5600-000             NA              463.60        463.60           122.86


            KAREN MARCILLE                       5600-000             NA              314.60        314.60            83.37


            KAREN MCCARTHY                       5600-000             NA              338.00        338.00            89.57


            KAREN MELVIN-ENGEL                   5600-000             NA            1,360.00       1,360.00          360.40


            KAREN NEED                           5600-000             NA              282.45        282.45            74.85


            KAREN R. MISCIA                      5600-000             NA              577.80        577.80           153.12


            KAREN ROSS                           5600-000             NA            1,432.00       1,432.00          379.48


            KAREN STRATZ                         5600-000             NA              179.00        179.00            47.43


            KAREN WILSON                         5600-000             NA              264.20        264.20            70.01




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
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                                                  CODE
                                                                 6E)           Claim)

            KARIN G. CALDWELL                    5600-000             NA              338.00        338.00            89.57


            KARIN OUELLETTE                      5600-000             NA              453.80        453.80           120.26


            KARLA PEASE                          5600-000             NA              158.00        158.00            41.87


            KAROLYN KOPROWSKI                    5600-000             NA              338.00        338.00            89.57


            KARRA L. POUPORE                     5600-000             NA              632.00        632.00           167.48


            KATHERINE POUTHIER                   5600-000             NA               49.95         49.95            13.24


            KATHERINE S. BECKMAN 5600-000                             NA              338.00        338.00            89.57


            KATHERINE S.
            SCHUTZENHOFER                        5600-000             NA              400.00        400.00           106.00


            KATHI GRIFHORST                      5600-000             NA              211.77        211.77            56.12


            KATHIE FELCH                         5600-000             NA              179.00        179.00            47.43


            KATHLEEN (KATHY)
            BROCKMILLER                          5600-000             NA              338.00        338.00            89.57


            KATHLEEN ANDRESS                     5600-000             NA              338.00        338.00            89.57


            KATHLEEN ASSMANN                     5600-000             NA              169.00        169.00            44.79


            KATHLEEN BIANCUZZO                   5600-000             NA              168.00        168.00            44.52


            KATHLEEN DOWD                        5600-000             NA              507.00        507.00           134.36


            KATHLEEN KROLL                       5600-000             NA            1,014.00       1,014.00          268.71




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                                                  CODE
                                                                 6E)           Claim)

            KATHLEEN LEWANDO                     5600-000             NA               49.95         49.95            13.24


            KATHLEEN M. BRENNAN                  5600-000             NA              158.00        158.00            41.87


            KATHLEEN MCLAUGHLIN 5600-000                              NA              716.00        716.00           189.74


            KATHLEEN PURCELL                     5600-000             NA              338.00        338.00            89.57


            KATHLEEN SMITH                       5600-000             NA              507.00        507.00           134.35


            KATHLEEN T.
            PARENTEAU                            5600-000             NA              861.00        861.00           228.16


            KATHLEEN TRASTER                     5600-000             NA               52.80         52.80            13.99


            KATHLEEN VILLANO                     5600-000             NA            1,014.00       1,014.00          268.71


            KATHLEEN WALSH                       5600-000             NA              520.00        520.00           137.80


            KATHLEEN WOHLFAHRT                   5600-000             NA              358.00        358.00            94.87


            KATHRYN CREMONE                      5600-000             NA              165.00        165.00            43.72


            KATHRYN KIDDER                       5600-000             NA              457.00        457.00           121.10


            KATHRYN WALKER                       5600-000             NA              338.00        338.00            89.57


            KATHY FRIEDERSDORF                   5600-000             NA               79.00         79.00            20.93


            KATHY J. VANBEBBER                   5600-000             NA              350.00        350.00            92.75


            KATHY PENKSA                         5600-000             NA              910.00        910.00           241.15




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
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                                                  CODE
                                                                 6E)           Claim)

            KATIE MAXWELL                        5600-000             NA              445.00        445.00           117.92


            KATRINA BRENNAN                      5600-000             NA              722.00        722.00           191.33


            KAY FRITSCH                          5600-000             NA              352.47        352.47            93.40


            KAY GENTHER                          5600-000             NA              169.00        169.00            44.78


            KAYLA JUDD                           5600-000             NA              552.60        552.60           146.44


            KAYLA SMITH                          5600-000             NA              566.55        566.55           150.14


            KEITH G. KEHLER                      5600-000             NA              752.00        752.00           199.28


            KEITH JACKSON                        5600-000             NA              338.00        338.00            89.57


            KEITH MCINTYRE                       5600-000             NA              278.00        278.00            73.67


            KELLEY BOOSKA                        5600-000             NA              179.00        179.00            47.43


            KELLI TODOROFF                       5600-000             NA              388.00        388.00           102.82


            KELLIE MACLEAN                       5600-000             NA              676.00        676.00           179.14


            KELLY BROWN                          5600-000             NA              120.00        120.00            31.80


            KELLY ESTES                          5600-000             NA              445.50        445.50           118.06


            KELLY L. LEON                        5600-000             NA            1,515.00       1,515.00          401.47


            KELLY VECCHIO                        5600-000             NA              870.00        870.00           230.55


            KELLY WILLIAMS                       5600-000             NA              337.00        337.00            89.31




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                                                  CODE
                                                                 6E)           Claim)

            KEN AND MARILYN
            KERIK                                5600-000             NA              338.00        338.00            89.57


            KEN JUBIN                            5600-000             NA              272.42        272.42            72.19


            KENNETH CASTLE                       5600-000             NA              400.00        400.00           106.00


            KENNETH GLENN                        5600-000             NA              790.00        790.00           209.35


            KENNETH J. MULLIGAN                  5600-000             NA              386.00        386.00           102.29


            KENNETH MICHEL                       5600-000             NA               79.00         79.00            20.94


            KENNETH T. THOMAS                    5600-000             NA              725.95        725.95           192.38


            KERRY S. ROOS                        5600-000             NA              887.00        887.00           235.05


            KEVIN BREEN                          5600-000             NA            1,062.42       1,062.42          281.54


            KEVIN HOLBROOK                       5600-000             NA              124.00        124.00            32.86


            KEVIN LEAVITT                        5600-000             NA            1,084.25       1,084.25          287.33


            KEVIN LUKIAN                         5600-000             NA              725.95        725.95           192.38


            KEVIN O'KEEFE                        5600-000             NA              338.00        338.00            89.57


            KEVIN STEPHENS                       5600-000             NA              459.80        459.80           121.85


            KEVIN SULLIVAN                       5600-000             NA              360.80        360.80            95.61


            KEVIN TURKALL                        5600-000             NA              338.00        338.00            89.57




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            KHONESAVANH
            VILAYPHONE                           5600-000             NA              452.00        452.00          119.78


            KHRISTINA HAMEL                      5600-000             NA              180.00        180.00           47.70


            KIM BOISVERT                         5600-000             NA              358.00        358.00           94.87


            KIM DERIAZ                           5600-000             NA              919.70        919.70          243.72


            KIM ELLEN CAIN                       5600-000             NA              564.00        564.00          149.46


            KIM LAMARCHE                         5600-000             NA              403.15        403.15          106.83


            KIMBERLY ANDERSON                    5600-000             NA              314.60        314.60           83.37


            KIMBERLY BILLICK                     5600-000             NA              594.00        594.00          157.41


            KIMBERLY DOTY                        5600-000             NA              398.00        398.00          105.47


            KIMBERLY
            LAMONTAGNE                           5600-000             NA              676.00        676.00          179.14


            KIMBERLY LASELL                      5600-000             NA              500.00        500.00          132.50


            KIMBERLY VOSS                        5600-000             NA              179.00        179.00           47.43


            KIMBERLY WEAVER                      5600-000             NA              507.00        507.00          134.35


            KIRK BOYENGA                         5600-000             NA              377.00        377.00           99.90


            KOVIN P. KUIZINAS                    5600-000             NA               82.77         82.77           21.93


            KRAIG W. GARBER                      5600-000             NA               79.00         79.00           20.93




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                                                  CODE
                                                                 6E)           Claim)

            KRAIG WEBER                          5600-000             NA              286.99        286.99            76.05


            KRISTEN KALAGHER                     5600-000             NA              923.75        923.75           244.79


            KRISTEN M. TRUAX                     5600-000             NA              438.00        438.00           116.07


            KRISTEN PERRAULT                     5600-000             NA              270.30        270.30            71.63


            KRISTEN STEWART                      5600-000             NA              492.60        492.60           130.54


            KRISTI BURKE                         5600-000             NA              188.00        188.00            49.82


            KRISTIN ARSLAN                       5600-000             NA              411.20        411.20           108.97


            KRISTIN E. SHEA                      5600-000             NA              718.00        718.00           190.27


            KRISTIN MILLET                       5600-000             NA              454.90        454.90           120.55


            KRISTIN STITELER                     5600-000             NA              188.00        188.00            49.82


            KRISTY HARRIGAN                      5600-000             NA              300.00        300.00            79.50


            KRISTYN FISCHER
            JACOBSON                             5600-000             NA              169.00        169.00            44.78


            KURT HARMANN                         5600-000             NA              589.56        589.56           156.23


            KURT NICKEL                          5600-000             NA            1,014.00       1,014.00          268.71


            KYLE SULLIVAN                        5600-000             NA            1,200.00       1,200.00          318.00


            LARRY FEDRIGO                        5600-000             NA              338.00        338.00            89.57




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            LARRY HROMOWYK                       5600-000             NA              507.00        507.00           134.35


            LARRY K. NEWHOUSE                    5600-000             NA              436.00        436.00           115.54


            LAURA ANNE AMICHETTI 5600-000                             NA              338.00        338.00            89.57


            LAURA J. BATCHO                      5600-000             NA            1,113.00       1,113.00          294.94


            LAURA K. MARTIN                      5600-000             NA              358.00        358.00            94.87


            LAURA KELK                           5600-000             NA              607.20        607.20           160.91


            LAURA MISNER                         5600-000             NA              751.70        751.70           199.20


            LAURA PRICHARD                       5600-000             NA              400.00        400.00           106.00


            LAUREN YAKEMOWICZ                    5600-000             NA              218.00        218.00            57.77


            LAURIANN KELLAND                     5600-000             NA              260.40        260.40            69.01


            LAURIE A. SPROULE                    5600-000             NA            4,116.89       4,116.89        1,090.97


            LAURIE LARZAZS                       5600-000             NA              632.00        632.00           167.48


            LAURIE ROCCO                         5600-000             NA              169.00        169.00            44.78


            LAURINE SIERPINSKI                   5600-000             NA              319.30        319.30            84.61


            LAVERNE SMITH                        5600-000             NA              236.00        236.00            62.54


            LAWRENCE MILLS                       5600-000             NA              676.00        676.00           179.14


            LEAH J. COULTES                      5600-000             NA              400.00        400.00           106.00




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            LEE HUIZENGA                         5600-000             NA              338.00        338.00            89.57


            LEE MONROE                           5600-000             NA              338.00        338.00            89.57


            LEIGHANN GREENE                      5600-000             NA              367.17        367.17            97.30


            LEN FARALLI                          5600-000             NA              229.00        229.00            60.68


            LENORE THOMPSON                      5600-000             NA              169.00        169.00            44.78


            LEO R. MCGRATH                       5600-000             NA              338.00        338.00            89.57


            LEONARDO DASILVA                     5600-000             NA              507.00        507.00           134.35


            LESLEY WILSON                        5600-000             NA            1,152.00       1,152.00          305.28


            LESLIE HUTCHINSON                    5600-000             NA            1,548.90       1,548.90          410.46


            LESLIE MARTZ                         5600-000             NA              491.40        491.40           130.22


            LESLIE PICCIRILLO                    5600-000             NA              268.10        268.10            71.05


            LESLIE TUTTLE                        5600-000             NA              468.80        468.80           124.23


            LESTER A. NUTTING                    5600-000             NA              790.20        790.20           209.40


            LETTA CLARK                          5600-000             NA              338.00        338.00            89.57


            LEV SIMKHOVICH                       5600-000             NA            1,076.00       1,076.00          285.14


            LEYDEN GUERRERO                      5600-000             NA              529.20        529.20           140.24


            LILIAN BORISOV                       5600-000             NA              376.00        376.00            99.64




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            LILLIAN CHARTIER                     5600-000             NA              159.00        159.00            42.13


            LINDA BOOKER                         5600-000             NA              193.00        193.00            51.15


            LINDA COPEN                          5600-000             NA              537.00        537.00           142.30


            LINDA DEMKOSKI                       5600-000             NA              338.00        338.00            89.57


            LINDA DEVENS                         5600-000             NA              676.00        676.00           179.14


            LINDA DOWLING                        5600-000             NA              316.00        316.00            83.74


            LINDA FIGURSKI                       5600-000             NA            1,014.00       1,014.00          268.71


            LINDA FREEMAN                        5600-000             NA              502.80        502.80           133.24


            LINDA JACKSON                        5600-000             NA              338.00        338.00            89.57


            LINDA K. HISCOCK                     5600-000             NA              301.38        301.38            79.87


            LINDA KALVINEK                       5600-000             NA              169.00        169.00            44.79


            LINDA KENNEDY                        5600-000             NA              124.00        124.00            32.86


            LINDA LASALA                         5600-000             NA              819.60        819.60           217.19


            LINDA LYONS                          5600-000             NA               10.00         10.00             2.65


            LINDA MARIE HARRISON                 5600-000             NA              159.00        159.00            42.13


            LINDA NAGORSKI                       5600-000             NA              338.00        338.00            89.57


            LINDA ROSENBLATT                     5600-000             NA              338.00        338.00            89.57




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            LINDA ROTHE                          5600-000             NA              338.00        338.00            89.57


            LINDA SUPERNAW                       5600-000             NA              169.00        169.00            44.78


            LINDA VERDUIN-DALE                   5600-000             NA              904.95        904.95           239.81


            LINDA WARGO                          5600-000             NA            1,572.01       1,572.01          416.58


            LINDSEY CRISS                        5600-000             NA              191.30        191.30            50.69


            LINH KHANH NGUYEN                    5600-000             NA              303.58        303.58            80.45


            LISA A. MOREAU                       5600-000             NA              149.85        149.85            39.71


            LISA BROWN                           5600-000             NA              158.00        158.00            41.87


            LISA CANTARA                         5600-000             NA              300.60        300.60            79.66


            LISA DWYER                           5600-000             NA              802.20        802.20           212.58


            LISA HAMILTON                        5600-000             NA              200.60        200.60            53.16


            LISA HENDERSON                       5600-000             NA              677.00        677.00           179.40


            LISA HUNZIKER                        5600-000             NA              202.80        202.80            53.74


            LISA LAFLAMME                        5600-000             NA              338.00        338.00            89.57


            LISA LINSCOTT                        5600-000             NA              466.00        466.00           123.49


            LISA LYN SALSER                      5600-000             NA              169.00        169.00            44.79


            LISA M. MCCAMBRIDGE                  5600-000             NA              358.00        358.00            94.87




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            LISA MITCHELL                        5600-000             NA              338.00        338.00            89.57


            LISA MORRIS                          5600-000             NA              158.00        158.00            41.87


            LISA TAYLOR                          5600-000             NA              308.40        308.40            81.73


            LIZA HATHAWAY                        5600-000             NA              654.00        654.00           173.31


            LOIS M. FIJOL                        5600-000             NA            1,178.00       1,178.00          312.17


            LOIS R. LAIRD                        5600-000             NA              321.60        321.60            85.22


            LOIS SATAGAJ                         5600-000             NA              338.00        338.00            89.57


            LOIS TERRANCE                        5600-000             NA              218.95        218.95            58.02


            LORI DIMILLO                         5600-000             NA              354.21        354.21            93.87


            LORI DOPPMAN                         5600-000             NA              716.00        716.00           189.74


            LORI J. GOBI                         5600-000             NA              338.00        338.00            89.57


            LORI J. PENDLETON                    5600-000             NA              346.00        346.00            91.69


            LORI L. FRANKOSKY                    5600-000             NA              960.60        960.60           254.56


            LORI LUSTER                          5600-000             NA              640.62        640.62           169.76


            LORI MAASS                           5600-000             NA              338.00        338.00            89.57


            LORI NIXON                           5600-000             NA              594.00        594.00           157.41


            LORI POPE                            5600-000             NA              147.00        147.00            38.96




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            LORI SCHELSKE                        5600-000             NA              150.00        150.00            39.75


            LORI SOMERSET                        5600-000             NA              474.00        474.00           125.61


            LORI STEVIC-RUST                     5600-000             NA            1,377.00       1,377.00          364.90


            LORI SWITALSKI                       5600-000             NA              338.00        338.00            89.57


            LORRAINE YAEGER                      5600-000             NA              498.56        498.56           132.12


            LOUIS & JOAN AERTS                   5600-000             NA              169.00        169.00            44.78


            LOUISE BEUME                         5600-000             NA              393.00        393.00           104.14


            LU ANN M. LEONARD                    5600-000             NA              169.00        169.00            44.78


            LUCIE BROWN                          5600-000             NA              188.00        188.00            49.82


            LUCIE COURSHESNE                     5600-000             NA              545.38        545.38           144.52


            LUCINDA A. BOVEN                     5600-000             NA              206.20        206.20            54.65


            LUTHER TOWNSEND III                  5600-000             NA              676.00        676.00           179.14


            LUTZ KAISER                          5600-000             NA              282.00        282.00            74.73


            LUXMAN
            SUTHANTHIRARAJAH                     5600-000             NA              169.00        169.00            44.78


            LYNDA HETEL                          5600-000             NA              338.00        338.00            89.57


            LYNDA SMITH                          5600-000             NA              358.00        358.00            94.87




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
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                                                  CODE
                                                                 6E)           Claim)

            LYNETTE M. SMITH                     5600-000             NA              507.00        507.00          134.35


            LYNN BISBANO                         5600-000             NA              413.00        413.00          109.44


            LYNN BLACKMORE                       5600-000             NA              408.00        408.00          108.12


            LYNN GHESQUIRE                       5600-000             NA              329.36        329.36           87.28


            LYNN GRIFFIN                         5600-000             NA              338.00        338.00           89.57


            LYNN K. LUSS                         5600-000             NA              182.30        182.30           48.31


            LYNN SORRENTINO                      5600-000             NA              338.00        338.00           89.57


            LYNNE HANSEN                         5600-000             NA              518.18        518.18          137.32


            M. KATHLEEN CIRINA                   5600-000             NA              100.00        100.00           26.50


            MAJORIE COPE                         5600-000             NA              314.78        314.78           83.42


            MARC FALK                            5600-000             NA              872.00        872.00          231.07


            MARCI GROFF                          5600-000             NA              150.40        150.40           39.86


            MARCIA AND TIMOTHY
            BARRY                                5600-000             NA              484.00        484.00          128.26


            MARCIA D. ALLEN                      5600-000             NA               79.00         79.00           20.94


            MARCIA WALLHAGEN                     5600-000             NA              169.00        169.00           44.78


            MARCY MALERBI                        5600-000             NA              736.80        736.80          195.25




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MARGARET BLAUVELT                    5600-000             NA              749.60        749.60           198.64


            MARGARET BOISMENU                    5600-000             NA              441.00        441.00           116.87


            MARGARET BRENNAN                     5600-000             NA              332.80        332.80            88.19


            MARGARET BRUMLEY                     5600-000             NA              474.00        474.00           125.61


            MARGARET CARTER                      5600-000             NA            2,257.06       2,257.06          598.12


            MARGARET DA COSTA                    5600-000             NA              632.00        632.00           167.48


            MARGARET DURGIN                      5600-000             NA              154.85        154.85            41.04


            MARGARET DURM-HIATT 5600-000                              NA              126.00        126.00            33.39


            MARGARET GARRISON                    5600-000             NA              380.10        380.10           100.73


            MARGARET GAY
            BOEHME                               5600-000             NA              845.00        845.00           223.92


            MARGARET HOWLAND                     5600-000             NA              516.00        516.00           136.74


            MARGARET KELLIHER                    5600-000             NA              409.80        409.80           108.59


            MARGARET LECLAIR                     5600-000             NA              185.40        185.40            49.13


            MARGARET O'CONNELL                   5600-000             NA              169.00        169.00            44.79


            MARGARET ROCHE                       5600-000             NA              338.00        338.00            89.57


            MARGOT KAMPF                         5600-000             NA              346.00        346.00            91.69




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MARIA DUPLESSIE                      5600-000             NA              466.80        466.80          123.70


            MARIA FERRARO                        5600-000             NA              388.00        388.00          102.82


            MARIA HOPKINS                        5600-000             NA              522.60        522.60          138.49


            MARIA PAMELA
            ANDRADE IZQUIERDO                    5600-000             NA              539.10        539.10          142.86


            MARIA ROSA ROMAN                     5600-000             NA              110.00        110.00           29.15


            MARIANNE LICORISH                    5600-000             NA              363.00        363.00           96.19


            MARIE B. KADLIK                      5600-000             NA              169.00        169.00           44.78


            MARIE EVANS                          5600-000             NA              338.00        338.00           89.57


            MARIE J. MCKENNA                     5600-000             NA               84.50         84.50           22.39


            MARIE KRAFT                          5600-000             NA              338.00        338.00           89.57


            MARILYN ACKER                        5600-000             NA              119.25        119.25           31.60


            MARILYN D. CROSBY                    5600-000             NA              338.00        338.00           89.57


            MARILYN EAGAN                        5600-000             NA              266.99        266.99           70.75


            MARILYN SARGENT                      5600-000             NA              248.00        248.00           65.72


            MARION L. HILTON, Sr.                5600-000             NA              954.00        954.00          252.81


            MARJORIE MACFAWN                     5600-000             NA              596.00        596.00          157.94




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CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MARJORIE QUARTLEY                    5600-000             NA              573.00        573.00             151.84


            MARK & MARY MURRAY                   5600-000             NA                0.00             0.00            0.00


            MARK & PATRICIA KLINK 5600-000                            NA              716.00        716.00             189.74


            MARK E. BENTLEY                      5600-000             NA              388.00        388.00             102.82


            MARK E. STOCKIN                      5600-000             NA              338.00        338.00              89.57


            MARK HUMBY                           5600-000             NA              345.27             0.00            0.00


            MARK LUBOLD                          5600-000             NA              841.60        841.60             223.02


            MARK MAGODRINSKI                     5600-000             NA              316.00        316.00              83.74


            MARK NELSON                          5600-000             NA              340.00        340.00              90.10


            MARK NIEUWSMA                        5600-000             NA              376.80        376.80              99.85


            MARK PIAZZA                          5600-000             NA              570.00        570.00             151.05


            MARK SHERIDAN                        5600-000             NA            1,893.55       1,893.55            501.79


            MARLA GIVEN                          5600-000             NA              676.00        676.00             179.14


            MARLENE KLOOSTER                     5600-000             NA              352.53        352.53              93.42


            MARLENE VAN HAM                      5600-000             NA              338.00        338.00              89.57


            MARLIN BAKER                         5600-000             NA              285.90        285.90              75.76


            MARLIN KAUFFMAN                      5600-000             NA              218.00        218.00              57.77




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CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MARSHA MCFALL                        5600-000             NA              338.00        338.00              89.57


            MARSHALL AND SUSAN
            E. BILLIAM                           5600-000             NA            1,014.00       1,014.00            268.71


            MARTHA A. HERNANDEZ                  5600-000             NA              676.00        676.00             179.14


            MARTHA J. ARCHER                     5600-000             NA              358.00        358.00              94.87


            MARTHA J. HERMAN                     5600-000             NA               99.90         99.90              26.47


            MARTHA MARTIN                        5600-000             NA              676.05        676.05             179.15


            MARTHA SANTOM                        5600-000             NA              338.00        338.00              89.57


            MARTIN BRENNAN                       5600-000             NA              338.00        338.00              89.57


            MARVIN HANSEN                        5600-000             NA              716.00        716.00             189.74


            MARVIN MILLER                        5600-000             NA              222.80        222.80              59.04


            MARY A. KIRBY                        5600-000             NA                0.00             0.00            0.00


            MARY ALICE YANDO                     5600-000             NA              358.00        358.00              94.87


            MARY ANN DURANTE                     5600-000             NA              179.00        179.00              47.43


            MARY BETH CRICHTON                   5600-000             NA              397.15        397.15             105.25


            MARY CELINE BENTLEY                  5600-000             NA              338.00        338.00              89.57


            MARY CROTEAU                         5600-000             NA              338.00        338.00              89.57




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MARY CURTIS                          5600-000             NA              169.00        169.00            44.78


            MARY DESMOND                         5600-000             NA              219.00        219.00            58.03


            MARY ELLEN ARTIOLI                   5600-000             NA              388.00        388.00           102.82


            MARY ELLEN DONNELLY 5600-000                              NA              200.00        200.00            53.00


            MARY ELLEN FISHER                    5600-000             NA              236.30        236.30            62.62


            MARY FRESE                           5600-000             NA              299.28        299.28            79.31


            MARY GENTRY                          5600-000             NA              158.00        158.00            41.87


            MARY H. KIMBROUGH                    5600-000             NA              376.00        376.00            99.64


            MARY HALLEY                          5600-000             NA              393.50        393.50           104.28


            MARY J. HUFF                         5600-000             NA            2,247.00       2,247.00          595.45


            MARY JEAN PRATT                      5600-000             NA              179.00        179.00            47.43


            MARY JO CRUTHERS                     5600-000             NA              296.60        296.60            78.60


            MARY JO GARDNER                      5600-000             NA              388.28        388.28           102.89


            MARY JO SWANSON                      5600-000             NA              149.00        149.00            39.48


            MARY K. WILLER                       5600-000             NA              537.00        537.00           142.30


            MARY L. HAMMOND                      5600-000             NA              318.00        318.00            84.27


            MARY L. LITTLE                       5600-000             NA              179.00        179.00            47.43




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MARY LOU
            SHREMSHOCK                           5600-000             NA            3,580.00       3,580.00          948.69


            MARY LOU WRIGHT                      5600-000             NA            5,500.00       5,500.00        1,457.49


            MARY M. CUTLER                       5600-000             NA              320.00        320.00            84.80


            MARY M. FARREN                       5600-000             NA              338.00        338.00            89.57


            MARY MURPHY                          5600-000             NA              507.00        507.00           134.35


            MARY PELZ                            5600-000             NA              169.00        169.00            44.78


            MARY RADIMER                         5600-000             NA              152.80        152.80            40.49


            MARY SPIVEY SHIREMAN 5600-000                             NA              338.00        338.00            89.57


            MARYANN A. STANLEY                   5600-000             NA              369.10        369.10            97.81


            MARYLYNN LEWIS                       5600-000             NA              376.00        376.00            99.64


            MATHEW THORTON                       5600-000             NA              650.20        650.20           172.31


            MATT GILDEA                          5600-000             NA              550.00        550.00           145.75


            MATT GUARINO                         5600-000             NA              434.85        434.85           115.23


            MATTHEW DUDEK                        5600-000             NA              872.00        872.00           231.08


            MATTHEW FARNSWORTH 5600-000                               NA              215.30        215.30            57.06


            MATTHEW LANDFRIED                    5600-000             NA              507.00        507.00           134.35




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MATTHEW W. THOMAS                    5600-000             NA              181.50        181.50            48.10


            MATTHEW WATTERSON                    5600-000             NA              346.00        346.00            91.69


            MATTHEW ZEHR                         5600-000             NA              218.00        218.00            57.77


            MAUREEN MOORE                        5600-000             NA              348.00        348.00            92.22


            MAUREEN ROONEY                       5600-000             NA              201.99        201.99            53.53


            MEGAN BREWER                         5600-000             NA              441.20        441.20           116.92


            MEGAN KLEIN                          5600-000             NA              153.00        153.00            40.54


            MEGAN LOVELACE                       5600-000             NA              555.36        555.36           147.17


            MEGAN SPAYDE                         5600-000             NA              169.00        169.00            44.79


            MEL REPAIR                           5600-000             NA            1,352.00       1,352.00          358.28


            MELANIE PUPILLO                      5600-000             NA              456.00        456.00           120.84


            MELISSA A. KRUSE                     5600-000             NA              360.00        360.00            95.40


            MELISSA A. MCPHAIL                   5600-000             NA              932.75        932.75           247.18


            MELISSA BONNEY                       5600-000             NA              366.00        366.00            96.99


            MELISSA COMEAU                       5600-000             NA              552.60        552.60           146.44


            MELISSA HILDRETH                     5600-000             NA              676.00        676.00           179.14


            MELISSA KRONENBERG                   5600-000             NA              670.40        670.40           177.65




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MELISSA THENIKL
            MYSZAK                               5600-000             NA              794.70        794.70           210.59


            MELISSA WEART                        5600-000             NA              244.90        244.90            64.90


            MICHAEL & KATHI
            MELCHER                              5600-000             NA              525.75        525.75           139.33


            MICHAEL & LYN BALLA                  5600-000             NA              570.60        570.60           151.21


            MICHAEL & RACHEL
            GARCIA                               5600-000             NA              632.00        632.00           167.48


            MICHAEL AND LUCILLE
            KLASSEN                              5600-000             NA              150.00        150.00            39.75


            MICHAEL AND PATRICIA
            MANDEVILLE                           5600-000             NA              456.00        456.00           120.84


            MICHAEL B. CANNON                    5600-000             NA            1,019.40       1,019.40          270.14


            MICHAEL BEHAN                        5600-000             NA              338.00        338.00            89.57


            MICHAEL
            BETTENHAUSEN                         5600-000             NA              506.55        506.55           134.23


            MICHAEL CARAMICO                     5600-000             NA              338.00        338.00            89.57


            MICHAEL CARLSON                      5600-000             NA              537.00        537.00           142.30


            MICHAEL CHAPMAN                      5600-000             NA              244.78        244.78            64.86




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MICHAEL D. ELLISON                   5600-000             NA              316.00        316.00            83.74


            MICHAEL D. RIZZO                     5600-000             NA              338.00        338.00            89.57


            MICHAEL DEL GAIZO                    5600-000             NA              300.00        300.00            79.50


            MICHAEL FENIAK                       5600-000             NA              255.33        255.33            67.66


            MICHAEL G. SMITH                     5600-000             NA              676.00        676.00           179.14


            MICHAEL GOODWIN                      5600-000             NA              393.40        393.40           104.25


            MICHAEL J. HULSEBUS                  5600-000             NA            1,690.00       1,690.00          447.85


            MICHAEL KLINE                        5600-000             NA              338.00        338.00            89.57


            MICHAEL L. HIEBER                    5600-000             NA              358.00        358.00            94.87


            MICHAEL LAMONS                       5600-000             NA              105.20        105.20            27.88


            MICHAEL M. MACE                      5600-000             NA              676.00        676.00           179.14


            MICHAEL MANGINI                      5600-000             NA              338.00        338.00            89.57


            MICHAEL MARTIN                       5600-000             NA            1,128.50       1,128.50          299.05


            MICHAEL NOSKO                        5600-000             NA              348.00        348.00            92.22


            MICHAEL OLIVI                        5600-000             NA              676.00        676.00           179.14


            MICHAEL P. HERN                      5600-000             NA              100.00        100.00            26.50


            MICHAEL PERRAULT                     5600-000             NA              579.40        579.40           153.54




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MICHAEL PIERMARINI                   5600-000             NA              188.00        188.00           49.82


            MICHAEL RABS                         5600-000             NA              338.00        338.00           89.57


            MICHAEL ROCK                         5600-000             NA              338.00        338.00           89.57


            MICHAEL S. LIGHT                     5600-000             NA              367.00        367.00           97.25


            MICHAEL SCADUTO                      5600-000             NA              507.00        507.00          134.35


            MICHAEL SIWEK                        5600-000             NA              338.00        338.00           89.57


            MICHAEL W. HOPKINS                   5600-000             NA              338.00        338.00           89.57


            MICHAEL WELCH                        5600-000             NA              194.00        194.00           51.41


            MICHEL LAMARRE                       5600-000             NA              682.58        682.58          180.88


            MICHEL ST. LAURENT                   5600-000             NA              845.00        845.00          223.92


            MICHELE BURNS                        5600-000             NA              338.00        338.00           89.57


            MICHELE M. MARKS                     5600-000             NA              338.00        338.00           89.57


            MICHELLE A. PRIDNIA                  5600-000             NA              286.00        286.00           75.79


            MICHELLE BRYSON                      5600-000             NA              435.30        435.30          115.35


            MICHELLE C. CANTO                    5600-000             NA              542.00        542.00          143.63


            MICHELLE C. CARUSO                   5600-000             NA              409.80        409.80          108.60


            MICHELLE CORRELL                     5600-000             NA              995.00        995.00          263.67




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MICHELLE GORDON                      5600-000             NA              676.00        676.00           179.14


            MICHELLE MCCULLEY                    5600-000             NA               94.00         94.00            24.91


            MICHELLE SCHIPPERS                   5600-000             NA              515.60        515.60           136.63


            MICHELLE SCHLICTER                   5600-000             NA              338.00        338.00            89.57


            MICHELLE VELLA                       5600-000             NA            1,500.76       1,500.76          397.70


            MIKE AND CHERIE
            MARTIN                               5600-000             NA              716.00        716.00           189.74


            MIKE BUJAN                           5600-000             NA              676.00        676.00           179.14


            MIKE CUTRONI                         5600-000             NA              454.20        454.20           120.36


            MIKE FASOLINO                        5600-000             NA              363.00        363.00            96.19


            MIKEAL YONGE                         5600-000             NA              712.40        712.40           188.78


            MILOS VUKOVIC                        5600-000             NA              289.78        289.78            76.79


            MIMI DARLENE HUGHES                  5600-000             NA              338.00        338.00            89.57


            MIOSOTIS RAMOS-
            PERALTA                              5600-000             NA              792.80        792.80           210.09


            MIRIAM L. SCHMITT                    5600-000             NA              925.06        925.06           245.14


            MONA WALLACE                         5600-000             NA              779.50        779.50           206.57


            MONIQUE F. SCHETZEL                  5600-000             NA              338.00        338.00            89.57




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            MONIQUE MOGRIDGE                     5600-000             NA              316.00        316.00            83.74


            MORRIS R. WARREN                     5600-000             NA              852.60        852.60           225.94


            MR. & MRS. WILLIAM
            DUGAN JR.                            5600-000             NA              338.00        338.00            89.57


            MRS. ROBERT MCGRADY                  5600-000             NA              338.00        338.00            89.57


            MURIEL NUTTING                       5600-000             NA              790.20        790.20           209.40


            NADINE SILVA                         5600-000             NA              386.60        386.60           102.45


            NADINE TUCKER                        5600-000             NA              515.43        515.43           136.59


            NANCY AND CHARLES
            SILVERMAN                            5600-000             NA              338.00        338.00            89.57


            NANCY B. GARDELLI                    5600-000             NA              338.00        338.00            89.57


            NANCY BEK                            5600-000             NA            1,014.00       1,014.00          268.71


            NANCY BOUSQUET                       5600-000             NA              338.00        338.00            89.57


            NANCY BOYD                           5600-000             NA              303.40        303.40            80.40


            NANCY DUDEK                          5600-000             NA              286.18        286.18            75.84


            NANCY FINNEGAN                       5600-000             NA              418.00        418.00           110.77


            NANCY GOLDEN                         5600-000             NA              979.50        979.50           259.57


            NANCY K. BACKS                       5600-000             NA              376.00        376.00            99.64




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            NANCY L. O'CONNOR                    5600-000             NA              388.00        388.00           102.82


            NANCY L. SAVICKE                     5600-000             NA              200.00        200.00            53.00


            NANCY L. SCHADLER                    5600-000             NA            1,183.00       1,183.00          313.49


            NANCY LAMB                           5600-000             NA              380.08        380.08           100.72


            NANCY LEVAC                          5600-000             NA              593.61        593.61           157.31


            NANCY PARSONS                        5600-000             NA              376.00        376.00            99.64


            NANCY R. REINHART                    5600-000             NA              676.00        676.00           179.14


            NANCY S. MARQUETTE                   5600-000             NA              358.00        358.00            94.87


            NANCY VENNEKOTTER                    5600-000             NA              325.00        325.00            86.13


            NANCY-LEE CUSTARD                    5600-000             NA            2,171.18       2,171.18          575.36


            NAOMI DIAZ                           5600-000             NA              316.00        316.00            83.74


            NAOMI WILLIAMS                       5600-000             NA              661.20        661.20           175.22


            NATALIE COTTAGE                      5600-000             NA              474.00        474.00           125.61


            NATHAN KACZANOWSKI                   5600-000             NA              507.00        507.00           134.36


            NEAL JACKSON                         5600-000             NA            1,260.00       1,260.00          333.90


            NELLIE R. LEIMBACH                   5600-000             NA              199.15        199.15            52.77


            NICHOLAS BENJAMIN                    5600-000             NA            1,183.00       1,183.00          313.49




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            NICHOLAS CUTRIGHT                    5600-000             NA              338.00        338.00           89.57


            NICHOLAS M. DOE                      5600-000             NA              358.00        358.00           94.87


            NICHOLAS M.
            GEORGESON                            5600-000             NA              500.80        500.80          132.71


            NICHOLAS RANKIN                      5600-000             NA              160.00        160.00           42.40


            NICHOLAS S. DAVIES                   5600-000             NA              535.00        535.00          141.78


            NICHOLE CAMPBELL                     5600-000             NA              405.60        405.60          107.48


            NICOLE CREVIER                       5600-000             NA              150.00        150.00           39.75


            NICOLE DEVANTIER                     5600-000             NA              204.70        204.70           54.25


            NICOLE EARL                          5600-000             NA              676.00        676.00          179.14


            NICOLE KRISTOFF                      5600-000             NA              716.00        716.00          189.74


            NICOLE MORRISON                      5600-000             NA              637.40        637.40          168.91


            NICOLE NOTIDIS                       5600-000             NA              358.00        358.00           94.87


            NICOLE ORR                           5600-000             NA              169.00        169.00           44.79


            NICOLE RAPS                          5600-000             NA              138.60        138.60           36.73


            NICOLE YOUNG                         5600-000             NA              169.00        169.00           44.79


            NICOLETTE C. FRYE                    5600-000             NA              969.12        969.12          256.82




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                                                              CLAIMS          CLAIMS
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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            NITA MCLEON                          5600-000             NA              150.80        150.80            39.96


            NOREEN MULLEN                        5600-000             NA              507.00        507.00           134.35


            NORMA BOROWSKI                       5600-000             NA              338.00        338.00            89.57


            NORMA D. ARMSTRONG                   5600-000             NA              159.00        159.00            42.13


            NORMAN ASHWORTH                      5600-000             NA              210.30        210.30            55.73


            NORMAN FANG                          5600-000             NA              435.00        435.00           115.27


            NORMAN LESSARD                       5600-000             NA              182.79        182.79            48.44


            NORMAN TARBELL                       5600-000             NA              230.80        230.80            61.16


            NORMAN W. AND DONNA
            M. TIPLADY                           5600-000             NA              189.53        189.53            50.23


            NYSHA DRENNAN                        5600-000             NA              676.00        676.00           179.14


            P. OSCAR NIEVES                      5600-000             NA            1,052.40       1,052.40          278.88


            PAIGE ANN BAIN                       5600-000             NA              834.00        834.00           221.01


            PAMELA
            BLANKENBAKER                         5600-000             NA              135.20        135.20            35.82


            PAMELA CARTER                        5600-000             NA              358.00        358.00            94.87


            PAMELA CUFFLE                        5600-000             NA              158.00        158.00            41.87


            PAMELA HEWITT                        5600-000             NA              338.00        338.00            89.57




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                                                              CLAIMS          CLAIMS
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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            PAMELA LETENDRE                      5600-000             NA              297.00        297.00            78.70


            PAMELA MAVILIA                       5600-000             NA              517.00        517.00           137.00


            PAMELA MESKUS                        5600-000             NA              850.00        850.00           225.25


            PAMELA PARKER                        5600-000             NA               50.00         50.00            13.25


            PAMELA PETERS                        5600-000             NA              219.00        219.00            58.03


            PAMELA PIERCE                        5600-000             NA              926.93        926.93           245.63


            PAMELA VANSLYKE                      5600-000             NA              303.00        303.00            80.29


            PATIENCE RUGGIO                      5600-000             NA              169.00        169.00            44.78


            PATRICE COUSINEAU                    5600-000             NA            2,118.40       2,118.40          561.37


            PATRICIA & ERNEST
            MCCARTHY                             5600-000             NA              435.80        435.80           115.49


            PATRICIA A. DICKEY                   5600-000             NA               60.00         60.00            15.90


            PATRICIA A. LOESWICK                 5600-000             NA              178.00        178.00            47.17


            PATRICIA A. RICHERT                  5600-000             NA              338.00        338.00            89.57


            PATRICIA CARON                       5600-000             NA              507.00        507.00           134.35


            PATRICIA CARROLL                     5600-000             NA              676.00        676.00           179.14


            PATRICIA DAUMIT                      5600-000             NA              314.60        314.60            83.37




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            PATRICIA FAHEY                       5600-000             NA              584.58        584.58           154.91


            PATRICIA FLYNN                       5600-000             NA              676.00        676.00           179.14


            PATRICIA HENRY                       5600-000             NA              188.00        188.00            49.82


            PATRICIA J. QUARTON                  5600-000             NA              189.70        189.70            50.27


            PATRICIA LARAMEE                     5600-000             NA              507.00        507.00           134.35


            PATRICIA M. ROUVEL                   5600-000             NA              338.00        338.00            89.57


            PATRICIA MATHENY                     5600-000             NA              480.80        480.80           127.41


            PATRICIA MCCLELLAND                  5600-000             NA              950.80        950.80           251.96


            PATRICIA RICE                        5600-000             NA              158.00        158.00            41.87


            PATRICIA S. CARVILL                  5600-000             NA               49.00         49.00            12.98


            PATRICIA S. STELZER                  5600-000             NA              716.00        716.00           189.74


            PATRICIA SCHUMACHER                  5600-000             NA              507.00        507.00           134.35


            PATRICIA TAYLOR                      5600-000             NA              219.00        219.00            58.03


            PATRICK A. MCNAMARA                  5600-000             NA            1,284.20       1,284.20          340.31


            PATRICK LONERGAN                     5600-000             NA              338.00        338.00            89.57


            PATRICK TOLSMA                       5600-000             NA              338.00        338.00            89.57


            PATSY M. KREPS                       5600-000             NA              338.00        338.00            89.57




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                                                               CLAIMS          CLAIMS
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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            PATSY PASEKA                          5600-000             NA              500.00        500.00           132.50


            PAUL AND LAURA
            SUMNER                                5600-000             NA              474.00        474.00           125.61


            PAUL CANUEL                           5600-000             NA              387.91        387.91           102.80


            PAUL FLOOD                            5600-000             NA              474.00        474.00           125.61


            PAUL HOEKSEMA                         5600-000             NA              143.00        143.00            37.89


            PAUL ISLEY                            5600-000             NA              338.00        338.00            89.57


            PAUL M. STAFFORD                      5600-000             NA              338.00        338.00            89.57


            PAUL MACDONALD                        5600-000             NA              960.00        960.00           254.40


            PAUL MROZ                             5600-000             NA              200.00        200.00            53.00


            PAUL RYAN                             5600-000             NA              169.00        169.00            44.78


            PAUL S. CORDES                        5600-000             NA               50.00         50.00            13.25


            PAUL SOUTHWARD                        5600-000             NA              316.00        316.00            83.74


            PAUL VITRANO                          5600-000             NA              211.10        211.10            55.94


            PAULA CONLOGUE                        5600-000             NA            1,047.00       1,047.00          277.45


            PAULA LADUERRE                        5600-000             NA              158.00        158.00            41.87


            PAULA ROCK                            5600-000             NA            1,336.00       1,336.00          354.04




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            PAULETTE FRANK                        5600-000             NA              676.00        676.00           179.14


            PAULETTE KAY
            KELLOGG                               5600-000             NA              413.80        413.80           109.66


            PAULINE D.
            KLOSTERMAN                            5600-000             NA              179.00        179.00            47.43


            PAULINE GRAVELINE                     5600-000             NA              338.00        338.00            89.57


            PEARL M. FULLER                       5600-000             NA              173.00        173.00            45.84


            PEGGY MOEST                           5600-000             NA              401.50        401.50           106.40


            PEGGY POITEVINT                       5600-000             NA              169.00        169.00            44.78


            PENNIE J. ENTERLINE                   5600-000             NA            1,242.30       1,242.30          329.21


            PENNY CHRUSCIEL                       5600-000             NA              551.36        551.36           146.11


            PENNY S. REAM                         5600-000             NA              577.00        577.00           152.90


            PETER ACETO                           5600-000             NA              940.00        940.00           249.10


            PETER MACK                            5600-000             NA              338.00        338.00            89.57


            PETER PESCOSOLIDO                     5600-000             NA              179.00        179.00            47.44


            PETRA TEMPLIN                         5600-000             NA              135.49        135.49            35.90


            PHILIP COPPERNOLL                     5600-000             NA              524.00        524.00           138.86


            PHILIP LOUD                           5600-000             NA            1,118.98       1,118.98          296.53




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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            PHILIP WILLIAMS                       5600-000             NA              440.00        440.00          116.60


            PHILLIP A. HEITZ                      5600-000             NA              338.00        338.00           89.57


            PHYLLIS LAWRENZ                       5600-000             NA              345.10        345.10           91.45


            PHYLLIS RYAN                          5600-000             NA              169.00        169.00           44.79


            PHYLLIS S. LUBBERT                    5600-000             NA              338.00        338.00           89.57


            PORSHA STEPNEY                        5600-000             NA              503.60        503.60          133.45


            PRESTON FADNESS                       5600-000             NA              406.00        406.00          107.59


            PRISCELLA B. BORCI                    5600-000             NA              822.60        822.60          217.99


            PRISCILLA GAMACHE                     5600-000             NA               84.50         84.50           22.39


            R. DAVID VAN BUREN                    5600-000             NA              338.00        338.00           89.57


            RACHEL D. COFFIN                      5600-000             NA              377.90        377.90          100.14


            RACHEL E. SMITH                       5600-000             NA              438.00        438.00          116.07


            RACHEL MCCOLLOR                       5600-000             NA              550.00        550.00          145.75


            RACHELLE GORMLEY                      5600-000             NA              754.00        754.00          199.81


            RACQUEL L. BOURNE                     5600-000             NA              507.00        507.00          134.35


            RALPH D. LOTT                         5600-000             NA              476.10        476.10          126.17


            RANDALL PRIEUR                        5600-000             NA              388.00        388.00          102.82




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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            RANDI NEIDEFFER                       5600-000             NA              152.80        152.80           40.49


            RANDOLPH COULTES                      5600-000             NA              660.00        660.00          174.90


            RANDY SANDBORN                        5600-000             NA              676.00        676.00          179.14


            RAYMOND BERTHIAUME                    5600-000             NA              496.00        496.00          131.44


            RAYMOND BOWMAN                        5600-000             NA              276.20        276.20           73.19


            RAYMOND DION                          5600-000             NA              483.98        483.98          128.25


            RAYMOND G. TOWNLEY                    5600-000             NA              228.80        228.80           60.63


            RAYMOND GRIMES                        5600-000             NA              400.10        400.10          106.03


            RAYMOND MORGE                         5600-000             NA              676.00        676.00          179.14


            RAYMONDE BERGERON                     5600-000             NA              408.55        408.55          108.27


            RAYMONDE
            DESAULNIERS                           5600-000             NA              792.54        792.54          210.02


            REBECCA COOK                          5600-000             NA              100.00        100.00           26.50


            REBECCA FOLEY                         5600-000             NA              169.00        169.00           44.78


            REBECCA HAAS                          5600-000             NA              389.80        389.80          103.30


            REBECCA J. ASH                        5600-000             NA              188.00        188.00           49.82


            REBECCA SEWELL                        5600-000             NA              460.80        460.80          122.11




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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            REBECCA SHARKEY                       5600-000             NA            1,114.00       1,114.00          295.21


            REGINA MONTEMURRO                     5600-000             NA              169.00        169.00            44.78


            REJEAN MORISSETTE                     5600-000             NA              388.00        388.00           102.82


            RENEE L. BARR                         5600-000             NA              824.70        824.70           218.54


            RENEE MILLER                          5600-000             NA            7,405.80       7,405.80        1,962.53


            RENEE MONTGOMERY                      5600-000             NA            1,000.00       1,000.00          265.00


            RENEE POTWIN                          5600-000             NA              987.30        987.30           261.64


            REV. GERALD CERANK                    5600-000             NA              215.90        215.90            57.22


            REVEREND D WILLIAM J
            AND LUCILLE LA                        5600-000             NA              338.00        338.00            89.57


            RHODA COKEE                           5600-000             NA              338.00        338.00            89.57


            RHODA SMITH                           5600-000             NA              507.00        507.00           134.35


            RHONDA WENBERG                        5600-000             NA              779.50        779.50           206.57


            RICHARD B. DUFFY                      5600-000             NA              338.00        338.00            89.57


            RICHARD CARLSON                       5600-000             NA              786.00        786.00           208.29


            RICHARD GRAHAM                        5600-000             NA              338.00        338.00            89.57


            RICHARD HEMMING                       5600-000             NA              830.76        830.76           220.15




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CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            RICHARD HINDS                         5600-000             NA              169.00        169.00            44.78


            RICHARD K.
            KARLESKENT                            5600-000             NA              301.20        301.20            79.82


            RICHARD L. AULTMAN                    5600-000             NA              320.60        320.60            84.96


            RICHARD MCMANUS                       5600-000             NA              637.90        637.90           169.04


            RICHARD MONTAG                        5600-000             NA              507.00        507.00           134.35


            RICHARD MOORE                         5600-000             NA            1,859.00       1,859.00          492.63


            RICHARD P. SILVERMAN                  5600-000             NA              282.70        282.70            74.92


            RICHARD PARKER                        5600-000             NA              358.00        358.00            94.87


            RICHARD PYEFINCH                      5600-000             NA              169.00        169.00            44.78


            RICHARD SCHELL                        5600-000             NA              507.00        507.00           134.36


            RICHARD STLAKA                        5600-000             NA               79.00         79.00            20.93


            RICHMOND PARKER                       5600-000             NA              100.00        100.00            26.50


            RICK E. SHIELDS                       5600-000             NA              338.00        338.00            89.57


            RICK HAYMAN                           5600-000             NA              676.00        676.00           179.14


            RITA C. BLEVINS                       5600-000             NA              231.50        231.50            61.35


            ROBERT & LAURA
            SLAVING                               5600-000             NA              594.15        594.15           157.45




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CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
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                                                   CODE
                                                                  6E)           Claim)

            ROBERT A. CILLO                       5600-000             NA              489.11        489.11          129.61


            ROBERT A. KRIEBEL                     5600-000             NA              338.00        338.00           89.57


            ROBERT ANTHONY
            FRANKS                                5600-000             NA              537.00        537.00          142.30


            ROBERT BURNETTI                       5600-000             NA              517.00        517.00          137.00


            ROBERT C. GLAZESKI                    5600-000             NA              490.20        490.20          129.90


            ROBERT E. CAVANAUGH                   5600-000             NA              304.00        304.00           80.56


            ROBERT G. PATTERSON,
            Jr.                                   5600-000             NA              559.00        559.00          148.13


            ROBERT G. SENAY                       5600-000             NA              646.00        646.00          171.19


            ROBERT GERKEN                         5600-000             NA              338.00        338.00           89.57


            ROBERT J. STREETER                    5600-000             NA              458.00        458.00          121.37


            ROBERT KECK, I                        5600-000             NA              358.00        358.00           94.87


            ROBERT LENCSAK                        5600-000             NA              169.00        169.00           44.78


            ROBERT LEWIS                          5600-000             NA              496.00        496.00          131.44


            ROBERT LIKUS                          5600-000             NA              251.60        251.60           66.67


            ROBERT M. SHOEMAKER                   5600-000             NA              474.00        474.00          125.61


            ROBERT MAYO                           5600-000             NA              150.00        150.00           39.75




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                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            ROBERT NIXON                          5600-000             NA              280.40        280.40            74.31


            ROBERT P. DECARO                      5600-000             NA              680.00        680.00           180.19


            ROBERT S. BURNETT                     5600-000             NA              507.00        507.00           134.35


            ROBERT TORRE                          5600-000             NA              400.55        400.55           106.15


            ROBERT VLIEK                          5600-000             NA              112.45        112.45            29.80


            ROBERT W. BOYD                        5600-000             NA              338.00        338.00            89.57


            ROBERT W. KOVACS, Jr.                 5600-000             NA            1,647.50       1,647.50          436.58


            ROBERT WESTERMEIER                    5600-000             NA              676.00        676.00           179.14


            ROBERT WILSON                         5600-000             NA              489.80        489.80           129.80


            ROBERTA MILLS                         5600-000             NA              910.15        910.15           241.19


            ROBERTA ZIEGLER                       5600-000             NA              130.20        130.20            34.50


            ROD TROSTLE                           5600-000             NA              700.00        700.00           185.50


            ROGER ALLEGRO                         5600-000             NA              676.00        676.00           179.14


            ROLAND J. BEAUREGARD 5600-000                              NA              302.00        302.00            80.03


            RONALD ALEXANDER                      5600-000             NA              372.80        372.80            98.80


            RONALD COOPER                         5600-000             NA              338.00        338.00            89.57


            RONALD E. HOLLERAN                    5600-000             NA              400.80        400.80           106.21




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CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            RONALD ENZINNA                        5600-000             NA              169.00        169.00           44.78


            RONALD GUILLAUME                      5600-000             NA              451.20        451.20          119.57


            RONALD J. COURNOYER                   5600-000             NA              338.00        338.00           89.57


            RONALD L. NEWHOUSE                    5600-000             NA              169.00        169.00           44.78


            RONALD LAW                            5600-000             NA              169.00        169.00           44.79


            RONDINA SINATRA-
            SCHMITZ                               5600-000             NA              413.00        413.00          109.44


            ROSA RICCI                            5600-000             NA              676.00        676.00          179.14


            ROSCOE & JUDITH
            WILSON                                5600-000             NA              338.00        338.00           89.57


            ROSE BATTLE                           5600-000             NA              507.00        507.00          134.35


            ROSE HALL                             5600-000             NA              593.00        593.00          157.14


            ROSE HANKS                            5600-000             NA              169.00        169.00           44.79


            ROSE STUNDA                           5600-000             NA              416.65        416.65          110.41


            ROSEMARY BRENNAN-
            MITRANO                               5600-000             NA              800.00        800.00          212.00


            ROSEMARY DUBAJ                        5600-000             NA              676.00        676.00          179.14


            ROSEMARY MUFFLEY                      5600-000             NA              169.00        169.00           44.78




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CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            ROSETTE FORTNER                       5600-000             NA              338.00        338.00            89.57


            ROXANE MARCILLE                       5600-000             NA              157.30        157.30            41.69


            ROY HOOD                              5600-000             NA            1,579.60       1,579.60          418.59


            ROY MONTGOMERY                        5600-000             NA              388.00        388.00           102.82


            RUBY TENNYSON                         5600-000             NA              804.00        804.00           213.06


            RUSSELL A. BILOW                      5600-000             NA              338.00        338.00            89.57


            RUTH JEAN WAKEFORD                    5600-000             NA              507.00        507.00           134.35


            RUTH SHEELER                          5600-000             NA              178.00        178.00            47.17


            RYAN BAUMBACH                         5600-000             NA              832.83        832.83           220.70


            RYAN CORNMAN                          5600-000             NA              948.76        948.76           251.42


            RYAN D. MILLER                        5600-000             NA              169.00        169.00            44.78


            RYAN OUDBIER                          5600-000             NA              994.80        994.80           263.62


            SALLY KHUDAIRI                        5600-000             NA            1,146.25       1,146.25          303.75


            SALLY NELSON                          5600-000             NA               74.15         74.15            19.65


            SALLY REDRUP                          5600-000             NA               79.00         79.00            20.93


            SALVATORE M.
            RUGGIERO                              5600-000             NA              338.00        338.00            89.57




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                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            SAMUEL & RACHEL
            SMITH                                 5600-000             NA              236.82        236.82            62.76


            SANDRA AUGER                          5600-000             NA              676.00        676.00           179.14


            SANDRA BETTS                          5600-000             NA              336.94        336.94            89.29


            SANDRA BIRDSELL                       5600-000             NA               49.95         49.95            13.24


            SANDRA D. RHUE                        5600-000             NA              776.00        776.00           205.64


            SANDRA EHRENREICH                     5600-000             NA              354.37        354.37            93.91


            SANDRA FELDMAN                        5600-000             NA              114.50        114.50            30.34


            SANDRA FUNKHOUSER                     5600-000             NA              338.00        338.00            89.57


            SANDRA HANSEN                         5600-000             NA              316.00        316.00            83.74


            SANDRA J. FUNK                        5600-000             NA              169.00        169.00            44.78


            SANDRA K. SHEEHY                      5600-000             NA              338.00        338.00            89.57


            SANDRA LANGLEY                        5600-000             NA              102.45        102.45            27.15


            SANDRA LEE MCALEESE                   5600-000             NA            1,717.38       1,717.38          455.10


            SANDRA METCALF                        5600-000             NA              348.70        348.70            92.40


            SANDRA NIEDOJADLO                     5600-000             NA              958.80        958.80           254.08


            SANDRA ROYER                          5600-000             NA              636.90        636.90           168.78




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CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            SANDRA SHOVER                         5600-000             NA              361.00        361.00           95.66


            SANDRA WASHINGTON                     5600-000             NA              790.00        790.00          209.35


            SANDRA WINDERL                        5600-000             NA              903.88        903.88          239.52


            SARA HUMPHREY KEITH                   5600-000             NA              537.00        537.00          142.30


            SARA KENNEDY                          5600-000             NA              359.10        359.10           95.16


            SARA L. LIGHT                         5600-000             NA              378.80        378.80          100.39


            SARAH LITZ                            5600-000             NA              338.00        338.00           89.57


            SARAH PETTY                           5600-000             NA              963.60        963.60          255.35


            SCOTT AND LYNEE
            FIDDLER                               5600-000             NA              676.00        676.00          179.14


            SCOTT F. RIVERS                       5600-000             NA              460.20        460.20          121.95


            SCOTT FRIDAY                          5600-000             NA              248.00        248.00           65.72


            SCOTT JARVIS                          5600-000             NA              400.00        400.00          106.00


            SCOTT K. MCDONALD                     5600-000             NA              164.00        164.00           43.46


            SCOTT SCHWARTZ                        5600-000             NA              158.00        158.00           41.87


            SEAN HONEYWILL                        5600-000             NA              169.00        169.00           44.78


            SERGE BRAULT                          5600-000             NA              160.20        160.20           42.45




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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            SHAE GAGNE                            5600-000             NA              317.60        317.60            84.16


            SHANE O'CONNELL                       5600-000             NA              537.00        537.00           142.30


            SHANNON O'BRIEN                       5600-000             NA              890.00        890.00           235.85


            SHARI FORMOSA-
            COPPOLA                               5600-000             NA            1,486.22       1,486.22          393.85


            SHARON A. BOCKUS                      5600-000             NA              200.90        200.90            53.24


            SHARON A. LOKAR                       5600-000             NA              676.00        676.00           179.14


            SHARON AND SHAWN
            CLOW                                  5600-000             NA              305.60        305.60            80.98


            SHARON BROWN                          5600-000             NA              169.00        169.00            44.78


            SHARON L. ROBERTS                     5600-000             NA              188.00        188.00            49.82


            SHARON M. JACOBS                      5600-000             NA              220.40        220.40            58.41


            SHARON MARGARET
            NICKLAS                               5600-000             NA              922.79        922.79           244.54


            SHARON PETERSEN                       5600-000             NA              825.90        825.90           218.86


            SHARON PRYMOCK                        5600-000             NA              399.22        399.22           105.79


            SHARON SHORT                          5600-000             NA              164.55        164.55            43.61


            SHARON WALKER                         5600-000             NA              338.00        338.00            89.57




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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            SHARON YOSWIG                         5600-000             NA              169.00        169.00           44.78


            SHAWNA LEHAN                          5600-000             NA              350.00        350.00           92.75


            SHEILA J. VANBLARCOM                  5600-000             NA              338.00        338.00           89.57


            SHEILA M. WEED                        5600-000             NA              676.00        676.00          179.14


            SHEILA P. BLEYL                       5600-000             NA              169.00        169.00           44.78


            SHEILAGH O'DONOGHUE                   5600-000             NA              168.50        168.50           44.65


            SHELLI BANES                          5600-000             NA              338.00        338.00           89.57


            SHEMARIAH CARLISLE                    5600-000             NA              179.00        179.00           47.43


            SHENANDOAH VALLEY
            REALTY LTD.                           5600-000             NA              840.00        840.00          222.60


            SHERON BAUMGARTNER                    5600-000             NA              378.00        378.00          100.17


            SHERYL (SNYDER) APPLE 5600-000                             NA              527.00        527.00          139.65


            SHERYL A. ESSENBURG                   5600-000             NA               68.00         68.00           18.02


            SHERYL LUBAS                          5600-000             NA              556.80        556.80          147.55


            SHERYL MURRAY                         5600-000             NA              338.00        338.00           89.57


            SHIRLEY EDEN                          5600-000             NA              114.50        114.50           30.35


            SHIRLEY FESCHUK                       5600-000             NA              229.00        229.00           60.68




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                                                               CLAIMS          CLAIMS
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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            SHIRLEY FRANTZ                        5600-000             NA              549.80        549.80           145.70


            SHIRLEY HAYES                         5600-000             NA              358.00        358.00            94.87


            SHIRLEY L. ANDREWS                    5600-000             NA              184.00        184.00            48.76


            SIDNEY DURHAM                         5600-000             NA              169.00        169.00            44.78


            SONDRA DEROSIER                       5600-000             NA            1,027.37       1,027.37          272.25


            SONDRA MONTESI                        5600-000             NA              696.00        696.00           184.44


            SONIA PASSINO                         5600-000             NA              188.00        188.00            49.82


            SONYA K. COOVER                       5600-000             NA              449.40        449.40           119.09


            SRINIVASAN KESHAV                     5600-000             NA            2,081.81       2,081.81          551.68


            STACEY FULLER                         5600-000             NA              357.70        357.70            94.79


            STACEY J. ZETTERLUND                  5600-000             NA              314.90        314.90            83.45


            STACEY SMITH                          5600-000             NA              158.00        158.00            41.87


            STACI LAUGHMAN                        5600-000             NA            1,216.80       1,216.80          322.45


            STACIE LEE NOVAK                      5600-000             NA              676.00        676.00           179.14


            STACY JOHNSTON-
            BEAUDIN                               5600-000             NA              902.80        902.80           239.24


            STANLEY CASE                          5600-000             NA              189.90        189.90            50.32




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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            STAR M. CARPENTER                     5600-000             NA              497.00        497.00          131.70


            STEFFANIE CONNETTE
            SAUNDERS                              5600-000             NA              316.00        316.00           83.74


            STEPHANIE BAHLING                     5600-000             NA              358.00        358.00           94.87


            STEPHANIE BURSELL                     5600-000             NA              676.00        676.00          179.14


            STEPHANIE HOUGH                       5600-000             NA              932.75        932.75          247.18


            STEPHANIE MOORE                       5600-000             NA              483.80        483.80          128.21


            STEPHANIE
            WASHINGTON                            5600-000             NA              204.90        204.90           54.30


            STEPHEN A. MILLER                     5600-000             NA              338.00        338.00           89.57


            STEPHEN AND
            CHARLENE CRAVEN                       5600-000             NA              801.60        801.60          212.42


            STEPHEN CHURCH                        5600-000             NA              338.00        338.00           89.57


            STEPHEN DEMEULE                       5600-000             NA              338.00        338.00           89.57


            STEPHEN GOOCH                         5600-000             NA              359.20        359.20           95.19


            STEPHEN HIRD                          5600-000             NA              158.00        158.00           41.87


            STEPHEN M. GOULD                      5600-000             NA              290.20        290.20           76.90


            STEPHEN ROTHMAN                       5600-000             NA              100.00        100.00           26.50




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CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            STEVE & CHRSTINE
            BISHOP                                5600-000             NA              449.80        449.80           119.20


            STEVE ALEXANDRE                       5600-000             NA              249.00        249.00            65.98


            STEVE B. HENDERSON                    5600-000             NA              880.00        880.00           233.20


            STEVE HANNAHS                         5600-000             NA              676.00        676.00           179.14


            STEVE HIGGINS                         5600-000             NA              837.00        837.00           221.80


            STEVE HOLMI                           5600-000             NA              170.00        170.00            45.05


            STEVE KLINKE                          5600-000             NA            1,184.95       1,184.95          314.01


            STEVE MULDER                          5600-000             NA              338.00        338.00            89.57


            STEVEN A.
            VANTONGEREN                           5600-000             NA              338.00        338.00            89.57


            STEVEN DEMBRO                         5600-000             NA               79.50         79.50            21.07


            STEVEN DYCHA                          5600-000             NA              347.70        347.70            92.14


            STEVEN E. & PENNY S.
            HARMAN                                5600-000             NA              376.00        376.00            99.64


            STEVEN FOELLMI                        5600-000             NA               90.20         90.20            23.90


            STEVEN GLENA                          5600-000             NA              305.60        305.60            80.98


            STEVEN J. ROUSH                       5600-000             NA              437.90        437.90           116.04




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            STEVEN SAUNDERS                       5600-000             NA              847.90        847.90          224.69


            STEVEN THEISS                         5600-000             NA              338.00        338.00           89.57


            STEVEN WOODS                          5600-000             NA              264.00        264.00           69.96


            STEWART A. KETZEL                     5600-000             NA              314.60        314.60           83.37


            STUART KERR                           5600-000             NA               99.90         99.90           26.47


            SUE MORCIO                            5600-000             NA              438.00        438.00          116.07


            SUNSHINE ANKROM                       5600-000             NA              338.00        338.00           89.57


            SUSAN ARGY-HUGHES                     5600-000             NA              630.00        630.00          166.95


            SUSAN AVERY                           5600-000             NA              338.00        338.00           89.57


            SUSAN BRACCO                          5600-000             NA              169.00        169.00           44.79


            SUSAN BROWN                           5600-000             NA              165.00        165.00           43.72


            SUSAN CAMPBELL                        5600-000             NA              172.80        172.80           45.79


            SUSAN CASEY                           5600-000             NA              485.30        485.30          128.60


            SUSAN CRANDALL                        5600-000             NA              726.00        726.00          192.39


            SUSAN CRNIC                           5600-000             NA              916.00        916.00          242.74


            SUSAN FISCHER                         5600-000             NA              507.00        507.00          134.35


            SUSAN FONAGY                          5600-000             NA              716.00        716.00          189.74




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            SUSAN HARPER                          5600-000             NA            1,127.12       1,127.12          298.68


            SUSAN K. GIBSON                       5600-000             NA              144.60        144.60            38.32


            SUSAN M. GARVIN                       5600-000             NA              480.00        480.00           127.20


            SUSAN MACKINNON                       5600-000             NA              358.00        358.00            94.87


            SUSAN MOURANDIAN                      5600-000             NA              130.40        130.40            34.56


            SUSAN OR WINTHROP
            BRIGGS                                5600-000             NA              169.00        169.00            44.78


            SUSAN PHILLIPS                        5600-000             NA              502.80        502.80           133.24


            SUSAN RICHARD                         5600-000             NA              393.00        393.00           104.14


            SUSAN RUSSO                           5600-000             NA              218.95        218.95            58.02


            SUSAN SADLER                          5600-000             NA              500.00        500.00           132.50


            SUSAN TYKE                            5600-000             NA              169.00        169.00            44.79


            SUSAN ZEIBER                          5600-000             NA              507.00        507.00           134.35


            SUSANNE ZELAWSKI                      5600-000             NA              193.73        193.73            51.34


            SUZANNA VASS                          5600-000             NA              606.90        606.90           160.83


            SUZANNE L. PALLO                      5600-000             NA              338.00        338.00            89.57


            SUZANNE REMY                          5600-000             NA              573.54        573.54           151.99




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                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            SYLVIA DILLON                         5600-000             NA              338.00        338.00            89.57


            SYLVIA MONTGOMERY
            (GILLESPIE)                           5600-000             NA              330.40        330.40            87.56


            SYLVIA WELD                           5600-000             NA              169.00        169.00            44.78


            SYLVIE GROULX                         5600-000             NA            1,569.45       1,569.45          415.90


            TABITHA C. HAIRSTON                   5600-000             NA              158.00        158.00            41.87


            TAMAR BALL                            5600-000             NA              338.00        338.00            89.57


            TAMARA KREUTZER                       5600-000             NA              158.00        158.00            41.87


            TAMARA SMITH                          5600-000             NA              519.60        519.60           137.69


            TAMMY GRAVES                          5600-000             NA              733.45        733.45           194.36


            TAMMY HENRY-SMITH                     5600-000             NA              188.00        188.00            49.82


            TAMMY L. COSTELLO                     5600-000             NA              424.10        424.10           112.39


            TAMMY LYNN HANSEN                     5600-000             NA              462.60        462.60           122.59


            TAMMY MALONEY                         5600-000             NA              338.00        338.00            89.57


            TAMMY MARX                            5600-000             NA              474.00        474.00           125.61


            TAMMY WALDRON                         5600-000             NA              188.00        188.00            49.82


            TARA CARRUTHERS                       5600-000             NA              552.50        552.50           146.41




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                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                      CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            TARA SCOTT                            5600-000             NA              188.00        188.00           49.82


            TASHA AYERS COY                       5600-000             NA              600.00        600.00          159.00


            TAYLOR MARTINS                        5600-000             NA              188.00        188.00           49.82


            TEREEN DYER                           5600-000             NA              524.80        524.80          139.07


            TERESA A. AND DANIEL
            B. NELSON                             5600-000             NA              698.20        698.20          185.02


            TERESA BELIN                          5600-000             NA              128.00        128.00           33.92


            TERESA CASWELL                        5600-000             NA              169.00        169.00           44.78


            TERESA HARTLE                         5600-000             NA              177.30        177.30           46.99


            TERESA LAVIN                          5600-000             NA              790.00        790.00          209.35


            TERESA M. SCHULZ-FRY                  5600-000             NA              219.00        219.00           58.03


            TERRENCE BARRETT                      5600-000             NA              562.00        562.00          148.93


            TERRI MANDEL                          5600-000             NA               94.00         94.00           24.91


            TERRILYN SCOZZAFAVA                   5600-000             NA              511.38        511.38          135.51


            TERRY A. THAXTON                      5600-000             NA              363.00        363.00           96.20


            TERRY P. FISHER                       5600-000             NA              797.60        797.60          211.36


            TERRY R. SHRYOCK                      5600-000             NA              338.00        338.00           89.57




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            THANE PETERSON                        5600-000             NA              214.90        214.90            56.95


            THE DUONG                             5600-000             NA              582.60        582.60           154.38


            THEODORE SEILER                       5600-000             NA               88.75         88.75            23.52


            THERA S. EMERSON                      5600-000             NA              338.00        338.00            89.57


            THERESA A. AND JAMES
            MAYER                                 5600-000             NA              338.00        338.00            89.57


            THERESA A. DRAKE                      5600-000             NA              521.40        521.40           138.17


            THERESA BITTNER                       5600-000             NA              268.00        268.00            71.02


            THERESA CALABRESE-
            GRAY                                  5600-000             NA              388.00        388.00           102.82


            THERESA CHURCHILL                     5600-000             NA              346.00        346.00            91.69


            THERESA ITRI                          5600-000             NA              388.00        388.00           102.82


            THERESA MURPHY                        5600-000             NA              169.00        169.00            44.79


            THERESA POMERLEAU                     5600-000             NA              158.00        158.00            41.87


            THERESA PRESTIPINO                    5600-000             NA              169.00        169.00            44.78


            THOM BETZ                             5600-000             NA            1,034.00       1,034.00          274.01


            THOMAS & PATRICIA
            BROSIUS                               5600-000             NA              488.78        488.78           129.53




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            THOMAS B. WHITE                       5600-000             NA              338.00        338.00            89.57


            THOMAS C. AIKMAN                      5600-000             NA              575.00        575.00           152.37


            THOMAS CARR                           5600-000             NA              845.00        845.00           223.93


            THOMAS E. GRAMITT                     5600-000             NA              300.00        300.00            79.50


            THOMAS GORCZYCA                       5600-000             NA              726.00        726.00           192.39


            THOMAS HUTTON, Jr.                    5600-000             NA              288.00        288.00            76.32


            THOMAS J.
            MECHTENBERG                           5600-000             NA              338.00        338.00            89.57


            THOMAS MCKENNA                        5600-000             NA              218.00        218.00            57.77


            THOMAS REID                           5600-000             NA              842.00        842.00           223.13


            THOMAS SOKOLSKI                       5600-000             NA            1,301.00       1,301.00          344.76


            THOMAS TALLMAN, Jr.                   5600-000             NA              606.90        606.90           160.83


            THOR VIKSTROM                         5600-000             NA              188.00        188.00            49.82


            TIFFANY & WAYNE
            CURRIE                                5600-000             NA              676.80        676.80           179.35


            TIFFANY KLECKLER                      5600-000             NA              158.00        158.00            41.87


            TIM MARKER                            5600-000             NA              250.00        250.00            66.25


            TIM MEYER                             5600-000             NA              345.00        345.00            91.43




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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            TIMOTHY & TERRI
            BARNABY                               5600-000             NA              372.80        372.80            98.79


            TIMOTHY BROOKS                        5600-000             NA              676.00        676.00           179.14


            TIMOTHY CLARKE                        5600-000             NA              158.00        158.00            41.87


            TIMOTHY CLAUSS                        5600-000             NA              590.75        590.75           156.55


            TIMOTHY F. MARKEY                     5600-000             NA              507.00        507.00           134.35


            TIMOTHY LEAHY                         5600-000             NA              459.60        459.60           121.79


            TIMOTHY P. O'CONNELL                  5600-000             NA              507.00        507.00           134.36


            TIMOTHY STERNS                        5600-000             NA              338.00        338.00            89.57


            TIMOTHY ZACHER                        5600-000             NA              567.00        567.00           150.25


            TINA A. DUNCAN                        5600-000             NA               98.00         98.00            25.97


            TINA CHAMBERS                         5600-000             NA              388.00        388.00           102.82


            TINA SEIFERT                          5600-000             NA            1,102.50       1,102.50          292.16


            TOBY L. VYVERBERG                     5600-000             NA              179.00        179.00            47.43


            TODD HOLSTEAD                         5600-000             NA              696.00        696.00           184.44


            TODD M. LAPORTE                       5600-000             NA            2,636.98       2,636.98          698.80


            TOM & BARBARA BALTZ                   5600-000             NA              169.00        169.00            44.78




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            TOM RHOADS                            5600-000             NA              738.80        738.80           195.78


            TORRI FAIR
            GAMBACORTA                            5600-000             NA            1,766.00       1,766.00          467.99


            TRACEY DESMOND                        5600-000             NA              370.40        370.40            98.16


            TRACEY SELLARS                        5600-000             NA            1,088.28       1,088.28          288.39


            TRACEY WALKER                         5600-000             NA              270.60        270.60            71.71


            TRACY ANGELMEYER-
            MANDELL                               5600-000             NA            1,543.82       1,543.82          409.11


            TRACY BUCKLEY                         5600-000             NA              474.00        474.00           125.61


            TRACY E. MCGREW                       5600-000             NA              534.00        534.00           141.51


            TRACY GOODWIN                         5600-000             NA              358.88        358.88            95.10


            TRACY KUZOFF                          5600-000             NA              168.85        168.85            44.74


            TRACY L. SULLIVAN                     5600-000             NA            1,981.21       1,981.21          525.02


            TRAVIS BROWN                          5600-000             NA              358.00        358.00            94.87


            TRUDY HAYES                           5600-000             NA              671.40        671.40           177.92


            VALERIE JONES DREW                    5600-000             NA              803.90        803.90           213.03


            VALERIE MOORE                         5600-000             NA              516.00        516.00           136.74


            VALERIE V. MURRAY                     5600-000             NA              338.00        338.00            89.57




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                                                             SCHEDULED        ASSERTED           CLAIMS
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                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            VANESSA BARRY                         5600-000             NA              676.00        676.00           179.14


            VAUGHN LASELL                         5600-000             NA              500.00        500.00           132.50


            VERONICA FRANKLIN                     5600-000             NA              189.40        189.40            50.19


            VICKI J. TOMPKINS                     5600-000             NA              295.00        295.00            78.17


            VINCENT GARCIA                        5600-000             NA              676.00        676.00           179.14


            VIVIAN GOODMAN                        5600-000             NA              169.00        169.00            44.78


            WALTER C. STILL                       5600-000             NA              216.64        216.64            57.41


            WALTER CUNNINGHAM                     5600-000             NA              845.00        845.00           223.92


            WALTER M. MENARD                      5600-000             NA               90.00         90.00            23.85


            WALTER MCKAY                          5600-000             NA              338.00        338.00            89.57


            WALTER VANDERHOFF                     5600-000             NA              188.00        188.00            49.82


            WALTER ZABELSKI                       5600-000             NA              274.00        274.00            72.61


            WANDA DAVIS                           5600-000             NA              338.00        338.00            89.57


            WANDA PATTERSON                       5600-000             NA              347.20        347.20            92.01


            WARREN WILLIAMS                       5600-000             NA              462.78        462.78           122.64


            WAYNE ANDERSON                        5600-000             NA            1,183.00       1,183.00          313.50


            WAYNE E. BOOR                         5600-000             NA            1,400.00       1,400.00          371.00




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                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            WAYNE HAMBLY                          5600-000             NA              348.00        348.00            92.22


            WENDY WINGARD                         5600-000             NA              376.00        376.00            99.64


            WILBUR BAGENT                         5600-000             NA              716.00        716.00           189.74


            WILBUR GARABEDIAN                     5600-000             NA              692.00        692.00           183.38


            WILLARD J. MARTIN, Jr.                5600-000             NA              139.70        139.70            37.02


            WILLARD ROTHERMEL                     5600-000             NA              400.00        400.00           106.00


            WILLIAM C. & SHERRILL
            D. DIEHL                              5600-000             NA              275.40        275.40            72.98


            WILLIAM C. FETTER, Jr.                5600-000             NA              169.00        169.00            44.78


            WILLIAM DEIL                          5600-000             NA              169.00        169.00            44.78


            WILLIAM ELMES                         5600-000             NA              500.00        500.00           132.50


            WILLIAM F. GIACOMELLI,
            Jr.                                   5600-000             NA              608.40        608.40           161.23


            WILLIAM FRANSEN                       5600-000             NA              409.80        409.80           108.60


            WILLIAM G. HOWARD                     5600-000             NA              398.00        398.00           105.47


            WILLIAM J. HEALY                      5600-000             NA              595.00        595.00           157.67


            WILLIAM J. O'BRIEN, Jr.               5600-000             NA            1,423.80       1,423.80          377.30


            WILLIAM K. HOOD                       5600-000             NA              179.00        179.00            47.44




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)           Claim)

            WILLIAM LIANG                         5600-000             NA              507.00        507.00           134.35


            WILLIAM M. MCNEA                      5600-000             NA              158.00        158.00            41.87


            WILLIAM MORRIS                        5600-000             NA              676.00        676.00           179.14


            WILLIAM R. BARR                       5600-000             NA              120.60        120.60            31.96


            WILLIAM RODGERS                       5600-000             NA              158.00        158.00            41.87


            WILLIAM T. MCGOVERN                   5600-000             NA              771.64        771.64           204.48


            WILLIAM VAN HAEREN                    5600-000             NA            1,919.00       1,919.00          508.53


            WILLIAM WARD                          5600-000             NA              200.00        200.00            53.00


            YOUHANNA RAGHEB                       5600-000             NA            1,244.40       1,244.40          329.76


            YVONNE R. JOHN                        5600-000             NA              269.00        269.00            71.28


            ZINTA MOSKALEW                        5600-000             NA              178.00        178.00            47.17


            FC USA INC. D/B/A
            LIBERTY TRAVEL                        5600-001             NA            2,642.50       2,642.50          700.26


            KRISTINE & LYLE
            UNDERWOOD                             5600-001             NA               99.90         99.90            26.47


            MICAH KISTLER                         5600-001             NA              392.60        392.60           103.88


            SPRINGFIELD AIRPORT
1907-1B     AUTHORITY                             5800-000             NA            5,000.00       5,000.00            0.00




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                                                                  CLAIMS             CLAIMS
                                                     UNIFORM
                                                                SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.                CLAIMANT                     TRAN.                                                           CLAIMS PAID
                                                                 (from Form       (from Proofs of    ALLOWED
                                                      CODE
                                                                     6E)              Claim)

               SPRINGFIELD AIRPORT
41-1A          AUTHORITY                             5800-000               NA           64,841.07        64,841.07             0.00

TOTAL PRIORITY UNSECURED                                           $ 252,680.80     $ 1,017,584.18   $ 1,014,849.11     $ 250,425.43
CLAIMS



              EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                  CLAIMS             CLAIMS
                                                     UNIFORM
                                                                SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.                CLAIMANT                     TRAN.                                                           CLAIMS PAID
                                                                 (from Form       (from Proofs of    ALLOWED
                                                      CODE
                                                                     6F)              Claim)

               Airport Terminal Services Inc
               111 Westport Plaza Drive,
               Suite 400 Saint Louis, MO
               63146                                                  22,244.25                 NA              NA              0.00


               American Eagle Airlines Inc.
               Post Office Box 619616 DWF
               Airport, TX 75261-9616                                    587.24                 NA              NA              0.00


               American Express Post Office
               Box 360001 Fort Lauderdale,
               FL 33336-0001                                           8,215.19                 NA              NA              0.00


               Anchor Taxi P0 Box 221 3001
               N. Kings Hwy Myrtle Beach,
               SC 29577                                                1,316.59                 NA              NA              0.00




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                                                              CLAIMS            CLAIMS
                                                  UNIFORM
                                                            SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                             (from Form      (from Proofs of    ALLOWED
                                                   CODE
                                                                 6F)             Claim)

            AT&T Michigan P0 BOX
            105262 Atlanta, GA 30348-
            5262                                                     49.04                 NA             NA            0.00


            AT&T Ohio P0 Box 105262
            Atlanta, GA 30348-5262                                  101.69                 NA             NA            0.00


            Autry & Toler AC 1419 East
            Main Street Princeton, WV
            24740                                                 1,795.00                 NA             NA            0.00


            Aviation Safeguards P0 Box
            823415 Philadelphia, PA
            19182-3415                                           12,467.08                 NA             NA            0.00


            Avondale Aviation I, LLC
            1629 K. Street NW- Suite 300
            Washington, DC 20011                                460,000.00                 NA             NA            0.00


            Baggage Airline Guest
            Services Inc. 6751 Forum
            Drive, Suite 230 Orlando, FL
            32821                                                 1,740.00                 NA             NA            0.00


            Beach Bags 509 Lake Park
            Drive Myrtle Beach, SC
            29588                                                 4,250.00                 NA             NA            0.00


            Boyd Law Firm LLC P0 Box
            15358 Myrtle Beach, SC
            29587                                                16,280.72                 NA             NA            0.00




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            Carter Broadcasting 50
            Braintree Hill Park #308
            Braintree, MA 02184                                    4,000.00                 NA             NA            0.00


            Charlotte County Airport
            Authority 28000 A-i Airport
            Road, Bldg 109 Punta Gorda,
            FL 33982                                              33,046.39                 NA             NA            0.00


            Charlotte County BCC 18500
            MurdockCircle Port Charlotte,
            FL 33948                                               2,150.00                 NA             NA            0.00


            Charlotte County Tax
            Collector 18500 Murdock
            Circle Port Charlotte, FL
            33948                                                     43.48                 NA             NA            0.00


            Chemoil Corporation 200 East
            Las Olas Blvd. Suite 2050
            Attn: Richard White Fort
            Lauderdale, FL 33301                               3,267,462.13                 NA             NA            0.00


            Clear Channel Airports 4635
            Crackersport Road Allentown,
            PA 18104                                               7,200.00                 NA             NA            0.00


            Clear Channel
            Communications 5570
            Collections Center Drive
            Chicago, IL 60693                                      1,350.00                 NA             NA            0.00




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            Clear Channel-Springfield,
            MA P0 Box 402660 Atlanta,
            GA 30384                                              7,665.00                 NA             NA            0.00


            Clear Channel-Winchester
            510 PegasusCt Winchester,
            VA 22602                                              3,720.00                 NA             NA            0.00


            Clear Channel-Worcester
            WSRS-FM WTAG-AM P0
            Box 406078 Atlanta, GA
            30384-6078                                            1,365.00                 NA             NA            0.00


            Clinton County Treasurer 137
            Margaret Street, Suite 205
            Plattsburgh, NY 12901                                 6,871.42                 NA             NA            0.00


            Coastal Outdoor Advertising
            1415 48th Ave., N. Extension
            Myrtle Beach, SC 29577                                3,180.00                 NA             NA            0.00


            Columbus Regionial Airport
            Authority L-3459 Columbus,
            OH 43260                                             13,986.88                 NA             NA            0.00


            Concourse Communications
            Group Attn: Accounts
            Receivable 200 W. Madison
            Ste 2830 Chicago, IL 60606-
            3524                                                    125.00                 NA             NA            0.00




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            Cortland Computer Services
            250 Lackland Drive, Suite 10
            Middlesex, NJ 08846                                   1,335.75                 NA             NA            0.00


            Creative Spot 430 East Rich
            Street Columbus, OH 43215                               410.00                 NA             NA            0.00


            Edward Warneck 8349 Juxa
            Drive Myrtle Beach, SC
            29579                                                     0.00                 NA             NA            0.00


            Emery Air, Inc. P0 Box 6067
            Rockford, IL 61125                                    4,800.00                 NA             NA            0.00


            Fairfield Inn Broadway 1350
            Oleander Ddrive Myrtle
            Beach, SC 29577                                      17,204.82                 NA             NA            0.00


            FedEx P0 Box 371461
            Pittsburgh, PA 15250-7461                               660.79                 NA             NA            0.00


            Florida Weekly 4300 Ford
            Street, Suite 105 Fort Myers,
            FL 33916                                              8,025.69                 NA             NA            0.00


            Frontier (WV) P0 Box 20550
            Rochester, NY 14602-0550                                322.84                 NA             NA            0.00


            Full Steam Ahead 1455
            Commerce Place Myrtle
            Beach, SC 29577                                       1,902.41                 NA             NA            0.00




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            Greater Niagra Newspapers
            P.O. Box 549 Niagara Falls,
            NY 14302                                             21,292.00                 NA             NA            0.00


            Greater Rockford Airport
            Authority 60 Airport Drive
            Rockford, IL 61109                                   25,786.84                 NA             NA            0.00


            Hilton Garden Inn Coastal
            Grand 2383 Coastal Grand
            Circle Myrtle Beach, SC
            29577                                                 2,948.70                 NA             NA            0.00


            Hilton Garden Inn-Lake Mary
            705 Currency Circle Lake
            Mary, FL 32746                                       15,146.88                 NA             NA            0.00


            Hilton Garden lnn-Lakeland
            3839 Doon Emerson Drive
            Lakeland, FL 33811                                    6,681.37                 NA             NA            0.00


            Himmelsbach
            Communications, Inc. P.O.
            Box 1463 North Myrtle
            Beach, SC 29598                                       3,750.00                 NA             NA            0.00


            Holiday Inn Express Hotel 10-
            12 Johnson Street Auburn,
            MA 01501                                                 88.48                 NA             NA            0.00




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            Horry County Deptartment of
            Airports 1100 Jetport Road
            Myrtle Beach, SC 29577                                16,325.39                 NA             NA            0.00


            Hudson News 1 Meadowlands
            Plaza Ste 902 East Rutherford,
            NJ 07073                                                 192.13                 NA             NA            0.00


            Jet Pay 3361 Boyington Drive
            Carroliton, TX 75006                               2,000,000.00                 NA             NA            0.00


            Judy Tull 1414 Highland
            Circle Myrtle Beach, SC
            29578                                                      0.00                 NA             NA            0.00


            Kalamazoo Gazette 401 S.
            Burdick Street Kalamazoo, Ml
            49007                                                 17,445.00                 NA             NA            0.00


            Kalamazoo/Battle Creek
            International Air 5235 Portage
            Road Kalamazoo, MI 49002                              89,365.32                 NA             NA            0.00


            Kalamazoo/Battle Creek Intl
            Airport/PFC 5235 Portage
            Road Portage, Ml 49002                                26,079.20                 NA             NA            0.00


            Kay Ellison 33837 Waterford
            Drive Myrtle Beach, SC
            29577                                                      0.00                 NA             NA            0.00




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            Kegerris Outdoor Advertising
            LLC P.O. Box 242
            Fayetteville, PA 17222                                7,450.00                 NA             NA            0.00


            King Williams Aviation, LLC
            do Corporation Service Center
            1703 Laurel Street Columbia,
            SC 29201                                                  0.00                 NA             NA            0.00


            Lakeland Ledger P.O.
            Box913004 Orlando, FL
            32891                                                17,399.51                 NA             NA            0.00


            Lehigh Northampton Airport
            3311 Airport Blvd. Allentown,
            PA 18109                                             52,849.81                 NA             NA            0.00


            Lehigh Northampton Airport
            PFC 3311 Airport Road
            Allentown, PA 18109                                   8,077.60                 NA             NA            0.00


            Lehigh Northampton
            Airport/Intoplane 3311
            Airport Road Allentown, PA
            18109                                                 2,056.45                 NA             NA            0.00


            LOR 1RO                                                  49.60                 NA             NA            0.00


            Marshall Ellison 33837
            Waterford Drive Myrtle
            Beach, SC 29577                                           0.00                 NA             NA            0.00




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            Massachusetts Port of
            Authority Attention Director,
            Worcester Regional Airport
            One Harborside Drive, Suite
            200S Boston, MA 02128                                84,716.50                 NA             NA            0.00


            McNair Law Firm, P.A. P.O.
            Box 11390 Columbia, SC
            29211                                                 1,286.00                 NA             NA            0.00


            Milam Howard 14 East Bay
            Street Jacksonville, FL 32202                        25,475.15                 NA             NA            0.00


            Montreal Gazette 1010 Sainte-
            Catherine Street, West, #200
            H3B 5L1 Montreal, Canada,
            QC                                                    1,247.46                 NA             NA            0.00


            Mountaineer Gas 2401
            Sissonville Drive Charleston,
            WV 25387                                                457.87                 NA             NA            0.00


            Myrtle Beach International
            Airport 1100 Jetport Road
            Myrtle Beach, SC 29577                              214,468.13                 NA             NA            0.00


            Nassau Broadcasting Partners
            Hagerstown, MD 21740                                  2,190.00                 NA             NA            0.00




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            Nati Event Publications P0
            Box 17749 Clearwater, FL
            33762                                                 1,500.00                 NA             NA            0.00


            National Air Transportation
            Assoc 4226 King Street
            Alexandria, VA 22302                                  2,385.00                 NA             NA            0.00


            New England Publishing
            Group, Inc. P.O. Box 357
            Swansea, MA 02777                                       600.00                 NA             NA            0.00


            Niagra Frontier Transportation
            P.O. Box 5008 Buffalo, NY
            14205                                                91,654.63                 NA             NA            0.00


            Norm Bess, et al P11-18
            Concorde Place M3C 3T9
            Toronto, Canada, OT                                   2,563.00                 NA             NA            0.00


            Ober, Kaler, Grimes &
            Shriver 120 East Baltimore
            Street Baltimore, MD 21202                           20,378.31                 NA             NA            0.00


            Orlando/Sanford International
            Airport 3200 Red Cleveland
            Blvd Sanford, FL 32773                               28,328.97                 NA             NA            0.00




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            Palm Beach International
            Airport 846 Palm Beach
            International Airport West
            Palm Beach, FL 33406                                178,651.09                 NA             NA            0.00


            Palm Beach International
            Airport/PFC 846 Palm Beach
            International Airport West
            Palm Beach, FL 33406                                 18,587.26                 NA             NA            0.00


            Palm Beach Newspapers Inc.
            P.O. Box 24694 West Palm
            Beach, FL 3341 6-4694                                 1,812.94                 NA             NA            0.00


            Pittsburgh Post Gazette 34
            Blvd of the Allies Pittsburgh,
            PA 15222                                              2,617.25                 NA             NA            0.00


            Pittsburgh Trade Alliance
            1650 Smallman Street, 3rd
            Floor Pittsburgh, PA 15222                               55.11                 NA             NA            0.00


            Press Republican P.O. Box
            459 Plattsburgh, NY 12901                             2,835.71                 NA             NA            0.00


            Prettyman Broadcasting 1606
            W. King St. Martinsburg, WV
            25401-2077                                            5,174.00                 NA             NA            0.00


            Printmill 4001 Portage Street
            Kalamazoo, Ml 49001                                     449.22                 NA             NA            0.00




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            Quickflight, Inc. 145 Burt
            Road, Suite 16 Lexington, KY
            40503                                               116,311.61                 NA             NA            0.00


            Raddix International, Inc.
            6310 1-lazeltine National
            Drive Orlando, FL 32822                             198,668.31                 NA             NA            0.00


            Randall Family, LLC 351
            Ballenger Center Drive
            Frederick, MD 21703                                   1,632.40                 NA             NA            0.00


            Reminder Media P.O. Box
            52390 Boston, MA 02205                                1,051.84                 NA             NA            0.00


            Robert Keilman 194
            Scarborough Way Marlboro,
            NJ 07746                                                  0.00                 NA             NA            0.00


            Rockford Register Star P.O.
            Box439 Rockford, IL 61105                            12,474.66                 NA             NA            0.00


            Sago Travel 521 Upper
            Sherman Ave. Hamilton ON
            L8V 3L9 CANADA                                          150.80                 NA             NA            0.00


            Santee Cooper POBoxl88
            Moncks Corner, SC 29461-
            0188                                                    291.11                 NA             NA            0.00




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            SEE SEPARATE LIST OF
            CONSUMERS attached                                33,213,774.00                 NA             NA            0.00


            Sky King Airlines 3200
            Flightline Drive Suite 302
            Lakeland, FL 33811                                  888,972.00                  NA             NA            0.00


            Southern New England Golfer
            P.O. Box 10038 Cranston, RI
            02910                                                  1,200.00                 NA             NA            0.00


            Southestern Chemical Co.,
            Inc. 320 City Avenue
            Beckley, WV 25801                                        627.27                 NA             NA            0.00


            SSP America Bank of
            America 14305 Collections
            Center Drive Chicago, IL
            60693                                                  3,416.45                 NA             NA            0.00


            Staduim Management Co
            Wings Stadium 3600 Vanrick
            Drive Kalamazoo, Ml 49001                              1,000.00                 NA             NA            0.00


            Stages Video Production 514
            29th Avenue North Myrtle
            Beach, SC 29588                                          926.50                 NA             NA            0.00


            Sun Courier P.O. Box 30801
            Myrtle Beach, SC 29588                                   430.00                 NA             NA            0.00




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            Sun Media Corporation 333
            King Street CANADA                                   13,738.00                 NA             NA            0.00


            Tech Aviation 9900 Porter
            Road Niagara Falls, NY
            14304                                               298,032.01                 NA             NA            0.00


            The Dispatch Printing
            Company P.O. Box 182537
            Columbus, OH 43218-2537                               7,362.00                 NA             NA            0.00


            The Franklin Press 25 Pen
            ncraft Lane Chambersburg,
            PA 17201-1 649                                        7,488.46                 NA             NA            0.00


            The Gazette/Post Media 1450
            on Mills Road M3B 2X7
            Toronto, ON, Canada                                 112,950.00                 NA             NA            0.00


            The Herald Mail Company
            lOOSummitAvenue
            Hagerstown, MD 21740                                  2,074.94                 NA             NA            0.00


            The ISERV Company 5222
            33rd Street SE Grand Rapids,
            Ml 49512                                                261.79                 NA             NA            0.00


            The Ledger New Chief P.O.
            Box 913004 Orlando, FL
            32891-3004                                            9,809.63                 NA             NA            0.00




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            The Morning Call P.O. Box
            415459 Boston, MA 02241 -
            5459                                                  4,008.50                 NA             NA            0.00


            The Picket News 25 Antietam
            Street Hagerstown, MD 21740                           6,390.00                 NA             NA            0.00


            The Record Herald P.O. Box
            271 Waynesboro, PA 17268-
            0271                                                    674.52                 NA             NA            0.00


            The Sun News P.O. Box 406
            Myrtle Beach, SC 29578-0406                           5,299.38                 NA             NA            0.00


            The Toledo Blade Company
            541 N. Superior St.                                  12,475.00                 NA             NA            0.00


            The Winchester Star 2 North
            Kent Street Winchester, VA
            22601                                                 2,184.84                 NA             NA            0.00


            Thomas Cook Growth 75
            Eglinton Avenue East M4P
            3A4 Toronto, ON, Canada                                 127.20                 NA             NA            0.00


            Toledo Free Press P.O. Box
            613 Toledo, OH 43697                                  2,059.23                 NA             NA            0.00


            Toledo-Lucas County Port
            Authority One Maritime Plaza
            Toledo, OH 43604                                     41,865.00                 NA             NA            0.00




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            USA Jet Airlines Inc. P.O.
            Box 633554 Cincinnati, OH
            45263-6554                                            1,326.57                 NA             NA            0.00


            Verizon Florida LLC P.O.
            Box 920041 Dallas, TX
            75392-0041                                               62.69                 NA             NA            0.00


            Vision Airlines Aaron Godwin
            2705 Airport Road North Las
            Vegas, NV 89032                                     140,864.00                 NA             NA            0.00


            Vox AM/FM, LLC 265
            Hegeman Avenue Coichester,
            VT 05446                                              6,525.00                 NA             NA            0.00


            Walter C. Cook Law Offices
            of Walter C. Cook 1500-20th
            St San Francisco, CA 94107                            5,736.22                 NA             NA            0.00


            WFFFIWVNY-TV SMITH
            BROADCASTING OF VT
            LLC 298 Mountain View
            Drive Colchester, VT 05406                           49,300.00                 NA             NA            0.00


            WHAG NBC TV 13 E.
            Washington Street
            Hagerstown, MD 21740                                 15,960.00                 NA             NA            0.00


            WINK-TV 2824 Palm Beach
            Blvd. Fort Myers, FL 33916                            4,225.00                 NA             NA            0.00




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            Worcester Airport Limo 219
            West Boylston Street West
            Boylston, MA 01583                                      500.00                 NA             NA            0.00


            Worcester Telegram &
            Gazette 20 Franklin Street,
            Box 15012 Worcester, MA 01
            61 5-0012                                             8,956.78                 NA             NA            0.00


            World Atlantic Airlines 5600
            NW36th Street Suite 450
            Miami, FL 33166                                      60,382.00                 NA             NA            0.00


            Worldwide Flight Services
            1925 West John Carpenter
            Freeway, Suite 450 Irving, TX
            75063                                                23,570.17                 NA             NA            0.00


            WTOL-TV Toledo Attn:
            Lockbox#1350 P.O. Box
            11407 Birmingham, AL
            35246-1 350                                           4,000.00                 NA             NA            0.00


            WWMT-TV 590 Maple Street
            Kalamazoo, Ml 49008                                   2,450.00                 NA             NA            0.00


            Wyvern Hotel 101 E. Retta
            Esplanade3 Punta Gorda, FL
            33950                                                42,591.68                 NA             NA            0.00




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                Xtra Airways Lisa Dunn 800
                West Idaho Street Suite 304
                Boise, ID 83702                                      663,028.00                 NA              NA            0.00


                Z Direct 1920 E. Hallandale
                Bch Blvd, Suite 502
                Hallandale Beach, FL 33009                             5,000.00                 NA              NA            0.00


                AEROMOTIVE GROUND
                SUPPORT, INC.                         7100-000              NA             2,183.50       2,183.50            0.00


                ALLEGHENY COUNTY
1664-2          AIRPORT AUTHORITY                     7100-000        99,680.00         144,107.51      144,107.51            0.00


1714-1          EIN MANAGEMENT, LLC                   7100-000              NA           34,360.46       34,360.46            0.00


                GAROFALO GOERLICH
1725-1          HAINBACH PC                           7100-000         8,980.01          27,163.84       27,163.84            0.00


                HORRY COUNTY
                DEPARTMENT OF
1071-1          AIRPORT                               7100-000       116,311.61         441,267.17      441,267.17            0.00


                HORRY COUNTY
                DEPARTMENT OF
1916-1          AIRPORTS                              7100-000              NA             5,000.00       5,000.00            0.00


                MIAMI AIR
1917-1          INTERNATIONAL, INC.                   7100-000              NA           83,537.94       83,537.94            0.00


                NIAGARA FALLS
1772-1          AVIATION, LLC                         7100-000        40,379.68          83,939.14       75,763.34            0.00




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CLAIM NO.                 CLAIMANT                     TRAN.                                                            CLAIMS PAID
                                                                  (from Form       (from Proofs of     ALLOWED
                                                       CODE
                                                                      6F)              Claim)

                NIAGARA FRONTIER
                TRANSPORTATION
1906-1          AUTHORITY                             7100-000               NA             1,610.95         1,610.95            0.00


                SHELTAIR AVIATION
23-1            PLATTSBURGH LLC                       7100-000         22,154.20          77,349.55         77,349.55            0.00


                SPRINGFIELD AIRPORT
1907-1A         AUTHORITY                             7100-000               NA             9,000.00         9,000.00            0.00


                SPRINGFIELD AIRPORT
41-1B           AUTHORITY                             7100-000         58,235.69          38,331.19         38,331.19            0.00


                SWISSPORT FUELING,
1371-1          INC.                                  7100-000         39,500.00          79,718.37         79,718.37            0.00


                SWISSPORT FUELING,
1914-1          INC.                                  7100-000               NA           25,000.00         25,000.00            0.00


                THE PORT AUTHORITY OF
1396-1          NY AND NJ                             7100-000               NA             1,128.40         1,128.40            0.00


                THE PORT AUTHORITY OF
1891-2          NY AND NJ                             7100-000        124,561.42         150,061.42       150,061.42             0.00

TOTAL GENERAL UNSECURED                                          $ 43,428,300.45     $ 1,203,759.44    $ 1,195,583.64           $ 0.00
CLAIMS




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                                       Case 12-40944                         Doc 740           Filed 08/06/19 Entered 08/06/19 13:54:12                               Desc Main
                                                                                              Document FORM Page1 147 of 339
                                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                   ASSET CASES
                                                                                                                                                                                                                     Exhibit 8
Case No:             12-40944                            CJP                      Judge:        Christopher J. Panos                       Trustee Name:                      Joseph H. Baldiga, Trustee
Case Name:           SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                    Date Filed (f) or Converted (c):   04/11/2012 (c)
                                                                                                                                           341(a) Meeting Date:               06/13/2012
For Period Ending:   07/23/2019                                                                                                            Claims Bar Date:                   11/14/2013


                                  1                                                            2                          3                             4                          5                             6

                         Asset Description                                                   Petition/              Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                                      Unscheduled          (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                             Values              Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                                     Exemptions,                                                                               Assets
                                                                                                                   and Other Costs)

  1. TD BANK ACCOUNT                               (u)                                                   0.00                   3,028.44                                                 3,028.44                          FA
  2. HORRY COUNTY STATE BANK                              (u)                                            0.00                     22.33                                                      22.33                         FA
  3. Post-Petition Interest Deposits           (u)                                                       0.00                       N/A                                                        0.12                        FA
  4. CASH FROM MYRTLE BEACH SAFE                                (u)                                      0.00                    204.00                                                     204.00                         FA
  5. INSURANCE POLICIES - PLATTE RIVER COMPANY                                                     151,000.00                 200,000.00                                               200,000.00                          FA
  6. ACCOUNTS RECEIVABLE-UPON INFORMATION AND                                                       33,030.10                       0.00               OA                                      0.00                        FA
     BELIEF, ACCOUNTS
  7. SUSPENDED DOT LICENSE; SEE LIST IN SCHEDULE G                                                       0.00                       0.00               OA                                      0.00                        FA
  8. CUSTOMER LISTS - SEE SCHEDULE F; NO SUFFICIENT                                                      0.00                       0.00               OA                                      0.00                        FA
     INFORMATION
  9. CONTINGENT CLAIMS-AVONDALE DOES NOT HAVE                                                            0.00                       0.00               OA                                      0.00                        FA
     SUFFICIENT ACCESS
 10. OFFICE EQUIPMENT                                                                               45,000.00                       0.00               OA                                      0.00                        FA
 11. PREFERENCE SETTLEMENTS/COLLECTIONS                                     (u)                          0.00                 205,735.95                                               205,735.95                          FA
 12. VOID (ASSET ENTERED IN ERROR)                                    (u)                           Unknown                         0.00                                                       0.00                        FA
 13. CASH ON HAND                                                                                        0.00                       0.00                                                       0.00                        FA
 14. FINANCIAL ACCOUNTS                                                                                  0.00                       0.00                                                       0.00                        FA
 15. SECURITY DEPOSITS                                                                                   0.00                       0.00                                                       0.00                        FA
 16. BOOKS/COLLECTIBLES                                                                                  0.00                       0.00                                                       0.00                        FA
 17. ANNUITIES                                                                                           0.00                       0.00                                                       0.00                        FA
 18. LIQUIDATED CLAIMS                                                                                   0.00                       0.00                                                       0.00                        FA
 19. VOID (ASSET ENTERED IN ERROR)                                      (u)                         Unknown                         0.00                                                       0.00                        FA
 20. INTELLECTUAL PROPERTY                                                                               0.00                       0.00                                                       0.00                        FA
 21. MACHINERY AND SUPPLIES                                                                              0.00                       0.00               OA                                      0.00                        FA
 22. OTHER PERSONAL PROPERTY                                                                             0.00                       0.00               OA                                      0.00                        FA




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                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                           ASSET CASES
                                                                                                                                                                                                             Exhibit 8
Case No:             12-40944                       CJP                   Judge:        Christopher J. Panos                       Trustee Name:                      Joseph H. Baldiga, Trustee
Case Name:           SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                            Date Filed (f) or Converted (c):   04/11/2012 (c)
                                                                                                                                   341(a) Meeting Date:               06/13/2012
For Period Ending:   07/23/2019                                                                                                    Claims Bar Date:                   11/14/2013


                                  1                                                    2                          3                             4                          5                             6

                         Asset Description                                           Petition/              Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                              Unscheduled          (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                     Values              Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                             Exemptions,                                                                               Assets
                                                                                                           and Other Costs)

 23. CASH MONEY FOUND IN DEBTOR BOX                           (u)                                0.00                    481.00                                                     481.00                         FA
 24. CHARGE FOR PHOTOCOPIES                             (u)                                      0.00                    194.00                                                     194.00                         FA
 25. ARROW ENERGY LITIGATION - BOND REFUND                                                       0.00                  42,000.00                                                42,000.00                          FA
     (u)
 26. AGREEMENT WITH VALLEY NATIONAL BANK                            (u)                          0.00                 250,000.00                                               250,000.00                          FA
 27. SETTLEMENT WITH TEM ENTERPRISES D/B/A XTRA AIR                                              0.00                  65,000.00                                                 1,432.00                          FA
     (u)
 28. SETTLEMENT - QUICKFLIGHT, INC. (ADV PROC 13-04082)                                          0.00                  31,596.74                                                31,596.74                          FA
     (u)
 29. SETTLEMENT - PROGRESSIVE FUNDING SOLUTIONS                                                  0.00                   6,000.00               OA                                1,800.00                          FA
     LLC (ADV PROC 13- (u)
 30. SETTLEMENT - AVONDALE AVIATION I, LLC (ADV PROC                                             0.00                   7,500.00                                                 7,500.00                          FA
     14-04025) (u)
 31. ED WARNECK SC BANKRUPTCY CLAIM (ADV. PROC. NO.                                              0.00            30,942,155.16                                                   1,021.77                          FA
     14-04026) (u)
 32. SETTLEMENT - ARROW ENERGY, INC. (ADV. PROC. 14-                                             0.00                  18,000.00               OA                                      0.00                        FA
     04022) (u)
 33. SETTLEMENT - MERRICK BANK (MERRICK V. VALLEY                                                0.00                  50,000.00                                               275,502.40                          FA
     NATIONAL BANK) (u)
 34. JUDGMENT VS. FAIRFIELD INN BY MARIOTT, LP A/K/A                                             0.00                  27,245.49               OA                                      0.00                        FA
     FAIRFIELD IN (u)
 35. SETTLEMENT - THE STATION, INC. (ADV. PROC. 13-04086)                                        0.00                   4,000.00                                                 4,000.00                          FA
     (u)
 36. SETTLEMENT - ALLEGHENY COUNTY AIRPORT (ADV.                                                 0.00                  60,000.00                                                60,000.00                          FA
     PROC. 13-04093) (u)
 37. SETTLEMENT - NIAGARA FALLS AVIATION, LLC (ADV.                                              0.00                  32,500.00                                                32,500.00                          FA
     PROC. 13-04096) (u)
 38. SETTLEMENT - MIAMI AIR INTERNATIONAL, INC. (ADV.                                            0.00                  83,537.94                                                83,537.94                          FA
     PROC. 13-04100) (u)
 39. SETTLEMENT - ORLANDO SANFORD INTERNATIONAL,                                                 0.00                   7,500.00                                                 7,500.00                          FA
     INC. (ADV. PROC. 14-04020) (u)



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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              12-40944                         CJP            Judge:        Christopher J. Panos                         Trustee Name:                      Joseph H. Baldiga, Trustee
Case Name:            SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                         Date Filed (f) or Converted (c):   04/11/2012 (c)
                                                                                                                                 341(a) Meeting Date:               06/13/2012
For Period Ending:    07/23/2019                                                                                                 Claims Bar Date:                   11/14/2013


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 40. SETTLEMENT - BEECHWOOD LAKELAND HOTEL (ADV.                                               0.00                  14,000.00                                                14,000.00                          FA
     PROC. 14-04021) (u)
 41. SETTLEMENT - KEILMAN (ADV. PROC. 14-04023) (u)                                            0.00                 250,000.00                                               250,000.00                          FA
 42. SETTLEMENT - JUDY TULL (ADV. PROC. 14-04024) (u)                                          0.00                  10,000.00                                                10,000.00                          FA
 43. SETTLEMENT - EIN MANAGEMENT, LLC (ADV. PROC. 14-                                          0.00                   5,750.00                                                 5,750.00                          FA
     04027) (u)
 44. SETTLEMENT - AVIATION ADVANTAGE, INC. (ADV. PROC.                                         0.00                  15,000.00                                                15,000.00                          FA
     14-04028) (u)
 45. SETTLEMENT - AVFUEL CORPORATION (ADV. PROC. 14-                                           0.00                  30,000.00                                                30,000.00                          FA
     04085) (u)
 46. SETTLEMENT - ELLISON (ADV. PROC. 14-04026 and 14-                                         0.00                  92,000.00                                                92,000.00                          FA
     04024) (u)
 47. TRUSTEE'S PROOF OF CLAIM FILED IN SKY KING CA                                             0.00              2,702,405.01                OA                                      0.00                        FA
     BANKRUPTCY 12-35905 (u)


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $229,030.10           $35,155,856.06                                            $1,624,806.69                          $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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- Laura Keeler 7/9/2019 - UNCLAIMED FUNDS REMITTED TO COURT.     Document        Page 150 of 339
- Laura Keeler 6/20/2019 - TRUSTEE CASE REVIEW; ONCE 90 DAYS PASSES SINCE TFR CHECKS WERE CUT, A STOP PAYMENT TO BE PUT ON UNCASHED TFR
CHECKS AND THEN REMITTED TO THE BANKRUTPCY COURT AS UNCLAIMED FUNDS.
- Laura Keeler 3/28/2019 - TFR APPROVED.                                                                                                            Exhibit 8
 - Laura Keeler 2/4/2019 - TFR HEARING SCHEDULED FOR 3/28/19.
 - Laura Keeler 12/19/2018 - TFR SUBMITTED TO UST.
 - Laura Keeler 7/11/2018 - STATUS REVIEW OF CASE BY TRUSTEE; WAITING FOR TAXES.
 - Laura Keeler 5/9/2018 - RECEIVED ESTATE'S INTEREST IN THE MERRICK BANK V. VALLEY NATIONAL BANK SUIT. NO MORE OUTSTANDING ASSETS - TAXES TO BE
ORDERED.
 - Laura Keeler 3/22/2018 - STATUS REVIEW OF CASE BY TRUSTEE - MERRICK BANK TRIAL STARTS IN2 WEEKS (ON OR ABOUT 4/9/18).
 - Laura Keeler 1/3/2018
CASE REVIEW BY TRUSTEE - THE TRUSTEE WILL BE WRAPPING UP THE 2 REMAINING COLLECTION MATTERS (PROGRESSIVE AND FAIRFIELD). THE MERRICK V.
VALLEY NATIONAL BANK LITIGATION IS ONGOING.
 - Laura Keeler 10/3/2017
CASE REVIEW BY TRUSTEE; MERRICK v VALLEY NATIONAL BANK MATTER ONGOING.
 - Laura Keeler 8/25/2017
STATUS REPORT FILED.
 - Laura Keeler 6/20/2017
CASE REVIEW BY TRUSTEE.
 - Laura Keeler 3/30/2017
STATUS REVIEW OF CASE BY TRUSTEE.
 - Laura Keeler 1/24/2017
TRUSTEE CONTINUES TO PURSUE AVOIDANCE ACTION DEFAULT JUDGMENTS AND OTHER RECOVERY LITIGATION, AND TO MONITOR MERRICK BANK'S SUIT
AGAINST VALLEY NATIONAL BANK (IN WHICH THE ESTATE HAS RETAINED AN INTEREST).

ALTHOUGH THIS CASE CONVERTED TO CHAPTER 7 FROM CHAPTER 11, THE DEBTOR'S SCHEDULES WERE FILED AFTER THE CONVERSION TO A CHAPTER 7,
PRIOR TO THE CHAPTER 7 341 MEETING.

FYI: CHECK #200003 WAS VOIDED AND USED AS A SAMPLE FOR SIGNATURE PRINTING CHECKS - SEE FORM2.




RE PROP #           4   --   RECEIVED CASH THEN CONVERTED TO CASHIER'S CHECK TO DEPOSIT
RE PROP #           5   --   AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S FINANCIAL
                             INFORMATION TO PROVIDE A DEFINITIVE RESPONSE. HOWEVER, OTHER THAN
                             THE DEBTOR'S GENERAL LIABILITY INSURANCE, SEE ATTACHED SURETY BOND
                             INFORMATION FROM PLATTE RIVER INSURANCE COMPANY
RE PROP #           6   --   RECEIVABLE WAS ON THE BALANCE SHEET AS OF THE CLOSE IN OCTOBER
                             AND WAS CARRIED FORWARD
RE PROP #           8   --   AS TO VALUE
RE PROP #           9   --   TO THE DEBTOR'S FINANCIAL INFORMATION TO PROVIDE A DEFINITIVE
                             RESPONSE. HOWEVER, SEE SCHEDULE 4 OF STATEMENT OF FINANCIAL
                             AFFAIRS
RE PROP #          10   --   AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S FINANCIAL
                             INFORMATION TO PROVIDE A DEFINITIVE RESPONSE.
                             SEE ATTACHED LIST OF STATION ASSETS.
                             OFFICE FURNITURE, FIXTURES AND EQUIPMENT IN CORPORATE OFFICES IN
                             MYRTLE BEACH (1600 OAK STREET, MYRTLE BEACH, SC 29577) - DETAILED
                             LISTING IS NOT AVAILABLE (ESTIMATED AT$15K)
                             OFFICE FURNITURE, FIXTURES AND EQUIPMENT IN LEASED RESERVATION
                             CENTER IN WEST VIRGINIA (1334 RITTER AVENUE, GLEN DANIELS, WV 25832) -
                             DETAILED LISTING IS NOT AVAILABLE (ESTIMATED AT$30K)
RE PROP #          13   --   SEE SCHEDULE 11 OF STATEMENT OF FINANCIAL AFFAIRS
RE PROP #          14   --   SEE SCHEDULE 11 OF STATEMENT OF FINANCIAL AFFAIRS




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RE PROP #          15   --   AVONDALE DOES NOT HAVE SUFFICIENT ACCESS   TO THE DEBTOR'S
                                                                  Document        PageFINANCIAL
                                                                                        151 of 339
                             INFORMATION TO PROVIDE A DEFINITIVE RESPONSE
RE PROP #          16   --   SEE ANSWER TO #28                                                                              Exhibit 8
RE PROP #          17   --   AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S FINANCIAL
                             INFORMATION TO PROVIDE A DEFINITIVE RESPONSE
RE PROP #          18   --   AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S FINANCIAL
                             INFORMATION TO PROVIDE A DEFINITIVE RESPONSE
RE PROP #          20   --   AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S FINANCIAL
                             INFORMATION TO PROVIDE A DEFINITIVE RESPONSE
RE PROP #          21   --   SEE ANSWER TO #28
RE PROP #          22   --   AVONDALE DOES NOT HAVE SUFFICIENT ACCESS TO THE DEBTOR'S FINANCIAL
                             INFORMATION TO PROVIDE A DEFINITIVE RESPONSE
RE PROP #          24   --   MADE FOR BRESSLER, AMERY & ROSS, P.C.
RE PROP #          27   --   TEM ENTERPRISES D/B/A XTRA AIR FILED BANKRUPTCY IN NEVADA ON 6/4/14;
                             SETTLEMENT DISCUSSIONS BEFORE THAT HAPPENED RESULTED IN A
                             SETTLEMENT AGREEMENT FOR $65,000 THAT WAS APPPROVED BY ORDER 609.
                             A POC WAS FILED IN THE NEVADA BANKRUPTCY CASE NO. 14-13955 FOR
                             $65,000 FROM WHICH THIS BANKRUPTCY ESTATE RECEIVED TWO
                             DISTRIBUTIONS TOTALLING $1,432.00.
RE PROP #          28   --   SEE ORDER NO. 665
RE PROP #          29   --   SETTLEMENT APPROVED BY ORDER 686. LATER ABANDONED BY THE
                             TRUSTEE, SEE DOC 697.
RE PROP #          30   --   ALLOWED BY ORDER 646
RE PROP #          31   --   ED WARNECK SUBSEQUENTLY FILED BANKRUPTCY IN SOUTH CAROLINA
                             BANKRUPTCY CASE NO. 14-01611. THE TRUSTEE FILED A PROOF OF CLAIM IN
                             MR. WARNECK'S SC BANKRUPTCY CASE AND ON 7/27/17 RECEIVED A PRO-RATA
                             DISTRIBUTION IN MR. WARNECK'S CASE OF $1,021.77.
RE PROP #          32   --   SETTLEMENT ALLOWED PER ORDER 578. LATER ABANDONED BY THE
                             TRUSTEE BY 691 ABANDONMENT ALLOWED PER ORDER 696
RE PROP #          33   --   SETTLEMENT AGREEMENT NO. 483 BETWEEN THE TRUSTEE AND MERRICK
                             BANK ALLOWED BY ORDER 529.

RE PROP #          34   --   ADVERSARY PROCEEDING NO. 13-04079. ABANDONED BY THE TRUSTEE BY
                             DOC 704.
RE PROP #          35   --   ALLOWED BY ORDER 415
RE PROP #          36   --   ALLOWED BY ORDER 422
RE PROP #          37   --   ALLOWED BY ORDER 499
RE PROP #          38   --   ALLOWED BY ORDER 608
RE PROP #          39   --   ALLOWED BY ORDER 573
RE PROP #          40   --   ALLOWED BY ORDER 595
RE PROP #          41   --   ALLOWED BY ORDER 625
RE PROP #          42   --   ALLOWED BY ORDER 549
RE PROP #          43   --   ALLOWED BY ORDER 546
RE PROP #          44   --   ALLOWED BY ORDER 548
RE PROP #          45   --   ALLOWED BY ORDER 637
RE PROP #          46   --   ALLOWED BY ORDER 584



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Initial Projected Date of Final Report (TFR): 12/31/2014    Current Projected Date of Final Report
                                                                       Document             Page(TFR):
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                                                                              Document       Page 153 of 339 RECORD
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX6189                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   04/12/13                       Transfer from Acct # XXXXXX0378           Bank Funds Transfer                                  9999-000              $269,409.08                               $269,409.08

   04/26/13            25         NGM INSURANCE COMPANY                     ARROW ENERGY LITIGATION                              1249-000               $42,000.00                               $311,409.08
                                  PO BOX 2300KEENE, NH 03431                BOND REFUND
   05/28/13                       UNION BANK                                BANK SERVICE FEE                                     2600-000                                        $249.45         $311,159.63

   06/25/13                       UNION BANK                                BANK SERVICE FEE                                     2600-000                                        $462.80         $310,696.83

   06/28/13            26         VALLEY NATIONAL BANK                      AGREEMENT WITH VALLEY                                1290-000              $250,000.00                               $560,696.83
                                  ATTORNEY IOLTA ACCOUNT100                 NATIONAL BANK
                                  FRONT STREETWORCESTER, MA
                                  01608
   07/25/13                       UNION BANK                                BANK SERVICE FEE                                     2600-000                                        $447.43         $560,249.40

   08/21/13          200001       RADIXX INTERNATIONAL                      CS72288                                              2990-000                                     $3,882.00          $556,367.40
                                  6310 HAZELTINE NATIONAL                   RECORDS PRODUCTION
                                  DRIVEORLANDO, FL 32822
   08/23/13          200002       INTERNATIONAL SURETIES, LTD               BOND #016027601 (8/1/13 -                            2300-000                                        $669.85         $555,697.55
                                  SUITE 420701 POYDRAS ST.NEW               8/1/14)
                                  ORLEANS, LA 70139
   08/26/13                       UNION BANK                                BANK SERVICE FEE                                     2600-000                                        $833.21         $554,864.34

   09/25/13                       UNION BANK                                BANK SERVICE FEE                                     2600-000                                        $831.65         $554,032.69

   09/26/13             11        MCNAIR LAW FIRM, P.A.                     PREFERENCE SETTLEMENT                                1241-000                 $9,500.00                              $563,532.69
                                  PO BOX 11390COLUMBIA, SC 29211
   10/25/13                       UNION BANK                                BANK SERVICE FEE                                     2600-000                                        $799.67         $562,733.02

   11/06/13            35         THE STATION INC - DBA COMPANY             PREFERENCE SETTLEMENT                                1241-000                 $4,000.00                              $566,733.02
                                  TWO
                                  283 FOSTER ROADVARNVILLE, SC
                                  29944




                                                                                  Page Subtotals:                                                      $574,909.08            $8,176.06
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                                                                                 Document       Page 154 of 339 RECORD
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                  6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                          ($)
   11/19/13            36         ALLEGHENY COUNTY AIRPORT                           PREFERENCE SETTLEMENT                                                 1241-000               $60,000.00                              $626,733.02
                                  AUTHORITY
                                  DISBURSEMENT ACCOUNTPUBLIC
                                  FINANCE - 817LANDSIDE TERMINAL,
                                  4TH FLOOR, MEZZANINEPO BOX
                                  12370PITTSBURGH, PA 15231-0370
   11/25/13                       UNION BANK                                         BANK SERVICE FEE                                                      2600-000                                       $837.31         $625,895.71

   12/17/13          200004       ROBERT M. DEES                                     SPECIAL COUNSEL FEES                                                  3210-000                                   $12,600.00          $613,295.71
                                  MILAM HOWARD NICANDRI DEES &
                                  GILLAM, P.A.14 EAST BAY
                                  STREETJACKSONVILLE, FL 32202
   12/17/13          200005       ROBERT M. DEES                                     SPECIAL COUNSEL                                                       3220-000                                    $3,139.92          $610,155.79
                                  MILAM HOWARD NICANDRI DEES &                       EXPENSES
                                  GILLAM, P.A.14 EAST BAY
                                  STREETJACKSONVILLE, FL 32202
   12/26/13                       UNION BANK                                         BANK SERVICE FEE                                                      2600-000                                       $845.42         $609,310.37

   01/15/14          200006       GALESBURG-AUGUSTA HIGH SCHOOL Deposits - 507(a)(6) , , , , , , , , ,                                                     5600-000                                    $2,297.64          $607,012.73
                                  1076 N. 37th StreetAttn: Patti ,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GroetsemaGalesburg MI 49053    ,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200007       SHERYL (SNYDER) APPLE                              Deposits - 507(a)(6) , , , , , , , , ,                                5600-000                                       $139.65         $606,873.08
                                  2775 Sweetbriar CtToldeoOH43615                    ,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,
   01/15/14          200008       DIANE AABY                                         Deposits - 507(a)(6) , , , , , , , , ,                                5600-000                                        $23.90         $606,849.18
                                  1022 Comfortcove DrMachesney                       ,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ParkIL61115                                        ,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,
   01/15/14          200009       JOANNE AARON                          Deposits - 507(a)(6)                                                               5600-004                                        $60.31         $606,788.87
                                  231 W. Woodland DriveAliquippaPA15001 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200010       JENNIFER L. ABBONDANZIO                            Deposits - 507(a)(6)                                                  5600-000                                        $89.57         $606,699.30
                                  30 Klondike StreetNorth                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GrosvenordaleCT6255                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,


                                                                                                 Page Subtotals:                                                                  $60,000.00          $20,033.72
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                                        Case 12-40944                   Doc 740    Filed 08/06/19
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200011       JOHN D. ABBOTT                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $606,609.73
                                  425 Via VenetoVeniceFL34285                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200012       JOHN ACARDO                                        Deposits - 507(a)(6)                                                  5600-000                                        $107.48         $606,502.25
                                  3284 Cavendish DriveRockfordIL61109                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200013       FRANK ACCOMANDO                                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $606,323.11
                                  25 Embassy DriveHamiltonOntario                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CanadaL8T 4Z8                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200014       PETER ACETO                                        Deposits - 507(a)(6)                                                  5600-000                                        $249.10         $606,074.01
                                  9211 Loch Glen DrVillage                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ofLlakewoodIL60014                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200015       MARILYN ACKER                          Deposits - 507(a)(6)                                                              5600-000                                         $31.60         $606,042.41
                                  34 Flynn Ave Apt 109PlattsburghNY12901 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200016       GLENDA ADAMS                                       Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $605,942.77
                                  201 Date Palm Ct.Winter HavenFL33880               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200017       CRYSTAL M. ADAMS (BIRCHLER)                        Deposits - 507(a)(6)                                                  5600-000                                         $80.99         $605,861.78
                                  1513 Brenda CourtSpringfieldIL62704                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200018       LOUIS & JOAN AERTS                                 Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $605,817.00
                                  3453 Verna AvenueMuskegonMI49442                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200019       JOYCE W. AGLE                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $605,727.43
                                  4613 Six Mile Pond                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadZephyrhillsFL33541                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200020       THOMAS C. AIKMAN                                   Deposits - 507(a)(6)                                                  5600-000                                        $152.37         $605,575.06
                                  1260 Ficus DriveMyrtle BeachSC29579                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200021       RONALD ALEXANDER                                   Deposits - 507(a)(6)                                                  5600-000                                         $98.80         $605,476.26
                                  117 Alder AveRockfordIL61107                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200022       STEVE ALEXANDRE                      Deposits - 507(a)(6)                                                                5600-000                                         $65.98         $605,410.28
                                  373A 7th Ave.LaSalleQuebec CanadaH8P ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2M3                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,289.02
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200023       ISMAEL & HAYDEE ALICEA                            Deposits - 507(a)(6)                                                  5600-000                                        $233.46         $605,176.82
                                  44 Noble StreetDudleyMA1571                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200024       CLAUDIA & DONALD ALLAIN                           Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $605,093.08
                                  3 Sylvia StreetThree RiversMA1080                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200025       ROGER ALLEGRO                                     Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $604,913.94
                                  93 Broad Meadow StreetApt.                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  9MarlboroughMA1752                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200026       MARCIA D. ALLEN                                   Deposits - 507(a)(6)                                                  5600-000                                         $20.94         $604,893.00
                                  3149 S. 3rd StreetSpringfieldIL62703              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200027       CHARITO M. ALVARADO                               Deposits - 507(a)(6)                                                  5600-000                                         $45.84         $604,847.16
                                  10500 Mary Lou DrOrlandoFL32825                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200028       LAURA ANNE AMICHETTI                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $604,757.59
                                  9 Hale RoadStowMA1775                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200029       BARBARA ANDRESON                     Deposits - 507(a)(6)                                                               5600-000                                        $139.46         $604,618.13
                                  5107 Meadowland DrCardinalOntarioK0E ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1E0                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200030       CATHY ANDERSON                                    Deposits - 507(a)(6)                                                  5600-000                                         $31.85         $604,586.28
                                  216 Joan DriveDivernonIL62530                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200031       KIMBERLY ANDERSON                                 Deposits - 507(a)(6)                                                  5600-000                                         $83.37         $604,502.91
                                  115 Park View DriveGrantsvilleMD21536             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200032       WAYNE ANDERSON                                    Deposits - 507(a)(6)                                                  5600-000                                        $313.50         $604,189.41
                                  1935 Delaney                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveMississaugaONL5J3L2                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200033       CHRISTIAN ANDRADE                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $604,099.84
                                  46 Courtland StWorcesterMA1602                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200034       JODI L. ANDREI                                    Deposits - 507(a)(6)                                                  5600-000                                        $122.96         $603,976.88
                                  5205 Wilkes RoadAtwaterOH44201                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00           $1,433.40
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200035       KATHLEEN ANDRESS                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $603,887.31
                                  1711 Hwy 17 S, Unit 504Surfside                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29575                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200036       SHIRLEY L. ANDREWS                    Deposits - 507(a)(6)                                                               5600-000                                         $48.76         $603,838.55
                                  8504 Third AvenueNiagara FallsNY14304 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200037       TRACY ANGELMEYER-MANDELL                           Deposits - 507(a)(6)                                                  5600-000                                        $409.11         $603,429.44
                                  67596 SR 13MillersburgIN46543                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200038       SUNSHINE ANKROM                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $603,339.87
                                  3199 Kane RdAliquippaPA15001                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200039       ANGELO ANTONUCCI                                   Deposits - 507(a)(6)                                                  5600-000                                        $210.67         $603,129.20
                                  1243 Links RoadMyrtle BeachSC29575                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200040       JOHN ARCHAMBAULT                                   Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $603,003.59
                                  35 Evergreen AveNew LondonCT6320                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200041       MARTHA J. ARCHER                                   Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $602,908.72
                                  1468 Fox Hollow WayN. Myrtle                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29582                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200042       JOHN D. ARENSTAM                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $602,729.58
                                  28 Red Maple CircleOrmond                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachFL32174                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200043       SUSAN ARGY-HUGHES                                  Deposits - 507(a)(6)                                                  5600-000                                        $166.95         $602,562.63
                                  5693 East River RoadGrand                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  IslandNY14072                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200044       NORMA D. ARMSTRONG                                 Deposits - 507(a)(6)                                                  5600-000                                         $42.13         $602,520.50
                                  318 Finley StreetJacksonvilleIL62650               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200045       GERARD M. ARROYO                                   Deposits - 507(a)(6)                                                  5600-000                                        $132.39         $602,388.11
                                  97 East Elm AveQuincyMA2170                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200046       KRISTIN ARSLAN                                     Deposits - 507(a)(6)                                                  5600-000                                        $108.97         $602,279.14
                                  161 Whitman AvenueWest                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HartfordCT6107                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,697.74
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200047       MARY ELLEN ARTIOLI                        Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $602,176.32
                                  589 White Tail PlaceMyrtle                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29588-4137                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200048       GOPERAJAH ARULANANTHAN                    Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $602,131.54
                                  314-88 Corporate                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveScarboroughOntarioM1H3G6             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200049       REBECCA J. ASH                            Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $602,081.72
                                  RT1 Box 52-0Lost CreekWV26385             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200050       JEFFERY ASHLINE                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $601,992.15
                                  944 Reynolds Rd., Lot                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  271LakelandFL33801                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200051       NORMAN ASHWORTH                           Deposits - 507(a)(6)                                                  5600-000                                         $55.73         $601,936.42
                                  507 Port Bendres DrivePunta               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33950-7809                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200052       JOHN W. ASMA                              Deposits - 507(a)(6)                                                  5600-000                                         $62.99         $601,873.43
                                  156 Round Hill RoadKalamazooMI49009       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200053       KATHLEEN ASSMANN                          Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $601,828.64
                                  10244 N Crosset Hill                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DrPickeringtonOH43147                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200054       KAREN ASTYK                               Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $601,783.86
                                  1301 Girdle Rd.ElmaNY14059                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200055       JANA ATWELL                               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $601,694.29
                                  863 Stevenson RoadWestportNY12993         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200056       SANDRA AUGER                              Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $601,515.15
                                  2066 AylwinMontrealQuebecH1W 3C5          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200057       DANNY L. AND DEBRA M.                     Deposits - 507(a)(6)                                                  5600-000                                        $215.63         $601,299.52
                                  AUGHENBAUGH                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1141 W. Chelsea WayDecaturIL62526         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200058       RICHARD L. AULTMAN                        Deposits - 507(a)(6)                                                  5600-004                                         $84.96         $601,214.56
                                  104 Charles St.CarmichaelsPA15320         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,064.58
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


       1                2                                 3                                                                 4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200059       JEREMIAH AVERY                                      Deposits - 507(a)(6)                                                  5600-000                                        $159.00         $601,055.56
                                  904 Bird Bay WayVeniceFL34285                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200060       SUSAN AVERY                                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $600,965.99
                                  1288 Crossfield                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BendMississaugaOntarioL5G 3P4                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200061       TASHA AYERS COY                                     Deposits - 507(a)(6)                                                  5600-000                                        $159.00         $600,806.99
                                  99 Geiger AvenueBattlecreekMI49037                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200062       NANCY K. BACKS                                      Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $600,707.35
                                  P.O. Box 1305RivertonIL62561                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200063       DEBRA BAEHRE                            Deposits - 507(a)(6)                                                              5600-000                                         $79.50         $600,627.85
                                  684 Ridgefield DriveCoopersvilleMI49404 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200064       WILBUR BAGENT                                       Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $600,438.11
                                  137 Williams DrBattle CreekMI49015                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200065       GAIL P. BAGGOT                                      Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $600,385.11
                                  311 Caldera Ct.Murrells InletSC29576                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200066       DAN AND ANGELA BAGWELL                              Deposits - 507(a)(6)                                                  5600-000                                        $159.00         $600,226.11
                                  16298 Oak LaneThree RiversMI49093                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200067       STEPHANIE BAHLING                     Deposits - 507(a)(6)                                                                5600-000                                         $94.87         $600,131.24
                                  10311 Cotton Grass CourtRoscoeIL61073 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200068       BARTON E. BAILEY                                    Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $599,996.89
                                  24 May Lane PO Box 45OakfordIL62673                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200069       CLAUDIA C. BAILEY                                   Deposits - 507(a)(6)                                                  5600-000                                         $84.27         $599,912.62
                                  613-P 36th Ave NorthMyrtle                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29577                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200070       GERALD BAILEY                                       Deposits - 507(a)(6)                                                  5600-000                                         $97.78         $599,814.84
                                  c/o Dawn Gibbs1872 Coconut Palm                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CircleNorth PortFL34288                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                  Page Subtotals:                                                                        $0.00           $1,399.72
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          200071       PAIGE ANN BAIN                                   Deposits - 507(a)(6)                                                  5600-000                                        $221.01         $599,593.83
                                  8421 52 WayPinellas ParkFL33781                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200072       COLLEEN BAKER                                    Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $599,510.09
                                  32562 E CR 580 N.Mason CityIL62664               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200073       ERNEST AND SARA BAKER                            Deposits - 507(a)(6)                                                  5600-000                                        $100.09         $599,410.00
                                  116 W State StreetColonMI49040                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200074       HAROLD L. BAKER                                  Deposits - 507(a)(6)                                                  5600-000                                         $35.72         $599,374.28
                                  4069 Santa Barbara Dr.SebringFL33875             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200075       JANICE BAKER                                     Deposits - 507(a)(6)                                                  5600-000                                         $29.02         $599,345.26
                                  8557 Mikko DriveHoltonMI49425                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200076       JERRY M. BAKER                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $599,166.12
                                  1096 Mille AveCalabashNC28467                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200077       JOHN W. BAKER                                    Deposits - 507(a)(6)                                                  5600-000                                        $313.49         $598,852.63
                                  1360 Summerwood Dr.South                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HavenMI49090                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200078       MARLIN BAKER                        Deposits - 507(a)(6)                                                               5600-000                                         $75.76         $598,776.87
                                  443 Carpenter NWGrand RapidsMI49504 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200079       JOANNE BALFOUR                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $598,687.30
                                  285 Beechfield Rd.OakvilleOntarioL6J             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  5H9                                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200080       TAMAR BALL                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $598,597.73
                                  508 E State StreetTraverse CityMI49686           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200081       MICHAEL & LYN BALLA                              Deposits - 507(a)(6)                                                  5600-000                                        $151.21         $598,446.52
                                  4777 Seneca StreetWest                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SenecaNY14224                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200082       TOM & BARBARA BALTZ                              Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $598,401.74
                                  89 Bush Hill RoadLebanonCT6249                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200083       JOHN J. BANACH                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $598,312.17
                                  75 Huntoon Memorial HighwayUnit 3-        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1LeicesterMA1524                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200084       SHELLI BANES                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $598,222.60
                                  6991 Daggert RoadMt. CarrollIL61053       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200085       GREGORY BANNISTER                         Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $598,043.46
                                  5789 Reidenbach RoadSouth                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeloitIL61080                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200086       EDWARD ANDREW BARD                        Deposits - 507(a)(6)                                                  5600-000                                        $180.20         $597,863.26
                                  194 Macrae RdColcherterVT5446             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200087       CYNTHIA BARFIELD                          Deposits - 507(a)(6)                                                  5600-000                                         $13.24         $597,850.02
                                  4150 Spring Garden RdPGHPA15212           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200088       GRACE BARIL                               Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $597,717.52
                                  78 Crooked TrailWoodstockCT6281           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200089       TIMOTHY & TERRI BARNABY                   Deposits - 507(a)(6)                                                  5600-004                                         $98.79         $597,618.73
                                  44 Wabaso StreetPittsfieldMA1201          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200090       CALEB BARNETT                             Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $597,576.86
                                  P.O. Box 44WaverlyIL62692                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200091       RENEE L. BARR                             Deposits - 507(a)(6)                                                  5600-000                                        $218.54         $597,358.32
                                  5050 Arbutus RoadRockfordIL61107          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200092       WILLIAM R. BARR                           Deposits - 507(a)(6)                                                  5600-000                                         $31.96         $597,326.36
                                  980 East Gull Lake Dr.AugustaMI49012      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200093       TERRENCE BARRETT                          Deposits - 507(a)(6)                                                  5600-000                                        $148.93         $597,177.43
                                  11328 Camden Loop                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  WayWindermereFL34786                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200094       BRUCE BARETTE                             Deposits - 507(a)(6)                                                  5600-000                                        $142.30         $597,035.13
                                  746 Worecester                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetSouthbridgeMA1550                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          200095       JON BARRETTE                        Deposits - 507(a)(6)                                                               5600-000                                        $358.28         $596,676.85
                                  138 Campbells Bay RoadSwantonVT5488 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200096       GABRIELLE                                        Deposits - 507(a)(6)                                                  5600-000                                         $79.50         $596,597.35
                                  1112 Harbour Dr Apt.                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  101WilmingtonNC28401                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200097       MARCIA AND TIMOTHY BARRY                         Deposits - 507(a)(6)                                                  5600-000                                        $128.26         $596,469.09
                                  1090 Cunningham DriveVictorNY14564               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200098       VANESSA BARRY                                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $596,289.95
                                  420 2400th StreetEmdenIL62635                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200099       DAVID BARTLETT                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $596,200.38
                                  28 Cherryfield AveSacoME4072                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200100       LAURA J. BATCHO                                  Deposits - 507(a)(6)                                                  5600-000                                        $294.94         $595,905.44
                                  2787 Christ RoadAtticaNY14569                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200101       JOHN R. BATTLE                                   Deposits - 507(a)(6)                                                  5600-000                                        $116.07         $595,789.37
                                  3743 Trails End LaneNorth                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200102       ROSE BATTLE                                      Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $595,655.02
                                  4501 Compass Oaks Dr.ValricoFL33596              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200103       DAVID G. BAUER                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $595,565.45
                                  1065 N. Canyon DriveFreeportIL61032              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200104       HELEN BAUER                                      Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $595,520.66
                                  8854 Seaman RdGasportNY14067                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200105       DONNA BAUMAN                                     Deposits - 507(a)(6)                                                  5600-000                                         $53.32         $595,467.34
                                  400 Robin CourtSt. JosephMI49085                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200106       RYAN BAUMBACH                                    Deposits - 507(a)(6)                                                  5600-000                                        $220.70         $595,246.64
                                  8696 Carlisle Dr SWByron                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CenterMI49315                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200107       SHERON BAUMGARTNER                        Deposits - 507(a)(6)                                                  5600-000                                        $100.17         $595,146.47
                                  9329 Corduroy RdCurticeOH43412            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200108       BEVERLY N. BEAN                           Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $595,101.69
                                  48 Westmorland DriveWorcesterMA1602       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200109       DENNIS C. BEAN                            Deposits - 507(a)(6)                                                  5600-000                                        $212.00         $594,889.69
                                  407 Langen RoadPO Box                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  294LancasterMA1523                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200110       DEBORAH J. BEASOCK                        Deposits - 507(a)(6)                                                  5600-000                                        $125.71         $594,763.98
                                  10 Beagle CourtJefferson HillsPA15025     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200111       BRENDA BEAUCAGE                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $594,674.41
                                  18 Knollwood CircleMillburyMA1527         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200112       DIANE BEAUCHEMIN                          Deposits - 507(a)(6)                                                  5600-000                                        $107.32         $594,567.09
                                  446 Forest AvenueBrocktonMA2301           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200113       CARLOS BEAULIEU                           Deposits - 507(a)(6)                                                  5600-000                                        $283.90         $594,283.19
                                  246 Allard Ave.Dorval, QuebecH9S 3B9      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200114       JENNIFER M. BEAULIEU                      Deposits - 507(a)(6)                                                  5600-000                                         $47.44         $594,235.75
                                  11 Irish Settlement                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadHeuveltonNY13654                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200115       ROLAND J. BEAUREGARD                      Deposits - 507(a)(6)                                                  5600-000                                         $80.03         $594,155.72
                                  13 Treadwell DriveSpencerMA1562           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200116       KATHERINE S. BECKMAN                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $594,066.15
                                  19104 S. Three Oaks Rd.Three              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  OaksMI49128                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200117       EDWARD BEDORE                             Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $594,021.37
                                  1475 N Hidden Creek Dr.SalineMI48176      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200118       MICHAEL BEHAN                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $593,931.80
                                  508 Red Hill RdMiddletownNJ7748           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,314.84
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200119       NANCY BEK                                 Deposits - 507(a)(6)                                                  5600-004                                        $268.71         $593,663.09
                                  255 Park Ave., Suite                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  902WorcesterMA1609                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200120       DONNA BELFIORE                            Deposits - 507(a)(6)                                                  5600-000                                         $45.97         $593,617.12
                                  19-7500 HWY                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  27WoodbridgeOntarioL4H0J2                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200121       TERESA BELIN                              Deposits - 507(a)(6)                                                  5600-000                                         $33.92         $593,583.20
                                  7502 Stephenson AvenueNiagara             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FallsNY14304                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200122       CATHY & RICHARD BELISLE                   Deposits - 507(a)(6)                                                  5600-000                                         $88.17         $593,495.03
                                  359 Stark LaneManchesterNY3102            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200123       BEN E. BENACK, JR.                        Deposits - 507(a)(6)                                                  5600-000                                         $50.08         $593,444.95
                                  2465 Ridge Rd.South ParkPA15129           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200124       JOHN C. AND DEBRA BENANTI                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $593,355.38
                                  1425 East Lake Shore                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Dr.SpringfieldIL62712                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200125       JOHN R. BENDER, JRS.                      Deposits - 507(a)(6)                                                  5600-000                                        $174.42         $593,180.96
                                  105 Bush Hill Rd.LebanonCT6249            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200126       NICHOLAS BENJAMIN                         Deposits - 507(a)(6)                                                  5600-000                                        $313.49         $592,867.47
                                  100 Sweet Alyssum                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveLadsonSC29460                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200127       DEBORAH BENNINGER                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $592,777.90
                                  808 Juniper StQuakertownPA18951           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200128       JEFFREY BENOIT                            Deposits - 507(a)(6)                                                  5600-000                                        $209.35         $592,568.55
                                  44 Colonial AveAgawamMA1001               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200129       MARK E. BENTLEY                           Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $592,465.73
                                  58 West Meadow RoadWest                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TownsendMA1474                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200130       MARY CELINE BENTLEY                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $592,376.16
                                  226 Kilmer CourtSpringfieldIL62711        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,555.64
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200131       DEBORAH BENWAY                                     Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $592,334.29
                                  1116 State Route 196Hudson                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FallsNY12839                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200132       CHERYL BENZ                                        Deposits - 507(a)(6)                                                  5600-000                                         $96.99         $592,237.30
                                  910 Bibbs StreetJacksonvilleIL62650                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200133       RAYMONDE BERGERON                                  Deposits - 507(a)(6)                                                  5600-000                                        $108.27         $592,129.03
                                  9 West AveSpencerMA1562                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200134       JILAYNE BERNTSEN                                   Deposits - 507(a)(6)                                                  5600-000                                         $85.12         $592,043.91
                                  5109 Hermitage TrailRockfordIL61114                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200135       GERALD BERRY                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $591,954.34
                                  789 Warner RdP.O. Box 27St.                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DavidsOntarioL0S 1P0                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200136       RAYMOND BERTHIAUME                                 Deposits - 507(a)(6)                                                  5600-000                                        $131.44         $591,822.90
                                  2956 Eagles Nest WayPort St.                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LucieFL34952                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200137       CANDACE L. BERUBE                      Deposits - 507(a)(6)                                                              5600-000                                        $106.00         $591,716.90
                                  1983 Scarlett AvenueNorth PortFL342898 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200138       MICHAEL BETTENHAUSEN                               Deposits - 507(a)(6)                                                  5600-000                                        $134.23         $591,582.67
                                  1121 Latigo LnSpringfieldIL62712                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200139       SANDRA BETTS                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.29         $591,493.38
                                  3400 Rowland DrivePort                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33980                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200140       THOM BETZ                                          Deposits - 507(a)(6)                                                  5600-000                                        $274.01         $591,219.37
                                  3347 Channelside DriveSupplyNC28462                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200141       LOUISE BEUME                                       Deposits - 507(a)(6)                                                  5600-000                                        $104.14         $591,115.23
                                  4120 Lorene Dr, Unit 106EsteroFL33928              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200142       CYNTHIA S. BIANCAMANO                              Deposits - 507(a)(6)                                                  5600-000                                        $129.05         $590,986.18
                                  73 Lake Shore DriveColchesterCT6415                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,389.98
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200143       KATHLEEN BIANCUZZO                                 Deposits - 507(a)(6)                                                  5600-000                                         $44.52         $590,941.66
                                  3300 Loveland Blvd, Unit 2802Port                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33980                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200144       JENNIFER L. BIBBEE                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $590,852.09
                                  1485 Sedgefield DriveMurrells                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200145       CARL BICE                                          Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $590,583.38
                                  14300 Hickory Links Ct., Unit 1811Fort             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33912                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200146       DONNALEE BIERALS                                   Deposits - 507(a)(6)                                                  5600-000                                         $68.90         $590,514.48
                                  7 Stone Row LaneOak RidgeNJ7438                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200147       MARSHALL AND SUSAN E. BILLIAM                      Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $590,245.77
                                  151 Palm Blvd.ParrishFL34219                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200148       KIMBERLY BILLICK                       Deposits - 507(a)(6)                                                              5600-000                                        $157.41         $590,088.36
                                  134 Walker Manor CircleColliersWV26035 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200149       RUSSELL A. BILOW                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $589,998.79
                                  2035 Plank RoadEllenburg                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DepotNY12935                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200150       SANDRA BIRDSELL                                    Deposits - 507(a)(6)                                                  5600-000                                         $13.24         $589,985.55
                                  7309 Wentworh DriveSpringfieldIL62711              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200151       LYNN BISBANO                                       Deposits - 507(a)(6)                                                  5600-000                                        $109.44         $589,876.11
                                  3405 57th Avenue Drive                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  WestBradentonFL34210                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200152       STEVE & CHRSTINE BISHOP                            Deposits - 507(a)(6)                                                  5600-000                                        $119.20         $589,756.91
                                  5378 Torgue RoadLoues ParkIL61111                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200153       THERESA BITTNER                                    Deposits - 507(a)(6)                                                  5600-000                                         $71.02         $589,685.89
                                  1922 West Creek RoadBurtNY14028                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200154       JOHN R. BLACK, JR.                                 Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $589,553.39
                                  P.O. Box 1923Little RiverSC29566                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,432.79
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200155       JEAN BLACKER                              Deposits - 507(a)(6)                                                  5600-000                                        $210.41         $589,342.98
                                  11 Belvoir Ave.DouglasMA516               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200156       DANA BLACKMAN                             Deposits - 507(a)(6)                                                  5600-000                                        $241.43         $589,101.55
                                  50 Cedar StreetParisOntarioN3L 0A1        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200157       LYNN BLACKMORE                            Deposits - 507(a)(6)                                                  5600-000                                        $108.12         $588,993.43
                                  17 Garnish GreenMarkhamOntarioL3P         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  4P4                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200158       JESSE MAY BLAKE                           Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $588,893.79
                                  5 Pleasant StreetChazyNY12921             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200159       JACQUELINE L. BLAKEY                      Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $588,714.65
                                  102 Cricket CourtConwaySC29526            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200160       DEBRA BLANDING                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $588,535.51
                                  860 Taylor RiseVictorNY14564              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200161       PAMELA BLANKENBAKER                       Deposits - 507(a)(6)                                                  5600-000                                         $35.82         $588,499.69
                                  23080 Spring Mill DrElkhartIN46514        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200162       MARGARET BLAUVELT                         Deposits - 507(a)(6)                                                  5600-000                                        $198.64         $588,301.05
                                  12890 9 Mile RdShelbyvilleMI49344         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200163       CAROL L. BLEIGH                           Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $588,256.27
                                  817 Meadland RoadBridgeportWV26330        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200164       RITA C. BLEVINS                           Deposits - 507(a)(6)                                                  5600-000                                         $61.35         $588,194.92
                                  1 Missouri AvePotsdamNY13676              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200165       SHEILA P. BLEYL                           Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $588,150.14
                                  26 Broad StreetBroadalbinNY12025          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200166       CINDY BLONDE                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $588,060.57
                                  8300 Mosherville Rd.LitchfieldMI49252     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200167       SHARON A. BOCKUS                          Deposits - 507(a)(6)                                                  5600-000                                         $53.24         $588,007.33
                                  110 Hawk's NestApt. 102St.                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AlbansVT05478-4288                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200168       DONNA M. BODETTE                          Deposits - 507(a)(6)                                                  5600-000                                        $115.54         $587,891.79
                                  144 Bradford RoadPlattsburghNY12901       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200169       MARGARET GAY BOEHME                       Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $587,667.87
                                  1600 Shady LaneGrand IslandFL32735-       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  9742                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200170       ANN MARIE BOER                            Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $587,623.08
                                  3308 Lobell DriveSpringfieldIL62712       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200171       DEBRA BOHNER                              Deposits - 507(a)(6)                                                  5600-000                                        $164.56         $587,458.52
                                  9369 County Road I                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  50MontpelierOH43543                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200172       MARGARET BOISMENU                         Deposits - 507(a)(6)                                                  5600-000                                        $116.87         $587,341.65
                                  71 Queens DriveWest SenecaNY14224         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200173       KIM BOISVERT                              Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $587,246.78
                                  624, Chemin Val-des-LacsSainte-           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SophieJSJ 2S7                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200174       CHERYL BOLTON                             Deposits - 507(a)(6)                                                  5600-000                                        $209.88         $587,036.90
                                  PO Box 426Bolton LandingNY12814           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200175       FRANCES BOMBARD                           Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $586,942.03
                                  217 Sturbridge Rd #47CharltonMA1507       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200176       FRANK BONACORSI                           Deposits - 507(a)(6)                                                  5600-000                                        $104.83         $586,837.20
                                  608 7th AveHoughtonMI49931                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200177       GRETA A. BONIDIE                          Deposits - 507(a)(6)                                                  5600-000                                         $41.68         $586,795.52
                                  221 Davis AvenuePittsburghPA15223         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200178       MELISSA BONNEY                            Deposits - 507(a)(6)                                                  5600-000                                         $96.99         $586,698.53
                                  1205 Mark LaneTaylorvilleIL62568          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200179       LINDA BOOKER                                        Deposits - 507(a)(6)                                                  5600-000                                         $51.15         $586,647.38
                                  512 S Lincoln StTremontIL61568                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200180       WAYNE E. BOOR                                       Deposits - 507(a)(6)                                                  5600-000                                        $371.00         $586,276.38
                                  111 Oakview DriveCranberry                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Twp.PA16066                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200181       KELLEY BOOSKA                                       Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $586,228.95
                                  1310 Rio Falls Dr., Apt.                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  205RaleighNC27614                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200182       JOHN AND ANNMARIE BOPP                              Deposits - 507(a)(6)                                                  5600-000                                        $166.15         $586,062.80
                                  2 Beechwood RoadBellinghamMA2019                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200183       PRISCELLA B. BORCI                       Deposits - 507(a)(6)                                                             5600-000                                        $217.99         $585,844.81
                                  8380 Burwell CirclePort CharlotteFL33981 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200184       CINDY M. BORDEN                                     Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $585,761.07
                                  364 Main StreetLeominsterMA1453                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200185       LILIAN BORISOV                                      Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $585,661.43
                                  81 Bryn Mawr AveAuburnMA1501                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200186       BRIANNA BORK                                        Deposits - 507(a)(6)                                                  5600-000                                        $265.00         $585,396.43
                                  340 Main StWest SenecaNY14224                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200187       NORMA BOROWSKI                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $585,306.86
                                  550 Wallum Lake RoadPascoagRI2859                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200188       JUDY W. BOSSUAT-GALLIC                              Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $585,262.08
                                  9230 Flickering Shadow                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Dr.DallasTX75243                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200189       JANE BOTTING                                        Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $585,178.34
                                  2635 Fiddlestick CircleLutzFL33559                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200190       ANNE D. BOUCHARD                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $585,088.77
                                  3524 E. Palmetto St.Lot                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  19FlorenceSC29506                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200191       DANNY BOUCHARD                            Deposits - 507(a)(6)                                                  5600-000                                        $250.74         $584,838.03
                                  111 Urbaine                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetLachuteQuebecJ8H4H9                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200192       DONALD AND CHANNON M.                     Deposits - 507(a)(6)                                                  5600-000                                        $250.43         $584,587.60
                                  BOULANGER, JR                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  239 Dustin Tavern RoadWeareNH3281         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200193       JEAN E. BOURASSA                          Deposits - 507(a)(6)                                                  5600-000                                         $81.73         $584,505.87
                                  9693 SW 45 Ave.OcalaFL34476               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200194       DONALD V. BOURCIER                        Deposits - 507(a)(6)                                                  5600-000                                         $76.37         $584,429.50
                                  241 Belmont AvenueWest                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringfieldMA1089                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200195       CHARLES BOURDON                           Deposits - 507(a)(6)                                                  5600-000                                         $29.33         $584,400.17
                                  5385 Lakewood Rd.WhitehallMI49461         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200196       RACQUEL L. BOURNE                         Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $584,265.82
                                  441 Genius Dr.Winter ParkFL32789          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200197       NANCY BOUSQUET                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $584,176.25
                                  933 Yacht Club WayMoore                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HavenFL33471                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200198       JOSEPH BOUTHET                            Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $583,952.33
                                  2780 Coopers CourtMyrtle                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29579                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200199       LUCINDA A. BOVEN                          Deposits - 507(a)(6)                                                  5600-000                                         $54.65         $583,897.68
                                  48749 Meadow Oak                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TrailMattawanMI49071                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200200       RAYMOND BOWMAN                            Deposits - 507(a)(6)                                                  5600-000                                         $73.19         $583,824.49
                                  225 North Lake Shore Dr.Lake              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  WalesFL33859-8701                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200201       NANCY BOYD                                Deposits - 507(a)(6)                                                  5600-000                                         $80.40         $583,744.09
                                  5115 Genesee PkwyBokeeliaFL33922          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200202       ROBERT W. BOYD                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $583,654.52
                                  50-A Tyndall StreetOttawaONK1Y3J8         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200203       KIRK BOYENGA                           Deposits - 507(a)(6)                                                              5600-000                                         $99.90         $583,554.62
                                  1300 Community DriveSpringfieldIL62703 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200204       SUSAN BRACCO                                       Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $583,509.83
                                  1640 West MonroeSpringfieldIL62704                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200205       DANIEL L. BRACE                                    Deposits - 507(a)(6)                                                  5600-000                                         $84.64         $583,425.19
                                  717 Mandrake DriveBataviaIL60510                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200206       JACKIE H. BRACE                                    Deposits - 507(a)(6)                                                  5600-000                                        $347.41         $583,077.78
                                  42 Drakes LandingHamptonNH3842                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200207       HOLLY BRADY                                        Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $582,853.86
                                  3275 W White Canyon RdQueen                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CreekAZ85142                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200208       DOREEN BRANDENBERG                                 Deposits - 507(a)(6)                                                  5600-000                                        $139.42         $582,714.44
                                  10381 N. Grove RoadSycamoreIL60178                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200209       SERGE BRAULT                                       Deposits - 507(a)(6)                                                  5600-000                                         $42.45         $582,671.99
                                  510 4th StreetSt-Jean-Sur-                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RichelieuQuebec CityJ2X 3M6                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200210       BARBARA BRECHTING                                  Deposits - 507(a)(6)                                                  5600-000                                        $208.82         $582,463.17
                                  7908 Alpine Ave.SpartaMI49345                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200211       KEVIN BREEN                                        Deposits - 507(a)(6)                                                  5600-000                                        $281.54         $582,181.63
                                  30 Union StNorth AndoverMA1845                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200212       KATHLEEN M. BRENNAN                                Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $582,139.76
                                  3626 Charlotte StreetEriePA16508                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200213       KATRINA BRENNAN                                    Deposits - 507(a)(6)                                                  5600-000                                        $191.33         $581,948.43
                                  11660 Glenwood RoadEast                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ConcordNY14055                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200214       MARGARET BRENNAN                                   Deposits - 507(a)(6)                                                  5600-000                                         $88.19         $581,860.24
                                  3107 Carmie DriveEdgewaterFL32132                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200215       MARTIN BRENNAN                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $581,770.67
                                  13 Brookview Dr.PlattsburghNY12901        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200216       ROSEMARY BRENNAN-MITRANO                  Deposits - 507(a)(6)                                                  5600-000                                        $212.00         $581,558.67
                                  9 Dewey AveWoburnMA1801                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200217       DEBORAH BRESNAHAN                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $581,469.10
                                  5 Canterbury LaneAmherstMA1002            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200218       JOANNE BRETON                             Deposits - 507(a)(6)                                                  5600-000                                         $26.47         $581,442.63
                                  1030 Windmill Grove                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CircleOrlandoFL32828                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200219       CHRISTINE P. BREWER                       Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $581,389.63
                                  1455 Chelmsford Square                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SColumbusOH43229                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200220       MEGAN BREWER                              Deposits - 507(a)(6)                                                  5600-000                                        $116.92         $581,272.71
                                  335 Continental DriveLockportNY14094      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200221       SUSAN OR WINTHROP BRIGGS                  Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $581,227.93
                                  25551 Banff LanePunta GordaFL33983        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200222       KATHLEEN (KATHY) BROCKMILLER              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $581,138.36
                                  4795 Columbia Road                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  EastWebbervilleMI48892                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200223       JOANNE BROGIS                             Deposits - 507(a)(6)                                                  5600-000                                         $96.73         $581,041.63
                                  51 Devaux RoadTorringtonCT6790            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200224       JANAE BROOKENS                            Deposits - 507(a)(6)                                                  5600-000                                        $134.96         $580,906.67
                                  308 E. Michigan Ave.Three                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RiversMI49093                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200225       CHARLES BROOKS                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $580,817.10
                                  1783 Foxdale                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PlaceGlenburnieOntarioK0H1S0              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200226       JAMES BROOKS                              Deposits - 507(a)(6)                                                  5600-000                                        $291.23         $580,525.87
                                  72 Saddleback WayLake PlacidNY12946       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200227       JOEL I. BROOKS                                     Deposits - 507(a)(6)                                                  5600-000                                        $209.35         $580,316.52
                                  28 Ivywood DriveJacksonvilleIL62650                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200228       TIMOTHY BROOKS                                     Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $580,137.38
                                  1631 Cedardale DrBelvidereIL61008                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200229       THOMAS & PATRICIA BROSIUS                          Deposits - 507(a)(6)                                                  5600-000                                        $129.53         $580,007.85
                                  1108 Marcia DriveNorth                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200230       CHARLENE BROWN                                     Deposits - 507(a)(6)                                                  5600-000                                        $149.46         $579,858.39
                                  510 N 7th StreetAuburnIL62615                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200231       ELAINE BROWN                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $579,768.82
                                  985 Eastwood RdBeaver FallsPA15010                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200232       ERIK BROWN                                         Deposits - 507(a)(6)                                                  5600-000                                        $272.84         $579,495.98
                                  44 Catherine StreetBurlingtonVT5401                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200233       ITEKA BROWN                           Deposits - 507(a)(6)                                                               5600-000                                        $189.74         $579,306.24
                                  944 Crimson StreetMyrtle BeachSC29577 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200234       JACQUELINE BROWN                                   Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $579,171.89
                                  P.O. Box 514Saint Albans BayVT5481                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200235       JOYCE S. AND EUGENE C. BROWN                       Deposits - 507(a)(6)                                                  5600-000                                        $246.83         $578,925.06
                                  PO Box 71BarreMA1005                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200236       KAREN A. BROWN                                     Deposits - 507(a)(6)                                                  5600-000                                        $479.56         $578,445.50
                                  8391 US Rt 9ElizabethtownNY12932                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200237       KELLY BROWN                                        Deposits - 507(a)(6)                                                  5600-000                                         $31.80         $578,413.70
                                  18 Bairn WayP.O. Box 131Ray                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BrookNY12977                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200238       LISA BROWN                                         Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $578,371.83
                                  222 Meehan RdMaloneNY12953                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $2,154.04
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200239       LUCIE BROWN                                       Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $578,322.01
                                  4 Sullivan Ave.SalemNH3079                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200240       SHARON BROWN                                      Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $578,277.23
                                  299 N. Elm StreetEnglewoodFL34223                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200241       SUSAN BROWN                                       Deposits - 507(a)(6)                                                  5600-000                                         $43.72         $578,233.51
                                  P.O. Box 103, 125 Cudworth                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadWorthingtonMA1098                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200242       TRAVIS BROWN                                      Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $578,138.64
                                  193 Oak Hampton DriveMurrells                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200243       JEFFREY S. BROWNE                                 Deposits - 507(a)(6)                                                  5600-000                                        $179.94         $577,958.70
                                  PO Box 1617EnglewoodFL34295                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200244       BRIAN T. BRUMLEY                     Deposits - 507(a)(6)                                                               5600-000                                         $44.78         $577,913.92
                                  3599 Northcreek RunWheatfieldNY14120 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200245       MARGARET BRUMLEY                                  Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $577,788.31
                                  74 Mill StreetWestfieldMA1085                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200246       BRIAN BRUNELL                        Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $577,698.74
                                  53 West Main StreetWestminsterMA1473 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200247       EUGENE J. BRYDA                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $577,609.17
                                  7343 Bent Grass Dr.Winter                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HavenFL33884                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200248       ALAN BUCHANAN                                     Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $577,564.38
                                  28 Stanford RoadUnionvilleOntarioL3R              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  6M2                                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200249       TRACY BUCKLEY                                     Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $577,438.77
                                  1800 Gregory CourtSpringfieldIL62703              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200250       JESSICA BUCZKOWSKI                                Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $577,343.90
                                  6726 East Webster RdOrchard                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ParkNY14127                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200251       MIKE BUJAN                                Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $577,164.76
                                  424 Parott PlaceWoodstockONN4T IV4        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200252       BRIAN L. BUNDY                            Deposits - 507(a)(6)                                                  5600-000                                         $70.65         $577,094.11
                                  340 Sherman DriveBattle CreekMI49015      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200253       DONNA BURCZYNSKI                          Deposits - 507(a)(6)                                                  5600-000                                        $167.48         $576,926.63
                                  5032 Old Goodrich RdClarenceNY14031       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200254       KRISTI BURKE                              Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $576,876.81
                                  5225 Fern Hill RdBelvediereIL61008        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200255       ROBERT S. BURNETT                         Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $576,742.46
                                  1 Ionic AvenueWorcesterMA1608             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200256       ROBERT BURNETTI                           Deposits - 507(a)(6)                                                  5600-000                                        $137.00         $576,605.46
                                  620 Stony LaneNorth KingstownRI2852       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200257       JOHN AND LAURIE BURNS                     Deposits - 507(a)(6)                                                  5600-000                                        $243.80         $576,361.66
                                  60 Longkill RoadBallston LakeNY12019      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200258       MICHELE BURNS                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $576,272.09
                                  452 Tiburon Dr.Myrtle BeachSC29588        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200259       DEREK & KERRY BURRILL                     Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $576,172.45
                                  379 White Tail CircleSouthbridgeMA1550    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200260       STEPHANIE BURSELL                         Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $575,993.31
                                  34 Burdickville RoadBradfordRI2808        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200261       CHRISTOPHER K. BUSH                       Deposits - 507(a)(6)                                                  5600-000                                        $149.46         $575,843.85
                                  219 Warren RoadWarrendalePA15086          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200262       BRIAN C. BUSIER                           Deposits - 507(a)(6)                                                  5600-000                                        $358.28         $575,485.57
                                  10549 Rt. 116HinesburgVT5461              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200263       FRANCES BUSTIN                                     Deposits - 507(a)(6)                                                  5600-000                                        $104.93         $575,380.64
                                  PO Box 1024SterlingMA1564                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200264       KAREN J. BUTCHER                                   Deposits - 507(a)(6)                                                  5600-000                                         $81.96         $575,298.68
                                  3067 Big Neck Road NWAshNC28420                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200265       ELAINE & RICHARD CABRAL                Deposits - 507(a)(6)                                                              5600-000                                        $121.37         $575,177.31
                                  32 Wolf Hollow LaneKillingsworthCT6419 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200266       CYNTHIA CACCESE                                    Deposits - 507(a)(6)                                                  5600-000                                         $76.79         $575,100.52
                                  1 Willow Street #17LockportNY14094                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200267       BRENDA CAFORIA-WEEBER                              Deposits - 507(a)(6)                                                  5600-000                                        $205.64         $574,894.88
                                  PO Box 163Waterbury CenterVT5677                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200268       KIM ELLEN CAIN                                     Deposits - 507(a)(6)                                                  5600-000                                        $149.46         $574,745.42
                                  1927 W. Madison StreetKokomoIN46901                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200269       JEAN CALABRESE                                     Deposits - 507(a)(6)                                                  5600-000                                        $166.95         $574,578.47
                                  PO Box 461, 421-26th StreetNiagara                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FallsNY14304                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200270       THERESA CALABRESE-GRAY                             Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $574,475.65
                                  1241 Jersey Swamp                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadMorrisonvilleNY12962                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200271       KARIN G. CALDWELL                                  Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $574,386.08
                                  671 McMahon Dr.N. HuntingtonPA15642                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200272       DONALD D. CAMERON                                  Deposits - 507(a)(6)                                                  5600-000                                        $113.42         $574,272.66
                                  746 Roseheath DriveMiltonONL9T 4R4                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200273       ELLIS KELLY CAMERON                                Deposits - 507(a)(6)                                                  5600-000                                        $118.72         $574,153.94
                                  2159 Tanglewood RoadSumterSC29154                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200274       JOAN CAMP                            Deposits - 507(a)(6)                                                                5600-000                                        $364.79         $573,789.15
                                  661 Landon Hill RdChestertownNY12817 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,696.42
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


       1                2                                 3                                                                 4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200275       GRACE CAMPBELL                                      Deposits - 507(a)(6)                                                  5600-000                                         $55.11         $573,734.04
                                  421 Pompano TerracePunta                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33950                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200276       NICHOLE CAMPBELL                                    Deposits - 507(a)(6)                                                  5600-000                                        $107.48         $573,626.56
                                  202 West Dane StreetMount                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AuburnIL62547                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200277       SUSAN CAMPBELL                                      Deposits - 507(a)(6)                                                  5600-000                                         $45.79         $573,580.77
                                  5105 Ebner CtBethlehemPA18020                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200278       MICHAEL B. CANNON                                   Deposits - 507(a)(6)                                                  5600-000                                        $270.14         $573,310.63
                                  78 Idalla RoadWorcesterMA1606                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200279       LISA CANTARA                                        Deposits - 507(a)(6)                                                  5600-000                                         $79.66         $573,230.97
                                  447 Leicester StAuburnMA1501                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200280       JUSTUS J. CANTO                                     Deposits - 507(a)(6)                                                  5600-000                                         $23.98         $573,206.99
                                  23 Mabel Canto WayHarwichMA2645                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200281       MICHELLE C. CANTO                                   Deposits - 507(a)(6)                                                  5600-000                                        $143.63         $573,063.36
                                  23 Mabel Canto WayHarwidhMA2645                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200282       PAUL CANUEL                             Deposits - 507(a)(6)                                                              5600-000                                        $102.80         $572,960.56
                                  375 Elsbree St, Apt 214Fall RiverMA2720 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200283       BRIAN CAPAN                                         Deposits - 507(a)(6)                                                  5600-000                                         $91.69         $572,868.87
                                  2163 15th St SWAkronOH44314                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200284       MICHAEL CARAMICO                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $572,779.30
                                  2 Balfour LaneScotch PlainsNJ7076                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200285       JOHN CAREY                                          Deposits - 507(a)(6)                                                  5600-000                                        $398.03         $572,381.27
                                  14 IsabelleAuburnIL62615                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200286       JUDYANN CARIBO                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.56         $572,291.71
                                  4552 SE Murray Cove                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CircleStuartFL34997                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                  Page Subtotals:                                                                        $0.00           $1,497.44
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200287       SHEMARIAH CARLISLE                                Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $572,244.28
                                  12 Gibson AveHudson FallsNY12839                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200288       DANIEL AND JOAN CARLSON                           Deposits - 507(a)(6)                                                  5600-000                                        $256.78         $571,987.50
                                  38 Bridle Cross RdFitchburgMA1420                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200289       JACOB CARLSON                        Deposits - 507(a)(6)                                                               5600-000                                        $125.61         $571,861.89
                                  714 Broadway BlvdSteubenvilleOH43952 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200290       JANICE CARLSON                                    Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $571,808.89
                                  860 Remington DriveNorth                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200291       KAREN C. CARLSON                                  Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $571,764.10
                                  3415 Bridgefield DriveLakelandFL33803-            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  5914                                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200292       MICHAEL CARLSON                                   Deposits - 507(a)(6)                                                  5600-000                                        $142.30         $571,621.80
                                  2340 Tall Oak CourtSarasotaFL34232                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200293       RICHARD CARLSON                     Deposits - 507(a)(6)                                                                5600-000                                        $208.29         $571,413.51
                                  409 Lowden Point RdRochesterNY14612 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200294       JANICE E. CARNRIGHT                               Deposits - 507(a)(6)                                                  5600-000                                        $168.30         $571,245.21
                                  27 Seneca DrivePlattsburghNY12901                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200295       DAN CARON                                         Deposits - 507(a)(6)                                                  5600-000                                         $30.21         $571,215.00
                                  5831 Genoa Farms                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BlvdWestervilleOH43082                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200296       PATRICIA CARON                                    Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $571,080.65
                                  1142 Field StreetNew Smyra                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachFL32168                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200297       JESSICA CARPENTER                                 Deposits - 507(a)(6)                                                  5600-000                                         $47.44         $571,033.21
                                  575 Barry RoadFairfieldVT5455                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200298       STAR M. CARPENTER                                 Deposits - 507(a)(6)                                                  5600-000                                        $131.70         $570,901.51
                                  6279 Leskard RdOronoOntarioL0B 1M0                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00           $1,390.20
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200299       THOMAS CARR                        Deposits - 507(a)(6)                                                                 5600-000                                        $223.93         $570,677.58
                                  1691 West D AvenueKalamazooMI49009 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200300       PATRICIA CARROLL                                  Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $570,498.44
                                  709 Mapledale Ave.UticaNY13502                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200301       TARA CARRUTHERS                      Deposits - 507(a)(6)                                                               5600-000                                        $146.41         $570,352.03
                                  2357 Emerson DriveBurlingtonONL7L7E7 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200302       BETHANY CARTER                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $570,262.46
                                  3815 18th St WLehigh AcresFL33971                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200303       MARGARET CARTER                                   Deposits - 507(a)(6)                                                  5600-000                                        $598.12         $569,664.34
                                  322 County Route                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  35ChateaugayNY12920                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200304       PAMELA CARTER                                     Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $569,569.47
                                  123 Mathews Ave.AshlandOH44805                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200305       MICHELLE C. CARUSO                                Deposits - 507(a)(6)                                                  5600-000                                        $108.60         $569,460.87
                                  18 Coburn AvenueWorcesterMA1604                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200306       PATRICIA S. CARVILL                               Deposits - 507(a)(6)                                                  5600-000                                         $12.98         $569,447.89
                                  430 County Route 40MassenaNY13662                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200307       ABBY CASE                                         Deposits - 507(a)(6)                                                  5600-000                                         $83.45         $569,364.44
                                  7 Joseph StreetSaratoga                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsNY12866                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200308       STANLEY CASE                                      Deposits - 507(a)(6)                                                  5600-000                                         $50.32         $569,314.12
                                  209 Pine AvenuePlattsburghNY12901                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200309       SUSAN CASEY                                       Deposits - 507(a)(6)                                                  5600-000                                        $128.60         $569,185.52
                                  5 Brigham Hill Rd., Apt 5P.O. Box                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  16GraftonMA1519                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200310       CHARLENE CASSAVANT                                Deposits - 507(a)(6)                                                  5600-000                                         $74.73         $569,110.79
                                  12 Council GroveW BrookfieldMA1585                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200311       ALFRED AND JOANNE CASTAGNA                          Deposits - 507(a)(6)                                                  5600-000                                        $358.28         $568,752.51
                                  96 Ryerson RoadWarwickNY10990                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200312       KENNETH CASTLE                                      Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $568,646.51
                                  74258 Homestead Heights                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveZurichONN0M2T0                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200313       TERESA CASWELL                                      Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $568,601.73
                                  434 Coolidge AveKalamazooMI49006                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200314       GAIL M. CAUGER                          Deposits - 507(a)(6)                                                              5600-000                                        $138.01         $568,463.72
                                  60 Pleasant StreetNorth AttleboroMA2760 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200315       ROBERT E. CAVANAUGH                                 Deposits - 507(a)(6)                                                  5600-000                                         $80.56         $568,383.16
                                  641-1 Military Turnpike                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Ext.PlattsburghNY12901                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200316       DAVID CAWLEY                                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $568,293.59
                                  6 Hazel DellSpringfieldIL62712                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200317       EVAN W. CEBULA                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $568,204.02
                                  910 Sultana DriveLittle RiverSC29566                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200318       JAMES P. CECCHINI                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $568,114.45
                                  3868 Darlene RoadMiddleburgFL32068                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200319       DELORES A. CEKOLA                                   Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $567,980.10
                                  2900 Callender Ct.KalamazooMI49008-                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2326                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200320       FRANCIS A. CEPLENSKI                                Deposits - 507(a)(6)                                                  5600-000                                        $262.35         $567,717.75
                                  47 Ainsworth Hill RoadWalesMA1081                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200321       REV. GERALD CERANK                                  Deposits - 507(a)(6)                                                  5600-000                                         $57.22         $567,660.53
                                  PO BOX 272MooersNY12958                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200322       ALICE T. CHAKUROFF                                  Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $567,554.53
                                  6 Church StreetGreenvilleRI2828                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                  Page Subtotals:                                                                        $0.00           $1,556.26
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                                        Case 12-40944                 Doc 740   Filed 08/06/19
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200323       DEBORAH CHALLANS                          Deposits - 507(a)(6)                                                  5600-000                                        $179.26         $567,375.27
                                  1364 Spitler Park Dr.Mt. ZionIL62549      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200324       JENNIFER CHAMBERLAIN                      Deposits - 507(a)(6)                                                  5600-000                                        $212.00         $567,163.27
                                  4339 Huntinghorne                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveJanesvilleWI53546                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200325       TINA CHAMBERS                             Deposits - 507(a)(6)                                                  5600-004                                        $102.82         $567,060.45
                                  71470 Shannon DriveMartins                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FerryOH43935                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200326       HELEN CHANDLER                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $566,970.88
                                  19 Pistachio Loop #EMurrells              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200327       MICHAEL CHAPMAN                           Deposits - 507(a)(6)                                                  5600-000                                         $64.86         $566,906.02
                                  2284 Ashley River Road, Apt. 1019-        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DCharlestonSC29414                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200328       AMY CHARRON                               Deposits - 507(a)(6)                                                  5600-000                                         $44.52         $566,861.50
                                  1756 Emerald Cove CircleCape              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CoralFL33991                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200329       LILLIAN CHARTIER                          Deposits - 507(a)(6)                                                  5600-000                                         $42.13         $566,819.37
                                  19C Howe VillageSpencerMA1562             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200330       PENNY CHRUSCIEL                           Deposits - 507(a)(6)                                                  5600-000                                        $146.11         $566,673.26
                                  PO Box 434TempletonMA1468                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200331       GLADYS AND PETER CHUNG                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $566,494.12
                                  30 Johnson                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CrescentGeorgetownOntarioL7G 6C9          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200332       STEPHEN AND CHARLENE CHURCH               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $566,404.55
                                  19 Hilltop Farm RoadAuburnMA1501          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200333       THERESA CHURCHILL                         Deposits - 507(a)(6)                                                  5600-000                                         $91.69         $566,312.86
                                  416 Bice StreetRivertonIL62561            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200334       CHRISTIAN J. CIESLUK                      Deposits - 507(a)(6)                                                  5600-000                                        $139.12         $566,173.74
                                  34 First StreetBrimfieldMA1010            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200335       ROBERT A. CILLO                                   Deposits - 507(a)(6)                                                  5600-000                                        $129.61         $566,044.13
                                  1213 Harris AvenuePittsburghPA1505                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200336       ANGELA CIOLINO                                    Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $565,854.39
                                  9 Morton PlaceGloucesterMA1930                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200337       CRAIG CIRBUS                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $565,764.82
                                  102 Woodshire SouthGetzvilleNY14068               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200338       M. KATHLEEN CIRINA                 Deposits - 507(a)(6)                                                                 5600-000                                         $26.50         $565,738.32
                                  PO Box 108Gleenwood LandingNY11547 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200339       JANIS CLAPPER                                     Deposits - 507(a)(6)                                                  5600-000                                        $291.61         $565,446.71
                                  PO Box 4282CopleyOH44231                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200340       LETTA CLARK                         Deposits - 507(a)(6)                                                                5600-000                                         $89.57         $565,357.14
                                  RR1 (Route 1) Box 224PKeyserWV26726 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200341       TIMOTHY CLARKE                                    Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $565,315.27
                                  333 N. Orange AvenueSarasotaFL34236               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200342       TIMOTHY CLAUSS                                    Deposits - 507(a)(6)                                                  5600-000                                        $156.55         $565,158.72
                                  16766 BridlepathSpring LakeMI49456                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200343       DARRELL FRANKLIN CLAY                             Deposits - 507(a)(6)                                                  5600-000                                        $339.99         $564,818.73
                                  7774 St. Andrews CirclePortageMI49024             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200344       ESTHER CAROL CLEMENS                 Deposits - 507(a)(6)                                                               5600-000                                         $83.74         $564,734.99
                                  405 Chestnut St.New BethlehemPA16242 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200345       BOBBY CLEVELAND                                   Deposits - 507(a)(6)                                                  5600-000                                         $56.03         $564,678.96
                                  2121 Hwy 2DonnellsonIA52625                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200346       DIANE CLIM                                        Deposits - 507(a)(6)                                                  5600-000                                         $73.21         $564,605.75
                                  17328 Young AvePort CharlotteFL33948              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                   Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                              Bank Name: Union Bank
                                                                                                                                       Account Number/CD#: XXXXXX3464
                                                                                                                                                                 Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                    Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                   Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                   Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                              Code                                                           ($)
   01/15/14          200347       SHARON AND SHAWN CLOW                           Deposits - 507(a)(6)                                                  5600-000                                         $80.98         $564,524.77
                                  305 Browns River RoadEssex                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  JunctionVT5452                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200348       RACHEL D. COFFIN                                Deposits - 507(a)(6)                                                  5600-000                                        $100.14         $564,424.63
                                  8 Westcott RoadHarvardMA1451                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200349       RHODA COKEE                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $564,335.06
                                  16 Loma VerdeLakelandFL33813                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200350       AARON COLLINS                                   Deposits - 507(a)(6)                                                  5600-000                                        $115.54         $564,219.52
                                  45 Providence Rd #3GraftonMA1519                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200351       ANNE H. COLLINS                                 Deposits - 507(a)(6)                                                  5600-000                                        $147.60         $564,071.92
                                  402 Cardiff RoadVeniceFL34293                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200352       CAROLYN COLLINS                                 Deposits - 507(a)(6)                                                  5600-000                                        $125.05         $563,946.87
                                  52060 Timmer LaneMattawanMI49071                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200353       MELISSA COMEAU                                  Deposits - 507(a)(6)                                                  5600-000                                        $146.44         $563,800.43
                                  0 Benson RdHopkintonMA1748                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200354       CAROL COMFORT                                   Deposits - 507(a)(6)                                                  5600-000                                         $75.63         $563,724.80
                                  25 Lakewood Vlg.MedinaNY14103                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200355       JOHN M. CONKLIN                                 Deposits - 507(a)(6)                                                  5600-000                                        $199.02         $563,525.78
                                  Robins Kaplan Miller & Ciresi, LLP711           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Fifth Avenue South, Ste                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  201NaplesFL34102
   01/15/14          200356       PAULA CONLOGUE                    Deposits - 507(a)(6)                                                                5600-000                                        $277.45         $563,248.33
                                  1189 Hickman Rd NWCalabashNC28467 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200357       DEBRA CONNOLLY                                  Deposits - 507(a)(6)                                                  5600-000                                         $50.35         $563,197.98
                                  2133 Ashland RoadMcBeeSC29101                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200358       JANET E. CONNORS                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $563,108.41
                                  8942 East O AveKalamazooMI49048                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,


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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200359       DONALD J. CONRAD                          Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $562,974.06
                                  22 Pine StreetWaylandNY14572              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200360       DONNA CONWAY                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $562,884.49
                                  4949 Hellert RoadMedinaNY14103            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200361       REBECCA COOK                              Deposits - 507(a)(6)                                                  5600-000                                         $26.50         $562,857.99
                                  PO BOX 453Saranac LakeNY12983             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200362       CHRISTINE R. & JAMES A. COOPER            Deposits - 507(a)(6)                                                  5600-000                                        $132.66         $562,725.33
                                  2180 Shadyside RoadP.O. Box               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  203Findley LakeNY14736                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200363       CHRISTOPHER T. COOPER                     Deposits - 507(a)(6)                                                  5600-000                                         $70.11         $562,655.22
                                  5838 Shawnee RoadSanbornNY14132           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200364       RONALD COOPER                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $562,565.65
                                  3955 Marsh Hen Dr.                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SWShallotteNC28470                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200365       SONYA K. COOVER                           Deposits - 507(a)(6)                                                  5600-000                                        $119.09         $562,446.56
                                  1315 S. Main St.FindlayOH45840            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200366       MAJORIE COPE                              Deposits - 507(a)(6)                                                  5600-000                                         $83.42         $562,363.14
                                  143 Village CourtColumbianaOH44408        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200367       LINDA COPEN                               Deposits - 507(a)(6)                                                  5600-000                                        $142.30         $562,220.84
                                  11451 Holshoe RdHomervilleOH44235         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200368       PHILIP COPPERNOLL                         Deposits - 507(a)(6)                                                  5600-000                                        $138.86         $562,081.98
                                  3311 Terrace View CourtMillstadtIL62260   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200369       GREG CORBIN                               Deposits - 507(a)(6)                                                  5600-000                                        $151.68         $561,930.30
                                  6329 Sedgeford Dr.LakelandFL33811         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200370       PAUL S. CORDES                            Deposits - 507(a)(6)                                                  5600-000                                         $13.25         $561,917.05
                                  2610 Chesire Dr.AuroraIL60504             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200371       RYAN CORNMAN                              Deposits - 507(a)(6)                                                  5600-000                                        $251.42         $561,665.63
                                  4107 Wildcat Rd.Lower BurrellPA15068      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200372       MICHELLE CORRELL                          Deposits - 507(a)(6)                                                  5600-000                                        $263.67         $561,401.96
                                  PO Box 161GlenfordOH43739                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200373       DAVE CORSI                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $561,312.39
                                  45 Hampstead DriveWebsterNY14580          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200374       TAMMY L. COSTELLO                         Deposits - 507(a)(6)                                                  5600-000                                        $112.39         $561,200.00
                                  532 Cottage Oaks CircleMyrtle             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29579                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200375       DENISE COTE                               Deposits - 507(a)(6)                                                  5600-000                                        $220.27         $560,979.73
                                  Po Box 1212ChesterVT5143                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200376       NATALIE COTTAGE                           Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $560,854.12
                                  101 Unionville RdFreedomPA15042           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200377       DAWN A. COTTONE                           Deposits - 507(a)(6)                                                  5600-000                                        $184.44         $560,669.68
                                  319 Fairlawn DriveTorringtonCT6790        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200378       ELLEN E. COULTER                          Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $560,445.76
                                  1336 NE 1st TerraceCape CoralFL33909      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200379       LEAH J. COULTES                           Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $560,339.76
                                  1104 Fort RoadBenton HarborMI49022        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200380       LUCIE COURSHESNE                          Deposits - 507(a)(6)                                                  5600-000                                        $144.52         $560,195.24
                                  2264 Ave GirouardMontreal,                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  QuebecH4A3C3                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200381       RONALD J. COURNOYER                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $560,105.67
                                  24 Ridgewood RoadWorcesterMA1606          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200382       DEBORAH COURTENAY                         Deposits - 507(a)(6)                                                  5600-000                                        $136.21         $559,969.46
                                  1265 Allard St.MontrealQuebecH4H 2C9      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,947.59
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200383       PATRICE COUSINEAU                    Deposits - 507(a)(6)                                                               5600-000                                        $561.37         $559,408.09
                                  1796 Ste-Anne RoadL'originalONK0B1K0 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200384       BRADLEY COX                                       Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $559,273.74
                                  1113 West 2nd St.ByronIL61010                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200385       CAROL COX                                         Deposits - 507(a)(6)                                                  5600-000                                         $22.40         $559,251.34
                                  2803 Bridgeside Dr.                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SECaledoniaMI49316                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200386       CHERYL M. COX                                     Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $559,198.34
                                  2110 E Lake RoadSkaneatelesNY13152                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200387       SUSAN CRANDALL                                    Deposits - 507(a)(6)                                                  5600-000                                        $192.39         $559,005.95
                                  6837 Pin Oak DriveBostonNY14025                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200388       STEPHEN AND CHARLENE CRAVEN                       Deposits - 507(a)(6)                                                  5600-000                                        $212.42         $558,793.53
                                  2319 Barre Rd.PO Box                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  224WheelwrightMA1094                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200389       KATHRYN CREMONE                                   Deposits - 507(a)(6)                                                  5600-000                                         $43.72         $558,749.81
                                  10 Rafferty RoadStonehamMA2180                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200390       NICOLE CREVIER                                    Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $558,710.06
                                  7085 Dunn StreetNiagara                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FallsOntarioL2G 2R6                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200391       MARY BETH CRICHTON                                Deposits - 507(a)(6)                                                  5600-000                                        $105.25         $558,604.81
                                  701 Jones RoadRaylandOH43943                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200392       DEBRA A. CRIDDLE                                  Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $558,562.94
                                  PO Box 889BlufftonSC29910                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200393       JOSEPH M. CRISHAM                                 Deposits - 507(a)(6)                                                  5600-000                                        $442.55         $558,120.39
                                  223 East Boyd StreetDixonIL61021                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200394       LINDSEY CRISS                                     Deposits - 507(a)(6)                                                  5600-000                                         $50.69         $558,069.70
                                  805 Peoria StreetPeruIL61354                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200395       SUSAN CRNIC                                         Deposits - 507(a)(6)                                                  5600-000                                        $242.74         $557,826.96
                                  28 Bywood CrescentStoney                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CreekOntarioL8J 168                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200396       JOAN CRONEN                                         Deposits - 507(a)(6)                                                  5600-000                                        $254.40         $557,572.56
                                  344 Lincoln AveRosetoPA18013                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200397       MARILYN D. CROSBY                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $557,482.99
                                  4504 Sweetwater Blvd.Murrells                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200398       DONALD CROTEAU                                      Deposits - 507(a)(6)                                                  5600-000                                        $140.99         $557,342.00
                                  67 Flaxfield RdDudleyMA1571                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200399       MARY CROTEAU                                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $557,252.43
                                  181 Smith StreetGardnerMA1440                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200400       MARY JO CRUTHERS                                    Deposits - 507(a)(6)                                                  5600-000                                         $78.60         $557,173.83
                                  P.O. Box 403228 Lake                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadAshburnhamMA1430                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200401       PAMELA CUFFLE                                       Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $557,131.96
                                  416 Dogwood CourtRivertonIL62561                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200402       EDWARD CUNNIFF                                      Deposits - 507(a)(6)                                                  5600-000                                        $485.69         $556,646.27
                                  190 East Squantum St.QuincyMA2171                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200403       WALTER CUNNINGHAM                                   Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $556,422.35
                                  74 Nicholas Drive                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  NorthTonawandaNY14150                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200404       TIFFANY & WAYNE CURRIE                              Deposits - 507(a)(6)                                                  5600-000                                        $179.35         $556,243.00
                                  14 Eastern AveHaverhillMA1830                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200405       MARY CURTIS                             Deposits - 507(a)(6)                                                              5600-000                                         $44.78         $556,198.22
                                  742 Pirates Rest Rd.N. Ft. MyersFL33917 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200406       NANCY-LEE CUSTARD                                   Deposits - 507(a)(6)                                                  5600-000                                        $575.36         $555,622.86
                                  5852 Flamingo RoadConwaySC29526                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                  Page Subtotals:                                                                        $0.00           $2,446.84
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          200407       MARY M. CUTLER                                   Deposits - 507(a)(6)                                                  5600-000                                         $84.80         $555,538.06
                                  1837 Knights Bridge TrailPort                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33980                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200408       NICHOLAS CUTRIGHT                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $555,448.49
                                  940 Route 20 South                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadBuckhannonWV26201                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200409       MIKE CUTRONI                                     Deposits - 507(a)(6)                                                  5600-000                                        $120.36         $555,328.13
                                  10 Greenville St.SpencerMA1562                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200410       CARRIE CZUNAS                                    Deposits - 507(a)(6)                                                  5600-000                                        $161.70         $555,166.43
                                  148 N Highland Ave.Winter                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GardenFL34787                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200411       MARGARET DA COSTA                                Deposits - 507(a)(6)                                                  5600-000                                        $167.48         $554,998.95
                                  84 Ferncroft DriveKeswickOntarioL4P              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  4G7                                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200412       CRYSTAL DAIGE                                    Deposits - 507(a)(6)                                                  5600-000                                        $104.68         $554,894.27
                                  7 Pine Ave.Cherry ValleyMA1611                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200413       JAMES S. DALY                                    Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $554,759.92
                                  471 Overlook DriveWintersvilleOH43953            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200414       HEATHER DANIEL                                   Deposits - 507(a)(6)                                                  5600-004                                         $99.64         $554,660.28
                                  1215 E. Oak StreetSpringfieldIL62703             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200415       LEONARDO DASILVA                                 Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $554,525.93
                                  8 Hapgood RoadWorcesterMA1605                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200416       PATRICIA DAUMIT                     Deposits - 507(a)(6)                                                               5600-000                                         $83.37         $554,442.56
                                  109 German StreetWest NewtonPA15089 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200417       ISABELLE DAUPHIN                                 Deposits - 507(a)(6)                                                  5600-000                                        $162.90         $554,279.66
                                  7856 Avenue de GaspeMontreal                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  (Quebec)CANADAH2R 2A4                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200418       GARY DAVID                                       Deposits - 507(a)(6)                                                  5600-000                                        $109.97         $554,169.69
                                  122 Pheasant Run DriveMurrells                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


       1                2                                3                                                               4                                                       5                   6                     7

Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          200419       NICHOLAS S. DAVIES                               Deposits - 507(a)(6)                                                  5600-000                                        $141.78         $554,027.91
                                  PO Box 485MorrisonvilleNY12962                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200420       JANET DAVIS                                      Deposits - 507(a)(6)                                                  5600-000                                        $155.97         $553,871.94
                                  2608 Arlington DriveSpringfieldIL62704           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200421       JERRIE L. DAVIS                                  Deposits - 507(a)(6)                                                  5600-000                                         $13.24         $553,858.70
                                  248 South 21st StreetBattle                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CreekMI49015                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200422       WANDA DAVIS                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $553,769.13
                                  615 Sierra MadreNorth Fort                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33903                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200423       CHRISTINE AND MICHAEL DE JOHG                    Deposits - 507(a)(6)                                                  5600-000                                        $179.15         $553,589.98
                                  1317 Hazelton BlvdBurlington,                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  OntarioL7P4V5                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200424       CHERYL A. DEBOER                                 Deposits - 507(a)(6)                                                  5600-004                                         $53.00         $553,536.98
                                  1870 S. 8th StreetKalamazooMI49009               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200425       ROBERT P. DECARO                                 Deposits - 507(a)(6)                                                  5600-000                                        $180.19         $553,356.79
                                  4 Pinehurst CircleMillburyMA1527                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200426       ANTHONY J. DECILLIS                              Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $553,222.44
                                  47 Shelby StreetWorcesterMA1605                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200427       DEBRA A. DEDOMING                                Deposits - 507(a)(6)                                                  5600-000                                         $47.70         $553,174.74
                                  99 Cross St.BoylstonMA1505                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200428       JOEL AND LINDA DEFRATES                          Deposits - 507(a)(6)                                                  5600-000                                        $170.54         $553,004.20
                                  7308 Spruce StreetManitoIL61546                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200429       DANIEL DEGRAW                       Deposits - 507(a)(6)                                                               5600-000                                         $44.79         $552,959.41
                                  830 Parchmount Ave.ParchmentMI49004 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200430       CAROL DEHAAN-GEROULD                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $552,869.84
                                  24066 Red Robin DriveBonita                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsFL34135                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200431       ANGLIQUE DEHOYOS                                   Deposits - 507(a)(6)                                                  5600-000                                        $251.22         $552,618.62
                                  238 Maplest, Apt. F6AgawamMA1001                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200432       HELEN L. DEIKE                                     Deposits - 507(a)(6)                                                  5600-000                                         $30.40         $552,588.22
                                  459 Harrington RoadDeltonMI49046                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200433       WILLIAM DEIL                                       Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $552,543.44
                                  119 Bonisee CircleLakelandFL33801                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200434       MICHAEL DEL GAIZO                                  Deposits - 507(a)(6)                                                  5600-000                                         $79.50         $552,463.94
                                  2137 Heritage LoopMyrtle                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29577                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200435       JEFFREY M. DELISIO                                 Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $552,422.07
                                  148 Olde Towne Way, Unit 6Myrtle                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29588                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200436       ASHLEY DELVAL                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $552,332.50
                                  350 Misty Breeze LaneMurrells                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200437       STEVEN DEMBRO                                      Deposits - 507(a)(6)                                                  5600-000                                         $21.07         $552,311.43
                                  7 Pinewood DriveWest BoylstonMA1583                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200438       STEPHEN DEMEULE                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $552,221.86
                                  30064 Oak RdPunta GordaFL33982                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200439       LINDA DEMKOSKI                        Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $552,132.29
                                  724 Old Union TurnpikeLancasterMA1523 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200440       KIM DERIAZ                                         Deposits - 507(a)(6)                                                  5600-000                                        $243.72         $551,888.57
                                  3011 S. Browns Lake                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Dr.BurlingtonWI53105                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200441       SONDRA DEROSIER                                    Deposits - 507(a)(6)                                                  5600-000                                        $272.25         $551,616.32
                                  56 Worcester RoadCharltonMA1507                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200442       JAMES DESANTIS                                     Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $551,571.54
                                  7375 Schefflera StPunta GordaFL33955               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200443       RAYMONDE DESAULNIERS                               Deposits - 507(a)(6)                                                  5600-000                                        $210.02         $551,361.52
                                  29 Des TilleulsSt-Jean-Sur-                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RichelieuQuebecJ2W1B4                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200444       DIANE DESBIENS                                     Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $551,308.52
                                  1075 Jeary StreetGreenfield                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ParkQuebecJ4V 3B5                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200445       ELIZABETH DESBIENS                                 Deposits - 507(a)(6)                                                  5600-000                                        $150.63         $551,157.89
                                  32 Valencia LaneClifton ParkNY12065                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200446       MARY DESMOND                                       Deposits - 507(a)(6)                                                  5600-000                                         $58.03         $551,099.86
                                  2100 Kings Hwy - Lot 562Punta                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33980                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200447       TRACEY DESMOND                                     Deposits - 507(a)(6)                                                  5600-000                                         $98.16         $551,001.70
                                  25 Columbus Rd.MarshfieldMA2050                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200448       DAVID DESORCIE                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $550,912.13
                                  PO Box 97HighgateVT5459                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200449       DARRELEN J. DETWILER                               Deposits - 507(a)(6)                                                  5600-000                                        $140.98         $550,771.15
                                  11433 South 32nd                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetVicksburgMI49097                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200450       NICOLE DEVANTIER                                   Deposits - 507(a)(6)                                                  5600-000                                         $54.25         $550,716.90
                                  357 Falconer StNorth                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200451       LINDA DEVENS                                       Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $550,537.76
                                  1 Center DrPaxtonMA1612                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200452       GARY DEVOE                             Deposits - 507(a)(6)                                                              5600-000                                         $65.98         $550,471.78
                                  1226 Twitchell Hill Rd.New HavenVT5472 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200453       JOHN & ELIZABETH DEVRIES                           Deposits - 507(a)(6)                                                  5600-000                                        $233.20         $550,238.58
                                  12248 Rae Ann Rd.RoscoeIL61073                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200454       NAOMI DIAZ                            Deposits - 507(a)(6)                                                               5600-000                                         $83.74         $550,154.84
                                  274 Highland Parkway #4BuffaloNY14223 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,416.70
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200455       DOROTHY DEBARTOLOMEO                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $550,065.27
                                  10986 Rt 235Beaver SpringsPA17812                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200456       DEAN M. DIBLEY                                    Deposits - 507(a)(6)                                                  5600-000                                        $113.73         $549,951.54
                                  4045 Culver RoadAlbionNY14411                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200457       PATRICIA A. DICKEY                                Deposits - 507(a)(6)                                                  5600-000                                         $15.90         $549,935.64
                                  2748 Bainbridge                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AveYoungstownOH44511                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200458       JEFFREY DIEGELMAN                                 Deposits - 507(a)(6)                                                  5600-004                                         $89.57         $549,846.07
                                  PO Box 184BowmansvilleNY14026                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200459       WILLIAM C. & SHERRILL D. DIEHL                    Deposits - 507(a)(6)                                                  5600-000                                         $72.98         $549,773.09
                                  25189 Aqua Dr.ElkhartIN46514                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200460       BETSY V. DIETZ                                    Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $549,728.31
                                  3710 Fairway PlaceRockfordIL61107                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200461       JOE DIFRANCISCO                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $549,638.74
                                  81 Oakhill DriveHamburgNY14075                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200462       ALICE DILLMAN                        Deposits - 507(a)(6)                                                               5600-000                                        $169.12         $549,469.62
                                  404 Roland CourtCottage GroveWI53527 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200463       SYLVIA DILLON                        Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $549,380.05
                                  108 Millwater LaneGoose CreekSC29445 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200464       LORI DIMILLO                                      Deposits - 507(a)(6)                                                  5600-000                                         $93.87         $549,286.18
                                  8 Old Post RoadOrchard ParkNY14127                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200465       RAYMOND DION                                      Deposits - 507(a)(6)                                                  5600-000                                        $128.25         $549,157.93
                                  3 Katie LaneEnfieldCT6082                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200466       CINDA DIRLAM                                      Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $549,110.50
                                  24 Dirlam Blvd.HonesdalePA18431                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200467       CELESTE DISTEFANO                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.49         $549,021.01
                                  79 Wood Acres DriveEast                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AmherstNY14051                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200468       NICHOLAS M. DOE                     Deposits - 507(a)(6)                                                                5600-000                                         $94.87         $548,926.14
                                  11 County Route 28OgdensburgNY13669 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200469       CHERYL DOEPP                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $548,836.57
                                  144 Sunrise TerraceWest                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SenecaNY14224                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200470       CHRISTINE Z. DOLLINGER                            Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $548,741.70
                                  27263 Adams St.Punta GordaFL33983                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200471       ELAINE & ROBERT DOMINGUEZ                         Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $548,607.34
                                  1342 95th StNiagara FallsNY14304                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200472       DONALD AND VIRGINIA TOY              Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $548,517.77
                                  317 E Blackbeard RdWilmingtonNC28409 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200473       ELIZABETH DONLAN                                  Deposits - 507(a)(6)                                                  5600-000                                         $50.08         $548,467.69
                                  8 Wentworth RdCantonMA2021                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200474       MARY ELLEN DONNELLY                               Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $548,414.69
                                  75 Huntleigh CircleAmherstNY14226                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200475       BONNIE L. DONOHUE                                 Deposits - 507(a)(6)                                                  5600-000                                         $58.02         $548,356.67
                                  139 Suburban CourtWest                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SenecaNY14224                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200476       DON DOOLEY                                        Deposits - 507(a)(6)                                                  5600-000                                        $132.34         $548,224.33
                                  535 Grand AvenuePawtucketRI2861                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200477       LORI DOPPMAN                                      Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $548,034.59
                                  377 Ryan RoadFlorenceMA1062                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200478       BARBARA DORMAN                                    Deposits - 507(a)(6)                                                  5600-000                                         $79.50         $547,955.09
                                  1413 Havens DriveNorth Myrtle                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29582                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200479       JAMES H. DOTSON                           Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $547,913.22
                                  301 Union Dr.LakelandFL33805              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200480       KIMBERLY DOTY                             Deposits - 507(a)(6)                                                  5600-000                                        $105.47         $547,807.75
                                  100 N. Griffin, #4P.O. Box 453Grant       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ParkIL60940                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200481       DONALD DOUBLEDAY                          Deposits - 507(a)(6)                                                  5600-000                                        $230.60         $547,577.15
                                  185 Heineberg Dr.ColchesterVT5446         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200482       KATHLEEN DOWD                             Deposits - 507(a)(6)                                                  5600-004                                        $134.36         $547,442.79
                                  2 Hefferon RdWilbrahamMA1095              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200483       DIANA DOWDALL                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $547,353.22
                                  1411 Eggert RdAmherstNY14226              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200484       LINDA DOWLING                             Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $547,269.48
                                  137 Capri DrivePalmettoFL34221            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200485       THERESA A. DRAKE                          Deposits - 507(a)(6)                                                  5600-000                                        $138.17         $547,131.31
                                  1 Hiland RoadCharltonMA1507               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200486       NYSHA DRENNAN                             Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $546,952.17
                                  1312 W. Lake Shore                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveSpringfieldIL62712                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200487       CHARLES DRESSEL                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $546,862.60
                                  224 NW 12th LaneCape CoralFL33993         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200488       VALERIE JONES DREW                        Deposits - 507(a)(6)                                                  5600-000                                        $213.03         $546,649.57
                                  11 Bronte Road #904OakvilleONL6L0E1       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200489       CAROL & TIM DRUMMER                       Deposits - 507(a)(6)                                                  5600-000                                        $108.54         $546,541.03
                                  213 Andrew DriveMcCombOH45858             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200490       ROSEMARY DUBAJ                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $546,361.89
                                  1920 Sequoya Dr.YoungstownOH44514         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,593.20
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200491       MATTHEW DUDEK                             Deposits - 507(a)(6)                                                  5600-000                                        $231.08         $546,130.81
                                  P.O. Box 130520 Springfield               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Rd.BelchertownMA1007                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200492       NANCY DUDEK                               Deposits - 507(a)(6)                                                  5600-000                                         $75.84         $546,054.97
                                  3958 Grant Ave.HamburgNY14075-2923        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200493       DONNA DUFFIELD                            Deposits - 507(a)(6)                                                  5600-000                                         $37.89         $546,017.08
                                  7210 Little Paw Paw Lake                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RdColomaMI49038                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200494       RICHARD B. DUFFY                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $545,927.51
                                  68 Anderson AvenueWorcesterMA1604         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200495       DAVID DUGAN                               Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $545,748.37
                                  6286-4 Old Lakeshore                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Rd.LakeviewNY14085                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200496       MR. & MRS. WILLIAM DUGAN JR.              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $545,658.80
                                  10 Leia CircleSuttonMA1590                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200497       GARY A. DUMAS                             Deposits - 507(a)(6)                                                  5600-000                                         $72.85         $545,585.95
                                  461 Peasleevile RoadSchuyler              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FallsNY12985                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200498       JAMES DUMPHY                              Deposits - 507(a)(6)                                                  5600-000                                         $60.79         $545,525.16
                                  PO Box 121South BarreMA1074               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200499       JOHN DUNCAN                               Deposits - 507(a)(6)                                                  5600-000                                        $139.10         $545,386.06
                                  16600 A Timerlakes DrFort                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33908                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200500       TINA A. DUNCAN                            Deposits - 507(a)(6)                                                  5600-000                                         $25.97         $545,360.09
                                  1804 Tremont Dr.SpringfieldIL62711        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200501       THE DUONG                                 Deposits - 507(a)(6)                                                  5600-000                                        $154.38         $545,205.71
                                  2 Water StreetAuburnMA1501                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200502       MARIA DUPLESSIE                           Deposits - 507(a)(6)                                                  5600-000                                        $123.70         $545,082.01
                                  3533 Raintree CircleLakelandFL33803       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,279.88
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200503       MARY ANN DURANTE                          Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $545,034.58
                                  127 Park AvenueKanePA16735                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200504       MARGARET DURGIN                           Deposits - 507(a)(6)                                                  5600-000                                         $41.04         $544,993.54
                                  11 Richard AveWebsterMA1570               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200505       SIDNEY DURHAM                             Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $544,948.76
                                  6820 N. 37th StreetRichlandMI49083        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200506       MARGARET DURM-HIATT                       Deposits - 507(a)(6)                                                  5600-000                                         $33.39         $544,915.37
                                  123 Durm StreetNilesMI49120               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200507       KAREN DURR                                Deposits - 507(a)(6)                                                  5600-000                                        $200.60         $544,714.77
                                  50 Oak Ridge DriveMeridenCT6450           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200508       JANICEDUTKIEWICZ                          Deposits - 507(a)(6)                                                  5600-000                                         $79.50         $544,635.27
                                  3261 MillardMuskegonMI49441               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200509       JOANNE DUVALL                             Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $544,500.91
                                  4161 Center RoadGeorgetownSC29440         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200510       BRIAN C. & SUSAN D. DWYER                 Deposits - 507(a)(6)                                                  5600-000                                        $184.44         $544,316.47
                                  2782 Sanctuary Blvd.ConwaySC29526         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200511       DR. KAREN & DR. JOHN DWYER                Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $544,269.04
                                  15937 Delasol LaneNaplesFL34110           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200512       LISA DWYER                                Deposits - 507(a)(6)                                                  5600-000                                        $212.58         $544,056.46
                                  1115 Oliver St Apt 4DNorth                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200513       STEVEN DYCHA                              Deposits - 507(a)(6)                                                  5600-000                                         $92.14         $543,964.32
                                  256 Villaire AveWindsorOntarioN8s-2j2     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200514       CARRIE DYE                                Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $543,864.68
                                  8011 S. County Road 600                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ESelmaIN47383                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,217.33
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200515       TEREEN DYER                                        Deposits - 507(a)(6)                                                  5600-000                                        $139.07         $543,725.61
                                  P.O. Box 222WilliamsvilleIL62693                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200516       MARILYN EAGAN                                      Deposits - 507(a)(6)                                                  5600-000                                         $70.75         $543,654.86
                                  27 Couch StreetPlattsburghNY12901                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200517       NICOLE EARL                                        Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $543,475.72
                                  6941 Vintage LanePort OrangeFL32128                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200518       SHIRLEY EDEN                                       Deposits - 507(a)(6)                                                  5600-000                                         $30.35         $543,445.37
                                  2474 Pellam BlvdPort CharlotteFL33948              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200519       GLENN EDINGER                                      Deposits - 507(a)(6)                                                  5600-000                                        $104.44         $543,340.93
                                  1068 Foxtown Hill Road, Suite                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  101StroudsburgPA18360                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200520       GUY F. EDWARDS                                     Deposits - 507(a)(6)                                                  5600-000                                        $381.76         $542,959.17
                                  121 Main Rd.PlattsburghNY12903                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200521       DARLENE EELLS                                      Deposits - 507(a)(6)                                                  5600-000                                         $19.87         $542,939.30
                                  5A8 White Buffalo DriveApple                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RiverIL61001                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200522       CAROL EGGERS                                       Deposits - 507(a)(6)                                                  5600-004                                         $89.57         $542,849.73
                                  28 Ramsgate RidgeNashuaNH3063                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200523       SANDRA EHRENREICH                                  Deposits - 507(a)(6)                                                  5600-000                                         $93.91         $542,755.82
                                  1757 Springbrook                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadSpringBrookOntarioK0K 3C0                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200524       DEBBRA EICHLER                                     Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $542,711.04
                                  220 W. St Joe StLitchfieldMI49252                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200525       BILLIE ELLIS                          Deposits - 507(a)(6)                                                               5600-000                                         $41.87         $542,669.17
                                  2010 Kewannee TrailCasselberryFL32767 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200526       JOYCE ELLIS                                        Deposits - 507(a)(6)                                                  5600-000                                        $443.93         $542,225.24
                                  101 Blood Rd.CharltonMA1507                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,639.44
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


       1                2                                 3                                                                 4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200527       MICHAEL D. ELLISON                                  Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $542,141.50
                                  4528 Duval StreetAustinTX78751                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200528       JAMES & BEVERLY ELLS                                Deposits - 507(a)(6)                                                  5600-000                                        $237.17         $541,904.33
                                  PO BOX 3SpoffordNH3462                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200529       WILLIAM ELMES                                       Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $541,771.83
                                  12 Glendale St.WorcesterMA1602                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200530       THERA S. EMERSON                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $541,682.26
                                  PO Box 495DannemoraNY12929                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200531       JEAN M. ENRIGHT                                     Deposits - 507(a)(6)                                                  5600-000                                         $62.09         $541,620.17
                                  230 Brookfield RoadCharltonMA1507                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200532       PENNIE J. ENTERLINE                                 Deposits - 507(a)(6)                                                  5600-000                                        $329.21         $541,290.96
                                  P.O. Box 237Rural ValleyPA16249                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200533       RONALD ENZINNA                          Deposits - 507(a)(6)                                                              5600-000                                         $44.78         $541,246.18
                                  454 South Street, Apt. ALockportNY14094 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200534       DENNIS & ESTHER ERDMAN               Deposits - 507(a)(6)                                                                 5600-000                                         $89.57         $541,156.61
                                  323 Nw 24th AvenueCape CoralFL33993- ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  7588                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200535       SHERYL A. ESSENBURG                                 Deposits - 507(a)(6)                                                  5600-000                                         $18.02         $541,138.59
                                  1950 SW Palm City Rd.,                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #5304StuartFL34994                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200536       KELLY ESTES                            Deposits - 507(a)(6)                                                               5600-000                                        $118.06         $541,020.53
                                  24 Winterberry LaneHollis CenterME4042 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200537       JEANNINE M. ETHIER                                  Deposits - 507(a)(6)                                                  5600-000                                         $26.50         $540,994.03
                                  10 Loring Ave.West DennisMA2670                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200538       ALLISON EVANS                                       Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $540,910.29
                                  1003 Anglers Cove K307Marco                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  IslandFL34145                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                  Page Subtotals:                                                                        $0.00           $1,314.95
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


       1                2                                 3                                                                 4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200539       KAREN A. EVANS                                      Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $540,804.29
                                  992 Morley-Potsdam                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadPotsdamNY13676                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200540       MARIE EVANS                             Deposits - 507(a)(6)                                                              5600-000                                         $89.57         $540,714.72
                                  287 Whitchurch St.Murrells InletSC29576 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200541       ANETTE M. EVEN                                      Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $540,535.58
                                  4630 Nestrom RoadWhitehallMI49461                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200542       PRESTON FADNESS                                     Deposits - 507(a)(6)                                                  5600-000                                        $107.59         $540,427.99
                                  11204 Ventura BlvdMachesney                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ParkIL61115                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200543       PATRICIA FAHEY                                      Deposits - 507(a)(6)                                                  5600-000                                        $154.91         $540,273.08
                                  2746 2nd NH TpkDeeringNH3244                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200544       JOENE Y. FAIR                                       Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $540,004.37
                                  2880 Tuscarawas Rd.BeaverPA15009                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200545       MARC FALK                                           Deposits - 507(a)(6)                                                  5600-000                                        $231.07         $539,773.30
                                  43 W. 055 Brierwood LaneElginIL60124                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200546       JOSEPH FALTYN                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $539,683.73
                                  6261 West Tillen Rd.BostonNY14025                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200547       CURTIS FALZOI                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $539,594.16
                                  15 Red Coat RdShrewsburyMA1545                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200548       NORMAN FANG                                         Deposits - 507(a)(6)                                                  5600-000                                        $115.27         $539,478.89
                                  12386 Fox Run CourtHuntleyIL60142                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200549       LEN FARALLI                                         Deposits - 507(a)(6)                                                  5600-000                                         $60.68         $539,418.21
                                  26190 Clarkston Drive, Unit 22104Bonita             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsFL34135-3347                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200550       CAROL-ANN FARINACCI                                 Deposits - 507(a)(6)                                                  5600-000                                        $992.81         $538,425.40
                                  48 October DriveSt.                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CatharinesOntarioL2N 6J6                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                  Page Subtotals:                                                                        $0.00           $2,484.89
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200551       MATTHEW FARNSWORTH                        Deposits - 507(a)(6)                                                  5600-000                                         $57.06         $538,368.34
                                  52 Ridge AveAtholMA1331                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200552       CLAIRE R. FARRELL                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $538,278.77
                                  37 Scott Hill Blvd.BellinghamMA2019       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200553       MARY M. FARREN                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $538,189.20
                                  13 B Ridgwood CircleLawrenceMA1843        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200554       MIKE FASOLINO                             Deposits - 507(a)(6)                                                  5600-000                                         $96.19         $538,093.01
                                  236 Main StreetMedwayMA2053               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200555       BARBARA FAULCONER                         Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $537,960.51
                                  203-41 Ferndale Dr. S.BarrieOntarioL4N    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  5T6                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200556       LARRY FEDRIGO                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $537,870.94
                                  5920 Commerce DrWestlandMI48185           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200557       BEVERLY A. FEGLEY                         Deposits - 507(a)(6)                                                  5600-000                                         $45.00         $537,825.94
                                  2903 Shillington Rd.Sinking               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringPA19608-1603                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200558       KATHIE FELCH                              Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $537,778.51
                                  192 Prechtl RoadEast BarreVT5649          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200559       SANDRA FELDMAN                            Deposits - 507(a)(6)                                                  5600-000                                         $30.34         $537,748.17
                                  79 Central AvenueMontclairNJ7042          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200560       MICHAEL FENIAK                            Deposits - 507(a)(6)                                                  5600-000                                         $67.66         $537,680.51
                                  1409 Halton TerraceKanataOntarioK2K       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2P8                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200561       BARRY FERNALD                             Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $537,546.15
                                  101 Montgomery StreetRouses               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PointNY12979                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200562       MARIA FERRARO                             Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $537,443.33
                                  355 Wood Duck CourtShermanIL62684         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200563       BARBARA I. FERREE                                  Deposits - 507(a)(6)                                                  5600-000                                          $7.66         $537,435.67
                                  1015 Waterloo WayThe VillagesFL32162               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200564       SHIRLEY FESCHUK                                    Deposits - 507(a)(6)                                                  5600-000                                         $60.68         $537,374.99
                                  136 Parkside DriveWest MifflinPA15122              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200565       WILLIAM C. FETTER JR.                              Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $537,330.21
                                  3469 Hwy 905ConwaySC29526                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200566       SCOTT AND LYNNE FIDDLER                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $537,151.07
                                  1049 Lanterns LaneLelandNC28451                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200567       CHARLES H. FIELDS                                  Deposits - 507(a)(6)                                                  5600-000                                        $345.72         $536,805.35
                                  2407 Niagara AvenueNiagara                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FallsNY14305                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200568       LINDA FIGURSKI                                     Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $536,536.64
                                  5123 Fairlawn StreetEriePA16509                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200569       LOIS M. FIJOL                                      Deposits - 507(a)(6)                                                  5600-000                                        $312.17         $536,224.47
                                  56 Vine RoadCharltonMA1508                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200570       NANCY FINNEGAN                                     Deposits - 507(a)(6)                                                  5600-000                                        $110.77         $536,113.70
                                  220 West Broad StBethlehemPA18018                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200571       CHRISTINE FINTZEL                                  Deposits - 507(a)(6)                                                  5600-000                                         $66.33         $536,047.37
                                  32 Lexington Rd.MillburyMA1527                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200572       SUSAN FISCHER                                      Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $535,913.02
                                  5108 Carriage LaneLockportNY14094                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200573       KRISTYN FISCHER JACOBSON                           Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $535,868.24
                                  6276 Templeton TerraceSun                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PrarieWI53590                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200574       ELIZABETH FISH                         Deposits - 507(a)(6)                                                              5600-000                                         $89.57         $535,778.67
                                  263 Riverview DriveStrathroyOntarioN7G ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2G4                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200575       HUGH FISH                                 Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $535,679.03
                                  2760 Thayer Ave.KalamazooMI49004          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200576       CORINNE FISHER                            Deposits - 507(a)(6)                                                  5600-000                                         $33.39         $535,645.64
                                  19111 Meadowbrook Ct #40-ANorth Fort      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33903                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200577       JESSICA FISHER                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $535,556.07
                                  14 N. Main St.West BrookfieldMA1585       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200578       MARY ELLEN FISHER                         Deposits - 507(a)(6)                                                  5600-000                                         $62.62         $535,493.45
                                  2801 Paulson RoadHarvardIL60033           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200579       TERRY P. FISHER                           Deposits - 507(a)(6)                                                  5600-000                                        $211.36         $535,282.09
                                  407 County Route 36Chase                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MillsNY13621                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200580       CORINNE FITZPATRICK                       Deposits - 507(a)(6)                                                  5600-000                                        $514.60         $534,767.49
                                  5 Strang DriveMaloneNY12953               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200581       BROOKE FITZSIMMONS                        Deposits - 507(a)(6)                                                  5600-000                                         $98.58         $534,668.91
                                  83a Foxberry Dr.GetzvilleNJ14068          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200582       JANE FLETCHER                             Deposits - 507(a)(6)                                                  5600-000                                         $58.04         $534,610.87
                                  91 Church StreetNorthboroughMA1532        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200583       PAUL FLOOD                                Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $534,485.26
                                  27051 Tierra Del Fuego CirclePunta        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33983                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200584       PATRICIA FLYNN                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $534,306.12
                                  26 Fort Dummer                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HeightsBrattleboroVT5301                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200585       STEVEN FOELLMI                            Deposits - 507(a)(6)                                                  5600-000                                         $23.90         $534,282.22
                                  18 Newbury Cir.MadisonWI53711             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200586       JAYNE K. FOLEY                            Deposits - 507(a)(6)                                                  5600-000                                        $163.24         $534,118.98
                                  6 Berkmans St.WorcesterMA1602             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,659.69
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200587       JEAN M. FOLEY                             Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $534,012.98
                                  60 Church StreetApt 11 HSaranac           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LakeNY12983                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200588       REBECCA FOLEY                             Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $533,968.20
                                  1175 Range RoadWadestownWV26590           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200589       SUSAN FONAGY                              Deposits - 507(a)(6)                                                  5600-004                                        $189.74         $533,778.46
                                  946 St. Rt. 7 S.E.BrookfieldOH44403       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200590       CASILLE E. FONSECA                        Deposits - 507(a)(6)                                                  5600-000                                        $179.19         $533,599.27
                                  11 Maynard Ave.WebsterMA1570              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200591       JOANN FORAL                               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $533,509.70
                                  207 Tamarack Hollow St. SWPoplar          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GroveIL61065                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200592       ANNE FORGUES                              Deposits - 507(a)(6)                                                  5600-000                                        $131.44         $533,378.26
                                  1-672 Avenue Ampere Apt                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1LavalQuebecH7N 6E6                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200593       COURTNEY FORKAS                           Deposits - 507(a)(6)                                                  5600-000                                        $106.05         $533,272.21
                                  81 Aldis StreetSaint AlbansVT5478         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200594       SHARI FORMOSA-COPPOLA                     Deposits - 507(a)(6)                                                  5600-000                                        $393.85         $532,878.36
                                  500 Reedy River RoadMyrtle                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29588                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200595       ROSETTE FORTNER                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $532,788.79
                                  407 Wardman RoadKenmoreNY14217            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200596       ALISA FOURNIER                            Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $532,746.92
                                  2284 Ashley River Rd APT 1019-            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  dCharlestonSC29414                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200597       ELAINE FRANCIS                            Deposits - 507(a)(6)                                                  5600-000                                         $47.12         $532,699.80
                                  84 Belvidere Apt 204GrayslakeIL60030      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200598       DANIEL FRANK                              Deposits - 507(a)(6)                                                  5600-000                                         $22.52         $532,677.28
                                  3404 S CollegeSpringfieldIL62703          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


       1                2                                3                                                               4                                                       5                   6                     7

Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          200599       PAULETTE FRANK                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $532,498.14
                                  26 Farmersville RoadCalifonNJ7830                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200600       VERONICA FRANKLIN                                Deposits - 507(a)(6)                                                  5600-000                                         $50.19         $532,447.95
                                  186 Rugar Street, Atp.                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  13PlattsburghNY12901                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200601       LORI L. FRANKOSKY                                Deposits - 507(a)(6)                                                  5600-000                                        $254.56         $532,193.39
                                  1800 Hall Point RoadMount                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PleasantSC29466                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200602       ROBERT ANTHONY FRANKS                            Deposits - 507(a)(6)                                                  5600-000                                        $142.30         $532,051.09
                                  420 Malone Ridge                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadWashingtonPA15301                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200603       WILLIAM FRANSEN                                  Deposits - 507(a)(6)                                                  5600-000                                        $108.60         $531,942.49
                                  9704 Norman Ave.Machesney                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ParkIL61115                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200604       SHIRLEY FRANTZ                      Deposits - 507(a)(6)                                                               5600-000                                        $145.70         $531,796.79
                                  375 Cherrywood LnMadison TwpPA18444 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200605       EARLENE FREDERICK                                Deposits - 507(a)(6)                                                  5600-000                                         $46.32         $531,750.47
                                  5516 State Route 113BellevueOH44811              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200606       CLIFFORD FREEMAN                                 Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $531,647.65
                                  7390 N River RdByronIL61010                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200607       LINDA FREEMAN                                    Deposits - 507(a)(6)                                                  5600-000                                        $133.24         $531,514.41
                                  16 Terry LaneBarreMA1005                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200608       MARY FRESE                                       Deposits - 507(a)(6)                                                  5600-000                                         $79.31         $531,435.10
                                  3121 South 3rd St.SpringfieldIL62703             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200609       CYRIL B. FREVERT                                 Deposits - 507(a)(6)                                                  5600-000                                        $113.95         $531,321.15
                                  1208 Davis LaneKnoxvilleTN37923                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200610       SCOTT FRIDAY                                     Deposits - 507(a)(6)                                                  5600-000                                         $65.72         $531,255.43
                                  48851 Hawk Ave.Rush CityMN55069                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                               Page Subtotals:                                                                        $0.00           $1,421.85
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200611       KATHY FRIEDERSDORF                                Deposits - 507(a)(6)                                                  5600-000                                         $20.93         $531,234.50
                                  5676 Keck RoadLockportNY14094                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200612       DELORES FRIEDRICH                                 Deposits - 507(a)(6)                                                  5600-000                                        $474.35         $530,760.15
                                  4104 Fielding Dr.SpringfieldIL62711               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200613       KAY FRITSCH                                       Deposits - 507(a)(6)                                                  5600-000                                         $93.40         $530,666.75
                                  9070 Dickenson Rd. W., RR#1Mount                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HopeONLOR 1W0                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200614       NICOLETTE C. FRYE                                 Deposits - 507(a)(6)                                                  5600-000                                        $256.82         $530,409.93
                                  8725 Lozina DriveNiagara FallsNY14304             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200615       CHRISTINE FULLER                                  Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $530,370.18
                                  3105 Lathrop RoadBerkleyOH43504                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200616       PEARL M. FULLER                                   Deposits - 507(a)(6)                                                  5600-000                                         $45.84         $530,324.34
                                  495 Queen Lake Rd.PhillipstonMA1331               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200617       STACEY FULLER                                     Deposits - 507(a)(6)                                                  5600-000                                         $94.79         $530,229.55
                                  127 Brinkerhoff St.PlattsburghNY12901             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200618       SANDRA J. FUNK                       Deposits - 507(a)(6)                                                               5600-000                                         $44.78         $530,184.77
                                  17511 Malarky LanePunta GordaFL33955 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  -4437                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200619       SANDRA FUNKHOUSER                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $530,095.20
                                  4655 Dutch Ridge RoadBeaverPA15009                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200620       EDWIN J. FURMAN                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $530,005.63
                                  8 Goulding RoadSterlingMA1564                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200621       SHAE GAGNE                                        Deposits - 507(a)(6)                                                  5600-000                                         $84.16         $529,921.47
                                  145 B Fieldcrossing DrHighlandIL62249             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200622       JOY GAINE                                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $529,831.90
                                  789 Gove Hill RdThetford CenterVT5075             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200623       DAVID GALASS                              Deposits - 507(a)(6)                                                  5600-000                                        $152.11         $529,679.79
                                  4308 Green RoadLockportNY14094            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200624       JAMES GALEK                               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $529,590.22
                                  6347 Shalimar StreetPort                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33981                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200625       DIANE M. GALLAGHER                        Deposits - 507(a)(6)                                                  5600-000                                         $60.26         $529,529.96
                                  5802 Saddle ClubKalamazooMI49009          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200626       BRIAN GALLANT                             Deposits - 507(a)(6)                                                  5600-000                                        $692.44         $528,837.52
                                  167 Root RoadSomersCT6071                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200627       FILOMENA GALLETTA                         Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $528,658.38
                                  4300 Beverly DriveAliquippaPA15001        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200628       CHRIS GALLUPE                             Deposits - 507(a)(6)                                                  5600-000                                        $355.57         $528,302.81
                                  2883 Fairgrounds Road                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SouthCreemoreOntarioL0M 1G0               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200629       PRISCILLA GAMACHE                         Deposits - 507(a)(6)                                                  5600-000                                         $22.39         $528,280.42
                                  9 Rogers AvenueOrangeMA1364               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200630       TORRI FAIR GAMBACORTA                     Deposits - 507(a)(6)                                                  5600-000                                        $467.99         $527,812.43
                                  579 Caribou TrailMyrtle BeachSC29588      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200631       WILBUR GARABEDIAN                         Deposits - 507(a)(6)                                                  5600-000                                        $183.38         $527,629.05
                                  13 Meadowbrook RdAuburnMA1501             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200632       KRAIG W. GARBER                           Deposits - 507(a)(6)                                                  5600-000                                         $20.93         $527,608.12
                                  1585 N. Alexander DriveMt. ZionIL62549    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200633       MICHAEL & RACHEL GARCIA                   Deposits - 507(a)(6)                                                  5600-000                                        $167.48         $527,440.64
                                  238 Prospect AvenueBuffaloNY14201         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200634       VINCENT GARCIA                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $527,261.50
                                  212 N. 1st StreetPO Box                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  84HartsburgIL62643                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200635       NANCY B. GARDELLI                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $527,171.93
                                  3572 Acorn StreetNorth PortFL34286                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200636       GRINDAL GARDNER                                   Deposits - 507(a)(6)                                                  5600-000                                        $140.13         $527,031.80
                                  20 Hartford RoadWorcesterMA1606                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200637       MARY JO GARDNER                      Deposits - 507(a)(6)                                                               5600-000                                        $102.89         $526,928.91
                                  2692 NE Hwy 70 Lot 134ArcadiaFL34266 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200638       BARBARA J. GARRETT                                Deposits - 507(a)(6)                                                  5600-000                                         $13.24         $526,915.67
                                  784 W. Shingle Lake DriveLakeMI48632              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200639       MARGARET GARRISON                   Deposits - 507(a)(6)                                                                5600-000                                        $100.73         $526,814.94
                                  514 Montgomery St.OgdensburgNY13669 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200640       SUSAN M. GARVIN                                   Deposits - 507(a)(6)                                                  5600-000                                        $127.20         $526,687.74
                                  23 Springwood DriveAshvilleNC28805                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200641       DENNIS GASBARRO                                   Deposits - 507(a)(6)                                                  5600-000                                        $118.35         $526,569.39
                                  1370 Ransom RdGrand IslandNY14072                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200642       CAROL GAUDETTE                                    Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $526,469.75
                                  17 Rathbun RoadNianticCT6357                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200643       CYNTHIA GEBO                                      Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $526,335.40
                                  4 Ilene DriveMorrisonvilleNY12962                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200644       JUDY GEBO                                         Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $526,287.97
                                  106 Carbide RoadPlattsburghNY12901                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200645       DOLORES GEHLHAUS                                  Deposits - 507(a)(6)                                                  5600-000                                        $111.06         $526,176.91
                                  101 Carlton CourtHarleysvillePA19438              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200646       ALICE GENAWAY                        Deposits - 507(a)(6)                                                               5600-000                                         $79.50         $526,097.41
                                  1249 E Schwartz BlvdLady LakeFL32159 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


       1                2                                 3                                                                 4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200647       HENRY GENELLO                                       Deposits - 507(a)(6)                                                  5600-000                                        $115.54         $525,981.87
                                  1293 Camlet LaneLittle RiverSC29566                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200648       JANET M. GENEROUS                                   Deposits - 507(a)(6)                                                  5600-000                                        $112.89         $525,868.98
                                  131 Atwoodville RoadMansfield                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CenterCT6250                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200649       KAY GENTHER                                         Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $525,824.20
                                  7487 NoffkeCaledoniaMI49316                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200650       MARY GENTRY                                         Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $525,782.33
                                  351 Commonwealth AveTrentonNJ8629                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200651       DANIEL GEORGE                                       Deposits - 507(a)(6)                                                  5600-000                                        $237.18         $525,545.15
                                  4 Stone Ridge Dr.LeicesterMA1524                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200652       NICHOLAS M. GEORGESON                               Deposits - 507(a)(6)                                                  5600-000                                        $132.71         $525,412.44
                                  24 Thomas St.ClintonMA1510                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200653       GIAVANNA GERACI                                     Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $525,367.66
                                  419 Duchess Court - BLakelandFL33803                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200654       ROBERT GERKEN                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $525,278.09
                                  C 632 Rd. 8BHamlerOH43524                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200655       JEFFREY GERMANN                                     Deposits - 507(a)(6)                                                  5600-000                                        $119.25         $525,158.84
                                  1775 Oakview Dr.StoughtonWI53589-                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3356                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200656       ELIZABETH A. GETCHELL O'BRIEN                       Deposits - 507(a)(6)                                                  5600-000                                         $58.61         $525,100.23
                                  11 Curtis StreetAuburnMA1501                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200657       CYNTHIA GETTLE                          Deposits - 507(a)(6)                                                              5600-000                                         $59.60         $525,040.63
                                  15470 Ancel CirclePort CharlotteFL33981 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200658       HEATHER & RHEAL GEVRY               Deposits - 507(a)(6)                                                                  5600-000                                        $199.81         $524,840.82
                                  1194 Otter Creek HwyNew HavenVT5472 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                  Page Subtotals:                                                                        $0.00           $1,256.59
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200659       LYNN GHESQUIRE                            Deposits - 507(a)(6)                                                  5600-000                                         $87.28         $524,753.54
                                  986 WatsonErieMI48133                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200660       WILLIAM F. GIACOMELLI, JR.                Deposits - 507(a)(6)                                                  5600-000                                        $161.23         $524,592.31
                                  9163 Misty Dawn                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveColumbusOH43240                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200661       FREDA GIANAKOS                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $524,502.74
                                  5 Plants Dam RoadEast LymeCT6333          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200662       DAWN GIBBS                                Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $524,457.96
                                  1872 Coconut Palm CircleNorth             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PortFL34288                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200663       AMANDA GIBREE                             Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $524,363.09
                                  11 Marwood RoadWorcesterMA1602            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200664       ALBERT GIBSON                             Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $524,313.27
                                  1856 Williams RdAynoreSC29511             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200665       SUSAN K. GIBSON                           Deposits - 507(a)(6)                                                  5600-000                                         $38.32         $524,274.95
                                  1965 E. Harbor RoadPort                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ClintonOH43452                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200666       JAIME GIEK                                Deposits - 507(a)(6)                                                  5600-000                                        $246.45         $524,028.50
                                  18 Delucia TerraceLoudonvilleNY12211      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200667       JACK M. & SHARON D. GILBERT               Deposits - 507(a)(6)                                                  5600-000                                        $115.80         $523,912.70
                                  14 Wildmere AvenueBurlingtonMA1803        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200668       MATT GILDEA                               Deposits - 507(a)(6)                                                  5600-000                                        $145.75         $523,766.95
                                  6509 Baseline RdSouth HavenMI49090        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200669       DONA K. GILLSON                           Deposits - 507(a)(6)                                                  5600-000                                        $271.49         $523,495.46
                                  7257 Flannigan RoadOrleansMI48865         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200670       MARLA GIVEN                               Deposits - 507(a)(6)                                                  5600-004                                        $179.14         $523,316.32
                                  183 Cornelia St.PlattsburghNY12901        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,524.50
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200671       JESSICA GLASNOVICH                    Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $523,226.75
                                  492 Kings Canyon BlvdGalesburgIL61401 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200672       ROBERT C. GLAZESKI                    Deposits - 507(a)(6)                                                               5600-000                                        $129.90         $523,096.85
                                  3539 West Chartwell RoadPeoriaIL61614 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200673       STEVEN GLENA                                       Deposits - 507(a)(6)                                                  5600-000                                         $80.98         $523,015.87
                                  3242 Green Tree Dr.WalworthNY14568                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200674       KENNETH GLENN                                      Deposits - 507(a)(6)                                                  5600-000                                        $209.35         $522,806.52
                                  2034 Cavendish                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveBurlingtonOntarioL7P 1Y7                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200675       LORI J. GOBI                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $522,716.95
                                  190 Wickaboag Valley RoadP.O. Box                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  600West BrookfieldMA01585-0600                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200676       JAMES F. GOEDKEN                                   Deposits - 507(a)(6)                                                  5600-000                                        $404.71         $522,312.24
                                  689 Thompsons WayInvernessIL60067                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200677       GEORGE V. GOEPFERT                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $522,222.67
                                  7609 Pomeroy Rd.RocktonIL61072                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200678       GARY GOETZELMAN                                    Deposits - 507(a)(6)                                                  5600-000                                         $55.68         $522,166.99
                                  105 Jamaica DriveNaplesFL34113                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200679       DAVE & KELLY GOGAL                                 Deposits - 507(a)(6)                                                  5600-000                                        $182.52         $521,984.47
                                  1440 Gorge CourtNorth PortFL34288                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200680       HOWARD GLENN GOHM                                  Deposits - 507(a)(6)                                                  5600-000                                         $83.82         $521,900.65
                                  19-67 Linwell RoadUnit 19St.                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CatharinesOntarioL2N 7N2                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200681       CHRISTINE GOKEY LANDRY                             Deposits - 507(a)(6)                                                  5600-000                                         $63.92         $521,836.73
                                  8891 State Route 9ChazyNY12921                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200682       CYNTHIA GOLDEN                                     Deposits - 507(a)(6)                                                  5600-000                                        $381.94         $521,454.79
                                  123 Greenfield Dr.TonawandaNY14150                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,861.53
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200683       NANCY GOLDEN                              Deposits - 507(a)(6)                                                  5600-000                                        $259.57         $521,195.22
                                  14 Forest WayGansevoortNY12831            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200684       JOSEY A.GOLDNER                           Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $521,150.44
                                  1303 E. Gore St. #1OrlandoFL32806         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200685       ADELAIDE GONSALVES                        Deposits - 507(a)(6)                                                  5600-000                                         $63.07         $521,087.37
                                  51-1111 Wilson Road                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  NorthOshawaOntarioL1G8C2                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200686       STEPHEN GOOCH                             Deposits - 507(a)(6)                                                  5600-000                                         $95.19         $520,992.18
                                  59 Reservoir Rd.PeruNY12972               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200687       VIVIAN GOODMAN                            Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $520,947.40
                                  25925 Telegraph Road, Ste                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  203SouthfieldMI48033                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200688       CONNIE L. GOODRICH                        Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $520,813.04
                                  3459 Bryant Hill                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadFranklinvilleNY14737                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200689       MICHAEL GOODWIN                           Deposits - 507(a)(6)                                                  5600-000                                        $104.25         $520,708.79
                                  85 Lasalle AvenueKenmoreNY14217           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200690       TRACY GOODWIN                             Deposits - 507(a)(6)                                                  5600-000                                         $95.10         $520,613.69
                                  21 County RdChathamIL62629                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200691       THOMAS GORCZYCA                           Deposits - 507(a)(6)                                                  5600-000                                        $192.39         $520,421.30
                                  413 Detwiler DriveWauseonOH43567          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200692       MICHELLE GORDON                           Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $520,242.16
                                  14 Stellarton RoadScarboroughONM1L        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3C8                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200693       RACHELLE GORMLEY                          Deposits - 507(a)(6)                                                  5600-000                                        $199.81         $520,042.35
                                  12 Parkview AveQueensburyNY12804          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200694       COLLEEN MARIE GOSS                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $519,952.78
                                  8 Oak StreetAuburnMA1501                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200695       STEPHEN M. GOULD                          Deposits - 507(a)(6)                                                  5600-000                                         $76.90         $519,875.88
                                  2365 South Pewter                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveMacungiePA18062                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200696       KAREN GRADY                               Deposits - 507(a)(6)                                                  5600-000                                         $40.86         $519,835.02
                                  7 C Goldthwaite RoadApt.                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  6WorcesterMA1605                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200697       GARRETT GRAFF                             Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $519,740.15
                                  17 Pioneer AvePittsburghPA15229           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200698       RICHARD GRAHAM                            Deposits - 507(a)(6)                                                  5600-004                                         $89.57         $519,650.58
                                  4 Marion Ave.CornwallONK6K 1T9            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200699       JOSEPH GRAMC                              Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $519,566.84
                                  437 Grant St., 14th                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FloorPittsburghPA15219                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200700       THOMAS E. GRAMITT                         Deposits - 507(a)(6)                                                  5600-000                                         $79.50         $519,487.34
                                  9840 Mainsail CourtFort MyersFL33919      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200701       PAULINE GRAVELINE                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $519,397.77
                                  23 Buck StreetCantonNY13617               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200702       TAMMY GRAVES                              Deposits - 507(a)(6)                                                  5600-000                                        $194.36         $519,203.41
                                  693 McNaughton Avenue                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  WestChathamOntarioN7L-5P7                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200703       CHERYL A. GRAVINA                         Deposits - 507(a)(6)                                                  5600-000                                        $231.61         $518,971.80
                                  10 Ode CourtWarwickRi2886                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200704       FRED GRECO                                Deposits - 507(a)(6)                                                  5600-000                                        $119.01         $518,852.79
                                  3231 Elkridge DrHolidayFL34691            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200705       ADAM GREEN                                Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $518,727.18
                                  4481 Kibbler Rd.AtlanticPA16111           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200706       DONNA GREEN                               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $518,637.61
                                  529 Emmett StreetBristolCT6010            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200707       LEIGHANN GREENE                                    Deposits - 507(a)(6)                                                  5600-004                                         $97.30         $518,540.31
                                  106 Rand Hill Rd.MorrisonvilleNY12962              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200708       LYNN GRIFFIN                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $518,450.74
                                  86 Dalewood DriveAmherstNY14228                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200709       KATHI GRIFHORST                     Deposits - 507(a)(6)                                                                 5600-000                                         $56.12         $518,394.62
                                  12489 18 Mile RoadGowenMI49326-9732 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200710       RAYMOND GRIMES                                     Deposits - 507(a)(6)                                                  5600-000                                        $106.03         $518,288.59
                                  438 Pine StreetLockportNY14094                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200711       KAITLIN GROEGER                                    Deposits - 507(a)(6)                                                  5600-000                                        $131.44         $518,157.15
                                  4971 Bigelow RoadWest ValleyNY14171                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200712       MARCI GROFF                                        Deposits - 507(a)(6)                                                  5600-000                                         $39.86         $518,117.29
                                  2592 Wild Game TrailMyrtle                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29588                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200713       ERIC GROSSMAN                                      Deposits - 507(a)(6)                                                  5600-000                                        $322.00         $517,795.29
                                  110 Pinelake DriveWilliamsvilleNY14221             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200714       DAWN AND JAMES GROSSO                              Deposits - 507(a)(6)                                                  5600-000                                        $495.55         $517,299.74
                                  6929 Valentown RoadVictorNY14564                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200715       SYLVIE GROULX                                      Deposits - 507(a)(6)                                                  5600-000                                        $415.90         $516,883.84
                                  15 Roy StreetDelsonQuebecJ5B 1H5                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200716       JAMES GROVE                                        Deposits - 507(a)(6)                                                  5600-000                                        $116.04         $516,767.80
                                  P.O. Box 6107380 Eelpot                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Rd.NaplesNY14512                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200717       MATT GUARINO                        Deposits - 507(a)(6)                                                                 5600-000                                        $115.23         $516,652.57
                                  1362 Independence DriveDerbyNY14047 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200718       LEYDEN GUERRERO                       Deposits - 507(a)(6)                                                               5600-000                                        $140.24         $516,512.33
                                  48 Gibbs StreetApt. 4DWorcesterMA1607 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200719       RONALD GUILLAUME                          Deposits - 507(a)(6)                                                  5600-000                                        $119.57         $516,392.76
                                  267 Rumonoski Dr.NorthbridgeMA1534        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200720       BRAD GUILLERM                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $516,303.19
                                  PO BOX 1182LathamNY12110                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200721       GEORGE GULLEFF                            Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $516,253.37
                                  29222 River DrivePunta GordaFL33982       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200722       BERNARD J. GUYNUP                         Deposits - 507(a)(6)                                                  5600-000                                        $277.17         $515,976.20
                                  P.O. Box 743MorrisonvilleNY12962          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200723       ELIZABETH GUZMAN                          Deposits - 507(a)(6)                                                  5600-000                                        $123.91         $515,852.29
                                  20 Bristol StreetWorcesterMA1606          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200724       REBECCA HAAS                              Deposits - 507(a)(6)                                                  5600-000                                        $103.30         $515,748.99
                                  1011 East Country Road                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2300NauvooIL62354                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200725       DIANNE HACKER                             Deposits - 507(a)(6)                                                  5600-000                                         $75.74         $515,673.25
                                  1809 Tremont Dr.SpringfieldIL62711        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200726       DAVID HAFFNER                             Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $515,449.33
                                  805 Monticello CtCape CoralFL33904        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200727       TABITHA C. HAIRSTON                       Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $515,407.46
                                  32 Saint Paul Mall NBuffaloNY14209        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200728       ROSE HALL                                 Deposits - 507(a)(6)                                                  5600-000                                        $157.14         $515,250.32
                                  727 Venetian AveLakelandFL33801           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200729       MARY HALLEY                               Deposits - 507(a)(6)                                                  5600-000                                        $104.28         $515,146.04
                                  61 Ernest AveWorcesterMA1604              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200730       CAROLE HALLGREN                           Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $515,093.04
                                  118 Paras Hill Dr.HartfordMI49057         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200731       ANGIE HALVERSON                           Deposits - 507(a)(6)                                                  5600-000                                        $407.83         $514,685.21
                                  601 Larvik LaneStoughtonWI53589           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200732       CLAIRE HALVEY                             Deposits - 507(a)(6)                                                  5600-000                                        $121.00         $514,564.21
                                  4 Mayfield RoadAuburnMA1501               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200733       WAYNE HAMBLY                              Deposits - 507(a)(6)                                                  5600-000                                         $92.22         $514,471.99
                                  529 Kengary DriveEnnismoreOntarioK0L      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1T0                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200734       KHRISTINA HAMEL                           Deposits - 507(a)(6)                                                  5600-000                                         $47.70         $514,424.29
                                  133 Grattan StreetChicopeeMA1020          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200735       CHRISTINE HAMER                           Deposits - 507(a)(6)                                                  5600-000                                        $169.67         $514,254.62
                                  101 Horne WayMillburyMA1527               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200736       DAVID HAMILTON                            Deposits - 507(a)(6)                                                  5600-000                                         $80.98         $514,173.64
                                  5505 S. Farmingdale RoadNew               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BerlinIL62670                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200737       J. BRENT HAMILTON                         Deposits - 507(a)(6)                                                  5600-000                                         $39.48         $514,134.16
                                  105 Coley StreetP.O. Box                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  54LoamiIL62661                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200738       LISA HAMILTON                             Deposits - 507(a)(6)                                                  5600-000                                         $53.16         $514,081.00
                                  6887 E. Main St.KalamazooMI49048          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200739       ALAN H. HAMMOND                           Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $513,946.65
                                  21 Wing CourtCheektowagaNY14225           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200740       MARY L. HAMMOND                           Deposits - 507(a)(6)                                                  5600-000                                         $84.27         $513,862.38
                                  8373 NW 12th Ct.OcalaFL34475              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200741       CORY J. HAND                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $513,772.81
                                  1132 Treasure LakeDuBoisPA15801           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200742       JANE M. HANDY                             Deposits - 507(a)(6)                                                  5600-000                                         $61.52         $513,711.29
                                  81 Mountain RoadBenningtonNH3442          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200743       BARBARA E. HANEY                          Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $513,616.42
                                  203 Meadow StreetCheswickPA15024          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200744       ROSE HANKS                                Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $513,571.63
                                  2460 Avis DriveHarborcreekPA16421         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200745       STEVE HANNAHS                             Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $513,392.49
                                  5510 West 1 Mile Rd.White                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CloudMI49349                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200746       LYNNE HANSEN                              Deposits - 507(a)(6)                                                  5600-000                                        $137.32         $513,255.17
                                  484 US Route 2 SouthAlburgVT5440          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200747       MARVIN HANSEN                             Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $513,065.43
                                  2052 Huntleigh RoadSpringfieldIL62704     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200748       SANDRA HANSEN                             Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $512,981.69
                                  38 Park StreetOxfordMA1540                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200749       TAMMY LYNN HANSEN                         Deposits - 507(a)(6)                                                  5600-000                                        $122.59         $512,859.10
                                  3 Mill Brook Dr.TempletonMA1468           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200750       CAROLYN HANSIS                            Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $512,814.32
                                  112 Stegal Cr.LongsSC29568                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200751       BRANDEN HAPACH                            Deposits - 507(a)(6)                                                  5600-000                                        $110.98         $512,703.34
                                  1054 Corporation StreetBeaverPA15009      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200752       SUSAN HARPER                              Deposits - 507(a)(6)                                                  5600-000                                        $298.68         $512,404.66
                                  306 Zephyr AveOttawaOntarioK2B 5Z8        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200753       JAN WAYNE HARPOLD                         Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $512,180.74
                                  501 Lick Run Rd.WeirtonWV26062            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200754       ELIZABETH HARRIGAN                        Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $512,046.38
                                  P.O. Box 2442343 County Route             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  24ChateaugayNY12920                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,664.91
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200755       KRISTY HARRIGAN                           Deposits - 507(a)(6)                                                  5600-000                                         $79.50         $511,966.88
                                  68 Chasands DrPlattsburghNY12901          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200756       DEBORAH LU HARRINGTON                     Deposits - 507(a)(6)                                                  5600-000                                        $230.47         $511,736.41
                                  304 E. Bridge St.PlainwellMI49080         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200757       DEBRA A. HARRINGTON                       Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $511,557.27
                                  156 Gleenwood Dr.N. KingstownRI2852       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200758       DEBORAH HARRIS                            Deposits - 507(a)(6)                                                  5600-000                                        $130.91         $511,426.36
                                  207 W Jennifer Lane #6PalatineIL60067     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200759       LINDA MARIE HARRISON                      Deposits - 507(a)(6)                                                  5600-000                                         $42.13         $511,384.23
                                  85 Gordon StreetBellevilleOntarioK8P      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3E7                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200760       CAROL HARTLE                              Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $511,339.45
                                  928 N Racquette River                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RdMassenaNY13662                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200761       TERESA HARTLE                             Deposits - 507(a)(6)                                                  5600-000                                         $46.99         $511,292.46
                                  1226 Magee RdSewickleyPA15143             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200762       STEVEN E. & PENNY S. HARMAN               Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $511,192.82
                                  702 Elm StreetColonMI49040                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200763       KURT HARMANN                              Deposits - 507(a)(6)                                                  5600-000                                        $156.23         $511,036.59
                                  16 Orchard StS GraftonMA1560              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200764       JOHN HARTY                                Deposits - 507(a)(6)                                                  5600-000                                        $102.34         $510,934.25
                                  20 Roberts StreetCumberlandRI2864         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200765       CHESTER R. HARVEY, JR.                    Deposits - 507(a)(6)                                                  5600-000                                         $65.72         $510,868.53
                                  27 Vinnie StreetJamestownNY14701          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200766       DEREK HAST                                Deposits - 507(a)(6)                                                  5600-000                                        $350.33         $510,518.20
                                  18 Wamsutta Ridge                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadCharltonMA1507                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,528.18
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200767       GREGG HATHAWAY                            Deposits - 507(a)(6)                                                  5600-000                                        $100.81         $510,417.39
                                  64 Cumberland RdLeominsterMA1453          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200768       LIZA HATHAWAY                             Deposits - 507(a)(6)                                                  5600-000                                        $173.31         $510,244.08
                                  8612 Rte 9PO Box 99LewisNY12950           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200769       JEAN C. HATTON                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $510,154.51
                                  35103 64th Ave.Paw PawMI49079             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200770       DAVID HAUVER                              Deposits - 507(a)(6)                                                  5600-000                                         $92.75         $510,061.76
                                  71 Long Hill DriveLeominsterMA1453        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200771       DEBORAH HAVALOTTI                         Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $509,872.02
                                  1 Orchard StreetMillburyMA1527            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200772       JENNIFER HAVALOTTI                        Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $509,822.20
                                  9 Orchard StreetMillburyMA1527            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200773       CHRISTOPHER HAVENS                        Deposits - 507(a)(6)                                                  5600-000                                        $126.45         $509,695.75
                                  15 County Route                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #28OgdensburgNY13669                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200774       KAREN A. HAVERT                           Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $509,648.32
                                  5885 King Hill Dr.FarmingtonNY14425       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200775       SHIRLEY HAYES                             Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $509,553.45
                                  11 Henry StreetSummitNJ7901               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200776       TRUDY HAYES                               Deposits - 507(a)(6)                                                  5600-000                                        $177.92         $509,375.53
                                  1647 Martin Luther King Jr                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AveLakelandFL33805                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200777       RICK HAYMAN                               Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $509,196.39
                                  24627 Buckingham WayPort                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33980                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200778       CINDY HE                                  Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $509,062.04
                                  6455 Channing Ct SEAdaMI49301             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,456.16
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200779       COREEN HEALY                              Deposits - 507(a)(6)                                                  5600-000                                         $30.34         $509,031.70
                                  2525 S 7THSpringfieldIL62703              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200780       WILLIAM J. HEALY                          Deposits - 507(a)(6)                                                  5600-000                                        $157.67         $508,874.03
                                  1623 Settlers Way, SWOcean Isle           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachNC28469                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200781       ARTHUR J. HEAPHY                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $508,784.46
                                  25277 Palisade RoadPunta                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33983                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200782       CHERIE L. HEARN                           Deposits - 507(a)(6)                                                  5600-000                                        $119.65         $508,664.81
                                  621 Bucks Lair Ct.Mt. ZionIL62549         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200783       BERNARD HEAVERLY                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $508,575.24
                                  314 Bahia Blanca DrivePunta               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33983                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200784       JODI A. HEFFLER                           Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $508,440.89
                                  1123 Central St.LeominsterMA1453          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200785       DIETER H. HEINZE                          Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $508,306.54
                                  15618 82nd Terrace N.Palm Beach           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GardensFL33418                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200786       PHILLIP A. HEITZ                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $508,216.97
                                  Po Box 321HamiltonIN46742                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200787       RICHARD HEMMING                           Deposits - 507(a)(6)                                                  5600-000                                        $220.15         $507,996.82
                                  364 Woodside DriveCarroltonOH44615        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200788       DAVID HENDERSHOT                          Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $507,952.03
                                  11858 Holt HwyDimondaleMI48821            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200789       JEAN HENDERSON                            Deposits - 507(a)(6)                                                  5600-000                                         $59.36         $507,892.67
                                  8681 Wesleyan Dr., #609Fort               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33919                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200790       LISA HENDERSON                            Deposits - 507(a)(6)                                                  5600-000                                        $179.40         $507,713.27
                                  151 Griffith Creek RdMechanics            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BurgIL62545                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200791       STEVE B. HENDERSON                                 Deposits - 507(a)(6)                                                  5600-000                                        $233.20         $507,480.07
                                  1311 Fire Route 39LakefieldOntarioK0L              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2H0                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200792       GARY HENDERICKSON                      Deposits - 507(a)(6)                                                              5600-000                                        $118.19         $507,361.88
                                  28 Squirrels Heath RoadFairportNY14450 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200793       PATRICIA HENRY                                     Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $507,312.06
                                  3304 Thick Branch RoadN. Myrtle                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29582-9323                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200794       TAMMY HENRY-SMITH                                  Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $507,262.24
                                  709 Dolphin Drive WHighlandIL62249                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200795       GLEN HENSEL                                        Deposits - 507(a)(6)                                                  5600-000                                         $22.39         $507,239.85
                                  1955 Main StWaterportNY14571                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200796       JUDY L. HEPPNER                                    Deposits - 507(a)(6)                                                  5600-000                                        $358.28         $506,881.57
                                  5399 Cambria RoadSanbornNY14132                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200797       MARTHA J. HERMAN                                   Deposits - 507(a)(6)                                                  5600-000                                         $26.47         $506,855.10
                                  2492 E. 88th StreetNewaygoMI49337                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200798       MICHAEL P. HERN                                    Deposits - 507(a)(6)                                                  5600-000                                         $26.50         $506,828.60
                                  712 21st Ave.Union CityNJ7087                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200799       MARTHA A. HERNANDEZ                                Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $506,649.46
                                  612 Dock DriveLake BarringtonIL60010               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200800       ANDREW HERON                                       Deposits - 507(a)(6)                                                  5600-000                                        $129.32         $506,520.14
                                  17 Horning Dr.HamiltonONL9C6L2                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200801       JENNIFER HERRMAN                       Deposits - 507(a)(6)                                                              5600-000                                        $160.85         $506,359.29
                                  8175 Idlewood DriveBloomiingtonIL61705 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200802       GEORGE HERTWECK                                    Deposits - 507(a)(6)                                                  5600-000                                        $223.93         $506,135.36
                                  49 Worcester Rd.RochesterNY14616                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,577.91
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200803       LYNDA HETEL                                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $506,045.79
                                  162 Chapel Ridge CircleMyrtle                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29588                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200804       PAMELA HEWITT                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $505,956.22
                                  64 Scotch Cap Road Unit 122Quaker                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HillCT6375                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200805       MICHAEL L. HIEBER                                  Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $505,861.35
                                  1310 W Woodside Dr.DunlapIL62525                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200806       DANIELLE HIGGINS                                   Deposits - 507(a)(6)                                                  5600-000                                        $160.91         $505,700.44
                                  3808 SE 19th Ave.Cape CoralFL33904                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200807       KAREN M. HIGGINS                                   Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $505,616.70
                                  6367 Adrian HwyConwaySC29526                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200808       STEVE HIGGINS                                      Deposits - 507(a)(6)                                                  5600-000                                        $221.80         $505,394.90
                                  2 Jasmine CtCoventryRI2816                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200809       ELIZABETH HILDERMAN                                Deposits - 507(a)(6)                                                  5600-000                                        $540.55         $504,854.35
                                  61 San Mateo DriveNepeanOntarioK2J                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  5H4                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200810       MELISSA HILDRETH                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $504,675.21
                                  2168 Elkridge CircleHighlandMI48356                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200811       MARION L. HILTON, SR.                  Deposits - 507(a)(6)                                                              5600-000                                        $252.81         $504,422.40
                                  505 Ramblewood Cir.Little RiverSC29566 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200812       RICHARD HINDS                                      Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $504,377.62
                                  412 Pendik RoadJacksonvilleIL62650                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200813       GERALDINE HINELINE                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $504,288.05
                                  1305 Barnsdale St.Lehigh AcresFL33936              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200814       STEPHEN HIRD                                       Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $504,246.18
                                  118 JASMINE CIRCLETROUTMAN, NC                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  28166                                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,889.18
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200815       LINDA K. HISCOCK                          Deposits - 507(a)(6)                                                  5600-000                                         $79.87         $504,166.31
                                  2517 SW 52nd LnCape CoralFL33914          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200816       JEANNETTE HITT O'BRIEN                    Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $504,071.44
                                  913 Apple Blossom                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveDeForestWI53532                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200817       AMANDA HOBART                             Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $504,021.62
                                  74 Lyman StPittsfieldMA1201               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200818       ABBY HODGE                                Deposits - 507(a)(6)                                                  5600-000                                        $115.54         $503,906.08
                                  406 S. Pine StreetArthurIL61911           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200819       PAUL HOEKSEMA                             Deposits - 507(a)(6)                                                  5600-000                                         $37.89         $503,868.19
                                  163 Prospect NE APT 2Grand                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RapidsMI49503                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200820       JOHN HOFFMAN                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $503,778.62
                                  13841 S 28th StreetVicksburgMI49093       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200821       KEVIN HOLBROOK                            Deposits - 507(a)(6)                                                  5600-000                                         $32.86         $503,745.76
                                  35 Old Oxford Rd.CharltonMA1507           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200822       DIANE HOLLANDSWORTH                       Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $503,695.94
                                  1321 Jefferson Dr.EnglewoodFL34224        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200823       RONALD E. HOLLERAN                        Deposits - 507(a)(6)                                                  5600-000                                        $106.21         $503,589.73
                                  390 Green Mountain                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TurnpikeChesterVT5143                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200824       JANET HOLLEY                              Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $503,542.30
                                  117 Rotonda Lakes Circle Apt. 1Rotonda    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  WestFL33947                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200825       CAROLE M. HOLMES                          Deposits - 507(a)(6)                                                  5600-000                                         $84.27         $503,458.03
                                  4 Whittlesey St.MaloneNY12953             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200826       STEVE HOLMI                               Deposits - 507(a)(6)                                                  5600-000                                         $45.05         $503,412.98
                                  5607 Woodstock DrLansingMI48917           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00              $833.20
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


       1                2                                 3                                                                 4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200827       TODD HOLSTEAD                                       Deposits - 507(a)(6)                                                  5600-000                                        $184.44         $503,228.54
                                  1030 Knoll Wood CtWinter                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsFL32708                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200828       SEAN HONEYWILL                       Deposits - 507(a)(6)                                                                 5600-000                                         $44.78         $503,183.76
                                  458 Seminole Avenue NEAtlantaGA30307 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200829       BETTY HONISKO                                       Deposits - 507(a)(6)                                                  5600-000                                         $43.70         $503,140.06
                                  19505 Quesada AvenueUnit GG-103Port                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33948                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200830       ROY HOOD                                            Deposits - 507(a)(6)                                                  5600-000                                        $418.59         $502,721.47
                                  119 Valecrest                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveEtobicokeOntarioM9A4P7                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200831       WILLIAM K. HOOD                                     Deposits - 507(a)(6)                                                  5600-000                                         $47.44         $502,674.03
                                  617 Charter DriveLongsSC29568                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200832       DEE A. HOOVER                                       Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $502,629.25
                                  3947 Pinebrook CrLittle RiverSC29566                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200833       JOHN HOPKINS                                        Deposits - 507(a)(6)                                                  5600-000                                         $36.46         $502,592.79
                                  91 Nestling LoopSt CloudFL34769                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200834       MARIA HOPKINS                                       Deposits - 507(a)(6)                                                  5600-000                                        $138.49         $502,454.30
                                  37 Cummings LaneWinthropME4364                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200835       MICHAEL W. HOPKINS                                  Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $502,364.73
                                  2940 Stewartstown                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadMorgantownWV26508-1415                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200836       CHRISTINE HORANZY                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $502,185.59
                                  845 N Grand StreetWest SuffieldCT6093               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200837       HELEN HORNE                             Deposits - 507(a)(6)                                                              5600-000                                         $94.87         $502,090.72
                                  154 Pinfeather TrailMyrtle BeachSC29588 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200838       STEPHANIE HOUGH                                     Deposits - 507(a)(6)                                                  5600-000                                        $247.18         $501,843.54
                                  18827 Athens Blacktop                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadPetersburgIL62675                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                  Page Subtotals:                                                                        $0.00           $1,569.44
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          200839       CHERYL HOUSLEY                                   Deposits - 507(a)(6)                                                  5600-000                                        $319.91         $501,523.63
                                  1700 Skyridge CourtStoughtonWI53589              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200840       WILLIAM G. HOWARD                                Deposits - 507(a)(6)                                                  5600-000                                        $105.47         $501,418.16
                                  5561 Greyston StreetPalm                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HarborFL34685                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200841       ANDREA HOWE                                      Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $501,373.38
                                  225 Church StreetLarksvillePA18704               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200842       MARGARET HOWLAND                                 Deposits - 507(a)(6)                                                  5600-000                                        $136.74         $501,236.64
                                  4 Marie DriveBristolRI2809                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200843       LARRY HROMOWYK                     Deposits - 507(a)(6)                                                                5600-000                                        $134.35         $501,102.29
                                  181 17TH AveNorth TonawandaNY14120 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200844       JIN HUANG                                        Deposits - 507(a)(6)                                                  5600-000                                        $174.76         $500,927.53
                                  1294 Parc Du Village                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  St.OttawaOntarioKIC 7B1                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200845       ELIZABETH HUDSON                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $500,837.96
                                  309 Kloack StreetMichigan                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CenterMI49254                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200846       MARY J. HUFF                                     Deposits - 507(a)(6)                                                  5600-000                                        $595.45         $500,242.51
                                  2394 Canton RoadAkronOH44312                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200847       CAROLYN HUGHES                                   Deposits - 507(a)(6)                                                  5600-000                                         $39.30         $500,203.21
                                  223 West Main StreetBurlingtonMI49029            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200848       MIMI DARLENE HUGHES                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $500,113.64
                                  8957 1/2 Sprucevale                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadRogersOH44455                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200849       LEE HUIZENGA                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $500,024.07
                                  1298 Waukazoo DriveHollandMI49424                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200850       CATHLEEN HULL                                    Deposits - 507(a)(6)                                                  5600-000                                        $266.28         $499,757.79
                                  6038 E Pleasant View RdRock                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CityIL61070                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                               Page Subtotals:                                                                        $0.00           $2,085.75
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200851       MICHAEL J. HULSEBUS                       Deposits - 507(a)(6)                                                  5600-000                                        $447.85         $499,309.94
                                  597 GrenelefeFontanaWI53125               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200852       MARK HUMBY                                Deposits - 507(a)(6)                                                  5600-004                                         $91.49         $499,218.45
                                  301 Northshore Blvd                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  WestBurlingtonOntarioL7T1A6               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200853       SARA HUMPHREY KEITH                       Deposits - 507(a)(6)                                                  5600-000                                        $142.30         $499,076.15
                                  5376 NYS Rt. 26Whitney PointNY13862       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200854       GINNIE HUMPHREYS                          Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $499,018.38
                                  3170 North Meridian                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadCamdenIN46917                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200855       LISA HUNZIKER                             Deposits - 507(a)(6)                                                  5600-000                                         $53.74         $498,964.64
                                  3874 S Rock City Rd.RidottIL61067         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200856       JOYCE HURLEY                              Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $498,922.77
                                  36 Desota DrSpringfieldIL62711            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200857       JOSHUA D. HURNE                           Deposits - 507(a)(6)                                                  5600-000                                        $146.44         $498,776.33
                                  131 Stephen DriveStoningtonCT6378         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200858       LESLIE HUTCHINSON                         Deposits - 507(a)(6)                                                  5600-000                                        $410.46         $498,365.87
                                  479 Greenbriar PlaceJonesvilleMI49250     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200859       CAROL HUTTER                              Deposits - 507(a)(6)                                                  5600-000                                        $209.35         $498,156.52
                                  217 Ironwood DrivePekinIL61554            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200860       THOMAS HUTTON, JR.                        Deposits - 507(a)(6)                                                  5600-000                                         $76.32         $498,080.20
                                  170 Cox StreetHudsonMA1749                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200861       ERNEST H. HYDE                            Deposits - 507(a)(6)                                                  5600-000                                        $150.20         $497,930.00
                                  59 Depot StreetWestfordMA1886             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200862       JOYCE HYDE                                Deposits - 507(a)(6)                                                  5600-000                                         $22.39         $497,907.61
                                  3509 Satinwood DriveSpringfieldIL62712    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                  Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                             Bank Name: Union Bank
                                                                                                                                      Account Number/CD#: XXXXXX3464
                                                                                                                                                                Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                   Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                  Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                  Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                             Code                                                           ($)
   01/15/14          200863       CAROLYN HYMIAK                                 Deposits - 507(a)(6)                                                  5600-000                                        $102.29         $497,805.32
                                  2328 Brooksboro DriveEriePA16510               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200864       GAIL IAKOVIDIS                                 Deposits - 507(a)(6)                                                  5600-000                                        $103.35         $497,701.97
                                  407 robin LaneWildwoodFL34785                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200865       DAX IMHOFF                                     Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $497,478.05
                                  249 Bellerive RoadSpringfieldIL62704           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200866       DOLORES INDOVINA                               Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $497,433.27
                                  1118 Coral Sand DriveN. Myrtle                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29582                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200867       CAROLYN IRACE                                  Deposits - 507(a)(6)                                                  5600-000                                        $147.61         $497,285.66
                                  52 Tilda Hill RoadFloridaMA1247                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200868       PAUL ISLEY                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $497,196.09
                                  8299 Mark DriveRoscoeIL61073                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200869       THERESA ITRI                                   Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $497,093.27
                                  235 Robbins StreetWaterburyCT6708              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200870       MARIA PAMELA ANDRADE IZQUIERDO Deposits - 507(a)(6)                                                                  5600-000                                        $142.86         $496,950.41
                                  1 Normal StWorcesterMA1605     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200871       JAMES J. JACKSON                               Deposits - 507(a)(6)                                                  5600-000                                         $68.71         $496,881.70
                                  1004 Maple Ct.Lower BurrellPA15068             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200872       KEITH JACKSON                                  Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $496,792.13
                                  27 Nixon DriveKenvilNJ7847                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200873       LINDA JACKSON                                  Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $496,702.56
                                  86 Atwater Rd.CantonCT6019                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200874       NEAL JACKSON                                   Deposits - 507(a)(6)                                                  5600-000                                        $333.90         $496,368.66
                                  26 Oakes CircleMillburyMA1527                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200875       SHARON M. JACOBS                          Deposits - 507(a)(6)                                                  5600-000                                         $58.41         $496,310.25
                                  100 Timberlane                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveWilliamsvilleNY14221                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200876       DENISE JACOBY-SMITH                       Deposits - 507(a)(6)                                                  5600-000                                         $26.50         $496,283.75
                                  504 Ash LaneFactoryvillePA18419           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200877       MARK MAGODRINSKI                          Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $496,200.01
                                  110 Pine Run Church RdApolloPA15613       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200878       CHARLES JAKEWAY                           Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $496,160.26
                                  661 Herman AveStar CityWV26505            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200879       GORDON RAY JAMES                          Deposits - 507(a)(6)                                                  5600-000                                         $99.63         $496,060.63
                                  316 W Chestnut StreetCantonIL61520        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200880       JOHN JAMESON                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $495,971.06
                                  522 Kemp StPittsburghPA15220              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200881       AMY JAMIESON                              Deposits - 507(a)(6)                                                  5600-000                                        $178.40         $495,792.66
                                  421 Hill St.CarlinvilleIL62626            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200882       DENISE JANHUNEN                           Deposits - 507(a)(6)                                                  5600-000                                         $53.17         $495,739.49
                                  576 Alger StreetWinchendonMA1475          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200883       GARY F. JARVIS                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $495,560.35
                                  1037 Pearson                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveWoodstockOnterioN4S8V1               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200884       SCOTT JARVIS                              Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $495,454.35
                                  395 Bonanza ParkColchesterVT5446          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200885       BONNIE JENKS                              Deposits - 507(a)(6)                                                  5600-000                                         $96.72         $495,357.63
                                  846 Zaltz RoadAtholNY12810                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200886       JANICE C. JEWELL                          Deposits - 507(a)(6)                                                  5600-000                                        $238.50         $495,119.13
                                  7 Parker RoadGrovelandMA1834              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200887       YVONNE R. JOHN                                     Deposits - 507(a)(6)                                                  5600-000                                         $71.28         $495,047.85
                                  261 Jefferson RoadNewarkOH43055                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200888       ANDREWE JOHNSON                                    Deposits - 507(a)(6)                                                  5600-000                                        $214.75         $494,833.10
                                  562 Westwood Blvd.CantonIL61520                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200889       CHRISTINE JOHNSON                                  Deposits - 507(a)(6)                                                  5600-000                                         $47.44         $494,785.66
                                  709 N Price RdFlorenceSC29506                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200890       CINDRA JOHNSON                                     Deposits - 507(a)(6)                                                  5600-000                                        $130.96         $494,654.70
                                  1510 Ariana St., Lot                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #442LakelandFL33803                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200891       CYNTHIA JOHNSON                                    Deposits - 507(a)(6)                                                  5600-000                                        $113.95         $494,540.75
                                  709 N Price RdFlorenceSC29506                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200892       ELMER JOHNSON                                      Deposits - 507(a)(6)                                                  5600-000                                         $22.30         $494,518.45
                                  5636 East F. Ave.KalamazooMI49004                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200893       STACY JOHNSTON-BEAUDIN                             Deposits - 507(a)(6)                                                  5600-000                                        $239.24         $494,279.21
                                  PO BOX 64417 Lake                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetChateaugayNY12920                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200894       KAREN M. JOLIN                      Deposits - 507(a)(6)                                                                 5600-000                                         $44.78         $494,234.43
                                  1438 N. Brookfield RoadOakhamMA1068 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200895       ELIZABETH F. JONES                                 Deposits - 507(a)(6)                                                  5600-000                                         $47.44         $494,186.99
                                  6105 Twain St., #107OrlandoFL32835                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200896       JOHN W. JONES                                      Deposits - 507(a)(6)                                                  5600-000                                         $93.78         $494,093.21
                                  23 Sabrina DriveEstobicokeOntarioM9R               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2J4                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200897       BETTY ANN JONGELING                    Deposits - 507(a)(6)                                                              5600-000                                         $44.78         $494,048.43
                                  144 Delmar DriveHamiltonOntarioL9C 1J9 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200898       KEN JUBIN                                          Deposits - 507(a)(6)                                                  5600-000                                         $72.19         $493,976.24
                                  P.O. Box 808Lake PlacidNY12946                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200899       DIANE M. JUDA                          Deposits - 507(a)(6)                                                              5600-000                                        $179.14         $493,797.10
                                  898 Johnathan Dr.MississaugaOntarioL4Y ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1J8                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200900       KAYLA JUDD                                         Deposits - 507(a)(6)                                                  5600-000                                        $146.44         $493,650.66
                                  31 Irwin CtWinchendonMA1475                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200901       NATHAN KACZANOWSKI                                 Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $493,516.30
                                  8226 Oatka TrailLeroyNY14482                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200902       MARIE B. KADLIK                                    Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $493,471.52
                                  173 Hill St.HollistonMA1746                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200903       LUTZ KAISER                                        Deposits - 507(a)(6)                                                  5600-000                                         $74.73         $493,396.79
                                  Hardackerstr. 5Baden-Baden76530                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200904       COLLEEN KALAGHER                                   Deposits - 507(a)(6)                                                  5600-000                                        $137.64         $493,259.15
                                  9 Brightside AveShrewsburyMA1545                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200905       KRISTEN KALAGHER                                   Deposits - 507(a)(6)                                                  5600-000                                        $244.79         $493,014.36
                                  43 Randall StreetWorcesterMA1606                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200906       LINDA KALVINEK                                     Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $492,969.57
                                  11 Maple AveN OxfordMA1537                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200907       MARGOT KAMPF                         Deposits - 507(a)(6)                                                                5600-000                                         $91.69         $492,877.88
                                  134 Duprey StreetSaranac LakeNY12983 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200908       RICHARD K. KARLESKENT                              Deposits - 507(a)(6)                                                  5600-000                                         $79.82         $492,798.06
                                  27 South StreetMaloneNY12953                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200909       DEBORAH J. KASABIAN                                Deposits - 507(a)(6)                                                  5600-000                                        $521.17         $492,276.89
                                  155 Lakeview                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AvenueTyngsboroughMA1879                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200910       MARLIN KAUFFMAN                                    Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $492,219.12
                                  13886 60th StreetAltoMI49302                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,757.12
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200911       ROBERT I. KECK                            Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $492,124.25
                                  117 Lakeview Dr.ButlerPA16001             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200912       CHARLOTTE KEE                             Deposits - 507(a)(6)                                                  5600-000                                         $13.24         $492,111.01
                                  Po Box 716AuburndaleFL33823               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200913       CORINNE KEEVEN                            Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $492,066.23
                                  11136 Armstrong Dr. S.SaqinawMI48609      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200914       KEITH G. KEHLER                           Deposits - 507(a)(6)                                                  5600-000                                        $199.28         $491,866.95
                                  910 Point View LaneLakelandFl33813        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200915       ANNA KEITHLEY                             Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $491,677.21
                                  2225 College AvenueQuincyIL62301          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200916       LAURA KELK                                Deposits - 507(a)(6)                                                  5600-000                                        $160.91         $491,516.30
                                  152 Parkview RoadKeswickOntarioL4P        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2J7                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200917       LAURIANN KELLAND                          Deposits - 507(a)(6)                                                  5600-000                                         $69.01         $491,447.29
                                  36 Rutland StreetWatertownMA2472          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200918       MARGARET KELLIHER                         Deposits - 507(a)(6)                                                  5600-000                                        $108.59         $491,338.70
                                  31 Springfield StreetWilbrahamMA1095      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200919       PAULETTE KAY KELLOGG                      Deposits - 507(a)(6)                                                  5600-000                                        $109.66         $491,229.04
                                  1960 Burton AvenueHoltMI48842             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200920       CAITLIN KELLY                             Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $491,179.22
                                  40 Westfield Rd.AmherstNY14226            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200921       COLIN & MARY JANE KELLY                   Deposits - 507(a)(6)                                                  5600-000                                        $328.85         $490,850.37
                                  103 Battery St.Fort ErieOnterioL2A 3L4    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200922       DENNIS AND SHERRY KELLY                   Deposits - 507(a)(6)                                                  5600-000                                        $277.61         $490,572.76
                                  1217 Collins AvenueJefferson              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HillsPA15025                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200923       JAMES KELLY                                        Deposits - 507(a)(6)                                                  5600-000                                         $79.50         $490,493.26
                                  31 Northwood DriveMaltaNY12020                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200924       CAROLYN KENDALL                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $490,403.69
                                  2758 Summitview Dr.LakelandFL33812                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200925       LINDA KENNEDY                          Deposits - 507(a)(6)                                                              5600-000                                         $32.86         $490,370.83
                                  152 Castle Wynd DriveLoves ParkIL61111 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200926       SARA KENNEDY                                       Deposits - 507(a)(6)                                                  5600-000                                         $95.16         $490,275.67
                                  1916 West River RoadLincolnVT5443                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200927       DEBORAH KEPHART                                    Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $490,150.06
                                  208 Florida StreetWashingtonIL61571                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200928       KEN AND MARILYN KERIK                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $490,060.49
                                  43 Bethany DriveFremontOH43420                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200929       STUART KERR                                        Deposits - 507(a)(6)                                                  5600-000                                         $26.47         $490,034.02
                                  P.O. Box 3059ElmvaleOntarioL0L 1P0                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200930       BROOKLIN KERR-MAUK                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $489,944.45
                                  21478 Buckland Holden                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RdCridersvilleOH45806                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200931       SRINIVASAN KESHAV                                  Deposits - 507(a)(6)                                                  5600-000                                        $551.68         $489,392.77
                                  509 Queensdale                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CourtWaterlooOntarioN2T 1P6                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200932       AMANDA O. & KEVIN A. KESTERSON        Deposits - 507(a)(6)                                                               5600-000                                        $299.87         $489,092.90
                                  293 Washington StreetGloucesterMA1930 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200933       STEWART A. KETZEL                                  Deposits - 507(a)(6)                                                  5600-000                                         $83.37         $489,009.53
                                  284 Brachton RoadSlippery                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RockPA16057                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200934       SALLY KHUDAIRI                                     Deposits - 507(a)(6)                                                  5600-000                                        $303.75         $488,705.78
                                  600A Washington StWellesleyMA2482                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,866.98
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200935       KATHRYN KIDDER                                    Deposits - 507(a)(6)                                                  5600-000                                        $121.10         $488,584.68
                                  2778 Hugo RoadConwaySC29527                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200936       ANN KILKUSKIE                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $488,495.11
                                  7785 Shepherds Glen                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Rd.KalamazooMI49009                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200937       MARY H. KIMBROUGH                                 Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $488,395.47
                                  PO Box 323KathleenFL33849-0323                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200938       DAVID KIMMEL                                      Deposits - 507(a)(6)                                                  5600-000                                        $115.20         $488,280.27
                                  809 North Buhl Farm                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveHermitagePA16148                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200939       AMY KING                             Deposits - 507(a)(6)                                                               5600-000                                        $123.49         $488,156.78
                                  6 Maple Ridge DriveWest ChazyNY12992 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200940       DONNA KIRBY                                       Deposits - 507(a)(6)                                                  5600-000                                         $79.31         $488,077.47
                                  809 Timber Ridge                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RdMechanicsburgIL62545                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200941       MICHAEL AND LUCILLE KLASSEN                       Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $488,037.72
                                  5 W.W. AvePottsvillePA17901                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200942       GAVIN KLECKLER                                    Deposits - 507(a)(6)                                                  5600-000                                         $55.76         $487,981.96
                                  2210 Farmdale LaneFreeportIL61032                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200943       TIFFANY KLECKLER                                  Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $487,940.09
                                  2210 Farmdale LaneFreeportIL61032                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200944       MEGAN KLEIN                                       Deposits - 507(a)(6)                                                  5600-000                                         $40.54         $487,899.55
                                  4771 Wild Iris DriveUnit 202Myrtle                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29577                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200945       J.C. CARSON KLINCK                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $487,809.98
                                  34 Elkwood                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveScarborough,OntarioM1C 2C1                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200946       MICHAEL KLINE                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $487,720.41
                                  20427 Centreville Constantine                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RdCentrevilleMI49032                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          200947       MARK & PATRICIA KLINK                     Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $487,530.67
                                  404 E Felicity StAngolaIN46703            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200948       STEVE KLINKE                              Deposits - 507(a)(6)                                                  5600-000                                        $314.01         $487,216.66
                                  4518 Monona DriveMadisonWI53716           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200949       MARLENE KLOOSTER                          Deposits - 507(a)(6)                                                  5600-000                                         $93.42         $487,123.24
                                  24833 44th AvenueMattawanMI49071          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200950       PAULINE D. KLOSTERMAN                     Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $487,075.81
                                  3359 Tupelo AvenueNorth PortFL34286       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200951       CHRISTOPHER J. KLYCZEK                    Deposits - 507(a)(6)                                                  5600-000                                        $364.24         $486,711.57
                                  141 Cass AvenueBuffaloNY14206             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200952       ARLENE S. KOCHER                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $486,622.00
                                  1309 Richmond RoadEastonPA18040           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200953       JAMES AND SARA KOHLBRENNER                Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $486,353.29
                                  5518 Golden Heights                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveFayettevilleNY13066                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200954       KAROLYN KOPROWSKI                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $486,263.72
                                  P.O. Box 9411 Warren                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadBrimfieldMA1010                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200955       DONALD L. KORACH                          Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $486,210.72
                                  45 Eagle DriveNewtonNJ07860-1490          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200956       DOROTHY KORPICS                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $486,121.15
                                  420 Wayne StreetBethanyPA18431            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200957       JOSEPH & MARY KOTECKI                     Deposits - 507(a)(6)                                                  5600-000                                         $90.63         $486,030.52
                                  501 Cross StreetPeruIL61354               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200958       ROBERT W. KOVACS, JR.                     Deposits - 507(a)(6)                                                  5600-000                                        $436.58         $485,593.94
                                  20 Blackstone StreetMendonMA1756          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          200959       DANIEL KRABY                                      Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $485,544.12
                                  1 Smith Ave #1SalemMA1970                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200960       MARIE KRAFT                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $485,454.55
                                  67 Mill Run Dr.RochesterNY14626                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200961       JERRY KRASOVEC                       Deposits - 507(a)(6)                                                               5600-000                                        $149.04         $485,305.51
                                  415-48 Honeysuckle PathAuroraOH44202 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200962       PATSY M. KREPS                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $485,215.94
                                  11 Chelsea CourtP. O. Box                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  8BourbonnaisIL60914                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200963       TAMARA KREUTZER                                   Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $485,174.07
                                  2713 Jane StreetPittsburghPA15203                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200964       ROBERT A. KRIEBEL                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $485,084.50
                                  4908 Cheryl DriveBethlehemPA18017                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200965       NICOLE KRISTOFF                                   Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $484,894.76
                                  12 Merrill RoadSterlingMA1564                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200966       KATHLEEN KROLL                                    Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $484,626.05
                                  905 Wedgewood                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadBethlehemPA18017                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200967       MELISSA KRONENBERG                                Deposits - 507(a)(6)                                                  5600-000                                        $177.65         $484,448.40
                                  230 E Main StWestboroMA1581                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200968       JAMES KROON                                       Deposits - 507(a)(6)                                                  5600-000                                        $133.20         $484,315.20
                                  6518 Lily St SWGrandvilleMI49418                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200969       MELISSA A. KRUSE                                  Deposits - 507(a)(6)                                                  5600-000                                         $95.40         $484,219.80
                                  1109 Tyrone Blvd. NSt.                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Petersburg,FL33710                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200970       JOHN KUBILIS                                      Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $484,124.93
                                  382 Sunderland Road Ste                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1AWorcesterMA1604                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200971       CAROL A. KUHNAU                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $484,035.36
                                  437 Martin RoadRock FallsIL61071                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200972       KOVIN P. KUIZINAS                                  Deposits - 507(a)(6)                                                  5600-000                                         $21.93         $484,013.43
                                  2658 N. 1600 East RoadBlue                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MoundIL62513                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200973       EDWARD KUSMIERZ                                    Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $483,929.69
                                  25 Pinegrove PkHamburgNY14075                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200974       AMY KUTSCHBACH                                     Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $483,750.55
                                  1437 Sawmill CoveFindlayOH45840                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200975       TRACY KUZOFF                                       Deposits - 507(a)(6)                                                  5600-000                                         $44.74         $483,705.81
                                  3040 Oasis Grand Blvd., Apt 2102Ft                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33916                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200976       JOYCELYNE LABBEE                      Deposits - 507(a)(6)                                                               5600-000                                         $26.50         $483,679.31
                                  3505 TalbotTrois-RivieresQuebecG8Y4M6 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200977       CHARLES & LISA LABOMBARD                           Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $483,544.95
                                  42 Moss Glen LnS BurlingtonVT5403                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200978       BRENT C. LACY                                      Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $483,445.31
                                  216 Woodhouse LaneDelandFL32724                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200979       DEBORAH LADD                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $483,355.74
                                  846 Hathaway Point RoadSt.                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AlbansVT5478                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200980       REVEREND D WILLIAM J AND LUCILLE Deposits - 507(a)(6)                                                                    5600-000                                         $89.57         $483,266.17
                                  LA                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  4752 Oak Hill DriveSarasotaFL34232 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200981       PAULA LADUERRE                                     Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $483,224.30
                                  809B 66th Ave NorthMyrtle                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29572                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200982       ELLEN G. LAFFERTY                                  Deposits - 507(a)(6)                                                  5600-000                                         $92.22         $483,132.08
                                  855 Grouper Ct.Murrells InletSC29576               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          200983       LISA LAFLAMME                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $483,042.51
                                  430 La Sila CtPunta GordaFL33950                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200984       CATHERINE M. LAFLER                                Deposits - 507(a)(6)                                                  5600-000                                         $70.17         $482,972.34
                                  3940 New RoadRansomvilleNY14131                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200985       DUSTIN LAFOND                          Deposits - 507(a)(6)                                                              5600-000                                        $268.50         $482,703.84
                                  20151 Murray Hill RdBloomingtonIL61705 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200986       AMY LAHEY                                          Deposits - 507(a)(6)                                                  5600-000                                        $167.48         $482,536.36
                                  1555 Rainbow LaneJacksonvilleIL62650               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200987       LOIS R. LAIRD                                      Deposits - 507(a)(6)                                                  5600-000                                         $85.22         $482,451.14
                                  201 Woodrow Avenue SBattle                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CreekMI49015                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200988       KIM LAMARCHE                                       Deposits - 507(a)(6)                                                  5600-000                                        $106.83         $482,344.31
                                  5626 Clubhouse Dr.New Port                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RicheyFL34653                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200989       MICHEL LAMARRE                                     Deposits - 507(a)(6)                                                  5600-000                                        $180.88         $482,163.43
                                  312, 2E AvenueDeux-MontagnesQCJ7R                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  4X9                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200990       NANCY LAMB                                         Deposits - 507(a)(6)                                                  5600-000                                        $100.72         $482,062.71
                                  14 Erie StP.O. Box                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  256SelkirkOnterioN0A1P0                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200991       GLENDA LAMBOT                                      Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $481,967.84
                                  674 A. Gibson Hill RoadSterlingCT6377              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200992       MICHAEL LAMONS                                     Deposits - 507(a)(6)                                                  5600-000                                         $27.88         $481,939.96
                                  823 Durango Loop                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetDavenportFL33897                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200993       KIMBERLY LAMONTAGNE                                Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $481,760.82
                                  2585 Palmetto Hall BlvdMount                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PleasantSC29466                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200994       JOAN LAMPHIER                                      Deposits - 507(a)(6)                                                  5600-000                                         $64.39         $481,696.43
                                  Po Box 134CloverdaleMI49035                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          200995       DONNA LAMURA                                        Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $481,651.65
                                  175 Lake Ave NApt 1WorcesterMA1605                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200996       JULIE LANCTO                                        Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $481,606.86
                                  884 Hemmingford Rd.MooersNY12958-                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  4217                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200997       JANET M. LANDERS                         Deposits - 507(a)(6)                                                             5600-000                                        $155.54         $481,451.32
                                  2450 S 8th StreetSpringfieldIL62703-3437 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200998       SANDRA LANGLEY                                      Deposits - 507(a)(6)                                                  5600-000                                         $27.15         $481,424.17
                                  PO Box 7640 N. State Route                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  45LudlowIL60949                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          200999       JASON K. LANGLOIS                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $481,245.03
                                  1329 Lake Shore RoadChazyNY12921                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201000       BARBARA LANTZ                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $481,155.46
                                  3783 Bowman Street                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadMansfieldOH44903                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201001       TODD M. LAPORTE                                     Deposits - 507(a)(6)                                                  5600-000                                        $698.80         $480,456.66
                                  19 Debbie DriveSpencerMA1562                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201002       PATRICIA LARAMEE                                    Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $480,322.31
                                  83 Pocasset AveWorcesterMA1606                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201003       BERNARD LARIVIERE                                   Deposits - 507(a)(6)                                                  5600-000                                        $126.40         $480,195.91
                                  3160 Ave MaloBrossardQuebecJ4Y 1B5                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201004       LAURIE LARZAZS                                      Deposits - 507(a)(6)                                                  5600-000                                        $167.48         $480,028.43
                                  39 Gould RoadWareMA1082                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201005       LINDA LASALA                                        Deposits - 507(a)(6)                                                  5600-000                                        $217.19         $479,811.24
                                  15 Greenfield Dr.MerrimackNH3054                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201006       KIMBERLY LASELL                                     Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $479,678.74
                                  2 Ratcliffe DrivePeruNY12972                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201007       VAUGHN LASELL                             Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $479,546.24
                                  2 Ratcliffe DrivePeruNY12972              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201008       GEARY LASHUA                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $479,456.67
                                  P.O. Box 193SterlingMA1564                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201009       FRAN LATORRE                              Deposits - 507(a)(6)                                                  5600-000                                         $56.60         $479,400.07
                                  476 Prospect StreetWest                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BoylstonMA01583-1647                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201010       STACI LAUGHMAN                            Deposits - 507(a)(6)                                                  5600-000                                        $322.45         $479,077.62
                                  742 Cricket CrossingPinckneyMI48169       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201011       BONNIE LAURIE                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $478,988.05
                                  1368 Marie ClaireLaSalleQuebecH8N         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1R9                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201012       TERESA LAVIN                              Deposits - 507(a)(6)                                                  5600-000                                        $209.35         $478,778.70
                                  14390 County Road                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  424NapoleonOH43545                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201013       RONALD LAW                                Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $478,733.91
                                  11301 Dogwood LaneFort Myers              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachFL33931                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201014       PHYLLIS LAWRENZ                           Deposits - 507(a)(6)                                                  5600-000                                         $91.45         $478,642.46
                                  157 Picketts Corners                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Rd.SaranacNY12981                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201015       JAMES A. LAZOR                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $478,463.32
                                  506 Centennial DriveViennaOH44473         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201016       FRANCIS LEAHY                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $478,373.75
                                  908 Spruce StreetQuincyIL62301            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201017       TIMOTHY LEAHY                             Deposits - 507(a)(6)                                                  5600-000                                        $121.79         $478,251.96
                                  15688 State Rt 30ConstableNY12926         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201018       JODI LEARY                                Deposits - 507(a)(6)                                                  5600-000                                        $106.95         $478,145.01
                                  1 Ashley StreetWorcesterMA1604            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201019       MARGARET LECLAIR                                   Deposits - 507(a)(6)                                                  5600-000                                         $49.13         $478,095.88
                                  9 Lamkins RoadSaranacNY12981                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201020       HEATHER LEE                                        Deposits - 507(a)(6)                                                  5600-000                                        $167.48         $477,928.40
                                  6 Dana ParkHopedaleMA1747                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201021       JAY LEFLEUR                                        Deposits - 507(a)(6)                                                  5600-000                                         $92.96         $477,835.44
                                  1915 Brittany RoadLakelandFL33803                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201022       SHAWNA LEHAN                                       Deposits - 507(a)(6)                                                  5600-000                                         $92.75         $477,742.69
                                  120 Beech St.CorinthNY12822                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201023       CHRISTINE A. LEHMAN                                Deposits - 507(a)(6)                                                  5600-000                                        $168.54         $477,574.15
                                  106 Cypress Creek DriveMurrells                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201024       JOANNE LEIGHTON                                    Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $477,529.36
                                  30 Greenacre LaneEast                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LongmeadowMA1028                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201025       NELLIE R. LEIMBACH                    Deposits - 507(a)(6)                                                               5600-000                                         $52.77         $477,476.59
                                  21706 Givenchy HillSan AntonioTX78256 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201026       ELLEN A. LEINS                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $477,387.02
                                  60261 46th StreetLawrenceMI49064                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201027       JOHN LEMCZAK                                       Deposits - 507(a)(6)                                                  5600-000                                         $78.92         $477,308.10
                                  1428 W Genesee StAuburnNY13021                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201028       ROBERT LENCSAK                      Deposits - 507(a)(6)                                                                 5600-000                                         $44.78         $477,263.32
                                  3519 Westminster WayNazarethPA18064 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201029       DONNA LENHARDT                                     Deposits - 507(a)(6)                                                  5600-000                                         $65.72         $477,197.60
                                  532 Miller Ave., Apt. 7HamiltonNJ8610              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201030       BERNADETTE LEO                                     Deposits - 507(a)(6)                                                  5600-000                                         $13.25         $477,184.35
                                  94 Continental DriveLockportNY14094                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00              $960.66
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201031       GAIL P. LEOMBRUNO                         Deposits - 507(a)(6)                                                  5600-000                                         $47.44         $477,136.91
                                  406 Mulpus RoadLunenburgMA1462            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201032       KELLY L. LEON                             Deposits - 507(a)(6)                                                  5600-000                                        $401.47         $476,735.44
                                  313 North Ogden St.BuffaloNY14206         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201033       LU ANN M. LEONARD                         Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $476,690.66
                                  454 NE 35th StreetBoca RatonFL33431       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201034       DALE LEONG                                Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $476,511.52
                                  316 South StreetJamaica PlainMA2130       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201035       NORMAN LESSARD                            Deposits - 507(a)(6)                                                  5600-000                                         $48.44         $476,463.08
                                  117 N. Summerlin Ave.SanfordFL32771       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201036       JASON LESURE                              Deposits - 507(a)(6)                                                  5600-000                                        $343.74         $476,119.34
                                  2100 W. Lawrence Ave., Apt.               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BSpringfieldIL62704                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201037       PAMELA LETENDRE                           Deposits - 507(a)(6)                                                  5600-000                                         $78.70         $476,040.64
                                  22 Clearbrook DriveBelchertownMA1007      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201038       NANCY LEVAC                               Deposits - 507(a)(6)                                                  5600-000                                        $157.31         $475,883.33
                                  11 Town Line Rd.CadyvilleNY12918          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201039       ELIZABETH AND LOUIS LEVINE                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $475,793.76
                                  39 Franklin AveThornhillOntarioL4J 2H2    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201040       KATHLEEN LEWANDO                          Deposits - 507(a)(6)                                                  5600-000                                         $13.24         $475,780.52
                                  43 Eastern Point                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveShrewsburyMA1545                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201041       AMY LEWIS                                 Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $475,601.38
                                  516 Mansfield StBelvidereNJ7823           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201042       MARYLYNN LEWIS                            Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $475,501.74
                                  705 LONG ROADHOMER CITY, PA               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  15748                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,682.61
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201043       ROBERT LEWIS                              Deposits - 507(a)(6)                                                  5600-000                                        $131.44         $475,370.30
                                  30 Emms DriveBarrieOntarioL4N 8H3         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201044       HEATHER L'HEUREUX                         Deposits - 507(a)(6)                                                  5600-000                                        $140.33         $475,229.97
                                  2067 Lexus LaneConwaySC29526              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201045       WILLIAM LIANG                             Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $475,095.62
                                  110 Pauline Johnson                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Rd.CaledoniaOntarioN3W 2G9                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201046       ANTONIO LICATA                            Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $475,000.75
                                  1324 Overlook DrWeirtonWV26062            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201047       MARIANNE LICORISH                         Deposits - 507(a)(6)                                                  5600-000                                         $96.19         $474,904.56
                                  93 Woodlands WayBrockportNY14420          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201048       BRIAN & DAYLE LIEBERMAN                   Deposits - 507(a)(6)                                                  5600-000                                        $133.93         $474,770.63
                                  126 Habor WayAuburndaleFL33823            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201049       MICHAEL S. LIGHT                          Deposits - 507(a)(6)                                                  5600-000                                         $97.25         $474,673.38
                                  PO Box 286966 CrioLisbonNY13658           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201050       SARA L. LIGHT                             Deposits - 507(a)(6)                                                  5600-000                                        $100.39         $474,572.99
                                  705 Kelsey CtRocktonIL61072               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201051       ROBERT LIKUS                              Deposits - 507(a)(6)                                                  5600-000                                         $66.67         $474,506.32
                                  459 Homestead Dr.N.                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201052       LISA LINSCOTT                             Deposits - 507(a)(6)                                                  5600-000                                        $123.49         $474,382.83
                                  7418 Lebanon                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AvenueReynoldsburgOH43068                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201053       MARY L. LITTLE                            Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $474,335.40
                                  24335 Buckingham WayPort                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33980                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201054       SARAH LITZ                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $474,245.83
                                  270 Dartmoor CourtConwaySC29526           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201055       PATRICIA A. LOESWICK                      Deposits - 507(a)(6)                                                  5600-000                                         $47.17         $474,198.66
                                  37 Schuler Ave.TonawandaNY14150           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201056       GAIL LOEW                                 Deposits - 507(a)(6)                                                  5600-000                                        $258.24         $473,940.42
                                  6914 Gushing                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsEdwardsvilleIL62025                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201057       SHARON A. LOKAR                           Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $473,761.28
                                  19315 Thompson LaneThree                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RiversMI49093                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201058       CAROL LOMBARD                             Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $473,626.92
                                  28383 Coco Palm Dr.Punta                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33982                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201059       JOYCE LONERGAN                            Deposits - 507(a)(6)                                                  5600-000                                        $131.44         $473,495.48
                                  320 S. James StreetPO Box                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  579TremontIL61568                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201060       PATRICK LONERGAN                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $473,405.91
                                  77 Potters RdBuffaloNY14220               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201061       ADAM LONG                                 Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $473,271.56
                                  PO Box 171096833 Stalter                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveRockfordIL61108                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201062       RALPH D. LOTT                             Deposits - 507(a)(6)                                                  5600-000                                        $126.17         $473,145.39
                                  C/O Erin Karl507 Fremont                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetElmoreOH43416                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201063       PHILIP LOUD                               Deposits - 507(a)(6)                                                  5600-000                                        $296.53         $472,848.86
                                  PO Box 47210975 Northshore                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DrNorthportMI49670                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201064       MEGAN LOVELACE                            Deposits - 507(a)(6)                                                  5600-000                                        $147.17         $472,701.69
                                  1215 S 28th StreetQuincyIL62301           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201065       COLLEEN LOWE                              Deposits - 507(a)(6)                                                  5600-000                                        $250.62         $472,451.07
                                  38 Brizse AvenueBattle CreekMI49037       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201066       SHERYL LUBAS                              Deposits - 507(a)(6)                                                  5600-000                                        $147.55         $472,303.52
                                  10 Stewart Ave.BeverlyMA1915              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,942.31
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201067       PHYLLIS S. LUBBERT                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $472,213.95
                                  3582 West Wembley                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LaneKalamazooMI49009                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201068       MARK LUBOLD                                        Deposits - 507(a)(6)                                                  5600-000                                        $223.02         $471,990.93
                                  111 Norwood TerraceHolyokeMA1040                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201069       DERRICK LUCAS                                      Deposits - 507(a)(6)                                                  5600-000                                         $91.53         $471,899.40
                                  20 Broad StPlattsburghNY12901                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201070       JOHN C. LUCAS                                      Deposits - 507(a)(6)                                                  5600-000                                         $57.85         $471,841.55
                                  82 Southfield RoadFairfieldCT6824                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201071       KEVIN LUKIAN                                       Deposits - 507(a)(6)                                                  5600-000                                        $192.38         $471,649.17
                                  428 Beaurepaire                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveBeaconsfiledQuebecH9W3C4                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201072       LYNN K. LUSS                                       Deposits - 507(a)(6)                                                  5600-000                                         $48.31         $471,600.86
                                  7050 Old Reaves Ferry                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadConwaySC29582                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201073       LORI LUSTER                                        Deposits - 507(a)(6)                                                  5600-000                                        $169.76         $471,431.10
                                  2521 Chapel Hill Rd.SpringfieldIL62702             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201074       KAREN LYDDON                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $471,341.53
                                  2929 Sunnyside Dr.                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #D368RockfordIL61114                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201075       LINDA LYONS                                        Deposits - 507(a)(6)                                                  5600-000                                          $2.65         $471,338.88
                                  15386 Trevally WayBonita                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsFL34135                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201076       PAUL MACDONALD                        Deposits - 507(a)(6)                                                               5600-000                                        $254.40         $471,084.48
                                  3901 71st West Lot 61BradentonFL34209 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201077       MICHAEL M. MACE                                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $470,905.34
                                  5112 County Route 27CantonNY13617                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201078       MARJORIE MACFAWN                                   Deposits - 507(a)(6)                                                  5600-000                                        $157.94         $470,747.40
                                  147 Windsor CircleOcean Isle                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachNC28469                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,556.12
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


       1                2                                 3                                                                 4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          201079       PETER MACK                                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $470,657.83
                                  802-759-2114VergennesVT5491                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201080       SUSAN MACKINNON                                     Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $470,562.96
                                  227 Lakeshore Road, RR                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  5CobourgOntarioK9A 4J8                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201081       KELLIE MACLEAN                                      Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $470,383.82
                                  94 Mill StreetTaraOntarioN0H 2N0                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201082       DEBORAH MACMILLAN                                   Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $470,115.11
                                  46 Pleasant StreetSpencerMA1562                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201083       JOAN AND SHERRI MADONIA                             Deposits - 507(a)(6)                                                  5600-000                                        $350.99         $469,764.12
                                  2024 Coreenbriar                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadSpringfieldIL62704                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201084       ELAINE MAENPAA                          Deposits - 507(a)(6)                                                              5600-000                                         $94.87         $469,669.25
                                  2006 Trailwood CourtPickeringOntarioL1X ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1T5                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201085       DIANE MAGER                                         Deposits - 507(a)(6)                                                  5600-000                                        $105.20         $469,564.05
                                  25 Pearl StreetLancasterNY14086                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201086       DAVID A. MAGOON                                     Deposits - 507(a)(6)                                                  5600-000                                        $111.25         $469,452.80
                                  9 James CircleSt. AlbansVT5478                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201087       EDWARD F. MAHONEY                                   Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $469,410.93
                                  4 South Elizabeth St.TewksburyMA1876                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201088       ANTON MAJKUT                                        Deposits - 507(a)(6)                                                  5600-000                                         $20.93         $469,390.00
                                  1-104 Evelyn Cr.TorontoONM6P 3E1                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201089       BOB MAKI                                            Deposits - 507(a)(6)                                                  5600-000                                        $130.46         $469,259.54
                                  42 Winslow StreetGardnerMA1440                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201090       JOAN MALANEY                                        Deposits - 507(a)(6)                                                  5600-000                                         $57.35         $469,202.19
                                  2632 Fairway Dr.Niagara FallsNY14305                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201091       MARCY MALERBI                                      Deposits - 507(a)(6)                                                  5600-000                                        $195.25         $469,006.94
                                  17D Highfield RdCharltonMA1507                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201092       TAMMY MALONEY                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $468,917.37
                                  99 Fairlawn Ave, Apt.                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2SouthbridgeMA1550                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201093       FABIO MANCINI                                      Deposits - 507(a)(6)                                                  5600-000                                        $250.42         $468,666.95
                                  124 Treeline BlvdBramptonOntarioL6P                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1C9                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201094       TERRI MANDEL                                       Deposits - 507(a)(6)                                                  5600-000                                         $24.91         $468,642.04
                                  229 Madison AveCuyahoga                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FallsOH44221                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201095       MICHAEL AND PATRICIA MANDEVILLE Deposits - 507(a)(6)                                                                     5600-000                                        $120.84         $468,521.20
                                  458 Braxmar RoadTonawandaNY14150 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201096       CORRINNE MANERA                                    Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $468,476.42
                                  7273 Hidden Valley                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Dr.LambertvilleMI48144                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201097       MICHAEL MANGINI                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $468,386.85
                                  21 Jaimie Ann DrRutlandMA1543                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201098       JANET MANOR                                        Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $468,342.07
                                  4920 Route 11Ellenburg DepotNY12935                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201099       KAREN MARCILLE                                     Deposits - 507(a)(6)                                                  5600-000                                         $83.37         $468,258.70
                                  141 Maple StreetRutlandVT5701                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201100       ROXANE MARCILLE                        Deposits - 507(a)(6)                                                              5600-000                                         $41.69         $468,217.01
                                  141 Maple Street, Unit UpRutlandVT5701 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201101       DAVID MARK                                         Deposits - 507(a)(6)                                                  5600-000                                        $119.38         $468,097.63
                                  2579 Coopers Falls                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadWashagoOntarioL0K 2B0                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201102       TIM MARKER                                         Deposits - 507(a)(6)                                                  5600-000                                         $66.25         $468,031.38
                                  3724 Wexford DrSpringfieldIL62704                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,170.81
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          201103       TIMOTHY F. MARKEY                                Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $467,897.03
                                  240 Clinton StreetConcordNH3301                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201104       GIDEON MARKOWITZ                                 Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $467,717.89
                                  73 Forntenac Ave.BuffaloNY14216                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201105       DONALD E. AND JUDY R. MARKOWSKI Deposits - 507(a)(6)                                                                   5600-000                                         $89.57         $467,628.32
                                  246 Eagle CourtBloomingdaleIL60108 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201106       MICHELE M. MARKS                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $467,538.75
                                  1030 NE 15th LaneCape CoralFL33909               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201107       NANCY S. MARQUETTE                               Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $467,443.88
                                  431 S. Durkin DriveSpringfieldIL62704            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201108       CHERYL L. MARSHALL                               Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $467,394.06
                                  26 Soper Rd.SaranacNY12981                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201109       BRADLEY MARTIN                                   Deposits - 507(a)(6)                                                  5600-000                                        $207.60         $467,186.46
                                  2196 Blake WayOcoeeFL34761                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201110       CYNTHIA MARTIN                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $467,096.89
                                  1949 Bedford RoadFreeportIL61032                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201111       LAURA K. MARTIN                                  Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $467,002.02
                                  297 North Washington                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadApolloPA15613                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201112       MARTHA MARTIN                                    Deposits - 507(a)(6)                                                  5600-000                                        $179.15         $466,822.87
                                  PO BOX 196Ellenburg CenterNY12934                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201113       MICHAEL MARTIN                                   Deposits - 507(a)(6)                                                  5600-000                                        $299.05         $466,523.82
                                  121 Cassidy RoadChateaugayNY12920                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201114       MIKE AND CHERIE MARTIN                           Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $466,334.08
                                  14 Pioneer LaneAuburnMA1501                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                               Page Subtotals:                                                                        $0.00           $1,697.30
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201115       WILLARD J. MARTIN, JR.                             Deposits - 507(a)(6)                                                  5600-000                                         $37.02         $466,297.06
                                  249 Molly DriveMcMurrayPA15317                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201116       TAYLOR MARTINS                                     Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $466,247.24
                                  125 Parker StNew BedfordMA2740                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201117       DANIEL J. MARTINSON                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $466,157.67
                                  6612 Belgian Ave.KalamazooMI49009                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201118       LESLIE MARTZ                                       Deposits - 507(a)(6)                                                  5600-000                                        $130.22         $466,027.45
                                  202 West North 1STFindlayIL62534                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201119       TAMMY MARX                                         Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $465,901.84
                                  520 Knox StreetOgdensburgNY13669                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201120       BEVERLY MASON                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $465,812.27
                                  136 Pinewood Drive, Unit                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  8AGardnerMA1440                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201121       DIANA MASSA                                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $465,722.70
                                  324 DufferinKirklandQuebecH9J 3X6                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201122       PATRICIA MATHENY                                   Deposits - 507(a)(6)                                                  5600-000                                        $127.41         $465,595.29
                                  RR 1, Box 554Sugar GroveOH43155                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201123       DARREL MATHIS                          Deposits - 507(a)(6)                                                              5600-000                                         $89.57         $465,505.72
                                  1011 Hoechester RoadSpringfieldIL62712 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201124       BARBARA J. MATTHEWS                                Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $465,463.85
                                  P.O. Box 59173PittsburghPA15210                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201125       PAMELA MAVILIA                                     Deposits - 507(a)(6)                                                  5600-000                                        $137.00         $465,326.85
                                  21 Redskin TrailGrotonMA01450-1915                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201126       JUDITH A. MAXIM                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $465,237.28
                                  15949 Blue Skies DriveNorth Ft.                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33917                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201127       KATIE MAXWELL                                      Deposits - 507(a)(6)                                                  5600-000                                        $117.92         $465,119.36
                                  52 Orchard DriveMonoOntarioL9W 6L6                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201128       THERESA A. AND JAMES MAYER            Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $465,029.79
                                  43 Drexel StreetWorcesterMA06102-1238 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201129       GARY A. MAYNARD                                    Deposits - 507(a)(6)                                                  5600-000                                         $96.20         $464,933.59
                                  830 Fairway DriveU 1404                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GGLongsSC29568                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201130       ROBERT MAYO                                        Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $464,893.84
                                  7165 Schultz RdNorth                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201131       ARLENE MAZIKOWSKI                                  Deposits - 507(a)(6)                                                  5600-000                                         $76.05         $464,817.79
                                  1706 Colvin Blvd.BuffaloNY14223                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201132       BRIAN MAZJANIS                                     Deposits - 507(a)(6)                                                  5600-000                                        $222.92         $464,594.87
                                  77 Birchwood DrivePortlandME4102                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201133       BETTY LOU MAZUCA                                   Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $464,553.00
                                  3822 Woodburn Loop                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  W.LakelandFL33813                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201134       JOSEPH R. MAZZOLA                                  Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $464,373.86
                                  8964 Cedarview AveJenisonMI49428                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201135       SANDRA LEE MCALEESE                                Deposits - 507(a)(6)                                                  5600-000                                        $455.10         $463,918.76
                                  527 Oneida DriveBurlingtonOntarioL7T               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3T9                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201136       LISA M. MCCAMBRIDGE                                Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $463,823.89
                                  7117 Lipscomb Dr.WilmingtonNC28412                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201137       DIANE & BARRY MCCARTHY                             Deposits - 507(a)(6)                                                  5600-000                                        $132.61         $463,691.28
                                  1825 Southeast 10th AvenueCape                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CoralFL33990                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201138       HAROLD V. MCCARTHY                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $463,601.71
                                  3959 San Rocco DrUnit 612Punta                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33950-8946                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201139       JACQUELINE MCCARTHY                       Deposits - 507(a)(6)                                                  5600-000                                        $178.88         $463,422.83
                                  421 Pompano TerracePunta                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33950                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201140       KAREN MCCARTHY                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $463,333.26
                                  2230 Brandon RoadLakelandFL33803          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201141       PATRICIA & ERNEST MCCARTHY                Deposits - 507(a)(6)                                                  5600-000                                        $115.49         $463,217.77
                                  200 Horizons West Apt 109Boynton          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachFL33435                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201142       ERNEST E. MCCARTHYU                       Deposits - 507(a)(6)                                                  5600-004                                        $115.49         $463,102.28
                                  60 Heritage DrivePO Box                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  195WarrenMA1083                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201143       JOHN & LINDA MCCAULEY                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $463,012.71
                                  50 McCarthy Rd E Unit                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  5StratfordOntarioN5A OA1                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201144       JOYCE L. MCCLAY                           Deposits - 507(a)(6)                                                  5600-000                                        $174.37         $462,838.34
                                  10200 Lakeshore Drive #30Myrtle           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29572                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201145       PATRICIA MCCLELLAND                       Deposits - 507(a)(6)                                                  5600-000                                        $251.96         $462,586.38
                                  19 Circle DriveSpringfieldIL62703         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201146       ANGELA MCCLINTON                          Deposits - 507(a)(6)                                                  5600-000                                        $408.41         $462,177.97
                                  536 12th StreetNiagara FallsNY14301       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201147       RACHEL MCCOLLOR                           Deposits - 507(a)(6)                                                  5600-000                                        $145.75         $462,032.22
                                  1636 Perry CircleMyrtle BeachSC29577      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201148       CATHY MCCOOL                              Deposits - 507(a)(6)                                                  5600-000                                        $134.73         $461,897.49
                                  227 Potters RoadBuffaloNY14220            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201149       JANICE MCCOY                              Deposits - 507(a)(6)                                                  5600-000                                         $84.00         $461,813.49
                                  2142 Warwick DrSpringfieldFL62704         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201150       CHRIS MCCRORY                             Deposits - 507(a)(6)                                                  5600-000                                         $63.33         $461,750.16
                                  549 Blakely Ct. NWCalabashNC28467         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201151       MICHELLE MCCULLEY                         Deposits - 507(a)(6)                                                  5600-000                                         $24.91         $461,725.25
                                  1990 East Monroe RdHartMI49420            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201152       SCOTT K. MCDONALD                         Deposits - 507(a)(6)                                                  5600-000                                         $43.46         $461,681.79
                                  13289 Nys Rte 9NPO Box                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  116JayNY12941-0116                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201153       GAYLORD MCDONALD                          Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $461,624.02
                                  8993 Route 22West ChazyNY12992            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201154       DONALD MCELROY                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $461,444.88
                                  39 O'Brien Street, RR3Shanty              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BayOntarioL0L 2L0                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201155       JANET MCELROY                             Deposits - 507(a)(6)                                                  5600-000                                        $142.72         $461,302.16
                                  617 W. FairgroundHillsboroIL62049         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201156       JOYCE MCELROY                             Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $461,167.81
                                  16990 Pine Lake RoadBeloitOH44609         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201157       MARSHA MCFALL                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $461,078.24
                                  3401 South Third                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetSpringfieldIL62703                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201158       DUANE MCGILL, II                          Deposits - 507(a)(6)                                                  5600-000                                        $680.49         $460,397.75
                                  6522 Field Ave.WhitehouseOH43571          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201159       CHRIS & LISA MCGINNIS                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $460,308.18
                                  25736 Roundstone AvePlainfieldIL60585     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201160       WILLIAM T. MCGOVERN                       Deposits - 507(a)(6)                                                  5600-000                                        $204.48         $460,103.70
                                  10 1/2 Bridle PathAuburnMA1501            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201161       MRS. ROBERT MCGRADY                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $460,014.13
                                  2745 River RoadElwooc CityPA16117         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201162       LEO R. MCGRATH                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $459,924.56
                                  9958 SW 59th CircleOcalaFL34476           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201163       TRACY E. MCGREW                                    Deposits - 507(a)(6)                                                  5600-000                                        $141.51         $459,783.05
                                  510 KernSpringfieldIL62703                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201164       DAVID L. MCILWAIN                                  Deposits - 507(a)(6)                                                  5600-000                                         $88.80         $459,694.25
                                  432 Felton RoadSchuyler FallsNY12985               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201165       KEITH MCINTYRE                                     Deposits - 507(a)(6)                                                  5600-000                                         $73.67         $459,620.58
                                  2727 Phoenix Palm TerraceNorth                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PortFL34288                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201166       WALTER MCKAY                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $459,531.01
                                  6 Pequot RoadWaylandMA1778                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201167       GEORGE MCKENNA                        Deposits - 507(a)(6)                                                               5600-000                                        $270.83         $459,260.18
                                  155 Fulbourn PlaceMyrtle BeachSC29579 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201168       MARIE J. MCKENNA                                   Deposits - 507(a)(6)                                                  5600-000                                         $22.39         $459,237.79
                                  8571 Amberjack Circle, Unit                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  202EnglewoodFL34224                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201169       THOMAS MCKENNA                                     Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $459,180.02
                                  3144 Moon Shadow LaneGarden                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CitySC29576                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201170       ALBERT T. MCLAUGHLIN                   Deposits - 507(a)(6)                                                              5600-000                                         $94.87         $459,085.15
                                  4728 Southern TrailMyrtle BeachSC29579 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201171       KATHLEEN MCLAUGHLIN                   Deposits - 507(a)(6)                                                               5600-000                                        $189.74         $458,895.41
                                  4400 Mossrose CourtMurrysvillePA15668 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201172       NITA MCLEON                                        Deposits - 507(a)(6)                                                  5600-000                                         $39.96         $458,855.45
                                  1122 Cranbrook DriveArdenNC28704                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201173       GARY MCLOUTH                                       Deposits - 507(a)(6)                                                  5600-000                                        $124.28         $458,731.17
                                  15880 Chatfield DriveFt. MyersFL33908              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201174       RICHARD MCMANUS                                    Deposits - 507(a)(6)                                                  5600-000                                        $169.04         $458,562.13
                                  5-195 Barker StLondonOntarioN5Y 1Y2                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,362.43
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201175       ANN MCMILLIAN                             Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $458,372.39
                                  27206 220TH AveLong GroveIA52756          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201176       DIANE MCNALLY                             Deposits - 507(a)(6)                                                  5600-000                                        $131.44         $458,240.95
                                  70 Linda CircleMarlboroughMA1752          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201177       PATRICK A. MCNAMARA                       Deposits - 507(a)(6)                                                  5600-000                                        $340.31         $457,900.64
                                  303 W Morningside DrPeoriaIL61614         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201178       WILLIAM M. MCNEA                          Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $457,858.77
                                  15621 Norway Ave.ClevelandOH44111         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201179       CAROL MCNULTY                             Deposits - 507(a)(6)                                                  5600-000                                         $43.68         $457,815.09
                                  55 Sarah                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CrescentSmithvilleOntarioL0R2A0           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201180       MELISSA A. MCPHAIL                        Deposits - 507(a)(6)                                                  5600-000                                        $247.18         $457,567.91
                                  541 West GrantP.O. Box                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  48PittsfieldIL62363                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201181       CAROLYN MCPHERSON                         Deposits - 507(a)(6)                                                  5600-000                                        $160.85         $457,407.06
                                  817 Franklin St.OgdensburgNY13669         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201182       DENNIS MCQUAIDE                           Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $457,362.27
                                  2413 Red Oak DrivePittsburghPA15220       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201183       THOMAS J. MECHTENBERG                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $457,272.70
                                  111 Durm StreetNilesMI49120               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201184       DIANE MEEHAN                              Deposits - 507(a)(6)                                                  5600-000                                        $108.86         $457,163.84
                                  3433 Brodhead Road, Suite                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  7MonacaPA15061                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201185       ELIZABETH MEFFERT                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $457,074.27
                                  201 S Yellowstone Drive,                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #317MadisonWI53705                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201186       BRIAN MEIER                               Deposits - 507(a)(6)                                                  5600-000                                        $173.31         $456,900.96
                                  99 Wilson StreetPittsburghPA15223         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201187       JEFF MEISSNER                                     Deposits - 507(a)(6)                                                  5600-000                                        $236.11         $456,664.85
                                  351 Charlotte AveHamburgNY14075                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201188       MICHAEL & KATHI MELCHER                           Deposits - 507(a)(6)                                                  5600-000                                        $139.33         $456,525.52
                                  257 Chasteen StreetPunta                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33950                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201189       CATHERINE MELDER                                  Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $456,435.95
                                  103 Jacobs LaneButlerPA16001                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201190       KAREN MELVIN-ENGEL                                Deposits - 507(a)(6)                                                  5600-000                                        $360.40         $456,075.55
                                  401 S. First StreetIndustryIL61440                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201191       WALTER M. MENARD                                  Deposits - 507(a)(6)                                                  5600-000                                         $23.85         $456,051.70
                                  456 Dover CircleEnglewoodFL34223                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201192       CATHERINE A. MERWIN                               Deposits - 507(a)(6)                                                  5600-000                                        $115.00         $455,936.70
                                  515 N Oak Knolls Ave.RockfordIL61107              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201193       CLAUDIA A. MESAROSH                               Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $455,891.92
                                  5451 Quackenbush                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadReadingMI49274                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201194       PAMELA MESKUS                                     Deposits - 507(a)(6)                                                  5600-000                                        $225.25         $455,666.67
                                  79 Holden StreetWorcesterMA1605                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201195       DOUGLAS E. & LINDA MESLER                         Deposits - 507(a)(6)                                                  5600-000                                        $180.22         $455,486.45
                                  15 Cherrywood CircleAndoverMA1810                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201196       DIANA A. MESNIL                                   Deposits - 507(a)(6)                                                  5600-000                                        $209.35         $455,277.10
                                  40 Dunn Hill RoadTollandCT6084                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201197       JO-ANN MESSERLIAN                                 Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $455,182.23
                                  185 Sauga AveNorth KingstownRI2852                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201198       SANDRA METCALF                       Deposits - 507(a)(6)                                                               5600-000                                         $92.40         $455,089.83
                                  26 Bunker TerraceRotonda WestFL33947 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00            $1,811.13
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201199       DEBORAH MEYER                             Deposits - 507(a)(6)                                                  5600-000                                        $164.56         $454,925.27
                                  27 Sycamore LaneLincolnIL62656            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201200       TIM MEYER                                 Deposits - 507(a)(6)                                                  5600-000                                         $91.43         $454,833.84
                                  8360 Copper HarborKalamazooMI49009        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201201       JOSEPH MIAZGA                             Deposits - 507(a)(6)                                                  5600-000                                         $50.08         $454,783.76
                                  PO BOX 356191 Knower                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadWestminsterMA1473                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201202       KENNETH MICHEL                            Deposits - 507(a)(6)                                                  5600-000                                         $20.94         $454,762.82
                                  683 Tulip Circle E.AuburndaleFL33823-     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  5636                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201203       ED AND JEAN ANN MIES                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $454,673.25
                                  14810 Maxwell Hall RoadLoamiIL62661       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201204       GEORGE MILAM, III                         Deposits - 507(a)(6)                                                  5600-000                                        $119.09         $454,554.16
                                  731 Woodhaven Dr.Winter                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsFL32708                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201205       JOHN V. MILANE, III                       Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $454,419.81
                                  4504 Rice Cart WayMurrells                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201206       GERALDINE MILLER                          Deposits - 507(a)(6)                                                  5600-000                                        $100.17         $454,319.64
                                  8620 Bragg DriveMyrtle BeachSC29588       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201207       MARVIN MILLER                             Deposits - 507(a)(6)                                                  5600-000                                         $59.04         $454,260.60
                                  1715 Foxmeadow CrRoyersfordPA19468        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201208       RENEE MILLER                              Deposits - 507(a)(6)                                                  5600-000                                     $1,797.96          $452,462.64
                                  200 Matlin RdCarletonMI48116              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201209       RENEE MILLER                              Deposits - 507(a)(6)                                                  5600-000                                        $164.57         $452,298.07
                                  10401 Stone Rd.MaybeeMI48159              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201210       RYAN D. MILLER                            Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $452,253.29
                                  8324 Oak Creek DriveLewis                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CenterOH43035                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201211       STEPHEN A. MILLER                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $452,163.72
                                  30074 E. LafayetteSturgisMI49091          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201212       KRISTIN MILLET                            Deposits - 507(a)(6)                                                  5600-000                                        $120.55         $452,043.17
                                  2271 Oakes BlvdNaplesFL34119              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201213       JOHN MILLS                                Deposits - 507(a)(6)                                                  5600-000                                        $251.50         $451,791.67
                                  5343 Brandon Rd.ToledoOH43615             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201214       LAWRENCE MILLS                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $451,612.53
                                  97 Chesterfield StKeesevilleKY12944       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201215       ROBERTA MILLS                             Deposits - 507(a)(6)                                                  5600-000                                        $241.19         $451,371.34
                                  2505 De Laat Ave SWWyomingMI49519         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201216       AUDREY MINKEL                             Deposits - 507(a)(6)                                                  5600-000                                         $27.35         $451,343.99
                                  36 Via Donato EastDepewNY14043            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201217       ANDREW AND DENISE MIRON                   Deposits - 507(a)(6)                                                  5600-000                                        $119.74         $451,224.25
                                  1245 BrebeufSte-CatherinesQuebec          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CityJ5C 1L7                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201218       KAREN R. MISCIA                           Deposits - 507(a)(6)                                                  5600-000                                        $153.12         $451,071.13
                                  8 Cross StreetNatickMA1760                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201219       LAURA MISNER                              Deposits - 507(a)(6)                                                  5600-000                                        $199.20         $450,871.93
                                  5721 N. Westnedge                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Ave.KalamazooMI49004                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201220       JAMES MISPLON                             Deposits - 507(a)(6)                                                  5600-000                                        $374.44         $450,497.49
                                  1061 Sugar Creek DrRochester              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HillsMI48307                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201221       CHERYL & BRIAN MITCHELL                   Deposits - 507(a)(6)                                                  5600-000                                         $13.24         $450,484.25
                                  22915 Forest Ridge DriveEsteroFL33928     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201222       JEFFREY MITCHELL                          Deposits - 507(a)(6)                                                  5600-000                                         $98.00         $450,386.25
                                  223A Hampton StreetAuburnMA1501           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201223       LISA MITCHELL                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $450,296.68
                                  1033 Woodland Dr.PortageMI49024           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201224       PEGGY MOEST                               Deposits - 507(a)(6)                                                  5600-000                                        $106.40         $450,190.28
                                  702 Quail Ridge Dr.FreeportIL61032        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201225       MONIQUE MOGRIDGE                          Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $450,106.54
                                  691 Mt St Louis RdHillsdaleOntarioL0L     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1V0                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201226       DANIEL J. MOLLOY, SR.                     Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $449,972.19
                                  242 Carrington DrivePawleys               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  IslandSC29585                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201227       JOSEPH & LORETTA MOMBREA                  Deposits - 507(a)(6)                                                  5600-000                                        $287.71         $449,684.48
                                  407 76th StreetNiagra FallsNY14304        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201228       LEE MONROE                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $449,594.91
                                  64 East StreetWilliamsburgMA1096          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201229       RICHARD MONTAG                            Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $449,460.56
                                  29 Donald StreetKitchenerOntarioN2B       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3G6                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201230       REGINA MONTEMURRO                         Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $449,415.78
                                  1259 Walton Heath Ct.Mount                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PleasantSC29466                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201231       SONDRA MONTESI                            Deposits - 507(a)(6)                                                  5600-000                                        $184.44         $449,231.34
                                  68 Szegda RoadColumbiaCT6237              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201232       RENEE MONTGOMERY                          Deposits - 507(a)(6)                                                  5600-000                                        $265.00         $448,966.34
                                  824 Fulton StreetGalenaIL61036            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201233       ROY MONTGOMERY                            Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $448,863.52
                                  184 Golden Pheasant                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Dr.HuntsvilleONP1H 1B3                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201234       SYLVIA MONTGOMERY (GILLESPIE)             Deposits - 507(a)(6)                                                  5600-000                                         $87.56         $448,775.96
                                  6495 Strickler Rd.ClarenceNY14031         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201235       MAUREEN MOORE                                      Deposits - 507(a)(6)                                                  5600-000                                         $92.22         $448,683.74
                                  1424 Chandler CircleFlorenceSC29505                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201236       RICHARD MOORE                                      Deposits - 507(a)(6)                                                  5600-000                                        $492.63         $448,191.11
                                  15311 E 525 North                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadHeyworthIL61745                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201237       STEPHANIE MOORE                                    Deposits - 507(a)(6)                                                  5600-000                                        $128.21         $448,062.90
                                  68 Spitfire DrivePlattsburghNY12901                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201238       VALERIE MOORE                                      Deposits - 507(a)(6)                                                  5600-000                                        $136.74         $447,926.16
                                  30 College RoadBridgewaterMA2324                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201239       ELIZABETH MORALES                                  Deposits - 507(a)(6)                                                  5600-000                                        $179.13         $447,747.03
                                  8 Forestdale RoadWorcesterMA1605                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201240       SUE MORCIO                                         Deposits - 507(a)(6)                                                  5600-000                                        $116.07         $447,630.96
                                  2 Harvey Drive, Apt.                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  18LancasterNY14086                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201241       LISA A. MOREAU                                     Deposits - 507(a)(6)                                                  5600-000                                         $39.71         $447,591.25
                                  23 Crow Hill RoadMonsonMA1057                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201242       JESSICA MORGAN                                     Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $447,507.51
                                  4068 Worcester RoadCharltonMA1507                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201243       RAYMOND MORGE                         Deposits - 507(a)(6)                                                               5600-000                                        $179.14         $447,328.37
                                  3842 Blueberry LnSt James CityFL33956 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201244       DIANE MORIN LAMARCHE                               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $447,238.80
                                  253 rue Des SaulesSaint-                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ConstantQuebecJ5A 1Y4                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201245       REJEAN MORISSETTE                                  Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $447,135.98
                                  612 Ivey Ridge CourtMurrells                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201246       LISA MORRIS                                        Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $447,094.11
                                  6321 Tyne AvenueCincinnatiOH45213                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201247       WILLIAM MORRIS                                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $446,914.97
                                  5301 East State Street, Suite                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  314RockfordIL61108                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201248       ALAN G. MORRISON                                  Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $446,867.54
                                  4173 Hibiscus Dr. #301Little                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RiverSC29566                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201249       NICOLE MORRISON                                   Deposits - 507(a)(6)                                                  5600-000                                        $168.91         $446,698.63
                                  1614 SW 28th StreetCape CoralFl33914              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201250       HEATHER MORROW                                    Deposits - 507(a)(6)                                                  5600-000                                         $43.55         $446,655.08
                                  9550 Fiddlers Green CircleUnit                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  205Rotonda WestFL33947                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201251       ZINTA MOSKALEW                                    Deposits - 507(a)(6)                                                  5600-000                                         $47.17         $446,607.91
                                  161 West Mountain St                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #b-37WorcesterMA1606                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201252       JAIME MOULTON                                     Deposits - 507(a)(6)                                                  5600-000                                         $91.69         $446,516.22
                                  P.O. Box 292JohnsonVT5656                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201253       SUSAN MOURANDIAN                                  Deposits - 507(a)(6)                                                  5600-000                                         $34.56         $446,481.66
                                  9 Oakwood AveDudleyMA1571                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201254       BENJAMIN MOUSEL                                   Deposits - 507(a)(6)                                                  5600-000                                         $46.37         $446,435.29
                                  2715 West RoadPutneyVT5346                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201255       DAVID MOWATT                                      Deposits - 507(a)(6)                                                  5600-000                                         $73.64         $446,361.65
                                  30 Agar DriveSt. CatharinesOntarioL2R             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3K5                                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201256       JANINA MOZER                                      Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $446,277.91
                                  19 Conlin RdOxfordMA1540                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201257       PAUL MROZ                                         Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $446,224.91
                                  5875 West Sweden Rd.BergenNY14416                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201258       ROSEMARY MUFFLEY                     Deposits - 507(a)(6)                                                               5600-000                                         $44.78         $446,180.13
                                  26377 Richbam RoadBrooksvilleFL34601 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          201259       ANITA MUISE                             Deposits - 507(a)(6)                                                              5600-000                                         $28.88         $446,151.25
                                  2513 St. Andrews Dr.Little RiverSC29566 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201260       STEVE MULDER                                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $446,061.68
                                  161 Fourth AvenueHawthorneNJ7506                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201261       JAMES MULHERN                                       Deposits - 507(a)(6)                                                  5600-000                                        $118.60         $445,943.08
                                  4343 Rivergate LaneLittle RiverSC29566              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201262       KAREN AND LAWRENCE MULLEN                           Deposits - 507(a)(6)                                                  5600-000                                        $308.85         $445,634.23
                                  240 Grandview RoadNepeanONK2H8A9                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201263       NOREEN MULLEN                                       Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $445,499.88
                                  500 Revere Beach Blvd                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #407RevereMA2152                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201264       KENNETH J. MULLIGAN                                 Deposits - 507(a)(6)                                                  5600-000                                        $102.29         $445,397.59
                                  1465 Berkshire CourtSurfside                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29575-5363                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201265       JUDITH MULLIN                                       Deposits - 507(a)(6)                                                  5600-000                                         $84.80         $445,312.79
                                  8728 Holmes RoadRomeNY13440                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201266       MARY MURPHY                                         Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $445,178.44
                                  9 Bicknell DriveMendonMA1756                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201267       THERESA MURPHY                                      Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $445,133.65
                                  19 Elizabeth StreetPlainvilleMA2762                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201268       MARK & MARY MURRAY                                  Deposits - 507(a)(6)                                                  5600-004                                        $193.29         $444,940.36
                                  1251 N Main StAdrianMI49221                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201269       SHERYL MURRAY                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $444,850.79
                                  280 W AndrewsMaconIL62544                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201270       VALERIE V. MURRAY                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $444,761.22
                                  17 Burt StreetBerkleyMA2779                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                        Case 12-40944                 Doc 740   Filed 08/06/19
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201271       DAVID MURZYCKI                            Deposits - 507(a)(6)                                                  5600-000                                        $186.98         $444,574.24
                                  16 Emerald Ave #2WebsterMA1570            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201272       GEORGE MUSICK                             Deposits - 507(a)(6)                                                  5600-000                                        $125.03         $444,449.21
                                  49 Ruble DriveUniontownPA15401            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201273       JONATHAN MYERS                            Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $444,354.34
                                  P. O. Box 901Pierrepont ManorNY13674      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201274       ASHLEY MYRBERG                            Deposits - 507(a)(6)                                                  5600-000                                         $57.50         $444,296.84
                                  15646 111 Lake Hollingsworth              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveLakelandFL33801                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201275       CONSTANCE NAGEL                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $444,207.27
                                  18 Sycamore Bay DrLaconIL61540            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201276       LINDA NAGORSKI                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $444,117.70
                                  22 Nash StreetBuffaloNY14206              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201277       AMY NALLEY                                Deposits - 507(a)(6)                                                  5600-000                                        $243.80         $443,873.90
                                  PO Box 222HayesvilleOH44838               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201278       BETTY AND JEFF NAREHOOD                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $443,784.33
                                  167 Grazierville RdTyonePA16686           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201279       KAREN NEED                                Deposits - 507(a)(6)                                                  5600-000                                         $74.85         $443,709.48
                                  8759 Peddler LakeP. O. Box                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  11ClarksvilleMI48815                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201280       RANDI NEIDEFFER                           Deposits - 507(a)(6)                                                  5600-000                                         $40.49         $443,668.99
                                  804 Beauregard                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadSummervilleSC29483                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201281       DEBRA NELLANY                             Deposits - 507(a)(6)                                                  5600-000                                         $70.07         $443,598.92
                                  230 DiMatteo DriveN                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201282       MARK NELSON                               Deposits - 507(a)(6)                                                  5600-000                                         $90.10         $443,508.82
                                  218 Route 94VernonNJ7462                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201283       SALLY NELSON                          Deposits - 507(a)(6)                                                               5600-000                                         $19.65         $443,489.17
                                  50431 Spring Lake Rd.MarcellusMI49067 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201284       TERESA A. AND DANIEL B. NELSON                     Deposits - 507(a)(6)                                                  5600-000                                        $185.02         $443,304.15
                                  607 Overlook                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TerraceStroudsburgPA18360                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201285       DEREK S. NESDOLY                                   Deposits - 507(a)(6)                                                  5600-000                                        $213.16         $443,090.99
                                  2372 Gill RoadMidhurstOntarioL0L 1X0               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201286       LARRY K. NEWHOUSE                                  Deposits - 507(a)(6)                                                  5600-000                                        $115.54         $442,975.45
                                  10160 WoodlawnPortageMI49002                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201287       RONALD L. NEWHOUSE                                 Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $442,930.67
                                  413 N. Mclean StreetLincolnIL62656                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201288       C. EDWARD NEWMEYER, JR.                            Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $442,796.31
                                  2037 Pierce Bluffs DrHermitagePA16148              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201289       LINH KHANH NGUYEN                                  Deposits - 507(a)(6)                                                  5600-000                                         $80.45         $442,715.86
                                  797 PrevostSt-BrunoQuebecJ3V 3C9                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201290       KURT NICKEL                                        Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $442,447.15
                                  11 BrookbankFonthillOntarioL0S 1E1                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201291       SHARON MARGARET NICKLAS                            Deposits - 507(a)(6)                                                  5600-000                                        $244.54         $442,202.61
                                  7 Bannisdale WayCarlisleOntarioLOR                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1H2                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201292       SANDRA NIEDOJADLO                                  Deposits - 507(a)(6)                                                  5600-000                                        $254.08         $441,948.53
                                  60 Goshen RoadWaterfordCT6385                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201293       MARK NIEUWSMA                                      Deposits - 507(a)(6)                                                  5600-000                                         $99.85         $441,848.68
                                  11588 Oak Grove Rd.Grand                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HavenMI49417                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201294       P. OSCAR NIEVES                                    Deposits - 507(a)(6)                                                  5600-000                                        $278.88         $441,569.80
                                  388 Perkins AvenueB5-12BerlinCT6037                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,939.02
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201295       CHARLES NIGZUS                            Deposits - 507(a)(6)                                                  5600-000                                        $244.06         $441,325.74
                                  P.O. Box 131Still RiverMA1467             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201296       LORI NIXON                                Deposits - 507(a)(6)                                                  5600-000                                        $157.41         $441,168.33
                                  268 W Hight StreetMaconIL62544            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201297       ROBERT NIXON                              Deposits - 507(a)(6)                                                  5600-000                                         $74.31         $441,094.02
                                  1705 Sunderland DrivePort                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33980                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201298       BETH A. NOBLES                            Deposits - 507(a)(6)                                                  5600-000                                         $98.47         $440,995.55
                                  36 B StreetWhinsvilleMA1588               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201299       MICHAEL NOSKO                             Deposits - 507(a)(6)                                                  5600-000                                         $92.22         $440,903.33
                                  727 West Elm StreetTitusvillePA16354      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201300       NICOLE NOTIDIS                            Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $440,808.46
                                  9 Maplewood RoadMillburyMA1527            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201301       JANICE T. NOTTE                           Deposits - 507(a)(6)                                                  5600-000                                        $153.41         $440,655.05
                                  107 Boxwood LaneConwaySC29526             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201302       STACIE LEE NOVAK                          Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $440,475.91
                                  32181 Washinton Loop RoadUnit             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  9749Punta GordaFL33982                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201303       LESTER A. NUTTING                         Deposits - 507(a)(6)                                                  5600-000                                        $209.40         $440,266.51
                                  9 Abare Ave.Essex JunctionVT790           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201304       MURIEL NUTTING                            Deposits - 507(a)(6)                                                  5600-000                                        $209.40         $440,057.11
                                  9 Abare AveEssex JunctionVT5452           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201305       SHANNON O'BRIEN                           Deposits - 507(a)(6)                                                  5600-000                                        $235.85         $439,821.26
                                  20 Turnberry CourtPlantsvilleCT6479       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201306       WILLIAM J. O'BRIEN, JR.                   Deposits - 507(a)(6)                                                  5600-000                                        $377.30         $439,443.96
                                  533 Leahy LaneBallston SpaNY12020         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201307       MARGARET O'CONNELL                        Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $439,399.17
                                  6609 Carrietowne LaneToledoOH43615        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201308       SHANE O'CONNELL                           Deposits - 507(a)(6)                                                  5600-000                                        $142.30         $439,256.87
                                  26 Grove StreetBurlingtonVT5401           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201309       TIMOTHY P. O'CONNELL                      Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $439,122.51
                                  11356 Sprague Rd.DeltonMI49046            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201310       NANCY L. O'CONNOR                         Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $439,019.69
                                  1123 Wiley RoadSavannahNY13146            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201311       JOSEPH O'DONNELL                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $438,930.12
                                  16 Vine StreetLeominsterMA1453            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201312       SHEILAGH O'DONOGHUE                       Deposits - 507(a)(6)                                                  5600-000                                         $44.65         $438,885.47
                                  47 W. Newell AveRutherfordNJ7070          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201313       JANA OENS                                 Deposits - 507(a)(6)                                                  5600-000                                         $51.41         $438,834.06
                                  N11663 17th AveNecedahWI54646             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201314       BONNIE OFFHAUS                            Deposits - 507(a)(6)                                                  5600-000                                        $143.10         $438,690.96
                                  23 College StreetGowandaNY14070           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201315       GRETCHEN OHAR                             Deposits - 507(a)(6)                                                  5600-000                                         $65.03         $438,625.93
                                  28 LeVan Ave.LockportNY14094              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201316       KEVIN O'KEEFE                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $438,536.36
                                  46 Keyes StreetP.O. Box                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  913WarrenMA1083                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201317       EMMALEE O'LEARY                           Deposits - 507(a)(6)                                                  5600-000                                        $209.35         $438,327.01
                                  3788 Cornell StreetHamburgNY14075         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201318       DAVID OLENICK                             Deposits - 507(a)(6)                                                  5600-000                                        $409.16         $437,917.85
                                  PO Box 25WaitsfieldVT5643                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201319       MICHAEL OLIVI                             Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $437,738.71
                                  4552 Foxtail DriveNazarethPA18064         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201320       ALLAN OLLSON                              Deposits - 507(a)(6)                                                  5600-000                                        $412.73         $437,325.98
                                  75 Nighthawk                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CrescentKanataOntarioK2M 2V2              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201321       ALLISON OLSEN                             Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $437,136.24
                                  686 Regent DrCrystal LakeIL60014          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201322       JOSEPH M. ORLANDO                         Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $437,001.89
                                  5 Western AvenueGloucesterMA1930          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201323       NICOLE ORR                                Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $436,957.10
                                  389 Dewoody RoadPolkPA16342               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201324       JANIS K. ORTMEYER                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $436,867.53
                                  1433 Belvoir Ct.North Myrtle              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29582                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201325       ERIC OSCHWALD                             Deposits - 507(a)(6)                                                  5600-000                                         $92.22         $436,775.31
                                  3683 Lincolns TrailPleasant               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PlainsIL62677                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201326       RYAN OUDBIER                              Deposits - 507(a)(6)                                                  5600-000                                        $263.62         $436,511.69
                                  3787 Sun Ridge                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveHudsonvilleMI49426                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201327       KARIN OUELLETTE                           Deposits - 507(a)(6)                                                  5600-000                                        $120.26         $436,391.43
                                  296 Richardson StreetUxbridgeMA1569       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201328       JERRY OWENS                               Deposits - 507(a)(6)                                                  5600-000                                        $159.00         $436,232.43
                                  110 Stockburger Rd.MoodusCT06469-         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1044                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201329       JASON PAAR                                Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $436,174.66
                                  212 East Henley StreetOleanNY14760        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201330       BERNICE PACKER                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $436,085.09
                                  44155 Carla DrivePaw PawMI49079           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,832.76
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


       1                2                                3                                                               4                                                       5                   6                     7

Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          201331       DENISE PAGE                                      Deposits - 507(a)(6)                                                  5600-000                                        $133.56         $435,951.53
                                  19 Heath StreetWorcesterMA1610                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201332       DAVID M. PAGLIERONI                              Deposits - 507(a)(6)                                                  5600-000                                        $138.49         $435,813.04
                                  323 Shrewsbury StreetWest                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BoylstonMA1583                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201333       SUZANNE L. PALLO                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $435,723.47
                                  3268 Port Severn RoadPort                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SevernOntarioL0K 1S0                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201334       CHRISTOPHER PALLOTTA                             Deposits - 507(a)(6)                                                  5600-000                                        $410.74         $435,312.73
                                  8 Bel Manor DriveFairmontWV26554                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201335       DONNA M. PALMARI                                 Deposits - 507(a)(6)                                                  5600-000                                        $146.44         $435,166.29
                                  2729 Will-O-The-Green StreetWinter               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ParkFL32792                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201336       JANICE PALMER                       Deposits - 507(a)(6)                                                               5600-000                                        $116.65         $435,049.64
                                  5223 Kennedy CrescentSanbornNY14132 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201337       JUDY PANCIERA                                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $434,870.50
                                  61 Laurel St.ManchesterCT6040                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201338       KATHLEEN T. PARENTEAU                            Deposits - 507(a)(6)                                                  5600-000                                        $228.16         $434,642.34
                                  14 Cromie StreetClintonMA1510                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201339       ELISE PARISIEN                                   Deposits - 507(a)(6)                                                  5600-000                                        $265.00         $434,377.34
                                  2906 Pattee                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadHawkesburyONK6A2R2                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201340       JOHN PARISIEN                                    Deposits - 507(a)(6)                                                  5600-000                                        $123.47         $434,253.87
                                  744 Montcalm CourtCornwallOntarioK6H             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  6C3                                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201341       PAMELA PARKER                                    Deposits - 507(a)(6)                                                  5600-000                                         $13.25         $434,240.62
                                  161 South Sunset                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveColdwaterMI49036                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201342       RICHARD PARKER                                   Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $434,145.75
                                  94 Walbar StreetRochesterNY14609                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          201343       RICHMOND PARKER                     Deposits - 507(a)(6)                                                               5600-000                                         $26.50         $434,119.25
                                  PO Box 4736 Bounty RoadOxfordMA1540 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201344       GAIL STEWART PARSONS                             Deposits - 507(a)(6)                                                  5600-000                                        $110.53         $434,008.72
                                  30 Cooper DrivePlattsburghNY12901                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201345       NANCY PARSONS                                    Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $433,909.08
                                  634 N Crafford StBushnellIL61422                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201346       HEATHER PARTRIDGE                                Deposits - 507(a)(6)                                                  5600-000                                         $58.03         $433,851.05
                                  235 Sugar Mill LoopMyrtle                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29588                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201347       PATSY PASEKA                                     Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $433,718.55
                                  23 Top Sail LaneMurrells InletSC29576            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201348       BRIAN PASHOIAN                                   Deposits - 507(a)(6)                                                  5600-000                                        $125.03         $433,593.52
                                  12 Overlook DriveSpencerMA1562                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201349       JOANNE PASQUANTONIO                              Deposits - 507(a)(6)                                                  5600-000                                         $23.85         $433,569.67
                                  c/o Judith Kapetanios2548 Galliano               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CircleWinter ParkFL32792                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201350       SONIA PASSINO                                    Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $433,519.85
                                  834 Fuller RoadPeruNY12972                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201351       ALYSON PATCH                                     Deposits - 507(a)(6)                                                  5600-000                                        $156.75         $433,363.10
                                  874 Williamsburg Rd.AshfieldMA1330               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201352       DOUG PATTERSON                                   Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $433,318.32
                                  2061 West Monroe Street Unit                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  6SpringfieldIL62704                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201353       WANDA PATTERSON                                  Deposits - 507(a)(6)                                                  5600-000                                         $92.01         $433,226.31
                                  817 S State StreetSpringfieldIL62704             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201354       ROBERT G. PATTERSON, JR.                         Deposits - 507(a)(6)                                                  5600-000                                        $148.13         $433,078.18
                                  411 Rear Hillside AveEllwood                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CityPA16117                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201355       JEFFREY PAUL                                       Deposits - 507(a)(6)                                                  5600-000                                         $88.67         $432,989.51
                                  1036 Belleview DrEriePA16504                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201356       BONNIE PAULMENN                                    Deposits - 507(a)(6)                                                  5600-000                                         $39.48         $432,950.03
                                  626 Tarrent StreetLongsSC29568                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201357       GERALDINE PAXTON                                   Deposits - 507(a)(6)                                                  5600-000                                         $66.25         $432,883.78
                                  575 Rockland RoadTown of Mount                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoyalQuebecH3P2X1                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201358       DONNA M. PEARSON                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $432,794.21
                                  22153 Kennedy                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadQueensvilleOntarioLO6 1R0                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201359       KARLA PEASE                                        Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $432,752.34
                                  c/o Joe Daniel1095 Old County House                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadCharlotteTN37036                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201360       JOSEPH PELLEGRINO                                  Deposits - 507(a)(6)                                                  5600-000                                         $99.37         $432,652.97
                                  4733 Oakley RoadNorth PortFL34288                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201361       MARY PELZ                                          Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $432,608.19
                                  1356 Crown Point                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PlaceNashvilleTN37211                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201362       LORI J. PENDLETON                                  Deposits - 507(a)(6)                                                  5600-000                                         $91.69         $432,516.50
                                  1726 Sheridan StreetMadisonWI53704                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201363       KATHY PENKSA                                       Deposits - 507(a)(6)                                                  5600-000                                        $241.15         $432,275.35
                                  176 Willowgrove STonawandaNY14150                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201364       ANGELA PENNELL                                     Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $432,175.71
                                  104 Barre Drive NWPort                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33952                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201365       JOHN H. PEPPER, JR.                  Deposits - 507(a)(6)                                                                5600-000                                         $48.31         $432,127.40
                                  2403 NW 31st CourtOkland ParkFL33309 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201366       GARY PERKINS                           Deposits - 507(a)(6)                                                              5600-000                                        $307.43         $431,819.97
                                  108 Prospect StreetBallston SpaNY12020 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201367       KRISTEN PERRAULT                                   Deposits - 507(a)(6)                                                  5600-000                                         $71.63         $431,748.34
                                  9 Montrose AvenueLawrenceMA1843                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201368       MICHAEL PERRAULT                                   Deposits - 507(a)(6)                                                  5600-000                                        $153.54         $431,594.80
                                  P.O. Box 552LincolnNH3251                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201369       JOHN J. PERRONE, JR.                               Deposits - 507(a)(6)                                                  5600-000                                        $245.12         $431,349.68
                                  1 Bethnal GreenRochesterNY14625                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201370       DEBRA L. PERRY                                     Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $431,215.33
                                  2604 Turben PlaceMount                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PleasantSC29466                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201371       JOYCE PERUGINI                                     Deposits - 507(a)(6)                                                  5600-000                                         $77.75         $431,137.58
                                  193 Savage Hill RoadBerlinCT6037                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201372       PETER PESCOSOLIDO                                  Deposits - 507(a)(6)                                                  5600-000                                         $47.44         $431,090.14
                                  P. O. Box 772Brant RockMA02020-0772                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201373       DIANE PETERS                                       Deposits - 507(a)(6)                                                  5600-000                                         $86.12         $431,004.02
                                  122 Candlewood DriveSouth                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  WindsorCT6074                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201374       JAMES PETERS                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $430,914.45
                                  7581 YorktownRichlandMI49083                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201375       JOSEPH PETERS                                      Deposits - 507(a)(6)                                                  5600-000                                         $90.58         $430,823.87
                                  729 Hwy 66ConwaySC29526                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201376       PAMELA PETERS                                      Deposits - 507(a)(6)                                                  5600-000                                         $58.03         $430,765.84
                                  136 Meadow Ridge LaneGeorgiaVT5468                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201377       SHARON PETERSEN                       Deposits - 507(a)(6)                                                               5600-000                                        $218.86         $430,546.98
                                  1510 Ariana Street#462LakelandFL33803 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201378       EVELYN I. PETERSON                                 Deposits - 507(a)(6)                                                  5600-000                                         $47.44         $430,499.54
                                  617 Charter DriveLongsSC29568                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,320.43
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201379       THANE PETERSON                            Deposits - 507(a)(6)                                                  5600-000                                         $56.95         $430,442.59
                                  803 Roberts StreetWakefieldMI49968        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201380       DANIEL PETOCK                             Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $430,263.45
                                  6423 O'Connor DriveLockportNY14094        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201381       ELIZABETH A. PETRITUS                     Deposits - 507(a)(6)                                                  5600-004                                        $138.49         $430,124.96
                                  27 Lakewood Circle                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SouthManchesterCT6040                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201382       SARAH PETTY                               Deposits - 507(a)(6)                                                  5600-000                                        $255.35         $429,869.61
                                  P.O. Box 739RochesterIL62563              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201383       ANGELA PHELPS                             Deposits - 507(a)(6)                                                  5600-000                                         $61.16         $429,808.45
                                  50703 23rd StMattawanMI49071              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201384       SUSAN PHILLIPS                            Deposits - 507(a)(6)                                                  5600-000                                        $133.24         $429,675.21
                                  216 Cathcart CresentMiltonONL9T 7P2       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201385       DONNA PIATEK                              Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $429,630.43
                                  448 Egret DrSunset BeachNC28468           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201386       MARK PIAZZA                               Deposits - 507(a)(6)                                                  5600-000                                        $151.05         $429,479.38
                                  6404 Jupiter BlvdNiagra FallsOntarioL2J   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  4E6                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201387       LESLIE PICCIRILLO                         Deposits - 507(a)(6)                                                  5600-000                                         $71.05         $429,408.33
                                  4440 Mandi Ave.Little RiverSC29566        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201388       PAMELA PIERCE                             Deposits - 507(a)(6)                                                  5600-000                                        $245.63         $429,162.70
                                  3710 Jasmine NEGrand RapidsMI49525        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201389       MICHAEL PIERMARINI                        Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $429,112.88
                                  73 Perry Lane, Unit #4SwanzeyNH3446       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201390       GEOFFREY PIKE                             Deposits - 507(a)(6)                                                  5600-000                                        $223.93         $428,888.95
                                  185 Rochdale StAuburnMA1501               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201391       PEGGY POITEVINT                                   Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $428,844.17
                                  220 N Maple StMount AuburnIL62547                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201392       THERESA POMERLEAU                                 Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $428,802.30
                                  396 Charles Bancroft                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HwyLitchfieldNH3052                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201393       JENNIFER POP                                      Deposits - 507(a)(6)                                                  5600-000                                         $88.24         $428,714.06
                                  2396 E. 1600 North                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Rd.MoweaquaIL62550                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201394       LORI POPE                                         Deposits - 507(a)(6)                                                  5600-000                                         $38.96         $428,675.10
                                  5 Sunrise CircleSouth HadleyMA1075                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201395       GUSTIN POTTER                                     Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $428,495.96
                                  PO BOX 337MarionMA2738                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201396       CLARENCE POTTS                                    Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $428,451.18
                                  3427 E. Orchard DriveDecaturIL62521               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201397       RENEE POTWIN                                      Deposits - 507(a)(6)                                                  5600-000                                        $261.64         $428,189.54
                                  179 Handy RoadWhite River                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  JunctionVT5001                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201398       BARBARA L. POULSEN                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $428,099.97
                                  4551 Grassy Point Blvd.Port                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33952                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201399       KARRA L. POUPORE                                  Deposits - 507(a)(6)                                                  5600-000                                        $167.48         $427,932.49
                                  7 Ridge RoadWest ChazyNY12992                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201400       KATHERINE POUTHIER                   Deposits - 507(a)(6)                                                               5600-000                                         $13.24         $427,919.25
                                  9382 Gulfstream BlvdEnglewoodFL34224 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201401       BLAKE POWERS                                      Deposits - 507(a)(6)                                                  5600-000                                        $132.45         $427,786.80
                                  167 Heneker St.SherbrookeQuebecJ1J                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3G5                                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201402       JOSEPH PRANGER                                    Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $427,733.80
                                  213 East Lawson                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveAuburndaleFL33823                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00           $1,155.15
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201403       DONNA PRATT                               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $427,644.23
                                  262 Tampa AvenueAlbanyNY12208             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201404       MARY JEAN PRATT                           Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $427,596.80
                                  45 Burfield Ave.HamiltonOntarioL8T 2J8    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201405       CYNTHIA PREMO                             Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $427,539.03
                                  119 North Main                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetLeominsterMA01453-5509              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201406       THERESA PRESTIPINO                        Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $427,494.25
                                  R347 Fairfield Ave, Apt.                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1JohnstownPA15906                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201407       HARRISON PRICE                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $427,404.68
                                  17 Churchill RoadChelmsfordMA1824         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201408       JACK R. PRICE, JR.                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $427,315.11
                                  1511 Center St.KalamazooMI49048           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201409       LAURA PRICHARD                            Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $427,209.11
                                  8-95 Rue de                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BourgmestreBromontQuebecJ2L 2W4           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201410       MICHELLE A. PRIDNIA                       Deposits - 507(a)(6)                                                  5600-000                                         $75.79         $427,133.32
                                  6387 Martin RoadMuskegonMI49444           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201411       ANDREA PRIEUR                             Deposits - 507(a)(6)                                                  5600-000                                        $608.51         $426,524.81
                                  25 Putney RoadCaledonONL7C1R4             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201412       RANDALL PRIEUR                            Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $426,421.99
                                  3657 Lind and Johnson LaneBemus           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PointNY14712                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201413       DANIEL PROKUP                             Deposits - 507(a)(6)                                                  5600-000                                        $124.02         $426,297.97
                                  6777 Wagenschutz Rd                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  NEKalkaskaMI49646                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201414       SHARON PRYMOCK                            Deposits - 507(a)(6)                                                  5600-000                                        $105.79         $426,192.18
                                  7633 Brandywine                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CircleTrexlertownPA18087                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          201415       JAMES P. PUGLIESE                                   Deposits - 507(a)(6)                                                  5600-000                                         $66.99         $426,125.19
                                  394 Victory HighwayGreeneRI2827                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201416       MELANIE PUPILLO                                     Deposits - 507(a)(6)                                                  5600-000                                        $120.84         $426,004.35
                                  12 Olney StCherry ValleyMA1611                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201417       KATHLEEN PURCELL                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $425,914.78
                                  70 Vilsack St.PittsburghPA15223                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201418       RICHARD PYEFINCH                                    Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $425,870.00
                                  468 Paddington                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CrescentOshawaOntarioL1G 7P4                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201419       CYNTHIA QUADRI                                      Deposits - 507(a)(6)                                                  5600-000                                         $79.50         $425,790.50
                                  2624 Saddlewood                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveWaterfordPA16441                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201420       MARJORIE QUARTLEY                                   Deposits - 507(a)(6)                                                  5600-000                                        $151.84         $425,638.66
                                  56 Shalamar CourtGetzvilleNY14068                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201421       PATRICIA J. QUARTON                                 Deposits - 507(a)(6)                                                  5600-000                                         $50.27         $425,588.39
                                  3643 HookerSpringfieldIL62703                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201422       DARLENE J. QUINDEL                                  Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $425,498.82
                                  19128 Hamlet CourtLexington                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ParkMD20653                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201423       MICHAEL RABS                                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $425,409.25
                                  34 Jasmine DrivePalm CoastFL32137                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201424       MARY RADIMER                                        Deposits - 507(a)(6)                                                  5600-000                                         $40.49         $425,368.76
                                  1463 State Route 30Tupper                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LakeNY12986                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201425       ELIZABETH RADT                          Deposits - 507(a)(6)                                                              5600-000                                         $70.17         $425,298.59
                                  110 North Transithill DriveDepewNY14043 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201426       YOUHANNA RAGHEB                                     Deposits - 507(a)(6)                                                  5600-000                                        $329.76         $424,968.83
                                  3441 Stillwater Blvd.MaumeeOH43537                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201427       CHRIS RAMIE                                        Deposits - 507(a)(6)                                                  5600-000                                         $41.69         $424,927.14
                                  117 North Massey                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetWatertownNY13601                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201428       ALLAN RAMM                            Deposits - 507(a)(6)                                                               5600-000                                        $104.22         $424,822.92
                                  110 Pine Hollow DriveEnglewoodFL34223 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201429       MIOSOTIS RAMOS-PERALTA                             Deposits - 507(a)(6)                                                  5600-000                                        $210.09         $424,612.83
                                  9413 Southern Garden CircleAltamonte               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsFL32714                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201430       DARREN RANDALL                                     Deposits - 507(a)(6)                                                  5600-000                                        $119.51         $424,493.32
                                  26 Circle DrUnionvilleCT6085                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201431       JACQUELINE RANK                                    Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $424,448.53
                                  89 Wickham DriveWilliamsvilleNY14221               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201432       NICHOLAS RANKIN                                    Deposits - 507(a)(6)                                                  5600-000                                         $42.40         $424,406.13
                                  609 Jenks BoulevardKalamazooMI49006                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201433       NICOLE RAPS                          Deposits - 507(a)(6)                                                                5600-000                                         $36.73         $424,369.40
                                  2928 Summerwand DrSpringfieldIL62712 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201434       GARRETT G. RATERINK                                Deposits - 507(a)(6)                                                  5600-000                                        $143.15         $424,226.25
                                  1130 Gulf Blvd.EnglewoodFL34223                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201435       JONATHAN DAVID RATHBUN                             Deposits - 507(a)(6)                                                  5600-000                                         $78.23         $424,148.02
                                  21 Peck AvenueRiversideRI2915                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201436       DAVID RAU                                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $424,058.45
                                  408 Gray RoadNorth YarmouthME4097                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201437       JANET RAYMOND                                      Deposits - 507(a)(6)                                                  5600-000                                        $407.57         $423,650.88
                                  345 Smith Hue RoadHarrisvilleRI2830                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201438       PENNY S. REAM                                      Deposits - 507(a)(6)                                                  5600-000                                        $152.90         $423,497.98
                                  56110 Wilbur RoadThree RiversMI49093               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,470.85
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201439       ELIZABETH REARDON                                 Deposits - 507(a)(6)                                                  5600-000                                         $53.79         $423,444.19
                                  20 Flora St.SpringfieldMA1129                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201440       DIANA REBEL                                       Deposits - 507(a)(6)                                                  5600-000                                        $140.98         $423,303.21
                                  16 Jonathan DrivePhoenixvillePA19460              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201441       ANTHONY L. RECKER                                 Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $423,258.42
                                  38 W. League StreetNorwalkOH44857                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201442       SALLY REDRUP                                      Deposits - 507(a)(6)                                                  5600-000                                         $20.93         $423,237.49
                                  4816 Port DriveMaumeeOH43537                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201443       KAREN M. REED                                     Deposits - 507(a)(6)                                                  5600-000                                        $122.86         $423,114.63
                                  1384 N. Allen StreetState                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CollegePA16803                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201444       ELIZABETH ANN REICHERT                            Deposits - 507(a)(6)                                                  5600-000                                        $237.17         $422,877.46
                                  16305 E. Q. Ave.ClimaxMI49034                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201445       JACK REICHLE                                      Deposits - 507(a)(6)                                                  5600-000                                         $69.96         $422,807.50
                                  1325 Broadway StreetLincolnIL62656                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201446       ELIZABETH REID                       Deposits - 507(a)(6)                                                               5600-000                                        $403.06         $422,404.44
                                  441 Wesvalley RoadLake PlacidNY12946 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201447       HEATHER L. REID                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $422,225.30
                                  59 Barre RoadTempletonMA1468                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201448       THOMAS REID                                       Deposits - 507(a)(6)                                                  5600-000                                        $223.13         $422,002.17
                                  26 Grove RoadEnfieldCT6082                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201449       JACQUELINE REILLY                                 Deposits - 507(a)(6)                                                  5600-000                                        $119.41         $421,882.76
                                  4A Powdermill CircleMaynardMA1754                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201450       GRETCHEN REIMNITZ                                 Deposits - 507(a)(6)                                                  5600-000                                        $103.51         $421,779.25
                                  19 Guilford Dr.SpringfieldIL62711                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00           $1,718.73
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201451       NANCY R. REINHART                         Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $421,600.11
                                  3303 S. Taylor Rd.DecaturIL62521          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201452       BARBARA REISS                             Deposits - 507(a)(6)                                                  5600-000                                        $281.96         $421,318.15
                                  2923 Coquina EsplanadePunta               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33982                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201453       SUZANNE REMY                              Deposits - 507(a)(6)                                                  5600-000                                        $151.99         $421,166.16
                                  455 ViensMount St. HilaireQuebecJ3G       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  4S6                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201454       MEL REPAIR                                Deposits - 507(a)(6)                                                  5600-000                                        $358.28         $420,807.88
                                  10 BrookbankFonthillOntarioL0S 1E1        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201455       ALEX REZZOLLA                             Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $420,673.53
                                  4229 Congressional DriveMyrtle            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29579                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201456       TOM RHOADS                                Deposits - 507(a)(6)                                                  5600-000                                        $195.78         $420,477.75
                                  423 White Birch LaneWillistonVT5495       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201457       SANDRA D. RHUE                            Deposits - 507(a)(6)                                                  5600-000                                        $205.64         $420,272.11
                                  373 Pond RoadBridgewaterNJ8807            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201458       ROSA RICCI                                Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $420,092.97
                                  565 Pleasant StreetLeominsterMA1453       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201459       PATRICIA RICE                             Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $420,051.10
                                  1693 Seven Pines Rd, Apt                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DSpringfieldIL62704                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201460       SUSAN RICHARD                             Deposits - 507(a)(6)                                                  5600-000                                        $104.14         $419,946.96
                                  592 Chocolog RoadUxbridgeMA1569           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201461       ANN RICHARDS                              Deposits - 507(a)(6)                                                  5600-000                                        $162.91         $419,784.05
                                  81 Roosevelt StMarlboroughMA1752          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201462       JOELY RICHARDSON                          Deposits - 507(a)(6)                                                  5600-000                                        $167.48         $419,616.57
                                  13 Boysenberry Drive Unit                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #101MiltonVT5468                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $2,162.68
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          201463       PATRICIA A. RICHERT                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $419,527.00
                                  166 Harbridge                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ManorWilliamsvilleNY14221                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201464       EVA RIEDLINGER                      Deposits - 507(a)(6)                                                               5600-000                                         $64.81         $419,462.19
                                  5680 St Hwy 67Upper SanduskyOH43351 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201465       GRACELLEN M. RIEL                                Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $419,367.32
                                  19 Vinton Rd.SturbridgeMA1566                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201466       BARBARA RINALDI                                  Deposits - 507(a)(6)                                                  5600-000                                        $160.72         $419,206.60
                                  252 Diana Rd.PlantsvilleCT6479                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201467       BRENDA RIPPLE                                    Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $419,122.86
                                  478 Seneca Creek RdWest                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SenecaNY14224                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201468       JACKIE RISEN                                     Deposits - 507(a)(6)                                                  5600-000                                        $108.60         $419,014.26
                                  220 Ashford LaneWaterburyVT5676                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201469       JOHN AND GAYLE RISLEY                            Deposits - 507(a)(6)                                                  5600-000                                        $153.65         $418,860.61
                                  1933 Carnwell DriveBelvidereIL61008              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201470       AMAURY RIVERA                                    Deposits - 507(a)(6)                                                  5600-000                                        $113.42         $418,747.19
                                  3328 Royal Oak Dr WMulberryFL33860               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201471       JULIE RIVERA                                     Deposits - 507(a)(6)                                                  5600-000                                        $123.38         $418,623.81
                                  36 Shoreham PkwyBuffaloNY14216                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201472       SCOTT F. RIVERS                                  Deposits - 507(a)(6)                                                  5600-000                                        $121.95         $418,501.86
                                  21 Fjord DrivePlattsburghNY12901                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201473       MICHAEL D. RIZZO                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $418,412.29
                                  93 Gardner RoadVoluntownCT6384                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201474       ANNETTE ROBERTS                                  Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $418,322.72
                                  1743 Bridgewater DriveConwaySC29526              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201475       BRIAN C. ROBERTS                          Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $418,188.37
                                  500 Virginia St.AshvilleOH43103           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201476       SHARON L. ROBERTS                         Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $418,138.55
                                  240 San Marco DriveVeniceFL34285          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201477       CAROLE ROBERTS                            Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $418,093.77
                                  1119 Lampwick LaneMurrells                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201478       JANEECE ROBERTSON                         Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $417,825.06
                                  2915 Kipling CourtSpringfieldIL62711      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201479       CAROLYNN V. ROBINSON                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $417,735.49
                                  5253 Streamer RoadWarsawNY14569           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201480       HENRY F. ROBINSON                         Deposits - 507(a)(6)                                                  5600-000                                        $116.76         $417,618.73
                                  33 Lemington Ct.HomosassaFL34446          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201481       LAURIE ROCCO                              Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $417,573.95
                                  41 Verge StreetSpringfieldMA1129          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201482       MARGARET ROCHE                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $417,484.38
                                  45 Old Cart RoadAuburnMA1501              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201483       MICHAEL ROCK                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $417,394.81
                                  928 Tidewater DriveN. Myrtle              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29582                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201484       PAULA ROCK                                Deposits - 507(a)(6)                                                  5600-000                                        $354.04         $417,040.77
                                  9774 Francis RoadBataviaNY14020           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201485       ELIZABETH ROCKWELL                        Deposits - 507(a)(6)                                                  5600-000                                         $50.10         $416,990.67
                                  206 Crestview DrivePittsburghPA15236      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201486       WILLIAM RODGERS                           Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $416,948.80
                                  Box 135/5437 Leach                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadRochesterIL62563                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


       1                2                                3                                                               4                                                       5                   6                     7

Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          201487       DRAGAN RODIC                                     Deposits - 507(a)(6)                                                  5600-000                                         $92.75         $416,856.05
                                  16 Westcombe ParkWest                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HenriettaNY14586                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201488       JOSEPH ROGALLA                                   Deposits - 507(a)(6)                                                  5600-000                                         $20.93         $416,835.12
                                  16874 8 Mile RoadReed CityMI49677                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201489       GAIL ROGERS                                      Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $416,655.98
                                  215 Rio Villa Dr. #3152Punta                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33950                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201490       MARIA ROSA ROMAN                                 Deposits - 507(a)(6)                                                  5600-000                                         $29.15         $416,626.83
                                  336 High St., Apt. #3P. O. Box                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  79LockportNY14095-0079                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201491       MAUREEN ROONEY                      Deposits - 507(a)(6)                                                               5600-000                                         $53.53         $416,573.30
                                  10 Maggie May WayCold SpringNY10516 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201492       KERRY S. ROOS                                    Deposits - 507(a)(6)                                                  5600-000                                        $235.05         $416,338.25
                                  7727 W. Brianna Dr.MapletonIL61547               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201493       ANNA M. ROSE                                     Deposits - 507(a)(6)                                                  5600-000                                         $59.89         $416,278.36
                                  53836 26th StreetMattawanMI49071                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201494       ANTHONY & TRACEY ROSE                            Deposits - 507(a)(6)                                                  5600-000                                        $226.15         $416,052.21
                                  110 Miller RoadN StoningtonCT6359                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201495       GERALD H. ROSE, JR.                              Deposits - 507(a)(6)                                                  5600-000                                         $26.47         $416,025.74
                                  330 North River St.SwantonVT5488                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201496       LINDA ROSENBLATT                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $415,936.17
                                  15 Richard AvenueSuccasunnaNJ7876                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201497       KAREN ROSS                                       Deposits - 507(a)(6)                                                  5600-000                                        $379.48         $415,556.69
                                  3325 Summerset CourtN                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201498       LINDA ROTHE                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $415,467.12
                                  227 Broad Brook RoadEnfieldCT6082                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201499       WILLARD ROTHERMEL                         Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $415,361.12
                                  807 W. Church St.SavoyIL61874             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201500       STEPHEN ROTHMAN                           Deposits - 507(a)(6)                                                  5600-000                                         $26.50         $415,334.62
                                  691 Pettigrew RdN HuntingdonPA15642       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201501       CHEVON ROTUNA                             Deposits - 507(a)(6)                                                  5600-000                                        $328.32         $415,006.30
                                  141 Beech St.AliquippaNY15001             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201502       STEVEN J. ROUSH                           Deposits - 507(a)(6)                                                  5600-000                                        $116.04         $414,890.26
                                  1922 Sunflower DriveSycamoreIL60178       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201503       PATRICIA M. ROUVEL                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $414,800.69
                                  30 Mettacomett PathHarvardMA1451          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201504       ANNMARIE ROVEGNO                          Deposits - 507(a)(6)                                                  5600-000                                         $19.87         $414,780.82
                                  539 Arcadia RdPawleys IslandSC29585       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201505       BETTY ROY                                 Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $414,648.32
                                  60 North Main Street Apt                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  411NatickMA1760                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201506       SANDRA ROYER                              Deposits - 507(a)(6)                                                  5600-000                                        $168.78         $414,479.54
                                  1851 Greenbrook RdCantonOH44720           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201507       JULIE RUBY                                Deposits - 507(a)(6)                                                  5600-000                                        $265.66         $414,213.88
                                  148 Maple StreetEssex JunctionVT5452      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201508       DENISE RUDZINSKY                          Deposits - 507(a)(6)                                                  5600-000                                         $54.25         $414,159.63
                                  30 Wright DrMarlboroughMA1752             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201509       SALVATORE M. RUGGIERO                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $414,070.06
                                  2403 Pin Oak CourtPalm Beach              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GardensFL33410                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201510       PATIENCE RUGGIO                           Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $414,025.28
                                  106 Paras Hill DriveHartfordMI49057       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201511       HOLLY MARIE RUGGLES                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $413,935.71
                                  2717 St., Rt. 113 WestNorwalkOH44857      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201512       JOHN RUMNEY                               Deposits - 507(a)(6)                                                  5600-000                                        $122.75         $413,812.96
                                  37 College CrescentBarrieOntarioL4M       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2W4                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201513       JONATHAN RUNGE                            Deposits - 507(a)(6)                                                  5600-000                                         $24.91         $413,788.05
                                  7176 Collamer RdE SyracuseNY13057         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201514       ERIN RUPERTO                              Deposits - 507(a)(6)                                                  5600-000                                        $204.31         $413,583.74
                                  9 Alexander Ave.ClintonMA1510             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201515       DONALD RUPPERT                            Deposits - 507(a)(6)                                                  5600-004                                        $140.66         $413,443.08
                                  8422 Versailles PlankAngolaNY14006        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201516       SUSAN RUSSO                               Deposits - 507(a)(6)                                                  5600-000                                         $58.02         $413,385.06
                                  2160 Heron Lake Dr #301Punta              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33983                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201517       PAUL RYAN                                 Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $413,340.28
                                  1132 Township Road 167AMingo              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  JunctionOH43938                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201518       PHYLLIS RYAN                              Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $413,295.49
                                  1132 Township Road 167AMingo              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  JunctionOH43938                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201519       SUSAN SADLER                              Deposits - 507(a)(6)                                                  5600-000                                        $132.50         $413,162.99
                                  164 East Main StreetOrangeMA1364          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201520       AUDREY SAGE                               Deposits - 507(a)(6)                                                  5600-000                                         $73.93         $413,089.06
                                  70 Laguna ParkwayUnit                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  12BrechinOntarioL0K1B0                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201521       LISA LYN SALSER                           Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $413,044.27
                                  1255 Hathaway RoadBellvilleOH44813        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201522       RANDY SANDBORN                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $412,865.13
                                  100 Kent St.PortlandMI48875               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201523       DEBORAH SANDBROOK                         Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $412,730.78
                                  3 Halton CourtMarkhamOntarioL3P 6R4       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201524       MARTHA SANTOM                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $412,641.21
                                  13 Clara StreetWorcesterMA1606            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201525       CATHY JEAN SARFF                          Deposits - 507(a)(6)                                                  5600-000                                        $169.22         $412,471.99
                                  6810 CR 420NBathIL62617                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201526       MARILYN SARGENT                           Deposits - 507(a)(6)                                                  5600-000                                         $65.72         $412,406.27
                                  21801 Edgewater DrPort                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33952                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201527       JEFFREY SATNICK                           Deposits - 507(a)(6)                                                  5600-000                                        $330.06         $412,076.21
                                  183 Sterling RoadPrincetonMA1541          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201528       CAROL SATTELBERG                          Deposits - 507(a)(6)                                                  5600-000                                         $58.03         $412,018.18
                                  142 Homestead DriveNorth                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201529       STEFFANIE CONNETTE SAUNDERS               Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $411,934.44
                                  211 Harvester CourtWinnabowNC28479        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201530       STEVEN SAUNDERS                           Deposits - 507(a)(6)                                                  5600-000                                        $224.69         $411,709.75
                                  9106 Swanson DriveRoscoeIL61073           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201531       DIANE SAVAGE                              Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $411,575.39
                                  50 Burgess StreetPittsburghPA15227        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201532       NANCY L. SAVICKE                          Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $411,522.39
                                  1322 Reycraft DrKalamazooMI49001          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201533       MICHAEL SCADUTO                           Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $411,388.04
                                  3216 Hazlett RoadSpringfieldIL62707       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201534       JAMES SCARNECCHIA                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $411,298.47
                                  560 StoneybrookCanfieldOH44406            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201535       NANCY L. SCHADLER                                 Deposits - 507(a)(6)                                                  5600-000                                        $313.49         $410,984.98
                                  4041 Gulf Shore Blvd. N.,                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #308NaplesFL34103                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201536       RICHARD SCHELL                                    Deposits - 507(a)(6)                                                  5600-000                                        $134.36         $410,850.62
                                  6737 Blue Creek                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  EastWhitehouseOH43571                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201537       LORI SCHELSKE                                     Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $410,810.87
                                  1927 Lakeshore Dr., Apt                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3MuskegonMI49441                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201538       MONIQUE F. SCHETZEL                               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $410,721.30
                                  205 Breckwood Blvd.SpringfieldMA1109              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201539       MICHELLE SCHIPPERS                                Deposits - 507(a)(6)                                                  5600-000                                        $136.63         $410,584.67
                                  12 French Drive, R.R.                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #5OrangevilleOntarioL9W 2Z2                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201540       MICHELLE SCHLICTER                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $410,495.10
                                  4731 National DriveMyrtle                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29579                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201541       CAROL A. SCHLIPP                                  Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $410,271.18
                                  253 Ryno RoadColomaMI49038                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201542       JOY E. SCHMALZLE                                  Deposits - 507(a)(6)                                                  5600-000                                        $102.81         $410,168.37
                                  109 Alex RoadHawleyPA18428                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201543       JAMIE SCHMEELK                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $410,078.80
                                  338 Green Ave FL 2LyndhurstNJ7071                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201544       ANDREA SCHMIDBAUER                                Deposits - 507(a)(6)                                                  5600-000                                         $49.66         $410,029.14
                                  3183 Sterlingwood                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LandPerrysburgOH43551                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201545       MIRIAM L. SCHMITT                    Deposits - 507(a)(6)                                                               5600-000                                        $245.14         $409,784.00
                                  14319 Westwood TrailWoodstockIL60098 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201546       JEFFREY SCHNEGGENBURGER                           Deposits - 507(a)(6)                                                  5600-000                                        $145.63         $409,638.37
                                  80 Old Farm CirWilliamsvilleNY14221               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201547       BILL SCHOETTLE                                    Deposits - 507(a)(6)                                                  5600-000                                         $80.99         $409,557.38
                                  668 Phillips CircleForsythIL62535                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201548       DONNA SCHULTZ                                     Deposits - 507(a)(6)                                                  5600-000                                         $56.95         $409,500.43
                                  803 Roberts StWakefieldMI49968                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201549       JENNEL R. SCHULTZE                   Deposits - 507(a)(6)                                                               5600-000                                        $195.25         $409,305.18
                                  58958 Holtom RoadThree RiversMI49093 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201550       TERESA M. SCHULZ-FRY                Deposits - 507(a)(6)                                                                5600-000                                         $58.03         $409,247.15
                                  403 NW 24th AvenueCape CoralFL33993 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201551       PATRICIA SCHUMACHER                               Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $409,112.80
                                  13592 Wilkins RdP.O. Box                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  523HollandNY14080                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201552       KATHERINE S. SCHUTZENHOFER                        Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $409,006.80
                                  113 N. 1st StreetElburnIL60119                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201553       BARRY SCHWARTZ                                    Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $408,907.16
                                  1776 Allen DriveSalemOH44460                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201554       SCOTT SCHWARTZ                                    Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $408,865.29
                                  387 Lincoln AveBarbertonOH44203                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201555       CAROL J. SCHWART                   Deposits - 507(a)(6)                                                                 5600-000                                         $44.79         $408,820.50
                                  84 Dogwood Court SWCalabashNC28476 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201556       J. PAUL SCIORTINO                                 Deposits - 507(a)(6)                                                  5600-000                                         $62.94         $408,757.56
                                  136 Learned Hill DrJeffersonvilleVT5464           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201557       TARA SCOTT                                        Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $408,707.74
                                  5162 Salmon Dr. SE, Unit CSt.                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PetersburgFL33702                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201558       TERRILYN SCOZZAFAVA                               Deposits - 507(a)(6)                                                  5600-000                                        $135.51         $408,572.23
                                  914 Orchard DriveLewistonNY14092                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201559       JAMES E. SCRIPTURE, JR.                            Deposits - 507(a)(6)                                                  5600-000                                        $103.40         $408,468.83
                                  234 Sawmill RoadWest                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringfieldMA1089                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201560       ANGELA C. SCROGGINS                   Deposits - 507(a)(6)                                                               5600-000                                        $102.82         $408,366.01
                                  30 Wildwood EstatesPlattsburghNY12901 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201561       TINA SEIFERT                                       Deposits - 507(a)(6)                                                  5600-000                                        $292.16         $408,073.85
                                  132 City Depot Road/PO Box                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1136CharltonMA1508                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201562       THEODORE SEILER                                    Deposits - 507(a)(6)                                                  5600-000                                         $23.52         $408,050.33
                                  501 W. Clara Av.PeoriaIL61614                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201563       TRACEY SELLARS                                     Deposits - 507(a)(6)                                                  5600-000                                        $288.39         $407,761.94
                                  12 Pleasant PlaceParisOntarioN3L3S1                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201564       ROBERT G. SENAY                                    Deposits - 507(a)(6)                                                  5600-000                                        $171.19         $407,590.75
                                  203 Gray AvenueAllistonONL9R0A6                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201565       ELSIE M. SETTA                       Deposits - 507(a)(6)                                                                5600-000                                         $25.71         $407,565.04
                                  26396 State Hwy. 77SaegertownPA16433 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201566       ANGELINE & RUSSELL SEVERNS            Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $407,475.47
                                  12650 E Country Line RdOakfordIL62673 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201567       REBECCA SEWELL                                     Deposits - 507(a)(6)                                                  5600-000                                        $122.11         $407,353.36
                                  3218 SW 1st AveCape CoralFL33914                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201568       JARED SEYMOUR                                      Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $407,313.61
                                  157 Fuller Rd.PeruNY12972                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201569       REBECCA SHARKEY                                    Deposits - 507(a)(6)                                                  5600-000                                        $295.21         $407,018.40
                                  3137 Carrie StPeruIL61354                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201570       ELIZABETH B. SHAW                                  Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $406,923.53
                                  2229 Timberlane DriveFlorenceSC29506               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201571       KRISTIN E. SHEA                           Deposits - 507(a)(6)                                                  5600-000                                        $190.27         $406,733.26
                                  80 Brewster StreetDepewNY14043            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201572       SANDRA K. SHEEHY                          Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $406,643.69
                                  1129 Schmidlin Rd.OregonOH43616           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201573       RUTH SHEELER                              Deposits - 507(a)(6)                                                  5600-000                                         $47.17         $406,596.52
                                  11978 Hanover RoadSilver                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CreekNY14136                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201574       JAMES SHELTON                             Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $406,551.74
                                  95 ParkwayMaywoodNJ7607                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201575       MARK SHERIDAN                             Deposits - 507(a)(6)                                                  5600-000                                        $501.79         $406,049.95
                                  RR 3Vernon BridgePECOA 2EO                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201576       DEBRA SHERWOOD                            Deposits - 507(a)(6)                                                  5600-000                                         $65.65         $405,984.30
                                  70 Elmwood AveUnit                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  3WellandOntarioL3C 0C1                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201577       RICK E. SHIELDS                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $405,894.73
                                  7217 Nash RoadCollinsOH44826              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201578       ROBERT M. SHOEMAKER                       Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $405,769.12
                                  531 Chapman LoopPawleys                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  IslandSC29585                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201579       A. ELEANOR SHOLAN                         Deposits - 507(a)(6)                                                  5600-000                                         $92.30         $405,676.82
                                  20 Winters LaneP. O. Box                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  207AlburghVT5440                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201580       SHARON SHORT                              Deposits - 507(a)(6)                                                  5600-000                                         $43.61         $405,633.21
                                  4310 Pitts Ave., #1CincinnatiOH45223      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201581       ALEXANDER SHOVER                          Deposits - 507(a)(6)                                                  5600-000                                         $95.66         $405,537.55
                                  16 Clemson RoadConwaySC29526              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201582       JAMES SHOVER                              Deposits - 507(a)(6)                                                  5600-000                                         $84.80         $405,452.75
                                  171 Westhaven DriveUnit 8CMyrtle          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29579                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                       Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                  Bank Name: Union Bank
                                                                                                                                           Account Number/CD#: XXXXXX3464
                                                                                                                                                                     Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                        Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                       Separate Bond (if applicable):


       1                2                                 3                                                                 4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                      Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                  Code                                                           ($)
   01/15/14          201583       SANDRA SHOVER                                       Deposits - 507(a)(6)                                                  5600-000                                         $95.66         $405,357.09
                                  16 Clemson RoadConwaySC29526                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201584       GIANNA SHOWERS                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $405,267.52
                                  3495 Oak Park RoadDeerfieldWI53531                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201585       MARY LOU SHREMSHOCK                                 Deposits - 507(a)(6)                                                  5600-000                                        $948.69         $404,318.83
                                  6130 S. Sunbury                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadWestervilleOH43081                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201586       TERRY R. SHRYOCK                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $404,229.26
                                  5213 Manhattan Dr.SpringfieldIL62711                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201587       DANA E. SHULTS                                      Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $404,134.39
                                  777 Glendale Rd.WilbrahamMA1095                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201588       JOYE A. SHUMAKER                                    Deposits - 507(a)(6)                                                  5600-000                                         $28.89         $404,105.50
                                  119 Edgar St.PetroliaPA16050                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201589       LAURINE SIERPINSKI                                  Deposits - 507(a)(6)                                                  5600-000                                         $84.61         $404,020.89
                                  141 Spring Brook DriveMiddletonCT6457               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201590       DEBORAH SIKES                                       Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $403,926.02
                                  74689 55th StreetDecaturMI49045                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201591       ANDREA SILVA                                        Deposits - 507(a)(6)                                                  5600-000                                        $290.86         $403,635.16
                                  32 Oakland AveShrewsburyMA1545                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201592       NADINE SILVA                            Deposits - 507(a)(6)                                                              5600-000                                        $102.45         $403,532.71
                                  485 Deerhurst DriveBurlingtonOntarioL7L ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  5T4                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201593       NANCY AND CHARLES SILVERMAN                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $403,443.14
                                  33 Rice AvenueNorthboroughMA1532                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201594       RICHARD P. SILVERMAN                                Deposits - 507(a)(6)                                                  5600-000                                         $74.92         $403,368.22
                                  74 Lynnwood LaneWorcesterMA1609                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201595       LEV SIMKHOVICH                                    Deposits - 507(a)(6)                                                  5600-000                                        $285.14         $403,083.08
                                  14 Iroquois StreetWorcesterMA1602                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201596       DAVID SIMONEAU                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $402,993.51
                                  151 Seasons DrivePunta GordaFL33983               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201597       CHERYL SIMPSON                       Deposits - 507(a)(6)                                                               5600-000                                        $268.71         $402,724.80
                                  209 SW 13th TerraceCape CoralFL33991 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201598       RONDINA SINATRA-SCHMITZ              Deposits - 507(a)(6)                                                               5600-000                                        $109.44         $402,615.36
                                  7126 Salt RoadClarence CenterNY14032 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201599       CARMEN SINE                                       Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $402,436.22
                                  04971 Blue Star Memorial HwySouth                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  HavenMI49090                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201600       BRENDA K. SITAR                                   Deposits - 507(a)(6)                                                  5600-000                                        $109.71         $402,326.51
                                  41709 Paw Paw RoadPaw PawMI49079                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201601       MICHAEL SIWEK                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $402,236.94
                                  321 Franklin StreetEvansvilleWI53536              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201602       HILDA SIX                                         Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $402,111.33
                                  240 East                                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PennsylvaniaJacksonvilleIL62650                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201603       ART SKIVER                                        Deposits - 507(a)(6)                                                  5600-000                                         $78.15         $402,033.18
                                  5711 W C AveKalamazooMI49009                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201604       ANN SKRZYPCZAK                                    Deposits - 507(a)(6)                                                  5600-000                                         $62.33         $401,970.85
                                  3702 Knighsbridge                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CloseWorcesterMA`01609-1173                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201605       ROBERT & LAURA SLAVING                            Deposits - 507(a)(6)                                                  5600-000                                        $157.45         $401,813.40
                                  P.O. Box 796WaterboroME4087                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201606       CHERYL SLAY                                       Deposits - 507(a)(6)                                                  5600-000                                         $78.97         $401,734.43
                                  1568 Windward DrivePingree                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GroveIL60140                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00           $1,633.79
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201607       CHARLOTTE SLEAR                           Deposits - 507(a)(6)                                                  5600-000                                         $13.23         $401,721.20
                                  705 Mercer RoadButlerPA16001              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201608       DARRELL SLIGHTOM                          Deposits - 507(a)(6)                                                  5600-000                                         $39.48         $401,681.72
                                  9599 Ploof Road SELelandNC28451           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201609       JANICE SMILEY                             Deposits - 507(a)(6)                                                  5600-000                                        $366.29         $401,315.43
                                  5 Mcelree RoadWashingtonPA15301           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201610       BARBARA A. SMITH                          Deposits - 507(a)(6)                                                  5600-000                                        $125.08         $401,190.35
                                  73 Garfield StreetFort PlainNY13339       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201611       BRIAN SMITH                               Deposits - 507(a)(6)                                                  5600-000                                         $89.68         $401,100.67
                                  8300 SW 121ST                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TerraceDunnellonFL34432                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201612       CYNTHIA LOUISE SMITH                      Deposits - 507(a)(6)                                                  5600-000                                         $44.81         $401,055.86
                                  7741 Walcott StreetPortageMI49024         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201613       DEBORAH SMITH                             Deposits - 507(a)(6)                                                  5600-000                                        $139.65         $400,916.21
                                  2011 Beulah RoadPittsburghPA15235         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201614       JOSIE L. SMITH                            Deposits - 507(a)(6)                                                  5600-000                                         $92.48         $400,823.73
                                  5887 Snowdrop Ave.GallowayOH43119         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201615       JUDITH SMITH                              Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $400,765.96
                                  N537 County Road HPalmyraWI53156          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201616       KATHLEEN SMITH                            Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $400,631.61
                                  120 Egret DriveJupiterFL33458             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201617       KAYLA SMITH                               Deposits - 507(a)(6)                                                  5600-000                                        $150.14         $400,481.47
                                  21-60 24th Street, #2AstoriaNY11105       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201618       LAVERNE SMITH                             Deposits - 507(a)(6)                                                  5600-000                                         $62.54         $400,418.93
                                  73 Garfield StreetFort PlainNY13339       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,315.50
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201619       LYNDA SMITH                                        Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $400,324.06
                                  115 Camp Run                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RoadMorgantownWV26508                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201620       LYNETTE M. SMITH                                   Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $400,189.71
                                  511 Depot St.BlissfieldMI49228                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201621       MICHAEL G. SMITH                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $400,010.57
                                  313 Sunset Hill RoadRandolphVT5060                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201622       RACHEL E. SMITH                                    Deposits - 507(a)(6)                                                  5600-004                                        $116.07         $399,894.50
                                  21 Doane StreetCranstonRI2910                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201623       RHODA SMITH                                        Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $399,760.15
                                  P.O. Box 153FreedomNY14065                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201624       SAMUEL & RACHEL SMITH                              Deposits - 507(a)(6)                                                  5600-000                                         $62.76         $399,697.39
                                  5120 West B AveKalamazooMI49009                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201625       STACEY SMITH                                       Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $399,655.52
                                  749 17TH StreetNiagra FallsNY14301                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201626       TAMARA SMITH                                       Deposits - 507(a)(6)                                                  5600-000                                        $137.69         $399,517.83
                                  65146 Taylor Rd.SturgisMI49091                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201627       JACK SMITS                                         Deposits - 507(a)(6)                                                  5600-000                                        $206.70         $399,311.13
                                  9 Reddington Drive, #3Legacy Pines                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GolfcourseCaledonOntarioL7E 4C4                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201628       DARLENE SMYTHE                                     Deposits - 507(a)(6)                                                  5600-000                                         $42.16         $399,268.97
                                  3599 Rossmere RoadPort                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33953                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201629       CHARLES A. SNELL                      Deposits - 507(a)(6)                                                               5600-000                                        $268.71         $399,000.26
                                  2721 Harbor CourtSt. AugustoneFL32084 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201630       THOMAS SOKOLSKI                                    Deposits - 507(a)(6)                                                  5600-000                                        $344.76         $398,655.50
                                  3713 Grace RoadKalamazooMI49006                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201631       JOSEPH D. SOLOMON                         Deposits - 507(a)(6)                                                  5600-000                                         $19.03         $398,636.47
                                  14748 Niagara Pkwy R. R. #1Niagara on     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  the LakeOntarioL0S 1J0                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201632       LORI SOMERSET                             Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $398,510.86
                                  516 Emerson AveFarrellPA16121             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201633       HUGO SONNENBERG                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $398,421.29
                                  1400 Dixie Road, Unit                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1405MississaugaOntarioL5E3E1              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201634       JUSTIN & ERIN SORENSON                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $398,242.15
                                  59 Oakcrest DrBurlingtonVT5401            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201635       HELENE SORRENTINO                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $398,152.58
                                  623 Woodmoor Dr., Unit 102Murrells        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  InletSC29576                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201636       LYNN SORRENTINO                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $398,063.01
                                  147-A East Bradford AvenueCedar           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GroveNJ7009                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201637       PAUL SOUTHWARD                            Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $397,979.27
                                  5056 Cassandra                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Dr.BeamsvilleOntarioL0R 1B7               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201638       JOANNE SPANO                              Deposits - 507(a)(6)                                                  5600-000                                         $83.63         $397,895.64
                                  810 Loretta StreetTonawandaNY14150        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201639       MEGAN SPAYDE                              Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $397,850.85
                                  6320 Oak CourtLakelandFL33813             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201640       AMY SPEAKER                               Deposits - 507(a)(6)                                                  5600-000                                        $327.29         $397,523.56
                                  3762 Lynn Dr.Orchard ParkNY14127          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201641       CAROLINE SPIERING                         Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $397,478.78
                                  1128 Vansickle Rd. N. Unit 30St.          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CatherineOntarioL2S 3W1                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201642       DEBORAH J. AND ARLINGTON                  Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $397,383.91
                                  SPINNER                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2812 Military Tpke.West ChazyNY12992      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,271.59
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                                        Case 12-40944                   Doc 740    Filed 08/06/19
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201643       MARY SPIVEY SHIREMAN                  Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $397,294.34
                                  690 Russell StreetLongboat KeyFL34228 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201644       JENNIFER SPRAGUE                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.36         $397,204.98
                                  P.O. Box 54PlymouthNH3264                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201645       LAURIE A. SPROULE                                  Deposits - 507(a)(6)                                                  5600-000                                     $1,090.97          $396,114.01
                                  12901 Norris LaneGalenaIL61036                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201646       JULIE ST. ANGEL                                    Deposits - 507(a)(6)                                                  5600-000                                        $199.81         $395,914.20
                                  2615 Green Apple LnRockfordIL61107                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201647       MICHEL ST. LAURENT                                 Deposits - 507(a)(6)                                                  5600-000                                        $223.92         $395,690.28
                                  240 MertonSt-LambertQuebecJ4P 2W3                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201648       CAROLYN AND TOM ST. MEYERS                         Deposits - 507(a)(6)                                                  5600-000                                        $131.94         $395,558.34
                                  192 Fox Hill LanePerrysburgOH43551                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201649       CAROL A. STACK                                     Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $395,379.20
                                  1606 Yorkshire DriveChampaignIL61822               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201650       PAUL M. STAFFORD                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $395,289.63
                                  3864 Pattie CircleKalamazooMI49004-                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  9508                                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201651       JUDITH A. STALLONS                                 Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $395,200.06
                                  10891 Whispering Pines                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  WayRockfordIL61114                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201652       CHARLES A. AND JANIE STANLEY                       Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $395,105.19
                                  3128 CarmanSpringfieldIL62703                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201653       EVELYN L. STANLEY                                  Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $395,057.76
                                  1049 Salem AvenueHillsideNY7205                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201654       JENNIFER STANLEY                                   Deposits - 507(a)(6)                                                  5600-000                                         $24.87         $395,032.89
                                  25 Kitty Murray Lane, Unit                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1AncasterOntarioL9K 1L3                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201655       MARYANN A. STANLEY                                Deposits - 507(a)(6)                                                  5600-000                                         $97.81         $394,935.08
                                  5220 Blackjack CirclePunta                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GordaFL33982                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201656       ALAN L. STEARNS                                   Deposits - 507(a)(6)                                                  5600-000                                        $144.97         $394,790.11
                                  74 Sanddollar CircleEast                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  FalmouthMA2536                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201657       BRIAN STEINBERG                                   Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $394,745.33
                                  115 Ball Hill Rd.PrincetonMA1541                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201658       DAWN W. STEINBERG                                 Deposits - 507(a)(6)                                                  5600-000                                         $96.73         $394,648.60
                                  6944 New Albany Road EastNew                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AlbanyOH43054                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201659       PATRICIA S. STELZER                               Deposits - 507(a)(6)                                                  5600-000                                        $189.74         $394,458.86
                                  10575 N. 6th St.OstegoMI49078                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201660       KEVIN STEPHENS                                    Deposits - 507(a)(6)                                                  5600-000                                        $121.85         $394,337.01
                                  1405 N. Maple StreetNormalIL61761                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201661       PORSHA STEPNEY                                    Deposits - 507(a)(6)                                                  5600-000                                        $133.45         $394,203.56
                                  68 Warner Ave.SpringfieldNJ7081                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201662       TIMOTHY STERNS                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $394,113.99
                                  2626 Smith RoadLambertvilleMI48144                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201663       DAVID STEVENS                                     Deposits - 507(a)(6)                                                  5600-000                                        $751.01         $393,362.98
                                  149 Longfield                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CrescentAncasterOntarioL9G 3W3                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201664       KRISTEN STEWART                                   Deposits - 507(a)(6)                                                  5600-000                                        $130.54         $393,232.44
                                  40 Phillips RoadStillwaterNY12170                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201665       JODI A. STILES                                    Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $393,187.66
                                  PO BOX 6Swartz CreekMI48473                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201666       WALTER C. STILL                      Deposits - 507(a)(6)                                                               5600-000                                         $57.41         $393,130.25
                                  955 Deep Lagoon LaneFt. MyersFL33919 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00           $1,902.64
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201667       JESSICA STILLWELL                                  Deposits - 507(a)(6)                                                  5600-000                                        $360.40         $392,769.85
                                  14 Allen Hill RoadPeruNY12972                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201668       DOLOROS STINSON                       Deposits - 507(a)(6)                                                               5600-000                                         $51.41         $392,718.44
                                  4824 B Sturbridge LandLockportNY14094 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  -3458                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201669       KRISTIN STITELER                                   Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $392,668.62
                                  1550 Barclay Hill RdBeaverPA15009                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201670       RICHARD STLAKA                                     Deposits - 507(a)(6)                                                  5600-000                                         $20.93         $392,647.69
                                  104 Maple StreetFerryvilleWI54628                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201671       MARK E. STOCKIN                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $392,558.12
                                  390 Oak Crest CircleLongsSC29568                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201672       JANICE STOCKUS                                     Deposits - 507(a)(6)                                                  5600-000                                         $81.09         $392,477.03
                                  939 East WashintonRivertonIL62561                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201673       D. MICHAEL STOVER                                  Deposits - 507(a)(6)                                                  5600-000                                         $96.19         $392,380.84
                                  615 Arch St, 1ST FloorPerkasiePA18944              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201674       JON TYLER STRADINGER                  Deposits - 507(a)(6)                                                               5600-000                                         $89.57         $392,291.27
                                  451 Lake Forest Blvd.KalamazooMI49006 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201675       KAREN STRATZ                                       Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $392,243.84
                                  8456 Pittsburgh BlvdFt. MyersFL33967               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201676       ROBERT J. STREETER                                 Deposits - 507(a)(6)                                                  5600-000                                        $121.37         $392,122.47
                                  603 Locarno DriveVeniceFL34285-4306                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201677       CAROLYN STUMPF                                     Deposits - 507(a)(6)                                                  5600-000                                        $134.56         $391,987.91
                                  63 Briarwood DriveBuffaloNY14224                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201678       ROSE STUNDA                                        Deposits - 507(a)(6)                                                  5600-000                                        $110.41         $391,877.50
                                  251 Ritchie AvenueWeirtonWV26062                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201679       DOROTHY STURNIOLO                         Deposits - 507(a)(6)                                                  5600-000                                        $281.95         $391,595.55
                                  623 Lake Estates Ct.ConwaySC29526         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201680       BETH SULLIVAN                             Deposits - 507(a)(6)                                                  5600-000                                         $51.41         $391,544.14
                                  647 Lafayette Ave, Apt 2BuffaloNY14222    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201681       KEVIN SULLIVAN                            Deposits - 507(a)(6)                                                  5600-000                                         $95.61         $391,448.53
                                  216 Pound RoadCumberlandRI2864            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201682       KYLE SULLIVAN                             Deposits - 507(a)(6)                                                  5600-000                                        $318.00         $391,130.53
                                  349 E Martin Luther King Jr.              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveGreensboroNC27406                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201683       TRACY L. SULLIVAN                         Deposits - 507(a)(6)                                                  5600-000                                        $525.02         $390,605.51
                                  126 Ramshorn Rd.CharltonMA1507            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201684       ERIC SUMMERS                              Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $390,555.69
                                  12107 Lowill LnSt LouisMO63126            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201685       PAUL AND LAURA SUMNER                     Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $390,430.08
                                  43 Curtis AvenueBurlingtonVT5408          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201686       LINDA SUPERNAW                            Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $390,385.30
                                  77 Garrand Rd.MooersNY12958               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201687       CAMILLE SUSHEL                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $390,295.73
                                  165 Preservation DriveMyrtle              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29572                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201688       LUXMAN SUTHANTHIRARAJAH                   Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $390,250.95
                                  39 Ferncliffe                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CrescentMarkhamOntarioL3S4N9              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201689       MARY JO SWANSON                           Deposits - 507(a)(6)                                                  5600-000                                         $39.48         $390,211.47
                                  85 Confederate LanePawleysSC29585         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201690       FRAN SWEENEY                              Deposits - 507(a)(6)                                                  5600-000                                        $218.67         $389,992.80
                                  1257 Norway RoadKendallNY14476            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


       1                2                                3                                                               4                                                       5                   6                     7

Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          201691       LORI SWITALSKI                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $389,903.23
                                  2312 ParisTroyMI48083                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201692       GARY ALLEN SWORDS                                Deposits - 507(a)(6)                                                  5600-000                                        $142.30         $389,760.93
                                  538 Laurel StreetChillicotheOH45601              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201693       JENNIFER SZAFRAN                                 Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $389,661.29
                                  21 Monroe StreetNorth                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201694       DAVID SZEWCZYKOWSKI                              Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $389,482.15
                                  117 Eola Park DriveDavenportFL33897              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201695       JOANN SZYMCZAK                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $389,392.58
                                  21 Schofield Ave.DudleyMA1571                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201696       CAROL M. TABONE                                  Deposits - 507(a)(6)                                                  5600-000                                        $135.39         $389,257.19
                                  15 Maier CircleSpencerportNY14559-               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2411                                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201697       DEBRA TRAFIL                                     Deposits - 507(a)(6)                                                  5600-000                                         $80.29         $389,176.90
                                  2800 6th StreetShelbyvilleMI49344                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201698       THOMAS TALLMAN, JR.                              Deposits - 507(a)(6)                                                  5600-000                                        $160.83         $389,016.07
                                  29 Stourbridge LaneHonesdalePA18431              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201699       JOHN MARC TAMAYO                                 Deposits - 507(a)(6)                                                  5600-000                                        $225.25         $388,790.82
                                  c/o Valenti CampbellPO Box                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2369LakelandFL33806-2369                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201700       AMY TAMBS                                        Deposits - 507(a)(6)                                                  5600-000                                         $44.65         $388,746.17
                                  3009 Candela GroveCharlestonSC29414              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201701       NORMAN TARBELL                      Deposits - 507(a)(6)                                                               5600-000                                         $61.16         $388,685.01
                                  208 St. Regis RoadHogansburgNY13655 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201702       BRENTLEY D. TARTER                               Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $388,559.40
                                  6608 Rhode Island TrailCrystal                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LakeIL60012                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                               Page Subtotals:                                                                        $0.00           $1,433.40
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201703       CYNTHIA TARTER                                     Deposits - 507(a)(6)                                                  5600-000                                         $28.89         $388,530.51
                                  6608 Rhode Island TrailCrystal                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LakeIL60012                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201704       ANNETTE TATE                          Deposits - 507(a)(6)                                                               5600-000                                        $125.21         $388,405.30
                                  802 Morley AvenueNiagara FallsNY14305 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201705       JENNIFER A. TATE SCOTT                             Deposits - 507(a)(6)                                                  5600-000                                         $62.80         $388,342.50
                                  260 Route 165PrestonCT6365                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201706       BARBARA TAYLOR                                     Deposits - 507(a)(6)                                                  5600-000                                        $204.62         $388,137.88
                                  7125 Channel I SWOcean Isle                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachNC28469                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201707       BONNIE TAYLOR                                      Deposits - 507(a)(6)                                                  5600-000                                        $142.31         $387,995.57
                                  42 Johnston Ave.WhitinsvilleMA1588                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201708       COREY TAYLOR                                       Deposits - 507(a)(6)                                                  5600-000                                        $169.89         $387,825.68
                                  1621 Palmer Dr.Ormond BeachFL32174                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201709       DAVID & LISA TAYLOR                                Deposits - 507(a)(6)                                                  5600-000                                         $88.11         $387,737.57
                                  616 Lancashire DrSturgisMI49091                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201710       LISA TAYLOR                                        Deposits - 507(a)(6)                                                  5600-000                                         $81.73         $387,655.84
                                  19 Acanthus CircleOrmond                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachFL32174                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201711       PATRICIA TAYLOR                                    Deposits - 507(a)(6)                                                  5600-000                                         $58.03         $387,597.81
                                  456 Nicklaus BoulevardNorth Forth                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33903                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201712       PETRA TEMPLIN                                      Deposits - 507(a)(6)                                                  5600-000                                         $35.90         $387,561.91
                                  128 Union RoadWalesMA1081                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201713       JUDY TENISON                                       Deposits - 507(a)(6)                                                  5600-000                                         $20.67         $387,541.24
                                  3164 - 34th Avenue NorthSt.                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PetersburgFL33713                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201714       RUBY TENNYSON                                      Deposits - 507(a)(6)                                                  5600-000                                        $213.06         $387,328.18
                                  3 Hill Clyde AcresChestertownNY12817               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,231.22
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201715       CHARLOTTE TERHUNE                                  Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $387,233.31
                                  123 Boxwood LaneConwaySC29526                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201716       LOIS TERRANCE                                      Deposits - 507(a)(6)                                                  5600-000                                         $58.02         $387,175.29
                                  P.O. Box 1122HogansburgNY13655                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201717       TERRY A. THAXTON                                   Deposits - 507(a)(6)                                                  5600-000                                         $96.20         $387,079.09
                                  218 Williams RoadWinter                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsFL32708                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201718       STEVEN THEISS                          Deposits - 507(a)(6)                                                              5600-000                                         $89.57         $386,989.52
                                  2 Liberty DriveSaratoga SpringsNY12866 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201719       MELISSA THENIKL MYSZAK                             Deposits - 507(a)(6)                                                  5600-000                                        $210.59         $386,778.93
                                  4552 E. 136th StreetGrantMI49327                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201720       ESTELLE THIBEAULT                                  Deposits - 507(a)(6)                                                  5600-000                                         $43.15         $386,735.78
                                  48 Myrtle RoadGriswoldCT6351                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201721       CLIFFORD THIEL                                     Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $386,691.00
                                  31-87 Country Club CourtLanarkIL61046              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201722       CHARLES E. THOMAS                                  Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $386,651.25
                                  746 Alexis DriveLongsSC29568                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201723       CHARLES J. THOMAS                                  Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $386,561.68
                                  665 Center St 706 Meadow                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CrestLudlowMA1056                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201724       DENIS THOMAS                        Deposits - 507(a)(6)                                                                 5600-000                                        $237.17         $386,324.51
                                  1250 13th Ave.MontrealQuebecH1B 3W7 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201725       GEORGE THOMAS                       Deposits - 507(a)(6)                                                                 5600-000                                         $89.57         $386,234.94
                                  4105 SE 2nd AvenueCape CoralFL33904 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201726       JESSICA THOMAS                                     Deposits - 507(a)(6)                                                  5600-000                                        $377.20         $385,857.74
                                  8311 ECHO LANECLINTON, MD 20735                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201727       KENNETH T. THOMAS                         Deposits - 507(a)(6)                                                  5600-000                                        $192.38         $385,665.36
                                  PO Box 87Orchard ParkNY14127              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201728       MATTHEW W. THOMAS                         Deposits - 507(a)(6)                                                  5600-000                                         $48.10         $385,617.26
                                  1848 Arlington StreetBethlehemPA18017     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201729       JOHN THOMPSON                             Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $385,438.12
                                  1180 Narragansett Blvd, Apt               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  G2CranstonRI2905                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201730       JOHN THOMPSON                             Deposits - 507(a)(6)                                                  5600-000                                        $313.49         $385,124.63
                                  2503 Del Prado Blvd S #400Cape            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CoralFL33904                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201731       LENORE THOMPSON                           Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $385,079.85
                                  3959 Forest Parkway, Apt. 122North        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201732       JAMES K. THOREN                           Deposits - 507(a)(6)                                                  5600-000                                         $64.90         $385,014.95
                                  11514 Bailey RoadPecatonicaIL61063        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201733       GORDON R. THORNES                         Deposits - 507(a)(6)                                                  5600-000                                         $96.19         $384,918.76
                                  788 Templemead                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  DriveHamiltonOntarioL8W 2V3               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201734       MATHEW THORTON                            Deposits - 507(a)(6)                                                  5600-000                                        $172.31         $384,746.45
                                  514 West 4th St.BuchananMI49107           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201735       JOHN E. TIMKO                             Deposits - 507(a)(6)                                                  5600-000                                        $279.64         $384,466.81
                                  48060 Reservior Rd.St                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ClairsvilleOH43950                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201736       NORMAN W. AND DONNA M. TIPLADY            Deposits - 507(a)(6)                                                  5600-000                                         $50.23         $384,416.58
                                  13833 Central Ave.NeapolisOH43547         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201737       KELLI TODOROFF                            Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $384,313.76
                                  4856 Sequoia DriveJacksonMI49201          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201738       PATRICK TOLSMA                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $384,224.19
                                  2503 Westwinde NWGrand                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RapidsMI49504                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          201739       VICKI J. TOMPKINS                   Deposits - 507(a)(6)                                                               5600-000                                         $78.17         $384,146.02
                                  166 Louisbourg WayMarkhamOntarioL6E ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  0C3                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201740       DEBORAH TORRANCE                                 Deposits - 507(a)(6)                                                  5600-000                                        $191.86         $383,954.16
                                  393 Ellen StreetMidlandONL4R 2H4                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201741       ROBERT TORRE                                     Deposits - 507(a)(6)                                                  5600-000                                        $106.15         $383,848.01
                                  70 Cape Drive, Unit 3BMashpeeMA2649              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201742       GRISELL TORRES QUIROS                            Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $383,713.66
                                  2503 Hassonite StKissimmeFL34744                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201743       BRENDA K. & MORRIS C. TOWNE                      Deposits - 507(a)(6)                                                  5600-000                                        $189.31         $383,524.35
                                  94 Cooper DrivePlattsburghNY12901                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201744       GEORGE TOWNE                                     Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $383,484.60
                                  163 Salem End RdFraminghamMA1702                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201745       RAYMOND G. TOWNLEY                               Deposits - 507(a)(6)                                                  5600-000                                         $60.63         $383,423.97
                                  4356 Ontario DriveLittle RiverSC29566            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201746       LUTHER TOWNSEND, III                             Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $383,244.83
                                  5485 Salt RoadClarenceNY14031                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201747       ERIN TRACY                                       Deposits - 507(a)(6)                                                  5600-000                                        $139.59         $383,105.24
                                  68 Elmleaf DriveCheektowagaNY14227               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201748       KAREN A. TRADER                                  Deposits - 507(a)(6)                                                  5600-000                                        $184.97         $382,920.27
                                  3639 S Grand Ave. E.SpringfieldIL62712           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201749       KATHLEEN TRASTER                                 Deposits - 507(a)(6)                                                  5600-000                                         $13.99         $382,906.28
                                  25465 E. Panks Dr.Drummond                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  IslandMI49726                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201750       ERIC TREASTER                                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $382,727.14
                                  6567 Carmel DriveMacungiePA18062                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                               Page Subtotals:                                                                        $0.00           $1,497.05
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201751       DEBORAH JOY TRESCOTT                               Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $382,458.43
                                  338 High StreetMarshallMI49068                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201752       BRANDON TRIERWEILER                                Deposits - 507(a)(6)                                                  5600-000                                        $249.76         $382,208.67
                                  935 Marshall StreetPortlandMI48875                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201753       JAMES TRIMBOLI                                     Deposits - 507(a)(6)                                                  5600-000                                        $126.31         $382,082.36
                                  575 Pletcher RoadLewistonNY14092                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201754       ROD TROSTLE                            Deposits - 507(a)(6)                                                              5600-000                                        $185.50         $381,896.86
                                  1001 Autumn DriveMurrells InletSC29576 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201755       KRISTEN M. TRUAX                                   Deposits - 507(a)(6)                                                  5600-000                                        $116.07         $381,780.79
                                  10 Tulip TerraceClifton ParkNY12065                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201756       NADINE TUCKER                                      Deposits - 507(a)(6)                                                  5600-000                                        $136.59         $381,644.20
                                  108 Montgomery DrRockfordIL61109                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201757       BETTY-LOU TUFFORD                                  Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $381,509.85
                                  18 Storey DriveActonOntarioL7J2S9                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201758       DENYSE TUGGLE                                      Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $381,465.07
                                  35 Walden AveNew LondonCT6320                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201759       KEVIN TURKALL                                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $381,375.50
                                  100 Seventh St., Suite                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  100PittsburghPA15222                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201760       BARBARA TURNER                                     Deposits - 507(a)(6)                                                  5600-000                                        $276.95         $381,098.55
                                  17 Lambert LaneSpringfieldIL62704                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201761       LESLIE TUTTLE                                      Deposits - 507(a)(6)                                                  5600-000                                        $124.23         $380,974.32
                                  11861 W. Indian Lake                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  Dr.VicksburgMI49097                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201762       SUSAN TYKE                            Deposits - 507(a)(6)                                                               5600-000                                         $44.79         $380,929.53
                                  3321 Estero BlvdFt Myers BeachFL33931 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,797.61
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201763       JAMES M. ULICNY                           Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $380,887.66
                                  3 Ash StreetP. O. Box CCoralPA15731       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201764       JANET L. UMSHARES                         Deposits - 507(a)(6)                                                  5600-000                                         $83.37         $380,804.29
                                  1616 Langley Dr.LongsSC29568              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201765       BILL & LISA UNZICKER                      Deposits - 507(a)(6)                                                  5600-000                                        $106.64         $380,697.65
                                  19528 N 1370 East RdDanvilleIL61834       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201766       CATHERINE UR                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $380,608.08
                                  1013 Highgate RoadKalamazooMI49006        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201767       JOYCE URAM                                Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $380,563.30
                                  37 Schley StreetGarfieldNJ7026            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201768       CYNTHIA UTTERBACK-PAYNE                   Deposits - 507(a)(6)                                                  5600-000                                        $161.70         $380,401.60
                                  402 WellsP. O. Box 174BuffaloIL62515      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201769       JAMES E. VALSA                            Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $380,312.03
                                  PO Box 364St. CharlesIL60174              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201770       R. DAVID VAN BUREN                        Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $380,222.46
                                  638 Briar DriveSycamoreIL60178            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201771       WILLIAM VAN HAEREN                        Deposits - 507(a)(6)                                                  5600-000                                        $508.53         $379,713.93
                                  470 Industrial                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AveWoodstockOntarioN4S7L1                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201772       MARLENE VAN HAM                           Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $379,624.36
                                  41 Baldwin StreetTillsonburgOntarioN4G    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2K4                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201773       JANET G. VANALSTYNE                       Deposits - 507(a)(6)                                                  5600-000                                        $324.85         $379,299.51
                                  924 Grafton RoadChesterVT5143             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201774       KATHY J. VANBEBBER                        Deposits - 507(a)(6)                                                  5600-000                                         $92.75         $379,206.76
                                  31657 Willow RoadPalmyraIL62674           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201775       SHEILA J. VANBLARCOM                      Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $379,117.19
                                  24B Stonehouse LaneKeeneNH3431            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201776       ALLAN VANDENBOSCH                         Deposits - 507(a)(6)                                                  5600-000                                        $207.12         $378,910.07
                                  111 S Roma WayKissimmeFL34746             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201777       WALTER VANDERHOFF                         Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $378,860.25
                                  2603 Route 22PeruNY12972                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201778       JOANNE VANDYKE                            Deposits - 507(a)(6)                                                  5600-000                                         $42.13         $378,818.12
                                  3919 Richmond Court NWGrand               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RapidsMI49534                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201779       PAMELA VANSLYKE                           Deposits - 507(a)(6)                                                  5600-000                                         $80.29         $378,737.83
                                  52 Howe AvenueShrewsburyMA1545            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201780       STEVEN A. VANTONGEREN                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $378,648.26
                                  7538 Sandyridge StreetPortageMI49024      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201781       JOHN D. VANWYCK                           Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $378,469.12
                                  1973 Seminole RoadMuskegonMI49441         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201782       SUZANNA VASS                              Deposits - 507(a)(6)                                                  5600-000                                        $160.83         $378,308.29
                                  2404 Isle of Palms DriveVeniceFL34292     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201783       KELLY VECCHIO                             Deposits - 507(a)(6)                                                  5600-000                                        $230.55         $378,077.74
                                  9819 River Bend DriveRoscoeIL61073        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201784       MICHELLE VELLA                            Deposits - 507(a)(6)                                                  5600-000                                        $397.70         $377,680.04
                                  5321 Parliament Pl.RockfordIL61107        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201785       ELAINE L. VELTMAN                         Deposits - 507(a)(6)                                                  5600-000                                         $46.53         $377,633.51
                                  9230 76th Street SEAltoMI49302            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201786       NANCY VENNEKOTTER                         Deposits - 507(a)(6)                                                  5600-000                                         $86.13         $377,547.38
                                  14479 Road, G-14OttawaOH45875             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201787       LINDA VERDUIN-DALE                                 Deposits - 507(a)(6)                                                  5600-000                                        $239.81         $377,307.57
                                  D-13, 100 Pierson Miller DrivePompton              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LakesNJ7442                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201788       THOR VIKSTROM                                      Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $377,257.75
                                  2950 Botham StreetSt.                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LaurentQuebecH4S 1J1                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201789       KHONESAVANH VILAYPHONE                             Deposits - 507(a)(6)                                                  5600-000                                        $119.78         $377,137.97
                                  45 Sheridan Drive, Apt                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  2ShrewsburyMA1545                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201790       GIOVANNA VILLANO                                   Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $377,048.40
                                  19 East Gate DriveGlenwoodNJ7418                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201791       JOSEPH VILLANO                                     Deposits - 507(a)(6)                                                  5600-000                                        $268.97         $376,779.43
                                  19 East Gate DriveGlenwoodNJ7418                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201792       KATHLEEN VILLANO                                   Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $376,510.72
                                  19 East Gate DriveGlenwoodNJ7418                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201793       JENNIFER A. VINCENT                    Deposits - 507(a)(6)                                                              5600-000                                        $366.56         $376,144.16
                                  32 Beacon StreetSouth BurlingtonVT5403 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201794       GENE VIRTUOSO                                      Deposits - 507(a)(6)                                                  5600-000                                         $90.13         $376,054.03
                                  446 Aberdeen RoadLewistonNY14092-                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  1023                                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201795       PAUL VITRANO                                       Deposits - 507(a)(6)                                                  5600-000                                         $55.94         $375,998.09
                                  25 Standish RoadBuffaloNY14216                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201796       ROBERT VLIEK                                       Deposits - 507(a)(6)                                                  5600-000                                         $29.80         $375,968.29
                                  2750 Old Centre, Suite                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  100PortageMI49024                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201797       CYNTHIA VOGELZANG                                  Deposits - 507(a)(6)                                                  5600-000                                         $71.36         $375,896.93
                                  1871 South Shore Drive,                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #2HollandMI49423                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201798       KIMBERLY VOSS                                      Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $375,849.50
                                  5234 Everhard Ave.KalamazooMI49004                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
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                                                                                                 Page Subtotals:                                                                        $0.00           $1,697.88
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                                        Case 12-40944                   Doc 740   Filed 08/06/19
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201799       FRED J. VOTRAW                                    Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $375,765.76
                                  2196 State Route 9NAusable                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  ForksNY12912                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201800       MILOS VUKOVIC                                     Deposits - 507(a)(6)                                                  5600-000                                         $76.79         $375,688.97
                                  5387 Tonawanda Creek RoadNorth                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  TonawandaNY14120                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201801       CARL VUOTTO                                       Deposits - 507(a)(6)                                                  5600-000                                        $358.28         $375,330.69
                                  107 Lathrop AvenueStaten                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  IslandNY10314                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201802       TOBY L. VYVERBERG                    Deposits - 507(a)(6)                                                               5600-000                                         $47.43         $375,283.26
                                  53 Landstone TerraceRochesterNY14606 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201803       JANICE E. WAGNER                                  Deposits - 507(a)(6)                                                  5600-000                                        $216.31         $375,066.95
                                  1800 Embarcadero WayNorth Fort                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  MyersFL33917                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201804       DIANA WAITE                                       Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $374,977.38
                                  1245 N 155WAngolaIN46703                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201805       DONNA WAITS                                       Deposits - 507(a)(6)                                                  5600-000                                         $36.97         $374,940.41
                                  4723 S. Long Lake Rd.PortageMI49002               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201806       RUTH JEAN WAKEFORD                                Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $374,806.06
                                  191 Crescent DrivePunta GordaFL33950              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201807       TAMMY WALDRON                                     Deposits - 507(a)(6)                                                  5600-000                                         $49.82         $374,756.24
                                  268 Standish RoadSaranacNY12981                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201808       KATHRYN WALKER                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $374,666.67
                                  9212 St Catherine                                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AveEnglewoodFL34224                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201809       SHARON WALKER                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $374,577.10
                                  14 Wheelock StreetOxfordMA1540                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201810       TRACEY WALKER                       Deposits - 507(a)(6)                                                                5600-000                                         $71.71         $374,505.39
                                  19 Randall Wood DriveMontagueMA1351 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00            $1,344.11
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201811       HENRY J. WALL                                      Deposits - 507(a)(6)                                                  5600-000                                         $60.16         $374,445.23
                                  PO Box 88Waterbury CenterVT5677                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201812       MONA WALLACE                                       Deposits - 507(a)(6)                                                  5600-000                                        $206.57         $374,238.66
                                  Po Box 95-520 Prairie St.Taylor                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  SpringsIL62089                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201813       MARCIA WALLHAGEN                                   Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $374,193.88
                                  64 Timothy LaneCarlisleMA1741                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201814       JOHN WALSH                             Deposits - 507(a)(6)                                                              5600-000                                         $29.20         $374,164.68
                                  2512 Warne StreetPort CharlotteFL33952 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201815       KATHLEEN WALSH                                     Deposits - 507(a)(6)                                                  5600-000                                        $137.80         $374,026.88
                                  1087 Big Torch StreetRiviera                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachFL1140                                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201816       DAVID WALTER                                       Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $373,982.10
                                  2291 ChalmetteToledoOH43611                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201817       CHARLES WALTERS                                    Deposits - 507(a)(6)                                                  5600-000                                         $54.43         $373,927.67
                                  147 South StNorthboroughMA1532                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201818       JOSEPH P. WALTON                                   Deposits - 507(a)(6)                                                  5600-004                                        $264.60         $373,663.07
                                  682 Foundry StreetEastonMA2375                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201819       WILLIAM WARD                                       Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $373,610.07
                                  95 Hollywood St.FitchburgMA1420                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201820       BETH WARE                                          Deposits - 507(a)(6)                                                  5600-000                                        $148.75         $373,461.32
                                  22070 Haskins RdBowling                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  GreenOH43402                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201821       LINDA WARGO                                        Deposits - 507(a)(6)                                                  5600-000                                        $416.58         $373,044.74
                                  1519 Sharon RdStreatorIL61364                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201822       JOEL WARNER                                        Deposits - 507(a)(6)                                                  5600-000                                         $64.05         $372,980.69
                                  7585 Belmar DrBelvidereIL61008                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,524.70
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                    Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                               Bank Name: Union Bank
                                                                                                                                        Account Number/CD#: XXXXXX3464
                                                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                     Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                    Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                               Code                                                           ($)
   01/15/14          201823       MORRIS R. WARREN                                 Deposits - 507(a)(6)                                                  5600-000                                        $225.94         $372,754.75
                                  7356 Country Commons                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LaneSylvaniaOH43560                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201824       JENNIFER WARYAS                                  Deposits - 507(a)(6)                                                  5600-000                                        $125.61         $372,629.14
                                  16 Grove StGreenlandNH3840                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201825       SANDRA WASHINGTON                                Deposits - 507(a)(6)                                                  5600-000                                        $209.35         $372,419.79
                                  70 South St.ShrewsburyMA1545                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201826       STEPHANIE WASHINGTON                Deposits - 507(a)(6)                                                               5600-000                                         $54.30         $372,365.49
                                  6420 Cherrywood LaneLockportNY14094 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201827       MATTHEW WATTERSON                  Deposits - 507(a)(6)                                                                5600-000                                         $91.69         $372,273.80
                                  22 AshmoreChateauguayQuebecJ6J-5A8 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201828       MELISSA WEART                                    Deposits - 507(a)(6)                                                  5600-000                                         $64.90         $372,208.90
                                  9550 Leeds CircleMyrtle BeachSC29588             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201829       KIMBERLY WEAVER                                  Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $372,074.55
                                  18 Chipper DriveSouth GraftonMA1560              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201830       BARBARA C. WEBER                                 Deposits - 507(a)(6)                                                  5600-000                                         $13.24         $372,061.31
                                  5820 Johnston RoadColomaMI49038                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201831       KRAIG WEBER                                      Deposits - 507(a)(6)                                                  5600-000                                         $76.05         $371,985.26
                                  204 Foxcroft DriveHamburgNY14075                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201832       CAROL WEBSTER                                    Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $371,943.39
                                  62 Beyer PlaceBuffaloNY14210                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201833       SHEILA M. WEED                                   Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $371,764.25
                                  3821 Grouse RoadSpringfieldIL62707               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201834       CARL & LINDA WEINDEL                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $371,674.68
                                  38 E. New St.SewarenNJ7077                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                               Page Subtotals:                                                                        $0.00           $1,306.01
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201835       DANIEL WEISENREDER                        Deposits - 507(a)(6)                                                  5600-000                                        $192.23         $371,482.45
                                  4634 S. Eden Lake RoadCusterMI49405       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201836       EUGENE WEISS                              Deposits - 507(a)(6)                                                  5600-000                                         $31.79         $371,450.66
                                  621 Farm LnRochesterPA15074               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201837       MICHAEL WELCH                             Deposits - 507(a)(6)                                                  5600-000                                         $51.41         $371,399.25
                                  6309 White Pine WayLantanaFL33462         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201838       SYLVIA WELD                               Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $371,354.47
                                  224 Park Street C3StonehamMA2180          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201839       BETH H. WELLS                             Deposits - 507(a)(6)                                                  5600-000                                         $59.60         $371,294.87
                                  1401 Business Loop 75St.                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  IgnaceMI49781                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201840       RHONDA WENBERG                            Deposits - 507(a)(6)                                                  5600-000                                        $206.57         $371,088.30
                                  P.O. Box 196Stillman ValleyIL61084        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201841       DEBRA J. WERENSKI                         Deposits - 507(a)(6)                                                  5600-000                                        $136.73         $370,951.57
                                  33 Easton St.GranbyMA1033                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201842       BRADFORD LEE WEST                         Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $370,817.22
                                  2408 Rosewell PointSpringfieldIL62711     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201843       ROBERT WESTERMEIER                        Deposits - 507(a)(6)                                                  5600-004                                        $179.14         $370,638.08
                                  226 Greenwood DriveEast                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  AuroraNY14052-1352                        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201844       BRENT A. WETNICKA                         Deposits - 507(a)(6)                                                  5600-000                                        $298.92         $370,339.16
                                  46 Willard RoadSturbridgeMA1566           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201845       GORDON WHEELER                            Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $370,294.38
                                  7804 Veronawalk Blvd.NaplesFL34114        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201846       BETH WHITE                                Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $370,199.51
                                  180 Perry AveWorcesterMA1610              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $1,475.17
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                      Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                 Bank Name: Union Bank
                                                                                                                                          Account Number/CD#: XXXXXX3464
                                                                                                                                                                    Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                       Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                      Separate Bond (if applicable):


       1                2                                 3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                     Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                 Code                                                           ($)
   01/15/14          201847       JAMES WHITE                                        Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $370,154.73
                                  314 Sycamore StreetLitchfieldMI49252               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201848       THOMAS B. WHITE                                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $370,065.16
                                  2287 County Rt 5MoriaNY12957                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201849       DIANE WHITE-PELOSI                                 Deposits - 507(a)(6)                                                  5600-004                                        $179.14         $369,886.02
                                  23 Taunton St.BellinghamMA2019                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201850       CHRISTOPHER WHITNEY                                Deposits - 507(a)(6)                                                  5600-000                                        $163.45         $369,722.57
                                  1062 Sugartree Dr. NLakelandFL33813                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201851       HEIDI WIEGAND                          Deposits - 507(a)(6)                                                              5600-000                                        $110.23         $369,612.34
                                  318 Carolina Ave.East LiverpoolOH43920 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201852       CARLA WILEY                                        Deposits - 507(a)(6)                                                  5600-000                                         $55.12         $369,557.22
                                  925 Mist Flower DriveWaterlooIL62296               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201853       BARBARA WILHARM                                    Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $369,378.08
                                  PO BOX 384ColliersWV26035                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201854       MARY K. WILLER                                     Deposits - 507(a)(6)                                                  5600-000                                        $142.30         $369,235.78
                                  400 Poinsettia DriveQuincyIL62305                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201855       JENNA WILLIAMS                                     Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $369,193.91
                                  3605 Saint Annes DrSpringfieldIL62712              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201856       KELLY WILLIAMS                                     Deposits - 507(a)(6)                                                  5600-000                                         $89.31         $369,104.60
                                  301 Monroe StreetBoontonNJ7005                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201857       NAOMI WILLIAMS                                     Deposits - 507(a)(6)                                                  5600-000                                        $175.22         $368,929.38
                                  225 Fox Run RoadShelburnemVT5482                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201858       PHILIP WILLIAMS                                    Deposits - 507(a)(6)                                                  5600-000                                        $116.60         $368,812.78
                                  275 Main St #303WebsterMA1750                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                 Page Subtotals:                                                                        $0.00           $1,386.73
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201859       WARREN WILLIAMS                           Deposits - 507(a)(6)                                                  5600-000                                        $122.64         $368,690.14
                                  485 Robins StreetRoselleNJ7203            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201860       ANNE M. WILSON                            Deposits - 507(a)(6)                                                  5600-000                                         $58.03         $368,632.11
                                  15 Trap CircleNew Smyrna                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachFL32168                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201861       DEBORAH WILSON                            Deposits - 507(a)(6)                                                  5600-000                                         $41.87         $368,590.24
                                  1301 Maryland Ave.West MifflinPA15122     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201862       JEFFREY WILSON                            Deposits - 507(a)(6)                                                  5600-000                                        $756.84         $367,833.40
                                  1549 #8 Concession RR                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  #4WaterfordONN0E1N0                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201863       KAREN WILSON                              Deposits - 507(a)(6)                                                  5600-000                                         $70.01         $367,763.39
                                  PO BOX 73RichlandMI49083                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201864       LESLEY WILSON                             Deposits - 507(a)(6)                                                  5600-000                                        $305.28         $367,458.11
                                  162 Boyd StreetCherry ValleyMA1611        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201865       ROBERT WILSON                             Deposits - 507(a)(6)                                                  5600-000                                        $129.80         $367,328.31
                                  4729 Arvada Dr.Loves ParkIL61111          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201866       ROSCOE & JUDITH WILSON                    Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $367,238.74
                                  2423 Rolling Acres RoadNew                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CumberlandWV26047                         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201867       SANDRA WINDERL                            Deposits - 507(a)(6)                                                  5600-000                                        $239.52         $366,999.22
                                  116 Old Lake Colby RoadSaranac            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  LakeNY12983                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201868       WENDY WINGARD                             Deposits - 507(a)(6)                                                  5600-000                                         $99.64         $366,899.58
                                  3225 29TH AveNaplesFL34117                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201869       ALICE WIRTZ                               Deposits - 507(a)(6)                                                  5600-000                                        $250.42         $366,649.16
                                  6219 Pleasant St.South ParkPA15129        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201870       ERIN WISLER                               Deposits - 507(a)(6)                                                  5600-000                                        $134.23         $366,514.93
                                  1442 Washington                           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  StreetPhoenixvillePA19460                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $2,297.85
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201871       BRUCE WITHERELL                           Deposits - 507(a)(6)                                                  5600-000                                        $175.32         $366,339.61
                                  3278 Middletown StreetPort                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CharlotteFL33952                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201872       DEBORAH A. WLOCH                          Deposits - 507(a)(6)                                                  5600-000                                         $44.60         $366,295.01
                                  6 Putnam RoadSturbridgeMA1566             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201873       KATHLEEN WOHLFAHRT                        Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $366,200.14
                                  6 Glencove Ct.Orchard ParkNY14127         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201874       ERIC WOLF                                 Deposits - 507(a)(6)                                                  5600-000                                        $276.00         $365,924.14
                                  94 Shagbark WayFairportNY14450            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201875       CAROL WOLFE                               Deposits - 507(a)(6)                                                  5600-000                                         $62.78         $365,861.36
                                  132 Springfield Dr.BangorPA18013          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201876       CELIA WOLTHUIS                            Deposits - 507(a)(6)                                                  5600-000                                         $26.45         $365,834.91
                                  314 WindsorPortageMI49002                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201877       BARBARA WOOD                              Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $365,745.34
                                  3425 Timberwood CircleNaplesFL34105       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201878       BRIANNE WOOD                              Deposits - 507(a)(6)                                                  5600-000                                        $121.34         $365,624.00
                                  18 Modock Rd.Pomfret CenterCT6259         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201879       J. CRAIG WOOE                             Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $365,534.43
                                  #301 - 25 Via                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RosedaleBramptonOntarioL6R 2J8            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201880       STEVEN WOODS                              Deposits - 507(a)(6)                                                  5600-004                                         $69.96         $365,464.47
                                  21 Bruggeman CtMysticCT6355               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201881       CHRISTOPHER WOOLLAM                       Deposits - 507(a)(6)                                                  5600-000                                        $268.71         $365,195.76
                                  129 Wanita Rd.MississaugaONL5G1B7         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201882       MARY LOU WRIGHT                           Deposits - 507(a)(6)                                                  5600-000                                     $1,457.49          $363,738.27
                                  8915 Kingsport Rd.PortgageMI49024         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                        $0.00           $2,776.66
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


       1                2                             3                                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201883       EMILY WUOTI                               Deposits - 507(a)(6)                                                  5600-000                                         $44.84         $363,693.43
                                  1466 Pearl Hill Rd.FitchburgMA1420        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201884       JENNIFER WYCOKI                           Deposits - 507(a)(6)                                                  5600-000                                        $106.00         $363,587.43
                                  1701 SW San Antonio DrPalm                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CityFL34990                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201885       DOROTHY WYMAN                             Deposits - 507(a)(6)                                                  5600-000                                        $118.45         $363,468.98
                                  480 Calkins RoadPeruNY12972               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201886       JESSICA WYPIJ                             Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $363,424.20
                                  617 Persons StreetE. AuroraNY14052        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201887       LORRAINE YAEGER                           Deposits - 507(a)(6)                                                  5600-000                                        $132.12         $363,292.08
                                  89 Country Club Drive #C-5Minnesott       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachNC28510                              ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201888       LAUREN YAKEMOWICZ                         Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $363,234.31
                                  1111 Juanita DrCoraopolisPA15108          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201889       HEATHER YANDO                             Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $363,194.56
                                  433 Sandlewood DrCalabashNC28467          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201890       MARY ALICE YANDO                          Deposits - 507(a)(6)                                                  5600-000                                         $94.87         $363,099.69
                                  1 Callander Pond Rd.MaloneNY12953         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201891       BELINDA YELLIOTT                          Deposits - 507(a)(6)                                                  5600-000                                         $85.33         $363,014.36
                                  415 Clarksville RoadPittsfieldIL62363     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201892       MIKEAL YONGE                              Deposits - 507(a)(6)                                                  5600-000                                        $188.78         $362,825.58
                                  208 E. Adams StreetThree                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  RiversMI49093                             ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201893       JANICE B. YOST                            Deposits - 507(a)(6)                                                  5600-000                                         $69.83         $362,755.75
                                  55 Whisper DriveWorcesterMA1069           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201894       SHARON YOSWIG                             Deposits - 507(a)(6)                                                  5600-000                                         $44.78         $362,710.97
                                  3105 West StreetSpringfieldIL62707        ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                                     Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                                Bank Name: Union Bank
                                                                                                                                         Account Number/CD#: XXXXXX3464
                                                                                                                                                                   Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                                      Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                                     Separate Bond (if applicable):


       1                2                                3                                                                4                                                       5                   6                     7

Transaction Date    Check or                  Paid To / Received From                                    Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                                Code                                                           ($)
   01/15/14          201895       CAROL YOUNG                         Deposits - 507(a)(6)                                                                5600-000                                        $110.98         $362,599.99
                                  118 Pebble CourtMcKees RocksPA15136 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201896       JEREMIAH YOUNG                                    Deposits - 507(a)(6)                                                  5600-000                                         $83.74         $362,516.25
                                  507 Madison StQuincyIL62301                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201897       NICOLE YOUNG                                      Deposits - 507(a)(6)                                                  5600-000                                         $44.79         $362,471.46
                                  661 Linden StreetRochesterNY14620                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201898       WALTER ZABELSKI                                   Deposits - 507(a)(6)                                                  5600-000                                         $72.61         $362,398.85
                                  1155 Marshall Ave.PittsburghPA15212               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201899       GARY ZAHNISER                                     Deposits - 507(a)(6)                                                  5600-000                                         $39.75         $362,359.10
                                  709 East Coast LaneNorth Myrtle                   ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  BeachSC29582                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201900       EDWARD J. ZALEWSKI                                Deposits - 507(a)(6)                                                  5600-000                                         $47.43         $362,311.67
                                  11 Dartmouth StreetGrovelandMA1834                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201901       GREGORY ZAYATZ                       Deposits - 507(a)(6)                                                               5600-000                                         $13.24         $362,298.43
                                  9382 Gulfstream BlvdEnglewoodFL34224 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                       ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201902       MATTHEW ZEHR                                      Deposits - 507(a)(6)                                                  5600-000                                         $57.77         $362,240.66
                                  2640 Emerson Ave. NWWalkerMI49544                 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201903       SUSAN ZEIBER                                      Deposits - 507(a)(6)                                                  5600-000                                        $134.35         $362,106.31
                                  2300 Lakeside DriveEriePA16511                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201904       SUSANNE ZELAWSKI                                  Deposits - 507(a)(6)                                                  5600-000                                         $51.34         $362,054.97
                                  5155 Hillcrest DriveClarenceNY14031               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201905       STACEY J. ZETTERLUND                              Deposits - 507(a)(6)                                                  5600-000                                         $83.45         $361,971.52
                                  29 Spruce StreetJamestownNY14701                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201906       ROBERTA ZIEGLER                                   Deposits - 507(a)(6)                                                  5600-000                                         $34.50         $361,937.02
                                  31 Phillips AvenueShrewsburyMA1545                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                    ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                                Page Subtotals:                                                                        $0.00              $773.95
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201907       FRANCESCA ZITO                            Deposits - 507(a)(6)                                                  5600-000                                        $137.03         $361,799.99
                                  3606 Third AveKoppelPA16136               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201908       JULIE ZITTLOW                             Deposits - 507(a)(6)                                                  5600-000                                         $66.01         $361,733.98
                                  153 Francis Dr.Port CharlotteFL33952-     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  8118                                      ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201909       GREGORY ZOTIAN                            Deposits - 507(a)(6)                                                  5600-000                                        $179.14         $361,554.84
                                  53 Amerman LaneHillsboroughNJ8844         ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201910       FRANCE ZUPO                               Deposits - 507(a)(6)                                                  5600-000                                         $60.68         $361,494.16
                                  98 Stephensbrook                          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CircleStouffvilleOntarioL4A 0G5           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
   01/15/14          201911       SHENANDOAH VALLEY REALTY LTD.             Deposits - 507(a)(6)                                                  5600-000                                        $222.60         $361,271.56
                                  Attn: Beth Anne BielinskiPO Box
                                  87Luckey OH 43443
   01/15/14          201912       CONSTANCE CAVANAUGH                       Deposits - 507(a)(6)                                                  5600-000                                         $78.23         $361,193.33
                                  PO BOX 495ST. JAMES CITY, FL33956
   01/15/14          201913       LORI MAASS                                Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $361,103.76
                                  21829 BUTTERNUT LANEDELAVAN, IL
                                  61734
   01/15/14          201914       DONNA STARR                               Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $361,014.19
                                  1 WASHBURN DRIVESPENCER, MA
                                  01562
   01/15/14          201915       JOAN M. RANDALL                  Deposits - 507(a)(6)                                                           5600-000                                         $41.87         $360,972.32
                                  90 RUSSELL TPKEPOTSDAM, NY 13676
   01/15/14          201916       TIMOTHY ZACHER                            Deposits - 507(a)(6)                                                  5600-000                                        $150.25         $360,822.07
                                  119 EASTVIEW DRIVEMEDINA,
                                  NY14103
   01/15/14          201917       JUDITH ANN CROUCH                         Deposits - 507(a)(6)                                                  5600-000                                         $89.57         $360,732.50
                                  308 WINDERMERE AVETORONTO,
                                  ONTARIO M6S3K7CANADA
   01/15/14          201918       LORI STEVIC-RUST                          Deposits - 507(a)(6)                                                  5600-000                                        $364.90         $360,367.60
                                  9305 FRASER LANECHESTERLAND,
                                  OH 44026
   01/15/14          201919       KEVIN LEAVITT                             Deposits - 507(a)(6)                                                  5600-000                                        $287.33         $360,080.27
                                  7277 GOLFWOOD DRIVELUDINGTON,
                                  MI 49431


                                                                                        Page Subtotals:                                                                        $0.00           $1,856.75
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)     Disbursements ($)     Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   01/15/14          201920       CHERYL L. WHITEMAN                        Deposits - 507(a)(6)                                                  5600-000                                        $89.57          $359,990.70
                                  4136 HOLBEIN STREETPORT
                                  CHARLOTTE, FL 33981
   01/15/14          201921       DOREEN DUNHAM                   Deposits - 507(a)(6)                                                            5600-000                                        $79.50          $359,911.20
                                  405-216W PLAINS ROADBURLINGTON,
                                  ONTARIO L7T4L1CANADA
   01/15/14          201922       MICHELLE BRYSON                           Deposits - 507(a)(6)                                                  5600-000                                       $115.35          $359,795.85
                                  2211 IRWIN STREETALIQUIPPA, PA
                                  15001
   01/15/14          201923       MATTHEW LANDFRIED                         Deposits - 507(a)(6)                                                  5600-000                                       $134.35          $359,661.50
                                  9151 SHEPARD RDBATAVIA, NY 14020
   01/15/14          201924       GARY A. MANNING                           Deposits - 507(a)(6)                                                  5600-000                                        $41.87          $359,619.63
                                  N550 GANNON RDLODI, WI 53555
   01/15/14          201925       RANDOLPH COULTES                          Deposits - 507(a)(6)                                                  5600-000                                       $174.90          $359,444.73
                                  2525 LAKEVIEW AVEST JOSEPH, MI
                                  49085
   01/15/14          201926       DENNIS JEROME PARKER                      Deposits - 507(a)(6)                                                  5600-000                                        $44.79          $359,399.94
                                  338 FIREBRIDGE DRIVECHAPIN, SC
                                  29036
   01/15/14          201927       LOIS SATAGAJ                              Deposits - 507(a)(6)                                                  5600-000                                        $89.57          $359,310.37
                                  460 MAIN STREETMIDDLEFIELD, CT
                                  06455
   01/27/14                       UNION BANK                                BANK SERVICE FEE                                                      2600-000                                       $926.25          $358,384.12

   01/28/14             11        AIRPORT TERMINAL SERVICES                 PREFERENCE SETTLEMENT                                                 1241-000               $40,000.00                               $398,384.12
                                  111 WESTPORT PLAZASUITE 400ST.
                                  LOUIS, MISSOURI 53146
   02/04/14          200332       Reverses Check # 200332                   Deposits - 507(a)(6)                                                  5600-000                                       ($89.57)         $398,473.69

   02/04/14          201928       STEPHEN CHURCH                            Deposits - 507(a)(6)                                                  5600-000                                        $89.57          $398,384.12
                                  19 HILLTOP FARM ROADAUBURN, MA            ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  01501                                     ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,




                                                                                        Page Subtotals:                                                                  $40,000.00           $1,696.15
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                   Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                                        Code                                                             ($)
   02/12/14          201217       Reverses Check # 201217                   Deposits - 507(a)(6)                                                  5600-000                                        ($119.74)         $398,503.86
                                                                            ORIGINAL CHECK
                                                                            RETURNED BY PAYEE DUE
                                                                            TO NAME ERROR AND
                                                                            REISSUED IN NAME OF
                                                                            ANDRE MIRON - NAME ON
                                                                            CLAIM.
   02/12/14          201929       ANDRE MIRON                               Deposits - 507(a)(6)                                                  5600-000                                         $119.74          $398,384.12
                                  1245 BrebeufSte-CatherinesQuebec          ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  CityJ5C 1L7                               ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            REISSUE OF CHECK NO.
                                                                            201217 - INCORRECT PAYEE
                                                                            NAME
   02/25/14                       UNION BANK                                BANK SERVICE FEE                                                      2600-000                                         $888.37          $397,495.75

   02/28/14             11        THE PORT AUTHORITY OF NY & NJ PREFERENCE SETTLEMENT                                                             1241-000               $25,500.00                                 $422,995.75
                                  COMPTROLLER1 PATH PLAZAJERSEY
                                  CITY, NJ 07306
   03/07/14            37         NIAGARA FALLS AVIATION LLC                SETTLEMENT - ADV PROC 13                                              1241-000               $32,500.00                                 $455,495.75
                                  TECHAVIATION SERVICES, INC. AN            -04096
                                  AGENT FOR9900 PORTER
                                  ROADNIAGARA FALLS, NY 14304
   03/07/14             11        OBER, KALER, GRIMES & SHRIVER             SETTLEMENT                                                            1241-000               $12,000.00                                 $467,495.75
                                  ATTORNEYS AT LAW100 LIGHT
                                  STREETBALTIMORE, MD 21202
   03/07/14             11        GAROFALO GOERLICH HAINBACH PC             SETTLEMENT                                                            1241-000                 $2,500.00                                $469,995.75
                                  1200 NEW HAMSHIRE AVE. NWSUITE
                                  590WASHINGTON, DC 20036
   03/14/14             11        WYVERN HOTEL, LLC                         PREFERENCE SETTLEMENT                                                 1241-000                 $2,125.00                                $472,120.75
                                  41 PERIMETER CENTER EAST, SUITE
                                  510ATLANTA, GA 30346
   03/20/14             11        WORLDWIDE FLIGHT SERVICES                 PREFERENCE SETTLEMENT                                                 1241-000               $17,000.00                                 $489,120.75
                                  1925 W JOHN CARPENTER FWY.STE
                                  450IRVING, TX 75063
   03/25/14                       UNION BANK                                BANK SERVICE FEE                                                      2600-000                                         $593.60          $488,527.15




                                                                                        Page Subtotals:                                                                  $91,625.00            $1,481.97
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           Case No: 12-40944                                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                                        Bank Name: Union Bank
                                                                                                                                 Account Number/CD#: XXXXXX3464
                                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                              Description of Transaction                      Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                        Code                                                           ($)
   04/02/14             11        SWISSPORT NORTH AMERICA, INC.             PREFERENCE SETTLEMENT                                                 1241-000               $25,000.00                               $513,527.15
                                  WASHINGTON-DULLES
                                  INTERNATIONAL AIRPORT45025
                                  AVIATION DRIVE, STE. 350DULLES,
                                  VIRGINIA 20166-7557
   04/16/14             11        HORRY COUNTY TREASURER/DEPT               PREFERENCE SETTLEMENT                                                 1241-000                 $5,000.00                              $518,527.15
                                  OF AIRP
                                  DEPARTMENT OF AIRPORTSPO BOX
                                  296CONWAY, SC 29528
   04/25/14                       UNION BANK                                BANK SERVICE FEE                                                      2600-000                                        $697.70         $517,829.45

   04/29/14            43         EIN MANAGEMENT, LLC                       SETTLEMENT                                                            1241-000                 $5,750.00                              $523,579.45
                                  113 GOFF MOUNTAIN ROADCROSS
                                  LANES WV 25313
   05/08/14            42         JUDY TULL                                 JUDY TULL SETTLEMENT                                                  1241-000                 $5,000.00                              $528,579.45
                                  ATTORNEY IOLTA ACCOUNT100                 SETTLEMENT MONIES
                                  FRONT STREETWORCESTER, MA                 WIRED TO TRUSTEE'S
                                  01608                                     ATTORNEY AND THEN THIS
                                                                            CHECK CUT FROM MIRICK,
                                                                            O'CONNELL ATTORNEY
                                                                            IOLTA ACCOUNT TO THE
                                                                            TRUSTEE AND DEPOSITED
   05/16/14            44         AVIATION ADVANTAGE, INC.                  AVIATION ADVANTAGE                                                    1241-000               $15,000.00                               $543,579.45
                                  1755 THE EXCHANGESUITE                    SETTLEMENT
                                  230ATLANTA, GA 30339
   05/22/14          201930       JOANNE AARON                              Deposits - 507(a)(6)                                                  5600-000                                         $60.31         $543,519.14
                                  231 W. WOODLAND DRIVEALIQUIPPA,           ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                  PA 15001                                  ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                            REISSUE OF CHECK NO.
                                                                            200009 AFTER STOP PAY
   05/22/14          201931       TINA CHAMBERS                             Deposits - 507(a)(6)                                                  5600-000                                        $102.82         $543,416.32
                                  71470 SHANNON DRIVEMARTINS                REPLACEMENT OF CHECK
                                  FERRY, OH 43935                           NO. 200325
   05/22/14          201932       CHERYL A. DEBOER                          Deposits - 507(a)(6)                                                  5600-000                                         $53.00         $543,363.32
                                  2709 RIVERSIDE DRIVEPORT HURON,           REPLACEMENT FOR CHECK
                                  MI 48060                                  200424 STOP PAY
   05/22/14          201933       JEFFREY DIEGELMAN                         Deposits - 507(a)(6)                                                  5600-004                                         $89.57         $543,273.75
                                  PO BOX 184BOWMANSVILLE, NY                REPLACEMENT OF CHECK
                                  14026                                     200458 STOP PAY

                                                                                        Page Subtotals:                                                                  $55,750.00            $1,003.40
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           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                   Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   05/22/14          201934       KATHLEEN DOWD                             Deposits - 507(a)(6)                                  5600-000                                         $134.36          $543,139.39
                                  2 HEFFERON ROADWILBRAHAM, MA              REPLACEMENT FOR CHECK
                                  01095                                     200482 STOP PAY
   05/22/14          201935       SUSAN FONAGY                              Deposits - 507(a)(6)                                  5600-000                                         $189.74          $542,949.65
                                  946 ST. RT. 7 S.E.BROOKFIELD, OH          REPLACEMENT FOR CHECK
                                  44403                                     200589 STOP PAY
   05/22/14          201936       MARLA GIVEN                               Deposits - 507(a)(6)                                  5600-000                                         $179.14          $542,770.51
                                  183 CORNELIA                              REPLACEMENT FOR CHECK
                                  STREETPLATTSBURGH, NY 12901               200670 STOP PAY
   05/22/14          201937       RICHARD GRAHAM                            Deposits - 507(a)(6)                                  5600-000                                          $89.57          $542,680.94
                                  4 MARION                                  REPLACEMENT FOR CHECK
                                  AVE.CORNWALLONTARIOK6K                    200698 STOP PAY
                                  1T9CANADA
   05/22/14          201938       RACHEL E. SMITH                           Deposits - 507(a)(6)                                  5600-000                                         $116.07          $542,564.87
                                  21 DOANE STREETCRANSTON, RI               REPLACEMENT FOR CHECK
                                  02910                                     201622 STOP PAY
   05/22/14          201939       JOSEPH P. WALTON                          Deposits - 507(a)(6)                                  5600-000                                         $264.60          $542,300.27
                                  682 FOUNDRY STREETSOUTH                   REPLACEMENT FOR CHECK
                                  EASTON, MA 02375                          201818 STOP PAY
   05/22/14          201940       ROBERT WESTERMEIER                        Deposits - 507(a)(6)                                  5600-000                                         $179.14          $542,121.13
                                  226 GREENWOOD DRIVEEAST                   REPLACEMENT FOR CHECK
                                  AURORA, NY 14052                          201843 STOP PAY
   05/22/14          201941       DIANE WHITE-PELOSI                        Deposits - 507(a)(6)                                  5600-000                                         $179.14          $541,941.99
                                  23 TAUNTON STTREETBELLINGHAM,             REPLACEMENT FOR CHECK
                                  MA 02019                                  201849 STOP PAY
   05/23/14          201877       Reverses Check # 201877                   Deposits - 507(a)(6)                                  5600-000                                         ($89.57)         $542,031.56

   05/23/14          200009       Reverses Check # 200009                   Stop Payment Reversal                                 5600-004                                         ($60.31)         $542,091.87
                                                                            SA
   05/23/14          200325       Reverses Check # 200325                   Stop Payment Reversal                                 5600-004                                        ($102.82)         $542,194.69
                                                                            SA
   05/23/14          200424       Reverses Check # 200424                   Stop Payment Reversal                                 5600-004                                         ($53.00)         $542,247.69
                                                                            SA
   05/23/14          200458       Reverses Check # 200458                   Stop Payment Reversal                                 5600-004                                         ($89.57)         $542,337.26
                                                                            SA
   05/23/14          200482       Reverses Check # 200482                   Stop Payment Reversal                                 5600-004                                        ($134.36)         $542,471.62
                                                                            SA

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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee                                   Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3464
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX6189                                                                            Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                      Code                                                             ($)
   05/23/14          200589       Reverses Check # 200589                   Stop Payment Reversal                               5600-004                                        ($189.74)         $542,661.36
                                                                            SA
   05/23/14          200670       Reverses Check # 200670                   Stop Payment Reversal                               5600-004                                        ($179.14)         $542,840.50
                                                                            SA
   05/23/14          200698       Reverses Check # 200698                   Stop Payment Reversal                               5600-004                                         ($89.57)         $542,930.07
                                                                            SA
   05/23/14          201622       Reverses Check # 201622                   Stop Payment Reversal                               5600-004                                        ($116.07)         $543,046.14
                                                                            SA
   05/23/14          201818       Reverses Check # 201818                   Stop Payment Reversal                               5600-004                                        ($264.60)         $543,310.74
                                                                            SA
   05/23/14          201843       Reverses Check # 201843                   Stop Payment Reversal                               5600-004                                        ($179.14)         $543,489.88
                                                                            SA
   05/23/14          201849       Reverses Check # 201849                   Stop Payment Reversal                               5600-004                                        ($179.14)         $543,669.02
                                                                            SA
   05/23/14          201942       BARBARA BEE FKA BARBARA WOOD              Deposits - 507(a)(6)                                5600-000                                          $89.57          $543,579.45
                                  12 HORSESHOE DRIVESPRINGFIELD,            BARBARA WOOD IS NOW
                                  IL 62702                                  KNOWN AS BARBARA BEE
                                                                            (TOOK BACK MAIDEN NAME
                                                                            AFTER DIVORCE)
                                                                            ORIGINAL CHECK NO. 20187
                                                                            WAS RETURNED
                                                                            UNDELIVERABLE. THIS
                                                                            CHECK IS A REISSUE OF
                                                                            THAT CHECK.
   05/27/14          201943       TIMOTHY & TERRI BARNABY                   Deposits - 507(a)(6)                                5600-000                                          $98.79          $543,480.66
                                  0 WABASSO STREETPITTSFIELD, MA            REPLACEMENT CHECK FOR
                                  01201                                     CHECK NO. 200089 STOP
                                                                            PAY
   05/27/14          201944       CAROL EGGERS                              Deposits - 507(a)(6)                                5600-000                                          $89.57          $543,391.09
                                  161 GARDEN DRIVE #2MANCHESTER,            REPLACEMENT FOR CHECK
                                  NH 03102                                  200522 STOP PAY
   05/27/14          201945       STEVEN WOODS                     Deposits - 507(a)(6)                                         5600-000                                          $69.96          $543,321.13
                                  21 BRUGGEMAN CT.MYSTIC, CT 06355 REPLACEMENT FOR CHECK
                                                                   201880 STOP PAY
   05/27/14          201946       NANCY BEK                                 Deposits - 507(a)(6)                                5600-000                                         $268.71          $543,052.42
                                  255 PARK AVENUESUITE                      REPLACEMENT FOR CHECK
                                  902WORCESTER, MA 01609                    200119 STOP PAY


                                                                                  Page Subtotals:                                                            $0.00              ($580.80)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee                                   Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3464
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX6189                                                                            Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                           Separate Bond (if applicable):


       1                2                             3                                             4                                                   5                   6                       7

Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                      Code                                                             ($)
   05/27/14                       UNION BANK                                BANK SERVICE FEE                                    2600-000                                         $746.52          $542,305.90

   05/28/14          200089       Reverses Check # 200089                   Stop Payment Reversal                               5600-004                                         ($98.79)         $542,404.69
                                                                            SA
   05/28/14          200119       Reverses Check # 200119                   Stop Payment Reversal                               5600-004                                        ($268.71)         $542,673.40
                                                                            SA
   05/28/14          200522       Reverses Check # 200522                   Stop Payment Reversal                               5600-004                                         ($89.57)         $542,762.97
                                                                            SA
   05/28/14          201880       Reverses Check # 201880                   Stop Payment Reversal                               5600-004                                         ($69.96)         $542,832.93
                                                                            SA
   06/04/14          201947       ELIZABETH A. PETRITUS                     Deposits - 507(a)(6)                                5600-000                                         $138.49          $542,694.44
                                  27 LAKEWOOD CIRCLE                        REISSUE OF STOP PAYMENT
                                  SOUTHMANCHESTER, CT 06040                 ON 201381
   06/05/14          201381       Reverses Check # 201381                   Stop Payment Reversal                               5600-004                                        ($138.49)         $542,832.93
                                                                            SA
   06/12/14            42         JUDY TULL                                 JUDY TULL SETTLEMENT                                1241-000                 $5,000.00                                $547,832.93
                                  ATTORNEY IOLTA ACCOUNT100                 SETTLEMENT MONEY WIRED
                                  FRONT STREETWORCESTER, MA                 TO TRUSTEE ATTORNEY
                                  01608
   06/19/14            46         KAY AND STANLEY MARSHALL                  ELLISON SETTLEMENT                                  1241-000               $92,000.00                                 $639,832.93
                                  ELLISON                                   SETTLEMENT MONEY WIRED
                                  ATTORNEY IOLTA ACCOUNT100                 TO TRUSTEE ATTORNEY
                                  FRONT STREETWORCESTER, MA
                                  01608
   06/25/14                       UNION BANK                                BANK SERVICE FEE                                    2600-000                                         $798.43          $639,034.50

   06/26/14          201948       DONALD RUPPERT                  Deposits - 507(a)(6)                                          5600-004                                         $140.66          $638,893.84
                                  8422 VERSAILLES PLANKANGOLA, NY REPLACEMENT OF STOP
                                  14066                           PAY CHECK NO. 201515
   06/27/14            39         ORLANDO SANFORD INTERNATIONAL PREFERENCE SETTLEMENT                                           1241-000                 $7,500.00                                $646,393.84
                                  3200 RED CLEVELAND
                                  BLVD.SANFORD, FL 32773
   06/27/14          201515       Reverses Check # 201515                   Stop Payment Reversal                               5600-004                                        ($140.66)         $646,534.50
                                                                            SA
   07/25/14                       UNION BANK                                BANK SERVICE FEE                                    2600-000                                         $836.18          $645,698.32




                                                                                  Page Subtotals:                                                     $104,500.00            $1,854.10
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                  Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)      Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   08/13/14          201949       INTERNATIONAL SURETIES, LTD               BOND # 016027601                                      2300-000                                        $461.75          $645,236.57
                                  SUITE 420701 POYDRAS ST.NEW
                                  ORLEANS, LA 70139
   08/22/14            40         BEECHWOOD LAKELAND HOTEL, LLC             BEECHWOOD/HILTON                                      1241-000               $14,000.00                                $659,236.57
                                  DBA HILTON GARDEN INN                     SETTLEMENT
                                  LAKELANE1025 THOROUGHBRED
                                  LANEDE PERE, WI 54115
   08/25/14                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $962.03          $658,274.54

   09/04/14            38         MIAMI AIR INTERNATIONAL, INC.             SETTLEMENT                                            1241-000               $83,537.94                                $741,812.48
                                  PO BOX 660880MIAMI SPRINGS, FL
                                  33266-0880
   09/25/14                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $965.06          $740,847.42

   10/08/14          201950       Reverses Check # 201950                   Deposits - 507(a)(6)                                  5600-000                                        ($84.96)         $740,932.38

   10/08/14          201951       Reverses Check # 201951                   Deposits - 507(a)(6)                                  5600-000                                        ($97.30)         $741,029.68

   10/08/14          201952       Reverses Check # 201952                   Deposits - 507(a)(6)                                  5600-000                                        ($89.57)         $741,119.25

   10/08/14          201953       Reverses Check # 201953                   Deposits - 507(a)(6)                                  5600-000                                       ($140.66)         $741,259.91

   10/08/14          201950       RICHARD L. AULTMAN             Deposits - 507(a)(6)                                             5600-000                                         $84.96          $741,174.95
                                  104 CHARLES STREETCARMICHAELS, CHECK NO. 200058 NEVER
                                  PA 15320                       CASHED OR RETURNED.
                                                                 STOP PAY PLACED. THIS
                                                                 CHECK IS A REISSUE OF
                                                                 THAT ORIGINAL CHECK.
   10/08/14          201951       LEIGHANN GREENE                           Deposits - 507(a)(6)                                  5600-000                                         $97.30          $741,077.65
                                  PO BOX 154KEESEVILLE, NY 12944            ORIGINAL CHECK 200707
                                                                            NEVER CASHED; STOP PAY
                                                                            PLACED AND THIS NEW
                                                                            CHECK REPLACES THAT
                                                                            CHECK. CREDITOR
                                                                            PROVIDED NEW MAILING
                                                                            ADDRESS




                                                                                   Page Subtotals:                                                       $97,537.94           $2,158.61
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3464
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX6189                                                                            Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   10/08/14          201952       JEFFREY DIEGELMAN                         Deposits - 507(a)(6)                                5600-000                                         $89.57         $740,988.08
                                  PO BOX 184BOWMANSVILLE, NY                REPLACEMENT OF CHECK
                                  14026                                     NOS. 200458 AND 201933 -
                                                                            NEITHER CHECK EVER
                                                                            CASHED OR RETURNED.
                                                                            STOP PAYMENT PLACED.
                                                                            THIS CHECK IS ANOTHER
                                                                            REISSUE.
   10/08/14          201953       DONALD RUPPERT                  Deposits - 507(a)(6)                                          5600-000                                        $140.66         $740,847.42
                                  8422 VERSAILLES PLANKANGOLA, NY REPLACEMENT OF CHECK
                                  14006                           NOS. 201515 AND 201948.
                                                                  NEITHER EVER CASHED OR
                                                                  RETURNED. STOP
                                                                  PAYMENTS ISSUED. THIS IS
                                                                  ANOTHER REPLACEMENT
                                                                  CHECK.
   10/08/14          201954       RICHARD L. AULTMAN             Deposits - 507(a)(6)                                           5600-000                                         $84.96         $740,762.46
                                  104 CHARLES STREETCARMICHAELS, CHECK NO. 200058 NEVER
                                  PA 15320                       CASHED OR RETURNED.
                                                                 STOP PAY PLACED. THIS
                                                                 CHECK IS A REISSUE OF
                                                                 THAT ORIGINAL CHECK.
   10/08/14          201955       LEIGHANN GREENE                           Deposits - 507(a)(6)                                5600-000                                         $97.30         $740,665.16
                                  PO BOX 154KEESEVILLE, NY 12944            ORIGINAL CHECK 200707
                                                                            NEVER CASHED; STOP PAY
                                                                            PLACED AND THIS NEW
                                                                            CHECK REPLACES THAT
                                                                            CHECK. CREDITOR
                                                                            PROVIDED NEW MAILING
                                                                            ADDRESS
   10/08/14          201956       JEFFREY DIEGELMAN                         Deposits - 507(a)(6)                                5600-000                                         $89.57         $740,575.59
                                  PO BOX 184BOWMANSVILLE, NY                REPLACEMENT OF CHECK
                                  14026                                     NOS. 200458 AND 201933 -
                                                                            NEITHER CHECK EVER
                                                                            CASHED OR RETURNED.
                                                                            STOP PAYMENT PLACED.
                                                                            THIS CHECK IS ANOTHER
                                                                            REISSUE.




                                                                                  Page Subtotals:                                                            $0.00              $502.06
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee                                   Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX3464
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX6189                                                                            Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                      Code                                                             ($)
   10/08/14          201957       DONALD RUPPERT                  Deposits - 507(a)(6)                                          5600-004                                         $140.66          $740,434.93
                                  8422 VERSAILLES PLANKANGOLA, NY REPLACEMENT OF CHECK
                                  14006                           NOS. 201515 AND 201948.
                                                                  NEITHER EVER CASHED OR
                                                                  RETURNED. STOP
                                                                  PAYMENTS ISSUED. THIS IS
                                                                  ANOTHER REPLACEMENT
                                                                  CHECK.
   10/09/14          200058       Reverses Check # 200058                   Stop Payment Reversal                               5600-004                                         ($84.96)         $740,519.89
                                                                            SA
   10/09/14          200707       Reverses Check # 200707                   Stop Payment Reversal                               5600-004                                         ($97.30)         $740,617.19
                                                                            SA
   10/09/14          201933       Reverses Check # 201933                   Stop Payment Reversal                               5600-004                                         ($89.57)         $740,706.76
                                                                            SA
   10/09/14          201948       Reverses Check # 201948                   Stop Payment Reversal                               5600-004                                        ($140.66)         $740,847.42
                                                                            SA
   10/21/14            45         AVFUEL CORPORATION                        PREFERENCE SETTLEMENT                               1241-000               $30,000.00                                 $770,847.42
                                  PO BOX 1387ANN ARBOR, MICHIGAN
                                  48106-1387
   10/27/14                       UNION BANK                                BANK SERVICE FEE                                    2600-000                                     $1,052.00            $769,795.42

   10/30/14            30         AVONDALE AVIATION                         SETTLEMENT 1ST                                      1241-000                 $1,500.00                                $771,295.42
                                  525 DECATUR STNW WASHINGTON,              INSTALLMENT PAYMENT
                                  DC 20011-4746
   11/06/14          200852       Reverses Check # 200852                   Stop Payment Reversal                               5600-004                                         ($91.49)         $771,386.91
                                                                            SA
   11/06/14          201142       Reverses Check # 201142                   Stop Payment Reversal                               5600-004                                        ($115.49)         $771,502.40
                                                                            SA
   11/06/14          201268       Reverses Check # 201268                   Stop Payment Reversal                               5600-004                                        ($193.29)         $771,695.69
                                                                            SA
   11/17/14          200414       Reverses Check # 200414                   Stop Payment Reversal                               5600-004                                         ($99.64)         $771,795.33
                                                                            SA
   11/17/14          201957       Reverses Check # 201957                   Stop Payment Reversal                               5600-004                                        ($140.66)         $771,935.99
                                                                            SA
   11/25/14                       UNION BANK                                BANK SERVICE FEE                                    2600-000                                      $1,116.54           $770,819.45




                                                                                  Page Subtotals:                                                      $31,500.00            $1,256.14
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   12/08/14            41         KEILMAN WIRE TRANSFER                     KEILMAN SETTLEMENT                                    1241-000              $250,000.00                             $1,020,819.45
                                  ATTORNEY IOLTA ACCOUNT(FROM
                                  KEILMAN WIRE TRANSFER)
   12/12/14            30         AVONDALE AVIATION                         SETTLEMENT 2ND                                        1241-000                 $1,000.00                            $1,021,819.45
                                  1783 COLISEUM STREETAPT KNEW              INSTALLMENT PAYME
                                  ORLEANS, LA 70130
   12/12/14            27         MCAFEE & TAFT ESCROW ACCOUNT              XTRA AIR BANKRUPTCY                                   1221-000                 $1,296.00                            $1,023,115.45
                                  CASHIER'S CHECK                           DISTRIBUTION
   12/12/14          201958       HEATHER DANIEL                            Deposits - 507(a)(6)                                  5600-000                                         $99.64       $1,023,015.81
                                  316 N. ORANGEHAVANA, IL 62644             REISSUE OF CHECK NO.
                                                                            200414
   12/12/14          201959       MICAH KISTLER                    Deposits - 507(a)(6)                                           5600-000                                         $58.23       $1,022,957.58
                                  1522 WEST ISLES AVENUEJEROME, IL ADDRESS IS ACTUALLY 1533
                                  62704                            NOT 1522. CHANGED ON
                                                                   ENVELOPE THAT ENCLOSED
                                                                   THIS CHECK AND FIXED
                                                                   ADDRESS ON UNDERLYING
                                                                   CLAIM.
   12/12/14          201960       KRISTINE & LYLE UNDERWOOD                 Deposits - 507(a)(6)                                  5600-000                                         $14.82       $1,022,942.76
                                  3540 BRANT COURTTOLEDO, OH
                                  43623
   12/12/14          201961       FC USA, INC. D/B/A LIBERTY TRAVEL         Deposits - 507(a)(6)                                  5600-000                                        $391.91       $1,022,550.85
                                  ATTN: LAURENE TAYLOR69 SPRING
                                  STREETRAMSEY, NH 07446
   12/12/14          201962       JENNIFER JONES                            Deposits - 507(a)(6)                                  5600-000                                         $75.97       $1,022,474.88
                                  203 W. WALNUT STREETFAIRBURY, IL
                                  61739
   12/26/14                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                      $1,110.00       $1,021,364.88

   01/16/15          201963       MIRICK, O'CONNELL                         FIRST INTERIM FEE APP                                 3110-000                                   $742,621.05          $278,743.83
                                  100 FRONT STREET, 18TH                    (FEES)
                                  FLOORWORCESTER, MA 01608                  SEE ORDER 648 (PARTIAL
                                                                            PAYMENT)
   01/16/15          201964       MIRICK, O'CONNELL                         FIRST INTERIM FEE APP                                 3120-000                                    $38,924.65          $239,819.18
                                  100 FRONT STREET, 18TH                    (EXPENSES)
                                  FLOORWORCESTER, MA 01608                  SEE ORDER 648




                                                                                   Page Subtotals:                                                      $252,296.00          $783,296.27
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                  Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   01/16/15          201965       VERDOLINO & LOWEY                         FIRST INTERIM FEE APP                                 3410-000                                    $158,489.22           $81,329.96
                                  124 WASHINGTON                            (FEES)
                                  STREETFOXBOROUGH, MA 02035                SEE ORDER 649 (PARTIAL
                                                                            PAYMENT)
   01/16/15          201966       VERDOLINO & LOWEY                         1ST INTERIM FEE APP                                   3420-000                                     $17,260.50           $64,069.46
                                  124 WASHINGTON                            (EXPENSES)
                                  STREETFOXBOROUGH, MA 02035                SEE ORDER 649
   01/26/15            30         AVONDALE AVIATION                         SETTLEMENT NSTALLMENT                                 1241-000                 $1,000.00                                $65,069.46
                                  525 DECATUR STNW WASHINGTON,              PAYME
                                  DC 20011-4746
   01/26/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                      $1,422.87           $63,646.59

   02/20/15            30         AVONDALE AVIATION                         SETTLEMENT INSTALLMENT                                1241-000                 $1,000.00                                $64,646.59
                                  1783 COLISEUM STREETAPT KNEW              PAYME
                                  ORLEANS, LA 70130
   02/25/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                      $1,164.14           $63,482.45

   03/17/15            28         QUICKFLIGHT, INC.                         STIPULATION OF                                        1241-000                 $7,446.74                                $70,929.19
                                                                            SETTLEMENT
   03/24/15            30         HANK TORBERT                              ACCOUNTS                                              1241-000                 $1,000.00                                $71,929.19
                                  1783 COLISEUM STREET                      RECEIVABLE/AVONDALE
                                  APT K                                     PER ORDER 646
                                  NEW ORLEANS, LA 70130
   03/24/15            27         MCAFEE & TAFT ESCROW ACCOUNT              XTRA AIR BANKRUPTCY                                   1221-000                    $136.00                               $72,065.19
                                  FOR XTRA AIR BANKRUPTCY                   DISTRIBUTION
                                  211 N. ROBINSON AVE STE 1000
                                  OKLAHOMA CITY, OK 73102-7103
   03/25/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $137.76          $71,927.43
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/30/15            30         AVONDALE AVIATION                         PREFERENCE SETTLEMENT                                 1241-000                 $1,000.00                                $72,927.43
                                  HANK L. TORBERT
                                  525 DECATUR STREET
                                  WASHINGTON, DC 20009
   04/01/15            28         QUICKFLIGHT INC.                          STIPULATION OF                                        1241-000                 $2,683.33                                $75,610.76
                                  SWANTON, OH 43558                         SETTLEMENT




                                                                                   Page Subtotals:                                                       $14,266.07           $178,474.49
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   04/27/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $105.69          $75,505.07
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/28/15            30         HANK TORBERT                              ACCOUNTS                                              1241-000               ($1,000.00)                               $74,505.07
                                  1783 COLISEUM STREET                      RECEIVABLE/AVONDALE
                                  APT K                                     Reversal
                                  NEW ORLEANS, LA 70130                     BANK NOTICE DATED 3/31/15
                                                                            SAID NOT SUFFICIENT
                                                                            FUNDS. FUNDS RESENT BY
                                                                            PAYEE, AVONDALE AVIATION,
                                                                            HANK TORBERT, BY WIRE
                                                                            DATED 3/30/15 FOR $1,000.
   04/30/15            28         QUICKFLIGHT, INC.                         STIPULATION OF                                        1241-000                 $2,683.33                               $77,188.40
                                  2 AIR CARGO PKWY E. STE E                 SETTLEMENT
                                  SWANTON, OH 43558
   05/18/15            30         HANK L. TORBERT                           AVONDALE AVIATION I, LLC                              1241-000                 $2,000.00                               $79,188.40
                                  525 DECATUR STREET                        SETTLEMENT
                                  WASHINGTON, DC 20009
   05/26/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $107.43          $79,080.97
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/28/15            28         QUICKFLIGHT, INC.                         STIPULATION OF                                        1241-000                 $2,683.33                               $81,764.30
                                                                            SETTLEMENT
   06/10/15          201967       REESE R. BOYD, III, PC                    DISBURSEMENT ADVANCE                                  3220-000                                        $500.00          $81,264.30
                                  DAVIS & BOYD, LLC                         PER ORDER 672
                                  1110 LONDON STREET
                                  SUITE 201
                                  MYRTLE BEACH, SC 29577
   06/17/15          201968       U.S. BANKRUPTCY COURT                     CERTIFICATION OF                                      2700-000                                         $21.00          $81,243.30
                                  HAROLD DONOHUE FEDERAL                    JUDGMENT FEE
                                  BUILDING                                  FAIRFIELD INN ADV
                                  595 MAIN STREET                           PROCEEDING
                                  WORCESTER, MA -1608
   06/25/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $116.55          $81,126.75
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/30/15            28         QUICKFLIGHT, INC.                         STIPULATION OF                                        1241-000                 $2,683.33                               $83,810.08
                                                                            SETTLEMENT


                                                                                   Page Subtotals:                                                         $9,049.99              $850.67
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                  Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                      7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   07/27/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $117.55           $83,692.53
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/30/15            28         QUICKFLIGHT, INC.                         STIPULATION OF                                        1241-000                 $2,683.33                                $86,375.86
                                                                            SETTLEMENT
   08/19/15          201969       INTERNATIONAL SURETIES LTD.               BOND #016027601 (8/1/15-                              2300-000                                        ($53.87)          $86,429.73
                                  INTERNATIONAL SURETIES, LTD.              8/1/16) Reversal
                                                                            PAYEE NAME PRINTED
                                                                            TWICE ON CHECK
   08/19/15          201969       INTERNATIONAL SURETIES LTD.               BOND #016027601 (8/1/15-                              2300-000                                         $53.87           $86,375.86
                                  INTERNATIONAL SURETIES, LTD.              8/1/16)
   08/19/15          201970       INTERNATIONAL SURETIES, LTD.              BOND #016027601 (8/1/15 -                             2300-000                                         $53.87           $86,321.99
                                  INTERNATIONAL SURETIES, LTD.              8/1/16)
                                  SUITE 420
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139

   08/25/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $124.80           $86,197.19
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/31/15            28         QUICKFLIGHT, INC.                         STIPULATION OF                                        1241-000                 $2,683.33                                $88,880.52
                                                                            SETTLEMENT
   09/25/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $128.45           $88,752.07
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/30/15            28         QUICKFLIGHT, INC.                         STIPULATION OF                                        1241-000                 $2,683.33                                $91,435.40
                                                                            SETTLEMENT
   10/26/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $127.93           $91,307.47
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/30/15            28         QUICKFLIGHT, INC.                         STIPULATION OF                                        1241-000                 $2,683.33                                $93,990.80
                                  WIRE                                      SETTLEMENT
   11/25/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $136.12           $93,854.68
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/01/15            28         QUICKFLIGHT, INC.                         PREFERENCE SETTLEMENT                                 1241-000                 $2,683.36                                $96,538.04



                                                                                   Page Subtotals:                                                       $13,416.68               $688.72
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                  Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   12/28/15                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $135.15          $96,402.89
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $143.46          $96,259.43
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/12/16            29         PROGRESSIVE FUNDING SOLUTIONS             SETTLEMENT PAYMENTS                                   1241-000                    $600.00                               $96,859.43
                                  LLC
                                  500 W 7TH ST., STE. 750
                                  FORT WORTH, TX 76102-4700
   02/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $142.84          $96,716.59
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/03/16            29         PROGRESSIVE FUNDING SOLUTIONS             SETTLEMENT PAYMENT                                    1241-000                    $600.00                               $97,316.59
                                  LLC
                                  500 W 7TH ST., STE. 750
                                  FORT WORTH, TX 76102-4700
   03/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $133.84          $97,182.75
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/06/16            29         PROGRESSIVE FUNDING SOLUTIONS             SETTLEMENT PAYMENT                                    1241-000                    $600.00                               $97,782.75
                                  LLC
                                  500 W 7TH ST., STE. 750
                                  FORT WORTH, TX 76102-4700
   04/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $144.12          $97,638.63
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $140.05          $97,498.58
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/27/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $144.68          $97,353.90
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                         $139.83          $97,214.07
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                                                                   Page Subtotals:                                                         $1,800.00            $1,123.97
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   08/10/16          201971       INTERNATIONAL SURETIES, LTD.              BOND #016027601 (8/1/16-                              2300-000                                         $49.56          $97,164.51
                                  INTERNATIONAL SURETIES, LTD.              8/1/17)
                                  SUITE 420
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139

   08/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $144.25          $97,020.26
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/26/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $144.01          $96,876.25
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $139.13          $96,737.12
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $143.55          $96,593.57
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/27/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $138.72          $96,454.85
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $143.14          $96,311.71
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $143.31          $96,168.40
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $129.28          $96,039.12
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $142.90          $95,896.22
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $138.10          $95,758.12
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                                                                   Page Subtotals:                                                             $0.00           $1,455.95
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   06/26/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $142.48          $95,615.64
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $137.70          $95,477.94
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/27/17            31         MICHELLE L. VIEIRA                        DISTRIBUTION (EDWARD                                  1249-000                 $1,021.77                               $96,499.71
                                  PO BOX 70309                              WARNECK BANKRUPTCY)
                                  MYRTLE BEACH, SC 29572
   08/16/17          201972       INTERNATIONAL SURETIES, LTD.              Worcester Cases Bond 8/1/17 -                         2300-000                                         $47.02          $96,452.69
                                  SUITE 420                                 8/1/18 - Bond #016027601
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139

   08/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $142.26          $96,310.43
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $143.36          $96,167.07
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $138.49          $96,028.58
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $142.89          $95,885.69
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/26/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $138.10          $95,747.59
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $142.47          $95,605.12
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                                                                   Page Subtotals:                                                         $1,021.77           $1,174.77
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   02/13/18          201973       GEORGE MUCKLEROY                          ALLOWED SPECIAL                                       3210-000                                       $600.00          $95,005.12
                                  SHEATS & MUCKLEROY LLP                    COUNSEL FEES PER ORDER
                                  500 MAIN STREET, SUITE 300                702
                                  FORT WORTH, TX 76102                      6/26/15-12/15/17

                                                                            AMENDS ORIGINAL FEE APP
                                                                            FOR $2,000 ALLOWED BY
                                                                            ORDER 687.
   02/13/18          201974       GEORGE MUCKLEROY                          SPECIAL COUNSEL                                       3220-000                                       $330.86          $94,674.26
                                  SHEATS & MUCKLEROY LLP                    EXPENSES PER ORDER 702
                                  500 MAIN STREET, SUITE 300                6/26/15/12/15/17
                                  FORT WORTH, TX 76102
   02/13/18          201975       UNITED STATES BANKRUPTCY COURT CERTIFICATE OF NO                                                2700-000                                        $22.00          $94,652.26
                                                                 OBJECTION FEE
                                  211 DONOHUE FEDERAL BUILDING   NOTICE OF ABANDONMENT -
                                  595 MAIN STREET                PROGRESSIVE FUNDING
                                  WORCESTER, MA 01608-2076
   02/26/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $142.26          $94,510.00
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/14/18          201976       UNITED STATES BANKRUPTCY COURT FEE FOR CERTIFICATE OF                                           2700-000                                        $22.00          $94,488.00
                                                                 NO OBJECTION
                                  211 DONOHUE FEDERAL BUILDING
                                  595 MAIN STREET
                                  WORCESTER, MA 01608-2076
   03/26/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $127.96          $94,360.04
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $140.42          $94,219.62
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/09/18            33         MERRICK BANK CORP DBA MERRICK             WIRE RECEIVED                                         1249-000              $275,502.40                              $369,722.02
                                  BANK                                      TRUSTEE'S SETTLEMENT
                                  10705 SOUTH JORDAN GATEWAY                AGREEMENT WITH MERRICK
                                  SOUTH JORDAN, UT 84095                    BANK (RE MERRICK BANK
                                                                            VS. VALLEY NATIONAL BANK)
   05/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $135.68         $369,586.34
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)


                                                                                   Page Subtotals:                                                      $275,502.40           $1,521.18
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                              Trustee Name: Joseph H. Baldiga, Trustee                                Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                         Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX3464
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX6189                                                                              Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   06/25/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                       $443.80         $369,142.54
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                       $531.47         $368,611.07
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/14/18          201977       INTERNATIONAL SURETIES, LTD.              8/1/18-8/1/19 Worcester Bond                           2300-000                                       $192.64         $368,418.43
                                  SUITE 420                                 016027601
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139

   08/27/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                       $548.48         $367,869.95
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/25/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                       $547.60         $367,322.35
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/25/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                       $528.97         $366,793.38
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/31/18                       Transfer to Acct # xxxxxx0032             Transfer of Funds                                      9999-000                                  $366,793.38                 $0.00



                                                                                                             COLUMN TOTALS                            $1,623,174.93        $1,623,174.93
                                                                                                                   Less: Bank Transfers/CD's            $269,409.08          $366,793.38
                                                                                                             Subtotal                                 $1,353,765.85        $1,256,381.55
                                                                                                                   Less: Payments to Debtors                   $0.00                $0.00
                                                                                                             Net                                      $1,353,765.85        $1,256,381.55




                                                                                   Page Subtotals:                                                             $0.00         $369,586.34
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Associated Bank
                                                                                                                Account Number/CD#: XXXXXX0378
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX6189                                                                            Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                           Separate Bond (if applicable):


       1                2                             3                                             4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   10/04/12                       Trsf In From BANK OF AMERICA              INITIAL WIRE TRANSFER IN                            9999-000                 $3,066.23                                 $3,066.23

   10/16/12             5         PLATTE RIVER INSURANCE CO.                STIPULATION AS TO BOND                              1129-000              $200,000.00                               $203,066.23
                                  PO BOX 5900MADISON, WISCONSIN
                                  53705-0900
   11/05/12                       ASSOCIATED BANK                           BANK SERVICE FEE                                    2600-000                                         $63.41         $203,002.82

   12/07/12                       ASSOCIATED BANK                           BANK SERVICE FEE                                    2600-000                                        $125.14         $202,877.68

   12/12/12             11        NIAGARA FRONTIER                          PREFERENCE SETTLEMENT                               1241-000                 $1,610.95                              $204,488.63
                                  TRANSPORTATION
                                  AUTHORITY181 ELLICOTT
                                  ST.BUFFALO, NY 14203
   12/12/12             11        SHELTAIR AVIATION PLATTSBURGH,            PREFERENCE SETTLEMENT                               1241-000                 $5,000.00                              $209,488.63
                                  LLC
                                  4860 NE 12TH AVENUEOAKLAND
                                  PARK, FL 33334
   12/20/12             11        AEROMOTIVE GROUND SUPPORT       AEROMOTIVE GROUND                                             1241-000               $11,500.00                               $220,988.63
                                  FLORIDA IOTA TRUST ACCOUNTS3531 SUPPORT PREF STLM
                                  GRIFFIN RD.FORT LAUDERDALE, FL
                                  33312-5444
   12/21/12             11        SPRINGFIELD AIRPORT AUTHORITY             PREFERENCE SETTLEMENT                               1241-000               $14,000.00                               $234,988.63
                                  1200 CAPITAL AIRPORT
                                  DRIVESPRINGFIELD, IL 62707
   01/08/13             11        MASSPORT                                  PREFERENCE - FULL                                   1241-000               $10,000.00                               $244,988.63
                                  ONE HARBORSIDE DRIVEEAST                  COLLECTION
                                  BOSTON, MA 02128-2909                     SINCE WE RECEIVED
                                                                            PAYMENT IN FULL OF THE
                                                                            PREFERENCE DEMAND (i.e.
                                                                            NOT A "SETTLEMENT") NO
                                                                            NEED TO FILE ANY
                                                                            STIPULATION OR
                                                                            SETTLEMENT PAPERS WITH
                                                                            THE COURT.
   01/08/13                       ASSOCIATED BANK                           BANK SERVICE FEE                                    2600-000                                        $136.73         $244,851.90




                                                                                  Page Subtotals:                                                     $245,177.18               $325.28
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                             Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                        Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX0378
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX6189                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                            ($)
   02/05/13             11        KALAMAZOO/BATTLE CREEK AIRPORT PREFERENCE SETTLEMENT                                            1241-000              $25,000.00                                $269,851.90
                                  FINANCE DEPARTMEN201 W.
                                  KALAMAZOO AVENUEKALAMAZOO,
                                  MICHIGAN 49007
   02/07/13            23         CASH MONEY (TURNED INTO CHECK) CASH MONEY FOUND IN                                              1229-000                   $481.00                              $270,332.90
                                  124 WASHINGTON STREET, SUITE   DEBTOR BOX
                                  101FOXBORO, MA 02035
   02/07/13            24         BRESSLER, AMERY & ROSS, P.C.  CHARGE FOR                                                        1290-000                    $97.00                              $270,429.90
                                  ATTORNEY PROFESSIONAL         PHOTOCOPIES
                                  ACCOUNTPO BOX 1980MORRISTOWN,
                                  NJ 07962
   02/07/13            24         SATTERLEE STEPHENS BURKE &                CHARGE FOR                                            1290-000                    $97.00                              $270,526.90
                                  BURKE LL                                  PHOTOCOPIES
                                  230 PARK AVENUENEW YORK, NY
                                  10169
   02/07/13                       ASSOCIATED BANK                           BANK SERVICE FEE                                      2600-000                                        $360.13         $270,166.77

   03/07/13                       ASSOCIATED BANK                           BANK SERVICE FEE                                      2600-000                                        $356.57         $269,810.20

   04/05/13                       ASSOCIATED BANK                           BANK SERVICE FEE                                      2600-000                                        $401.12         $269,409.08

   04/12/13                       Transfer to Acct # XXXXXX3464             Bank Funds Transfer                                   9999-000                                   $269,409.08                 $0.00



                                                                                                            COLUMN TOTALS                              $270,852.18           $270,852.18
                                                                                                                  Less: Bank Transfers/CD's               $3,066.23          $269,409.08
                                                                                                            Subtotal                                   $267,785.95             $1,443.10
                                                                                                                  Less: Payments to Debtors                    $0.00                $0.00
                                                                                                            Net                                        $267,785.95             $1,443.10




                                                                                  Page Subtotals:                                                       $25,675.00           $270,526.90
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                            Trustee Name: Joseph H. Baldiga, Trustee                                    Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                       Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX0981
                                                                                                                                          Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX6189                                                                             Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                       Code                                                              ($)
   05/09/12             1         TD BANK                                   CLOSE OUT BANK ACCOUNT                               1229-000                 $3,028.44                                    $3,028.44

   05/09/12             2         HORRY COUNTY STATE BANK                   CLOSE OUT HORRY BANK                                 1229-000                     $22.33                                   $3,050.77
                                                                            ACCOUNT
   05/31/12             3         BANK OF AMERICA                           Interest Rate 0.010                                  1270-000                      $0.02                                   $3,050.79

   06/25/12                       Transfer to Acct # XXXXXX1003             TRANSFER TO WRITE                                    9999-000                                           $171.00            $2,879.79
                                                                            CHECKS
   06/29/12             3         BANK OF AMERICA                           Interest Rate 0.010                                  1270-000                      $0.02                                   $2,879.81

   06/29/12                       BANK OF AMERICA                           BANK SERVICE FEE                                     2600-000                                             $3.59            $2,876.22

   07/31/12             3         BANK OF AMERICA                           Interest Rate 0.010                                  1270-000                      $0.03                                   $2,876.25

   07/31/12                       BANK OF AMERICA                           BANK SERVICE FEE                                     2600-000                                             $3.77            $2,872.48

   08/06/12                       Transfer to Acct # XXXXXX1003             TRANSFER FOR BANK                                    9999-000                                             $0.02            $2,872.46
                                                                            SERVICE FEES
   08/10/12             4         CASH (CONVERTED TO CASHIER'S              CASH FROM MYRTLE BEACH                               1229-000                    $204.00                                   $3,076.46
                                  CHECK)                                    SAFE
                                  CASHIER'S CHECK
   08/15/12           1001        INTERNATIONAL SURETIES, LTD               BOND #016027601                                      2300-000                                             $2.59            $3,073.87
                                  SUITE 420701 POYDRAS ST.NEW
                                  ORLEANS, LA 70139
   08/31/12             3         BANK OF AMERICA                           Interest Rate 0.010                                  1270-000                      $0.03                                   $3,073.90

   08/31/12                       BANK OF AMERICA                           BANK SERVICE FEE                                     2600-000                                             $3.79            $3,070.11

   09/28/12             3         BANK OF AMERICA                           Interest Rate 0.010                                  1270-000                      $0.02                                   $3,070.13

   09/28/12                       BANK OF AMERICA                           BANK SERVICE FEE                                     2600-000                                             $3.52            $3,066.61

   10/04/12                       BANK OF AMERICA                           BANK FEES                                            2600-000                                             $0.38            $3,066.23
                                  901 MAIN STREET10TH
                                  FLOORDALLAS, TX 75283



                                                                                   Page Subtotals:                                                        $3,254.89                 $188.66
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee                                  Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Bank of America
                                                                                                                Account Number/CD#: XXXXXX0981
                                                                                                                                        Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX6189                                                                           Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                          Separate Bond (if applicable):


       1                2                             3                                            4                                                   5                      6                    7

Transaction Date    Check or                Paid To / Received From                   Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                     Code                                                             ($)
   10/04/12                       Trsf To ASSOCIATED BANK                   FINAL TRANSFER                                      9999-000                                      $3,066.23                 $0.00



                                                                                                          COLUMN TOTALS                                 $3,254.89             $3,254.89
                                                                                                                Less: Bank Transfers/CD's                   $0.00             $3,237.25
                                                                                                          Subtotal                                      $3,254.89                 $17.64
                                                                                                                Less: Payments to Debtors                   $0.00                  $0.00
                                                                                                          Net                                           $3,254.89                 $17.64




                                                                                 Page Subtotals:                                                            $0.00             $3,066.23
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                           Trustee Name: Joseph H. Baldiga, Trustee                                   Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                      Bank Name: Bank of America
                                                                                                                Account Number/CD#: XXXXXX1003
                                                                                                                                        Checking Account (Non-Interest Earn
  Taxpayer ID No: XX-XXX6189                                                                           Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                          Separate Bond (if applicable):


       1                2                             3                                            4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                   Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                     Code                                                              ($)
   06/25/12                       Transfer from Acct # XXXXXX0981           TRANSFER TO WRITE                                   9999-000                   $171.00                                      $171.00
                                                                            CHECKS
   06/25/12            101        UNITED STATES BANKRUPTCY COURT FEE - CERTIFICATE OF NO                                        2700-000                                           $21.00               $150.00
                                                                 OBJECTION
                                                                 FOR A NOTICE OF
                                                                 ABANDONMENT FILED BY
                                                                 THE TRUSTEE
   06/25/12            102        HORRY COUNTY STATE BANK          FEES INCURRED - OBTAIN                                       2990-000                                          $150.00                 $0.00
                                  3640 RALPH ELLIS BLVD.ATTN VERNA BANK RECORDS
                                  FORDLORIS, SC 29569
   07/31/12                       BANK OF AMERICA                           BANK SERVICE FEE                                    2600-000                                            $0.02                ($0.02)

   08/06/12                       Transfer from Acct # XXXXXX0981           TRANSFER FOR BANK                                   9999-000                     $0.02                                        $0.00
                                                                            SERVICE FEES


                                                                                                          COLUMN TOTALS                                    $171.02                $171.02
                                                                                                                Less: Bank Transfers/CD's                  $171.02                  $0.00
                                                                                                          Subtotal                                           $0.00                $171.02
                                                                                                                Less: Payments to Debtors                    $0.00                  $0.00
                                                                                                          Net                                                $0.00                $171.02




                                                                                 Page Subtotals:                                                           $171.02                $171.02
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                              Trustee Name: Joseph H. Baldiga, Trustee                                 Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                         Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0032
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX6189                                                                               Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   10/31/18                       Transfer from Acct # xxxxxx3464           Transfer of Funds                                      9999-000               $366,793.38                              $366,793.38

   04/01/19           2001        Joseph H. Baldiga Chapter 7 Trustee       Final distribution representing                        2100-000                                    $60,331.53          $306,461.85
                                  Mirick, O'Connell                         payment per court order.
                                  1800 West Park Drive
                                  Suite 400
                                  Westborough, MA 01581
   04/01/19           2002        UNITED STATES TRUSTEE                     2012 - 1ST AND 2ND                                     2950-000                                        $650.00         $305,811.85
                                  DISTRICT OF MAINE                         QUARTERS
                                  537 CONGRESS STREET
                                  SUITE 303
                                  PORTLAND, ME 04104
   04/01/19           2003        MIRICK, O'CONNELL                         FEES                                                   3110-000                                   $255,368.54           $50,443.31
                                  100 FRONT STREET, 18TH FLOOR
                                  WORCESTER, MA 01608
   04/01/19           2004        MIRICK, O'CONNELL                         Final distribution representing                        3120-000                                     $5,574.55           $44,868.76
                                  100 FRONT STREET, 18TH FLOOR              payment per court order.
                                  WORCESTER, MA 01608
   04/01/19           2005        REESE R. BOYD, III, PC                    DISBURSEMENT ADVANCE                                   3220-000                                        $419.00          $44,449.76
                                  DAVIS & BOYD, LLC                         PER ORDER 672
                                  1110 LONDON STREET
                                  SUITE 201
                                  MYRTLE BEACH, SC 29577


   04/01/19           2006        VERDOLINO & LOWEY, P.C.                   FEE APPLICATION                                        3410-000                                    $40,510.67             $3,939.09
                                  ATTN: MARK MOLLO
                                  PINEBROOK OFFICE PARK
                                  124 WASHINGTON STREET
                                  FOXBOROUGH, MA 02035
   04/01/19           2007        VERDOLINO & LOWEY, P.C.                   FEE APPLICATION                                        3420-000                                     $3,513.66                $425.43
                                  ATTN: MARK MOLLO                          EXPENSES
                                  PINEBROOK OFFICE PARK
                                  124 WASHINGTON STREET
                                  FOXBOROUGH, MA 02035
   04/01/19           2008        FC USA INC. D/B/A LIBERTY TRAVEL          Final distribution representing                        5600-000                                        $308.35               $117.08
                                  ATTN: LAURENE TAYLOR                      payment per court order.
                                  69 SPRING STREET
                                  RAMSEY, NH 07446


                                                                                   Page Subtotals:                                                        $366,793.38         $366,676.30
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-40944                                                                                                Trustee Name: Joseph H. Baldiga, Trustee                                   Exhibit 9
      Case Name: SOUTHERN SKY AIR & TOURS LLC D/B/A                                                                           Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0032
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX6189                                                                               Blanket Bond (per case limit): $8,000,000.00
For Period Ending: 07/23/2019                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                      5                   6                       7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                            Code                                                            ($)
   04/01/19           2009        JENNIFER JONES                            Final distribution representing                           5600-000                                         $59.78                 $57.30
                                  203 W. WALNUT STREET                      payment per court order.
                                  FAIRBURY, IL 61739
   04/01/19           2010        KRISTINE & LYLE UNDERWOOD                 Final distribution representing                           5600-000                                         $11.65                 $45.65
                                  3540 BRANT COURT                          payment per court order.
                                  TOLEDO, OH 43623
   04/01/19           2011        MICAH KISTLER                             Final distribution representing                           5600-000                                         $45.65                  $0.00
                                  1533 WEST ISLES AVENUE                    payment per court order.
                                  JEROME, IL 62704
   07/09/19           2008        FC USA INC. D/B/A LIBERTY TRAVEL          Final distribution representing                           5600-000                                       ($308.35)               $308.35
                                  ATTN: LAURENE TAYLOR                      payment per court order.
                                  69 SPRING STREET                          Reversal
                                  RAMSEY, NH 07446
   07/09/19           2010        KRISTINE & LYLE UNDERWOOD                 Final distribution representing                           5600-000                                        ($11.65)               $320.00
                                  3540 BRANT COURT                          payment per court order.
                                  TOLEDO, OH 43623                          Reversal
   07/09/19           2011        MICAH KISTLER                             Final distribution representing                           5600-000                                        ($45.65)               $365.65
                                  1533 WEST ISLES AVENUE                    payment per court order.
                                  JEROME, IL 62704                          Reversal
   07/09/19           2012        Clerk, U.S. Bankruptcy Court              Remit To Court                                                                                            $365.65                  $0.00
                                                                            UNCLAIMED FUNDS PAID TO
                                                                            COURT BY ACH
                                  MICAH KISTLER                             Final distribution representing               ($45.65)    5600-001
                                                                            payment per court order.
                                  KRISTINE & LYLE UNDERWOOD                 Final distribution representing               ($11.65)    5600-001
                                                                            payment per court order.
                                  FC USA INC. D/B/A LIBERTY TRAVEL          Final distribution representing              ($308.35)    5600-001
                                                                            payment per court order.


                                                                                                              COLUMN TOTALS                                $366,793.38          $366,793.38
                                                                                                                    Less: Bank Transfers/CD's              $366,793.38                  $0.00
                                                                                                              Subtotal                                            $0.00         $366,793.38
                                                                                                                    Less: Payments to Debtors                     $0.00                 $0.00
                                                                                                              Net                                                 $0.00         $366,793.38


                                                                                   Page Subtotals:                                                                $0.00               $117.08
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                                                                                                                                                                Exhibit 9
                                                                                          TOTAL OF ALL ACCOUNTS
                                                                                                                                           NET             ACCOUNT
                                                                                                        NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                             XXXXXX0032 - Checking                                                 $0.00           $366,793.38                  $0.00
                                             XXXXXX0378 - Checking Account                                  $267,785.95               $1,443.10                 $0.00

                                             XXXXXX0981 - Money Market Account                                 $3,254.89                 $17.64                 $0.00
                                             (Interest Earn
                                             XXXXXX1003 - Checking Account (Non-                                   $0.00               $171.02                  $0.00
                                             Interest Earn
                                             XXXXXX3464 - Checking Account                                $1,353,765.85          $1,256,381.55                  $0.00

                                                                                                          $1,624,806.69          $1,624,806.69                  $0.00

                                                                                                       (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                               transfers)            to debtors)
                                             Total Allocation Receipts:                       $0.00
                                             Total Net Deposits:                       $1,624,806.69
                                             Total Gross Receipts:                     $1,624,806.69




                                                                     Page Subtotals:                                          $0.00                $0.00
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